USCA Case #14-5316     Document #1587305           Filed: 12/07/2015   Page 1 of 228



             NOT YET SCHEDULED FOR ORAL ARGUMENT

                                   No. 14-5316


        In the United States Court of Appeals
             for the District of Columbia
                           TRUE THE VOTE, INC.,
                                                          Plaintiff-Appellant,
                                         v.

                   INTERNAL REVENUE SERVICE, et al.
                                                          Defendants-Appellees,

    On Appeal from the United States District Court for the District of Columbia

                         The Honorable Reggie B. Walton
                         United States District Court Judge
                          Case No. 1:13-cv-00734-RBW


                               JOINT APPENDIX


Cleta Mitchell                                Kaylan L. Phillips
Michael J. Lockerby                           Noel H. Johnson
FOLEY & LARDNER, LLP                          PUBLIC INTEREST LEGAL FOUNDATION
Washington Harbour                            209 West Main Street
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cmitchell@foley.com

   Counsel for Plaintiff-Appellant (additional counsel listed inside front cover)
USCA Case #14-5316     Document #1587305           Filed: 12/07/2015   Page 2 of 228



Additional Counsel for Plaintiff-Appellant:

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Mathew D. Gutierrez                           CENTER FOR CONST’L JURISPRUDENCE
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JUSTICE                                       SECURITIES AND
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JEFFREY ALAN LAMKEN                           R. CRAIG LAWRENCE
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Fax: (202)556-2001

Counsel for Defendants-Appellees
USCA Case #14-5316              Document #1587305                     Filed: 12/07/2015          Page 3 of 228



                                      TABLE OF CONTENTS


District Court Docket ................................................................................JA-1

First Amended Complaint (Dkt. 14) .......................................................JA-17

        Exhibit A to First Amended Complaint (Dkt. 14-1) ....................JA-66

        Exhibit B to First Amended Complaint (Dkt. 14-2) .....................JA-68

        Exhibit C to First Amended Complaint (Dkt. 14-3) .................. JA-108

        Exhibit D to First Amended Complaint (Dkt. 14-4) ................. JA-114

        Exhibit E to First Amended Complaint (Dkt. 14-5) .................. JA-125

        Exhibit F to First Amended Complaint (Dkt. 14-6) .................. JA-130

        Exhibit G to First Amended Complaint (Dkt. 14-7) ................. JA-185

        Exhibit H to First Amended Complaint (Dkt. 14-8) ................. JA-187

Order on Defendants’ Motions to Dismiss and
Plaintiff’s Motion to Stay Agency Action (Dkt. 102) ......................... JA-197

Memorandum Opinion re: Dkt. 102 (Dkt. 103) ................................... JA-199

Notice of Appeal (Dkt. 104) ................................................................ JA-222
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 1 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 4 of 228
                                                                 APPEAL,CLOSED,TYPE−L
                                 U.S. District Court
                      District of Columbia (Washington, DC)
                CIVIL DOCKET FOR CASE #: 1:13−cv−00734−RBW

  TRUE THE VOTE, INC. v. INTERNAL REVENUE SERVICE   Date Filed: 05/21/2013
  et al                                             Date Terminated: 10/23/2014
  Assigned to: Judge Reggie B. Walton               Jury Demand: None
  Demand: $85,000                                   Nature of Suit: 440 Civil Rights: Other
   Case: 1:13−cv−00777−RBW                          Jurisdiction: U.S. Government Defendant
  Case in other court: USCA, 14−05316
  Cause: 26:7428 IRS: Declaratory Judgment
  Plaintiff
  TRUE THE VOTE, INC.                 represented by Cleta Deatherage Mitchell
                                                     FOLEY & LARDNER
                                                     3000 K Street, NW
                                                     6th Floor
                                                     Washington, DC 20007−5143
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                                                     Email: cmitchell@foley.com
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                                                     ATTORNEY TO BE NOTICED

                                                    John C. Eastman
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                                                    JURISPRUDENCE
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                                                    ATTORNEY TO BE NOTICED

                                                    Mathew D. Gutierrez
                                                    FOLEY & LARDNER LLP
                                                    One Biscayne Tower
                                    JA-1
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 2 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 5 of 228
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                                                   TERMINATED: 12/17/2013
                                                   PRO HAC VICE


  V.
  Defendant
  INTERNAL REVENUE SERVICE            represented by Grover Hartt , III
                                                     U.S. DEPARTMENT OF JUSTICE
                                                     Tax Division
                                                     717 North Harwood Street
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                                                     Dallas, TX 75201
                                                     (214) 880−9733
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                                                   Joseph A. Sergi
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                                                   ATTORNEY TO BE NOTICED
                                    JA-2
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 3 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 6 of 228
                                                              Christopher David Belen
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                                                              TERMINATED: 10/17/2014

                                                              Christopher Randy Egan
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                                                              ATTORNEY TO BE NOTICED

  Defendant
  UNITED STATES OF AMERICA                      represented by Grover Hartt , III
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              Joseph A. Sergi
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Christopher David Belen
                                                              (See above for address)
                                                              TERMINATED: 10/17/2014

                                                              Christopher Randy Egan
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

  Defendant
  STEVEN T. MILLER                              represented by Brigida Benitez
  In his official and Indivicual capacity as                   STEPTOE & JOHNSON, LLP
  former Deputy Commissioner, Services &                       1330 Connecticut Avenue, NW
  Enforcement, and Acting Commissioner,                        Washington, DC 20036
  Internal Revenue Service                                     (202) 429−6261
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                                                               LEAD ATTORNEY
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                                                              Erica Lynne Gerson
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                                                              1330 Connecticut Avenue, NW
                                                              Washington, DC 20036
                                                              (202) 429−6748
                                                              Email: egerson@steptoe.com
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                                                              ATTORNEY TO BE NOTICED

                                                              Joseph A. Sergi
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

  Defendant
                                               JA-3
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 4 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 7 of 228
  DOUGLAS H. SHULMAN                            represented by Brigida Benitez
  In his individual capacity                                   (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Erica Lynne Gerson
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

  Defendant
  LOIS LERNER                                   represented by Brigida Benitez
  In her official and individual capacity as                   (See above for address)
  Director, Exempt Organizations Division,                     LEAD ATTORNEY
  IRS                                                          ATTORNEY TO BE NOTICED

                                                             Erica Lynne Gerson
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

  Defendant
  SUSAN MALONEY                                 represented by Jeffrey A. Lamken
  In her official and individual capacity as                   MOLOLAMKEN, LLP
  an Exempt Organizations Specialist, IRS                      600 New Hampshire Avenue, NW
                                                               Suite 660
                                                               Washington, DC 20037
                                                               (202) 556−2010
                                                               Fax: (202) 556−2001
                                                               Email: jlamken@mololamken.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Justin V Shur
                                                             MOLOLAMKEN LLP
                                                             600 New Hampshire, Avenue, NW
                                                             Washington, DC 20037
                                                             (202) 556−2005
                                                             Email: jshur@mololamken.com
                                                             ATTORNEY TO BE NOTICED

  Defendant
  RONALD BELL                                   represented by Jeffrey A. Lamken
  In his official and individual capacity as                   (See above for address)
  an Exempt Organizations Specialist, IRS                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Justin V Shur
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  JANINE L. ESTES                               represented by Jeffrey A. Lamken
  In her official and individual capacity as                   (See above for address)
  an Exempt Organizations Specialist, IRS                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Justin V Shur
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
                                               JA-4
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 5 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 8 of 228
  FAYE NG                                        represented by Jeffrey A. Lamken
  In her official and individual capacity as                    (See above for address)
  an Exempt Organizations Sepcialist, IRS                       LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                             Justin V Shur
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  UNKNOWN NAMED EMLPLOYEES
  OF INTERNAL REVENUE SERVICE
  In their official and individual capacities

  Defendant
  DANIEL WERFEL
  In his official capacity as Acting
  Commissioner of the Internal Revenue
  Service

  Defendant
  WILLIAM WILKINS                                represented by Brigida Benitez
  In his official and indivdual capacity as                     (See above for address)
  Chief Counsel, Internal Revenue Service                       LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                             Erica Lynne Gerson
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

  Defendant
  HOLLY PAZ                                      represented by Brigida Benitez
  In her official and individual capacity as                    (See above for address)
  Acting Manager, Exempt Organizations                          LEAD ATTORNEY
  Technical Unit, Acting Director, Office of                    ATTORNEY TO BE NOTICED
  Rulings & Agreements, And Director,
  Office of Rulings & Agreements, IRS                        Erica Lynne Gerson
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

  Defendant
  CINDY M. THOMAS                                represented by Brigida Benitez
  In her official and individual capacity as                    (See above for address)
  Program Manager, Exempt                                       LEAD ATTORNEY
  Organizations Determinations Unit of the                      ATTORNEY TO BE NOTICED
  IRS
                                                             Erica Lynne Gerson
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

  Defendant
  STEVEN GRODNITZKY                              represented by Brigida Benitez
  In his official and individual capacity as                    (See above for address)
  Manager, Exempt Organizations                                 LEAD ATTORNEY
  Technical Unit, IRS                                           ATTORNEY TO BE NOTICED

                                                             Erica Lynne Gerson
                                                             (See above for address)
                                                JA-5
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 6 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 9 of 228
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

  Defendant
  DAVID FISH                                       represented by Brigida Benitez
  In his official and individual capacity as                      (See above for address)
  Acting Director, Office of Rulings &                            LEAD ATTORNEY
  Agreements, IRS                                                 ATTORNEY TO BE NOTICED

                                                                   Erica Lynne Gerson
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

  Defendant
  MICHAEL SETO                                     represented by Brigida Benitez
  In his official and individual capacity as                      (See above for address)
  Acting Manager, Technical Unit, IRS                             LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                   Erica Lynne Gerson
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED


   Date Filed      #    Docket Text
   05/21/2013       1 COMPLAINT against All Defendants ( Filing fee $ 400 receipt number
                      0090−3332389) filed by TRUE THE VOTE, INC.. (Attachments: # 1 Exhibit A:
                      Timeline, # 2 Exhibit B: Form 1023 & Attach, # 3 Exhibit C: Request for Information
                      1, # 4 Exhibit D: Request for Information 2, # 5 Exhibit E: Request for Information 3,
                      # 6 Exhibit F: TIGTA Report, # 7 Civil Cover Sheet, # 8 Summons Douglas H.
                      Shulman, # 9 Summons Internal Revenue Service, # 10 Summons Janine L Estes, # 11
                      Summons Lois Lerner, # 12 Summons Steven T. Miller, # 13 Summons Susan
                      Maloney, # 14 Summons USA, # 15 Summons Unknown Named Employees of the
                      IRS, # 16 Summons US Attorney)(Mitchell, Cleta) (Entered: 05/21/2013)
   05/21/2013       2 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− John C. Eastman,
                      :Firm− Claremont Institute's Center for Constitutional Jurisprudence, :Address− c/o
                      Chapman University School of Law, One University Drive, Orange, CA 92866. Phone
                      No. − 877−855−3330 X2. by TRUE THE VOTE, INC. (Mitchell, Cleta) (Entered:
                      05/21/2013)
   05/21/2013       3 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Kaylan L. Phillips,
                      :Firm− ActRight Legal Foundation, :Address− 209 W. Main Street, Plainfield, IN
                      46168. Phone No. − 317−203−5599. by TRUE THE VOTE, INC. (Mitchell, Cleta)
                      (Entered: 05/21/2013)
   05/21/2013       4 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Noel H. Johnson,
                      :Firm− ActRight Legal Foundation, :Address− 209 W. Main Street, Plainfield, IN
                      46168. Phone No. − 317−203−5599. by TRUE THE VOTE, INC. (Mitchell, Cleta)
                      (Entered: 05/21/2013)
   05/21/2013       5 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Zachary S. Kester,
                      :Firm− ActRight Legal Foundation, :Address− 209 W. Main Street, Plainfield, IN
                      46168. Phone No. − 317−203−5599. by TRUE THE VOTE, INC. (Mitchell, Cleta)
                      (Entered: 05/21/2013)
   05/21/2013           Case Assigned to Judge Reggie B. Walton. (sth) (Entered: 05/21/2013)
   05/21/2013           SUMMONS Not Issued as to RONALD BELL, FAYE NG, UNKNOWN NAMED
                        EMLPLOYEES OF INTERNAL REVENUE SERVICE (sth) (Entered: 05/21/2013)
   05/21/2013       6 ELECTRONIC SUMMONS (8) Issued as to JANINE L. ESTES, INTERNAL
                      REVENUE SERVICE, LOIS LERNER, SUSAN MALONEY, STEVEN T. MILLER,
                      DOUGLAS H. SHULMAN, UNITED STATES OF AMERICA, U.S. Attorney and
                                                 JA-6
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 7 of 16
USCA Case #14-5316    Document #1587305       Filed: 12/07/2015 Page 10 of 228
                    U.S. Attorney General (Attachments: # 1 Summons, # 2 Summons, # 3 Summons, # 4
                    Summons, # 5 Summons, # 6 Summons, # 7 Summons, # 8 Summons)(sth) Modified
                    on 5/23/2013 o add seal to 6−4 (rdj). (Entered: 05/21/2013)
   05/21/2013    7 LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                   Interests by TRUE THE VOTE, INC. (Mitchell, Cleta) (Entered: 05/21/2013)
   05/22/2013       MINUTE ORDER granting 2 Motion for Leave to Appear Pro Hac Vice; granting 3
                    Motion for Leave to Appear Pro Hac Vice; granting 4 Motion for Leave to Appear Pro
                    Hac Vice; granting 5 Motion for Leave to Appear Pro Hac Vice. Upon consideration
                    of the motions for leave to appear pro hac vice by John C. Eastman, Kaylan L.
                    Phillips, Noel H. Johnson, and Zachary S. Kester, and finding good cause to grant the
                    motions, the motions are hereby GRANTED. John C. Eastman, Kaylan L. Phillips,
                    Noel H. Johnson, and Zachary S. Kester may appear and be heard in the
                    above−captioned matter. Signed by Judge Reggie B. Walton on 5/22/2013. (lcrbw2)
                    (Entered: 05/22/2013)
   05/22/2013    8 NOTICE Summons In A Civil Action for Faye Ng by TRUE THE VOTE, INC. re 1
                   Complaint,, (Mitchell, Cleta) (Entered: 05/22/2013)
   05/23/2013    9 REQUEST FOR SUMMONS TO ISSUE Ronald Bell by TRUE THE VOTE, INC. re
                   1 Complaint,, filed by TRUE THE VOTE, INC.. Related document: 1 Complaint,,
                   filed by TRUE THE VOTE, INC..(Mitchell, Cleta) (Entered: 05/23/2013)
   05/23/2013   10 Electronic Summons (1) Issued as to FAYE NG., ELECTRONIC SUMMONS (1)
                   REISSUED as to RONALD BELL (Attachments: # 1 summons)(td, ) (Entered:
                   05/23/2013)
   06/20/2013   11 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                   United States Attorney General. Date of Service Upon United States Attorney General
                   05/28/2013., RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint
                   Executed as to the United States Attorney. Date of Service Upon United States
                   Attorney on 5/22/2013. ( Answer due for ALL FEDERAL DEFENDANTS by
                   7/21/2013.), RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint
                   Executed. RONALD BELL served on 6/5/2013, answer due 6/26/2013; JANINE L.
                   ESTES served on 5/29/2013, answer due 6/19/2013; INTERNAL REVENUE
                   SERVICE served on 5/28/2013, answer due 6/18/2013; LOIS LERNER served on
                   5/24/2013, answer due 6/14/2013; SUSAN MALONEY served on 5/23/2013, answer
                   due 6/13/2013; STEVEN T. MILLER served on 5/22/2013, answer due 6/12/2013;
                   FAYE NG served on 5/29/2013, answer due 6/19/2013; DOUGLAS H. SHULMAN
                   served on 5/23/2013, answer due 6/13/2013; UNITED STATES OF AMERICA served
                   on 5/28/2013, answer due 6/18/2013, RETURN OF SERVICE/AFFIDAVIT of
                   Summons and Complaint Executed. RONALD BELL served on 6/5/2013, answer due
                   6/26/2013; JANINE L. ESTES served on 5/29/2013, answer due 6/19/2013;
                   INTERNAL REVENUE SERVICE served on 5/28/2013, answer due 6/18/2013; LOIS
                   LERNER served on 5/24/2013, answer due 6/14/2013; SUSAN MALONEY served on
                   5/23/2013, answer due 6/13/2013; STEVEN T. MILLER served on 5/22/2013, answer
                   due 6/12/2013; FAYE NG served on 5/29/2013, answer due 6/19/2013; DOUGLAS H.
                   SHULMAN served on 5/23/2013, answer due 6/13/2013; UNITED STATES OF
                   AMERICA served on 5/28/2013, answer due 6/18/2013 (Phillips, Kaylan) (Entered:
                   06/20/2013)
   07/16/2013   12 MOTION for Extension of Time to File Answer re 1 Complaint,, Motion and
                   Memorandum of Law for Extension of Time to Respond to Complaint by UNITED
                   STATES OF AMERICA (Attachments: # 1 Exhibit A − Belen Declaration, # 2 Exhibit
                   B − Kane Declaration, # 3 Text of Proposed Order)(Hartt, Grover) (Entered:
                   07/16/2013)
   07/17/2013   13 NOTICE of Appearance by Joseph A. Sergi on behalf of INTERNAL REVENUE
                   SERVICE, STEVEN T. MILLER, UNITED STATES OF AMERICA (Sergi, Joseph)
                   (Entered: 07/17/2013)
   07/22/2013   14 First AMENDED COMPLAINT against RONALD BELL, JANINE L. ESTES,
                   INTERNAL REVENUE SERVICE, LOIS LERNER, SUSAN MALONEY, STEVEN
                   T. MILLER, FAYE NG, DOUGLAS H. SHULMAN, UNITED STATES OF
                   AMERICA, UNKNOWN NAMED EMLPLOYEES OF INTERNAL REVENUE
                   SERVICE, DANIEL WERFEL, WILLIAM WILKINS, HOLLY PAZ, CINDY M.
                                             JA-7
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 8 of 16
USCA Case #14-5316    Document #1587305       Filed: 12/07/2015 Page 11 of 228
                    THOMAS, STEVEN GRODNITZKY, DAVID FISH, MICHAEL SETO filed by
                    TRUE THE VOTE, INC.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                    4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Certificate
                    of Service, # 10 Summons FISH, # 11 Summons GRODNITZKY, # 12 Summons
                    PAZ, # 13 Summons SETO, # 14 Summons THOMAS, # 15 Summons
                    WILKINS)(Mitchell, Cleta) Modified text to add first on 7/23/2013 (td, ). (Entered:
                    07/22/2013)
   07/23/2013   15 REQUEST FOR SUMMONS TO ISSUE Ronald Bell, In His Official Capacity by
                   TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   16 REQUEST FOR SUMMONS TO ISSUE JANINE L. ESTES, In Her Official Capacity
                   by TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   17 REQUEST FOR SUMMONS TO ISSUE LOIS LERNER, In Her Official Capacity by
                   TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   18 REQUEST FOR SUMMONS TO ISSUE SUSAN MALONEY, In Her Official
                   Capacity by TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE
                   THE VOTE, INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE
                   VOTE, INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   19 REQUEST FOR SUMMONS TO ISSUE STEVEN T. MILLER, In His Official
                   Capacity by TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE
                   THE VOTE, INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE
                   VOTE, INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   20 REQUEST FOR SUMMONS TO ISSUE FAYE NG, In Her Official Capacity by
                   TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE VOTE,
                   INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   21 REQUEST FOR SUMMONS TO ISSUE DOUGLAS H. SHULMAN, In His Official
                   Capacity by TRUE THE VOTE, INC. re 14 Amended Complaint,,, filed by TRUE
                   THE VOTE, INC.. Related document: 14 Amended Complaint,,, filed by TRUE THE
                   VOTE, INC..(Mitchell, Cleta) (Entered: 07/23/2013)
   07/23/2013   22 REQUEST FOR SUMMONS TO ISSUE UNKNOWN NAMED EMPLOYEES OF
                   THE INTERNAL REVENUE SERVICE, In Their Official Capacities by TRUE THE
                   VOTE, INC. re 14 Amended Complaint,,, filed by TRUE THE VOTE, INC.. Related
                   document: 14 Amended Complaint,,, filed by TRUE THE VOTE, INC..(Mitchell,
                   Cleta) (Entered: 07/23/2013)
   07/23/2013       MINUTE ORDER terminating 12 Motion for Extension of Time to Answer. In light of
                    the fact that the plaintiff has filed an amended complaint, it is ORDERED that the
                    motion for extension of time to answer or otherwise respond to the plaintiff's original
                    complaint is TERMINATED AS MOOT. Signed by Judge Reggie B. Walton on
                    7/23/2013. (lcrbw2) (Entered: 07/23/2013)
   07/24/2013       NOTICE OF ERROR re 22 Request for Summons to Issue; emailed to
                    cmitchell@foley.com, cc'd 12 associated attorneys −− The PDF file you docketed
                    contained errors: 1. Can not issue summonses to unknown parties. (td, ) (Entered:
                    07/24/2013)
   07/24/2013   23 Electronic Summons (7) Issued, in official capacities, as to RONALD BELL, JANINE
                   L. ESTES, LOIS LERNER, SUSAN MALONEY, STEVEN T. MILLER, FAYE NG,
                   DOUGLAS H. SHULMAN. (Attachments: # 1 Summons, # 2 Summons, # 3
                   Summons, # 4 Summons, # 5 Summons, # 6 Summons)(td, ) Modified text on
                   7/24/2013 (td, ). (Entered: 07/24/2013)
   07/24/2013   24 Electronic Summons (6) Issued as to DAVID FISH, STEVEN GRODNITZKY,
                   HOLLY PAZ, MICHAEL SETO, CINDY M. THOMAS, WILLIAM WILKINS.
                                              JA-8
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 9 of 16
USCA Case #14-5316    Document #1587305       Filed: 12/07/2015 Page 12 of 228
                    (Attachments: # 1 Summons, # 2 Summons, # 3 Summons, # 4 Summons, # 5
                    Summons)(td, ) (Entered: 07/24/2013)
   08/02/2013   25 MOTION for Extension of Time to File Answer re 14 Amended Complaint,,, Renewed
                   Motion and Memorandum of Law for Extension of Time to Respond to First Amended
                   Complaint by UNITED STATES OF AMERICA (Attachments: # 1 Exhibit A −
                   Second Declaration of Christopher D. Belen, # 2 Exhibit B − Declaration of Thomas J.
                   Kane, # 3 Text of Proposed Order)(Hartt, Grover) (Entered: 08/02/2013)
   08/05/2013   26 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Michael J. Lockerby,
                   :Firm− Foley & Lardner LLP, :Address− 3000 K Street, N.W., Suite 600, Washington,
                   D.C. 20007. Phone No. − 202−045−6079. Fax No. − 202−672−5399 by TRUE THE
                   VOTE, INC. (Attachments: # 1 Affidavit (Affidavit of Michael J. Lockerby), # 2
                   Certificate of Service)(Mitchell, Cleta) (Entered: 08/05/2013)
   08/13/2013   27 REQUEST FOR SUMMONS TO ISSUE for Defendant David Fish in His Official
                   Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE, INC..(Phillips,
                   Kaylan) (Entered: 08/13/2013)
   08/13/2013   28 REQUEST FOR SUMMONS TO ISSUE for Defendant Steven Grodnitzky in His
                   Official Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE,
                   INC..(Phillips, Kaylan) (Entered: 08/13/2013)
   08/13/2013   29 REQUEST FOR SUMMONS TO ISSUE for Defendant Holly Paz in Her Official
                   Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE, INC..(Phillips,
                   Kaylan) (Entered: 08/13/2013)
   08/13/2013   30 REQUEST FOR SUMMONS TO ISSUE for Defendant Michael C. Seto in His
                   Official Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE,
                   INC..(Phillips, Kaylan) (Entered: 08/13/2013)
   08/13/2013   31 REQUEST FOR SUMMONS TO ISSUE for Defendant Cindy M. Thomas in Her
                   Official Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE,
                   INC..(Phillips, Kaylan) (Entered: 08/13/2013)
   08/13/2013   32 REQUEST FOR SUMMONS TO ISSUE for Defendant William Wilkins in His
                   Official Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE,
                   INC..(Phillips, Kaylan) (Entered: 08/13/2013)
   08/13/2013   33 REQUEST FOR SUMMONS TO ISSUE for Defendant Daniel Werfel in His Official
                   Capacity by TRUE THE VOTE, INC. filed by TRUE THE VOTE, INC..(Phillips,
                   Kaylan) (Entered: 08/13/2013)
   08/14/2013   34 Electronic Summons Issued as to CINDY M. THOMAS, in her official capacity. (td, )
                   (Entered: 08/14/2013)
   08/14/2013   35 Electronic Summons Issued as to DAVID FISH, in his official capacity. (td, )
                   (Entered: 08/14/2013)
   08/14/2013   36 Electronic Summons Issued as to STEVEN GRODNITZKY, in his official capacity.
                   (td, ) (Entered: 08/14/2013)
   08/14/2013   37 Electronic Summons Issued as to HOLLY PAZ, in her official capacity. (td, )
                   (Entered: 08/14/2013)
   08/14/2013   38 Electronic Summons Issued as to MICHAEL SETO, in his official capacity. (td, )
                   (Entered: 08/14/2013)
   08/14/2013   39 Electronic Summons Issued as to WILLIAM WILKINS, in his official capacity. (td, )
                   (Entered: 08/14/2013)
   08/14/2013   40 Electronic Summons Issued as to DANIEL WERFEL, in his official capacity. (td, )
                   (Entered: 08/14/2013)
   08/15/2013   41 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. DAVID
                   FISH served on 7/25/2013; STEVEN GRODNITZKY served on 7/29/2013; HOLLY
                   PAZ served on 7/29/2013; MICHAEL SETO served on 7/25/2013; DANIEL
                   WERFEL served on 8/14/2013, RETURN OF SERVICE/AFFIDAVIT of Summons
                   and Complaint Executed. DAVID FISH served on 7/25/2013; STEVEN
                                             JA-9
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 10 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 13 of 228
                    GRODNITZKY served on 7/29/2013; HOLLY PAZ served on 7/29/2013; MICHAEL
                    SETO served on 7/25/2013; DANIEL WERFEL served on 8/14/2013 (Phillips,
                    Kaylan) (Entered: 08/15/2013)
   08/16/2013   42 RESPONSE re 25 MOTION for Extension of Time to File Answer re 14 Amended
                   Complaint,,, Renewed Motion and Memorandum of Law for Extension of Time to
                   Respond to First Amended Complaint filed by TRUE THE VOTE, INC..
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Mitchell, Cleta) (Entered: 08/16/2013)
   08/27/2013   43 NOTICE Suggestion of Incapacity of David Fish by UNITED STATES OF
                   AMERICA (Hartt, Grover) (Entered: 08/27/2013)
   08/28/2013   44 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Matthew D. Gutierrez,
                   :Firm− Foley & Lardner LLP, :Address− One Biscayne Tower, 2 South Biscayne
                   Boulevard, Ste. 1900, Miami, FL 33131. Phone No. − 305−482−8417. Fax No. −
                   305−482−8600 by TRUE THE VOTE, INC. (Attachments: # 1 Declaration, # 2
                   Certificate of Service)(Mitchell, Cleta) (Entered: 08/28/2013)
   08/28/2013   45 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− William E. Davis,
                   :Firm− Foley & Lardner LLP, :Address− One Biscayne Tower, 2 South Biscayne
                   Boulevard, Suite 1900, Miami, FL 33131. Phone No. − 305−482−8404. Fax No. −
                   305−482−8600 by TRUE THE VOTE, INC. (Attachments: # 1 Declaration, # 2
                   Certificate of Service)(Mitchell, Cleta) (Entered: 08/28/2013)
   08/29/2013       MINUTE ORDER granting 25 Motion for Extension of Time to Answer. For good
                    cause shown, it is ORDERED that the motion for an extension of time is GRANTED
                    nunc pro tunc to August 5, 2013. The defendants shall answer or otherwise respond to
                    the plaintiff's amended complaint on or before September 20, 2013. Signed by Judge
                    Reggie B. Walton on 8/29/2013. (lcrbw2) (Entered: 08/29/2013)
   08/29/2013       MINUTE ORDER denying 26 Motion for Leave to Appear Pro Hac Vice. It appearing
                    to the Court from the motion that attorney Michael J. Lockerby is "[a]n attorney who
                    engages in the practice of law from an office located in the District of Columbia" and
                    is thus ineligible for admission pro hac vice under this Court's Local Rules, see Local
                    Civ. R. 83.2(c)(2), it is ORDERED that the motion is DENIED. Signed by Judge
                    Reggie B. Walton on 8/29/2013. (lcrbw2) (Entered: 08/29/2013)
   08/29/2013       MINUTE ORDER granting 44 Motion for Leave to Appear Pro Hac Vice; granting 45
                    Motion for Leave to Appear Pro Hac Vice. For good cause shown, it is ORDERED
                    that the motions are GRANTED. Attorneys Mathew D. Gutierrez and William E.
                    Davis may appear and be heard in the above captioned action. Signed by Judge Reggie
                    B. Walton on 8/29/2013. (lcrbw2) (Entered: 08/29/2013)
   08/30/2013       Set/Reset Deadline: The defendants shall answer or otherwise respond to the plaintiff's
                    amended complaint on or before 9/20/2013. (ad) (Entered: 08/30/2013)
   09/05/2013       MINUTE ORDER. In light of the representations made to the Court in the United
                    States' Suggestion of Incapacity of David Fish (see ECF no. 43 ), it is ORDERED that
                    the parties shall appear before the Court for a status hearing concerning the matters
                    addressed in the Suggestion of Incapacity at a date and time to be determined by the
                    Clerk. Signed by Judge Reggie B. Walton on 9/5/2013. (lcrbw2) (Entered: 09/05/2013)
   09/10/2013       Set/Reset Hearings: Status Conference set for 9/26/2013 10:15 AM in Courtroom 16
                    before Judge Reggie B. Walton. (mpt, ) (Entered: 09/10/2013)
   09/10/2013   46 NOTICE of Appearance by Jeffrey A. Lamken on behalf of RONALD BELL,
                   JANINE L. ESTES, SUSAN MALONEY, FAYE NG (Lamken, Jeffrey) (Entered:
                   09/10/2013)
   09/10/2013   47 NOTICE of Appearance by Justin V Shur on behalf of RONALD BELL, JANINE L.
                   ESTES, SUSAN MALONEY, FAYE NG (Shur, Justin) (Entered: 09/10/2013)
   09/10/2013   48 MOTION for Extension of Time to Respond to Plaintiff's First Amended Complaint by
                   RONALD BELL, JANINE L. ESTES, STEVEN GRODNITZKY, LOIS LERNER,
                   SUSAN MALONEY, STEVEN T. MILLER, FAYE NG, HOLLY PAZ, MICHAEL
                   SETO, DOUGLAS H. SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS
                   (Shur, Justin) (Entered: 09/10/2013)

                                             JA-10
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 11 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 14 of 228
   09/11/2013   49 NOTICE of Appearance by Brigida Benitez on behalf of STEVEN GRODNITZKY,
                   LOIS LERNER, STEVEN T. MILLER, HOLLY PAZ, MICHAEL SETO, DOUGLAS
                   H. SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS (Benitez, Brigida)
                   (Entered: 09/11/2013)
   09/18/2013   50 ENTERED IN ERROR. . . . .RETURN OF SERVICE/AFFIDAVIT of Summons and
                   Complaint Executed. CINDY M. THOMAS served on 8/19/2013, answer due
                   9/9/2013; WILLIAM WILKINS served on 8/10/2013, answer due 8/31/2013 (Phillips,
                   Kaylan) Modified on 9/19/2013 (td, ). (Entered: 09/18/2013)
   09/18/2013   51 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                   United States Attorney General. Date of Service Upon United States Attorney General
                   08/27/2013. (Phillips, Kaylan) (Entered: 09/18/2013)
   09/18/2013   52 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                   United States Attorney. Date of Service Upon United States Attorney on 9/12/2013.
                   Answer due for ALL FEDERAL DEFENDANTS by 11/11/2013. (Phillips, Kaylan)
                   (Entered: 09/18/2013)
   09/18/2013   53 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to
                   CINDY M. THOMAS served on 8/19/2013; WILLIAM WILKINS served on
                   8/10/2013. (td, ) (Entered: 09/19/2013)
   09/19/2013       NOTICE OF CORRECTED DOCKET ENTRY: 50 was entered in error and refiled as
                    docket entry no. 53 .(td, ) (Entered: 09/19/2013)
   09/20/2013   54 MOTION to Dismiss Motion to Dismiss Counts I, II, IV and V and Statement of Points
                   and Authorities by UNITED STATES OF AMERICA (Attachments: # 1 Text of
                   Proposed Order)(Hartt, Grover) (Entered: 09/20/2013)
   09/23/2013   55 ENTERED IN ERROR. . . . .RESPONSE re 48 MOTION for Extension of Time to
                   Respond to Plaintiff's First Amended Complaint filed by TRUE THE VOTE, INC..
                   (Johnson, Noel) Modified on 9/24/2013 (td, ). (Entered: 09/23/2013)
   09/24/2013       NOTICE OF ERROR re 55 Response to motion; emailed to
                    njohnson@actrightlegal.org, cc'd 29 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Invalid attorney signature, 2. Please refile document, 3.
                    The filing attorney and the signing attorney should be the same. (td, ) (Entered:
                    09/24/2013)
   09/24/2013   56 RESPONSE re 48 MOTION for Extension of Time to Respond to Plaintiff's First
                   Amended Complaint filed by TRUE THE VOTE, INC.. (Mitchell, Cleta) (Entered:
                   09/24/2013)
   09/25/2013       MINUTE ORDER granting 48 Motion for Extension of Time. Upon consideration of
                    the Motion and Memorandum of Law for an Extension of Time for the Individual
                    Defendants to Respond to Plaintiff's First Amended Complaint, and for good cause
                    shown, it is ORDERED that the motion is GRANTED. The individual defendants shall
                    answer or otherwise respond to the first amended complaint on or before October 18,
                    2013. Signed by Judge Reggie B. Walton on 9/25/2013. (lcrbw2) (Entered:
                    09/25/2013)
   09/25/2013   57 NOTICE of Appearance by Christopher David Belen on behalf of INTERNAL
                   REVENUE SERVICE, UNITED STATES OF AMERICA (Attachments: # 1 LCvR
                   83.2(j) Attorney Certification)(Belen, Christopher) (Entered: 09/25/2013)
   09/26/2013   58 ORDER. For the reasons stated in the attached Order, it is herebyORDERED that the
                   matters of Mr. Fish's legal representation and the appointment of a guardian ad litem
                   for Mr. Fish are HELD IN ABEYANCE until further order of the Court. Signed by
                   Judge Reggie B. Walton on 9/26/2013. (lcrbw2) (Entered: 09/26/2013)
   09/26/2013   59 SUPPLEMENT to 54 MOTION to Dismiss Motion to Dismiss Counts I, II, IV and V
                   and Statement of Points and Authorities by INTERNAL REVENUE SERVICE (Hartt,
                   Grover) Modified title on 9/30/2014 (tg, ). (Entered: 09/26/2013)
   09/26/2013       Minute Entry for proceedings held before Judge Reggie B. Walton: Status Conference
                    held on 9/26/2013. (Court Reporter Cathryn Jones.) (mpt, ) (Entered: 09/27/2013)


                                              JA-11
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 12 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 15 of 228
   09/27/2013   60 Notice to ClarifyTRUE THE VOTE'S CLARIFICATION OF ITS RESPONSE TO THE
                   INDIVIDUAL IRS DEFENDANTS' MOTION FOR AN EXTENSION OF TIME TO
                   OCTOBER 18, 2013 by TRUE THE VOTE, INC. (Mitchell, Cleta) Modified to read
                   "Notice" per chambers on 9/30/2013 (td, ). (Entered: 09/27/2013)
   09/30/2013   61 Joint MOTION for Briefing Schedule on Motions to Dismiss by TRUE THE VOTE,
                   INC. (Mitchell, Cleta) (Entered: 09/30/2013)
   10/02/2013   62 Consent MOTION for Extension of Time to File Response/Reply as to 54 MOTION to
                   Dismiss Motion to Dismiss Counts I, II, IV and V and Statement of Points and
                   Authorities by TRUE THE VOTE, INC. (Mitchell, Cleta) (Entered: 10/02/2013)
   10/03/2013       MINUTE ORDER granting 61 Motion for Briefing Schedule; granting 62 Motion for
                    Extension of Time to File Response/Reply. For good cause shown, and in light of the
                    parties' consent, the motions are GRANTED. The plaintiff's response(s) to motion(s)
                    to dismiss filed by any/all defendant(s) shall be filed on or before November 15, 2013,
                    and the defendants' reply briefs to the plaintiff's response(s) to motion(s) to dismiss
                    shall be filed on or before December 17, 2013. Signed by Judge Reggie B. Walton on
                    10/3/2013. (lcrbw2) (Entered: 10/03/2013)
   10/04/2013       Set/Reset Deadlines: Response due by 11/15/2013; Reply due by 12/17/2013. (mpt)
                    (Entered: 10/04/2013)
   10/18/2013   63 MOTION to Dismiss of Individual Management Defendants by STEVEN
                   GRODNITZKY, LOIS LERNER, STEVEN T. MILLER, HOLLY PAZ, MICHAEL
                   SETO, DOUGLAS H. SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS
                   (Attachments: # 1 Text of Proposed Order)(Benitez, Brigida) (Entered: 10/18/2013)
   10/18/2013   64 MOTION to Dismiss of Cincinnati Defendants by RONALD BELL, JANINE L.
                   ESTES, SUSAN MALONEY, FAYE NG (Attachments: # 1 Text of Proposed Order
                   Proposed Order)(Lamken, Jeffrey) (Entered: 10/18/2013)
   11/15/2013   65 Memorandum in opposition to re 59 Supplemental MOTION to Amend/Correct 54
                   MOTION to Dismiss Motion to Dismiss Counts I, II, IV and V and Statement of Points
                   and Authorities , 54 MOTION to Dismiss Motion to Dismiss Counts I, II, IV and V
                   and Statement of Points and Authorities filed by TRUE THE VOTE, INC..
                   (Attachments: # 1 Exhibit A, # 2 Text of Proposed Order Denying Motion to
                   Dismiss)(Mitchell, Cleta) (Entered: 11/15/2013)
   11/15/2013   66 MOTION for Leave to File Consolidated Oversized Memorandum in Opposition to
                   Individual Defendants' Motions to Dismiss by TRUE THE VOTE, INC. (Attachments:
                   # 1 Text of Proposed Order Granting Motion to File Consolidated Oversized
                   Memo)(Mitchell, Cleta) (Additional attachment(s) added on 11/18/2013: # 2 Exhibit
                   Opposition) (td, ). (Entered: 11/15/2013)
   11/15/2013   67 ENTERED IN ERROR. . . . .Memorandum in opposition to re 64 MOTION to Dismiss
                   of Cincinnati Defendants, 63 MOTION to Dismiss of Individual Management
                   Defendants filed by TRUE THE VOTE, INC.. (Attachments: # 1 Exhibit A, # 2 Text
                   of Proposed Order)(Mitchell, Cleta) Modified on 11/18/2013 (td, ). (Entered:
                   11/15/2013)
   11/16/2013   68 MOTION to Stay Agency Action by TRUE THE VOTE, INC. (Attachments: # 1 Text
                   of Proposed Order)(Mitchell, Cleta) (Entered: 11/16/2013)
   11/18/2013       NOTICE OF ERROR re 65 Memorandum in Opposition; emailed to
                    cmitchell@foley.com, cc'd 31 associated attorneys −− The PDF file you docketed
                    contained errors: 1. Leave to file not yet requested and/or granted, 2. This document
                    will be Entered In Error and added as an exhibit to the Motion for Leave. (ztd, )
                    (Entered: 11/18/2013)
   11/20/2013   69 Memorandum in opposition to re 66 MOTION for Leave to File Consolidated
                   Oversized Memorandum in Opposition to Individual Defendants' Motions to Dismiss
                   by Individual Management Defendants filed by STEVEN GRODNITZKY, LOIS
                   LERNER, STEVEN T. MILLER, HOLLY PAZ, MICHAEL SETO, DOUGLAS H.
                   SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS. (Attachments: # 1 Text of
                   Proposed Order)(Benitez, Brigida) (Entered: 11/20/2013)


                                             JA-12
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 13 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 16 of 228
   11/22/2013   70 REPLY to opposition to motion re 66 MOTION for Leave to File Consolidated
                   Oversized Memorandum in Opposition to Individual Defendants' Motions to Dismiss
                   filed by TRUE THE VOTE, INC.. (Mitchell, Cleta) (Entered: 11/22/2013)
   11/26/2013   71 RESPONSE re 66 MOTION for Leave to File Consolidated Oversized Memorandum
                   in Opposition to Individual Defendants' Motions to Dismiss filed by RONALD BELL,
                   JANINE L. ESTES, SUSAN MALONEY, FAYE NG. (Lamken, Jeffrey) (Entered:
                   11/26/2013)
   11/26/2013       MINUTE ORDER granting 66 Motion for Leave to File. Upon consideration of the
                    plaintiff's Motion to File Oversized Memorandum in Consolidated Response to
                    Individual Defendants' Motions to Dismiss, and the opposition thereto, and for good
                    cause shown, it is ORDERED that the motion is GRANTED nunc pro tunc to
                    November 15, 2013. The plaintiff's opposition to the individual defendants' motions to
                    dismiss is deemed timely filed. The plaintiff is admonished that future requests to file
                    oversized memoranda of law should be submitted to the Court prior to the date on
                    which any such memoranda are due in accordance with this Court's local rules. See
                    Local Civ. R. 7(e) ("A memorandum of points and authorities in support of or in
                    opposition to a motion shall not exceed 45 pages and a reply memorandum shall not
                    exceed 25 pages, without prior approval of the court."). Signed by Judge Reggie B.
                    Walton on 11/26/2013. (lcrbw2) (Entered: 11/26/2013)
   11/26/2013   72 Memorandum in opposition to re 64 MOTION to Dismiss of Cincinnati Defendants,
                   63 MOTION to Dismiss of Individual Management Defendants, 54 MOTION to
                   Dismiss Motion to Dismiss Counts I, II, IV and V and Statement of Points and
                   Authorities filed by TRUE THE VOTE, INC.. (Filed Nunc Pro Tunc to 11/15/2013,
                   pursuant to Minute Order filed on 11/26/2013 (jf, ) (Entered: 11/27/2013)
   12/03/2013   73 RESPONSE re 68 MOTION to Stay Agency Action Opposition to Plaintiff's Motion to
                   Stay Agency Action filed by UNITED STATES OF AMERICA. (Attachments: # 1
                   Exhibit 1)(Hartt, Grover) (Entered: 12/03/2013)
   12/09/2013   74 REPLY to opposition to motion re 68 MOTION to Stay Agency Action filed by TRUE
                   THE VOTE, INC.. (Mitchell, Cleta) (Entered: 12/09/2013)
   12/17/2013   75 NOTICE OF WITHDRAWAL OF APPEARANCE as to TRUE THE VOTE, INC..
                   Attorney Zachary S. Kester terminated. (Kester, Zachary) (Entered: 12/17/2013)
   12/17/2013   76 REPLY to opposition to motion re 63 MOTION to Dismiss of Individual Management
                   Defendants filed by STEVEN GRODNITZKY, LOIS LERNER, STEVEN T.
                   MILLER, HOLLY PAZ, MICHAEL SETO, DOUGLAS H. SHULMAN, CINDY M.
                   THOMAS, WILLIAM WILKINS. (Benitez, Brigida) (Entered: 12/17/2013)
   12/17/2013   77 REPLY to opposition to motion re 64 MOTION to Dismiss of Cincinnati Defendants
                   filed by RONALD BELL, JANINE L. ESTES, SUSAN MALONEY, FAYE NG.
                   (Lamken, Jeffrey) (Entered: 12/17/2013)
   12/17/2013   78 REPLY to opposition to motion re 54 MOTION to Dismiss Motion to Dismiss Counts
                   I, II, IV and V and Statement of Points and Authorities Reply in Support of Motion to
                   Dismiss Counts I, II, IV and V filed by UNITED STATES OF AMERICA. (Hartt,
                   Grover) (Entered: 12/17/2013)
   01/23/2014   79 NOTICE of Appearance by Erica Lynne Gerson on behalf of STEVEN
                   GRODNITZKY, LOIS LERNER, STEVEN T. MILLER, HOLLY PAZ, MICHAEL
                   SETO, DOUGLAS H. SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS
                   (Gerson, Erica) (Entered: 01/23/2014)
   06/02/2014   80 NOTICE OF SUPPLEMENTAL AUTHORITY by TRUE THE VOTE, INC.
                   (Attachments: # 1 Exhibit 1)(Johnson, Noel) (Entered: 06/02/2014)
   06/05/2014   81 REPLY re 80 NOTICE OF SUPPLEMENTAL AUTHORITY Federal Defendants'
                   Response to Plaintiff's Notice of Supplemental Authority filed by UNITED STATES
                   OF AMERICA. (Hartt, Grover) (Entered: 06/05/2014)
   06/18/2014   82 NOTICE of Appearance by Michael J. Lockerby on behalf of All Plaintiffs
                   (Attachments: # 1 Certificate of Service)(Lockerby, Michael) (Entered: 06/18/2014)


                                             JA-13
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 14 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 17 of 228
   06/30/2014   83 MOTION for Discovery (Plaintiff's Motion for Preliminary Injunction and Expedited
                   Discovery to Prevent Further Spoliation of, and to Preserve and Restore, Evidence
                   and Discoverable Information) by TRUE THE VOTE, INC. (Attachments: # 1 Text of
                   Proposed Order Granting Plaintiff's Motion for Preliminary Injunction and Expedited
                   Discovery to Prevent Further Spoliation of, and to Preserve and Restore, Evidence and
                   Discoverable Information, # 2 Memorandum in Support Plaintiff's Motion for
                   Preliminary Injunction and Expedited Discovery to Prevent Further Spoliation of, and
                   to Preserve and Restore, Evidence and Discoverable Information, # 3 Exhibit A, # 4
                   Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, #
                   10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J, # 13 Exhibit L, # 14 Exhibit M, # 15
                   Exhibit N, # 16 Exhibit O)(Lockerby, Michael). Added MOTION for Preliminary
                   Injunction on 7/1/2014 (td, ). (Entered: 06/30/2014)
   07/01/2014       NOTICE OF ERROR re 83 Motion for Discovery; emailed to mlockerby@foley.com,
                    cc'd 36 associated attorneys −− The PDF file you docketed contained errors: 1. Do not
                    refile. Remember to select all reliefs that pertain to your document when filing. (td, )
                    (Entered: 07/01/2014)
   07/01/2014       MINUTE ORDER. The Court having received the Plaintiff's Motion for Preliminary
                    Injunction and Expedited Discovery (ECF No. 83 ), and to ensure the prompt
                    resolution thereof, it is hereby ORDERED that the defendants shall file their
                    opposition to the plaintiff's motion on or before Monday, July 7, 2014, and it is further
                    ORDERED that the parties shall appear before the Court for a hearing on the merits of
                    the plaintiff's motion at 11:00 a.m. on Friday, July 11, 2014. Signed by Judge Reggie
                    B. Walton on 7/1/2014. (lcrbw2) (Entered: 07/01/2014)
   07/01/2014       Set/Reset Hearings: Motion Hearing set for 7/11/2014 11:00 AM in Courtroom 16
                    before Judge Reggie B. Walton. (mpt, ) (Entered: 07/01/2014)
   07/01/2014   84 NOTICE of Filing Exhibit K to Plaintiff's Motion for Preliminary Injunction and
                   Expedited Discovery to Prevent Further Spoliation of, and to Preserveand Restore,
                   Evidence and Discoverable Information by TRUE THE VOTE, INC. re 83 MOTION
                   for Discovery (Plaintiff's Motion for Preliminary Injunction and Expedited Discovery
                   to Prevent Further Spoliation of, and to Preserve and Restore, Evidence and
                   Discoverable Information) MOTION for Preliminary Injunction (Attachments: # 1
                   Exhibit K to Plaintiff's Motion for Preliminary Injunction and Expedited Discovery to
                   Prevent Further Spoliation of, and to Preserve and Restore, Evidence and Discoverable
                   Information)(Lockerby, Michael) (Entered: 07/01/2014)
   07/03/2014   85 NOTICE of Appearance by Erica Lynne Gerson on behalf of DAVID FISH (Gerson,
                   Erica) (Entered: 07/03/2014)
   07/03/2014   86 NOTICE of Appearance by Brigida Benitez on behalf of DAVID FISH (Benitez,
                   Brigida) (Entered: 07/03/2014)
   07/07/2014   87 Memorandum in opposition to re 83 MOTION for Discovery (Plaintiff's Motion for
                   Preliminary Injunction and Expedited Discovery to Prevent Further Spoliation of, and
                   to Preserve and Restore, Evidence and Discoverable Information) MOTION for
                   Preliminary Injunction filed by DAVID FISH, STEVEN GRODNITZKY, LOIS
                   LERNER, STEVEN T. MILLER, HOLLY PAZ, MICHAEL SETO, DOUGLAS H.
                   SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS. (Attachments: # 1 Exhibit
                   1)(Benitez, Brigida) (Entered: 07/07/2014)
   07/07/2014   88 RESPONSE re 83 MOTION for Discovery (Plaintiff's Motion for Preliminary
                   Injunction and Expedited Discovery to Prevent Further Spoliation of, and to Preserve
                   and Restore, Evidence and Discoverable Information) MOTION for Preliminary
                   Injunction United States' Response Opposing True the Vote's Motion for Premilinary
                   Injunction and Expedited Discovery filed by UNITED STATES OF AMERICA.
                   (Attachments: # 1 Exhibit Gov Ex A, # 2 Exhibit Gov Ex B, # 3 Exhibit Gov Ex C, # 4
                   Exhibit Gov Ex D)(Sergi, Joseph) (Entered: 07/07/2014)
   07/07/2014   89 Memorandum in opposition to re 83 MOTION for Discovery (Plaintiff's Motion for
                   Preliminary Injunction and Expedited Discovery to Prevent Further Spoliation of, and
                   to Preserve and Restore, Evidence and Discoverable Information) MOTION for
                   Preliminary Injunction filed by RONALD BELL, JANINE L. ESTES, SUSAN
                   MALONEY, FAYE NG. (Attachments: # 1 Text of Proposed Order)(Lamken, Jeffrey)
                   (Entered: 07/07/2014)
                                              JA-14
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 15 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 18 of 228
   07/08/2014   90 NOTICE of Appearance by Christopher Randy Egan on behalf of INTERNAL
                   REVENUE SERVICE, UNITED STATES OF AMERICA (Attachments: # 1 Cert of
                   Familiarity)(Egan, Christopher) (Entered: 07/08/2014)
   07/11/2014       Minute Entry for proceedings held before Judge Reggie B. Walton: Motion Hearing
                    held on 7/11/2014 re 83 MOTION for Discovery/Preliminary Injunction filed by
                    TRUE THE VOTE, INC., HEARD and TAKEN UNDER ADVISEMENT. (Order
                    forthcoming). (Court Reporter Cathryn Jones) (ad) (Entered: 07/11/2014)
   07/11/2014   91 ORDER. In accordance with the rulings orally issued by the Court during the July 11,
                   2014 hearing, and to inform the Court's consideration of current and/or future
                   discovery matters pertaining to the emails and computer hard drive at issue, it is
                   hereby ORDERED that, on or before July 18, 2014, defendant the Internal Revenue
                   Service shall submit to the Court an affidavit or declaration signed under oath by an
                   appropriate individual with firsthand knowledge that: 1. outlines the expertise and
                   qualifications of the individual or individuals currently conducting the forensic
                   examination as part of the Inspector General's investigation; 2. outlines the expertise
                   and qualifications of the individual or individuals who previously conducted forensic
                   examinations or otherwise attempted to recover information from the computer hard
                   drive at issue; 3. provides a projected date of completion of the Inspector General's
                   investigation; 4. states whether the serial number, if any, assigned to the computer hard
                   drive at issue is known; and 5. if the serial number is known, why the computer hard
                   drive cannot be identified and preserved. See the attachced order for additional details.
                   Signed by Judge Reggie B. Walton on 7/11/2014. (lcrbw2) (Entered: 07/11/2014)
   07/11/2014       Set/Reset Deadline: On or before 7/18/2014, defendant the Internal Revenue Service
                    shall submit to the Court an affidavit or declaration. (ad) (Entered: 07/11/2014)
   07/18/2014   92 NOTICE of Filing the Declaration of Timothy P. Camus, Stephen L. Manning, and
                   Todd Egaas by RONALD BELL, JANINE L. ESTES, DAVID FISH, STEVEN
                   GRODNITZKY, INTERNAL REVENUE SERVICE, LOIS LERNER, SUSAN
                   MALONEY, STEVEN T. MILLER, FAYE NG, HOLLY PAZ, MICHAEL SETO,
                   DOUGLAS H. SHULMAN, CINDY M. THOMAS, UNITED STATES OF
                   AMERICA, UNKNOWN NAMED EMLPLOYEES OF INTERNAL REVENUE
                   SERVICE, DANIEL WERFEL, WILLIAM WILKINS re 91 Order,,,,, (Attachments: #
                   1 Exhibit Ex. A Declaration of Timothy Camus, # 2 Exhibit Ex. B Declaration of
                   Stephen L. Manning, # 3 Exhibit Ex. C Declaration of Todd O. Egaas)(Sergi, Joseph)
                   (Entered: 07/18/2014)
   07/21/2014   93 NOTICE OF SUPPLEMENTAL AUTHORITY by RONALD BELL, JANINE L.
                   ESTES, DAVID FISH, STEVEN GRODNITZKY, LOIS LERNER, SUSAN
                   MALONEY, STEVEN T. MILLER, FAYE NG, HOLLY PAZ, MICHAEL SETO,
                   DOUGLAS H. SHULMAN, CINDY M. THOMAS, WILLIAM WILKINS (Lamken,
                   Jeffrey) (Entered: 07/21/2014)
   07/22/2014   94 NOTICE OF SUPPLEMENTAL AUTHORITY by TRUE THE VOTE, INC.
                   (Johnson, Noel) (Entered: 07/22/2014)
   07/23/2014   95 RESPONSE re 94 NOTICE OF SUPPLEMENTAL AUTHORITY Federal
                   Defendants' Response to Plaintiffs' Notice of Supplemental Authority filed by UNITED
                   STATES OF AMERICA. (Hartt, Grover) (Entered: 07/23/2014)
   08/07/2014   96 ORDER denying 83 Motion for Discovery; denying 83 Motion for Preliminary
                   Injunction. Per the attached Order and for the reasons stated in the Memorandum
                   Opinion entered this same date, it is hereby ORDERED that the Plaintiff's Motion for
                   Preliminary Injunction and Expedited Discovery to Prevent Further Spoliation of, and
                   to Preserve and Restore, Evidence and Discoverable Information is DENIED. Signed
                   by Judge Reggie B. Walton on 8/7/2014. (lcrbw2) (Entered: 08/07/2014)
   08/07/2014   97 MEMORANDUM OPINION. Signed by Judge Reggie B. Walton on 8/7/2014.
                   (lcrbw2) (Entered: 08/07/2014)
   09/02/2014   98 TRANSCRIPT OF PROCEEDINGS before Judge Reggie B. Walton held on July 11,
                   2014; Page Numbers: 1 − 88. Court Reporter/Transcriber Cathryn Jones, Telephone
                   number 202 354−3246, Court Reporter Email Address :
                   jcathryn55@yahoo.com.<P></P>For the first 90 days after this filing date, the
                   transcript may be viewed at the courthouse at a public terminal or purchased from the
                   court reporter referenced above. After 90 days, the transcript may be accessed via
                                              JA-15
       Case: 1:13-cv-00734-RBW As of: 12/04/2015 10:53 AM EST 16 of 16
USCA Case #14-5316    Document #1587305        Filed: 12/07/2015 Page 19 of 228
                     PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may be
                     purchased from the court reporter.<P>NOTICE RE REDACTION OF
                     TRANSCRIPTS: The parties have twenty−one days to file with the court and the
                     court reporter any request to redact personal identifiers from this transcript. If no such
                     requests are filed, the transcript will be made available to the public via PACER
                     without redaction after 90 days. The policy, which includes the five personal
                     identifiers specifically covered, is located on our website at
                     ww.dcd.uscourts.gov.<P></P> Redaction Request due 9/23/2014. Redacted Transcript
                     Deadline set for 10/3/2014. Release of Transcript Restriction set for 12/1/2014.(Jones,
                     Cathryn) (Entered: 09/02/2014)
   10/08/2014    99 NOTICE OF SUPPLEMENTAL AUTHORITY by TRUE THE VOTE, INC.
                    (Johnson, Noel) (Entered: 10/08/2014)
   10/13/2014   100 RESPONSE re 99 NOTICE OF SUPPLEMENTAL AUTHORITY filed by RONALD
                    BELL, JANINE L. ESTES, DAVID FISH, STEVEN GRODNITZKY, LOIS
                    LERNER, SUSAN MALONEY, STEVEN T. MILLER, FAYE NG, HOLLY PAZ,
                    MICHAEL SETO, DOUGLAS H. SHULMAN, CINDY M. THOMAS, WILLIAM
                    WILKINS. (Gerson, Erica) (Entered: 10/13/2014)
   10/17/2014   101 NOTICE OF WITHDRAWAL OF APPEARANCE as to INTERNAL REVENUE
                    SERVICE, UNITED STATES OF AMERICA. Attorney Christopher David Belen
                    terminated. (Belen, Christopher) (Entered: 10/17/2014)
   10/23/2014   102 ORDER granting 54 Motion to Dismiss; granting 63 Motion to Dismiss; granting 64
                    Motion to Dismiss; denying 68 Motion to Stay. Per the attached Order, and for the
                    reasons stated in the Court's Memorandum Opinion issued this same date, it is hereby
                    ORDERED that the Defendants' Motion to Dismiss Counts I, II, IV[,] and V is
                    GRANTED. It is further ORDERED that the Individual Management Defendants'
                    Motion to Dismiss is GRANTED. It is further ORDERED that the Motion to Dismiss
                    of Cincinnati Defendants Susan Maloney, Ronald Bell, Janine L. Estes, and Faye Ng is
                    GRANTED. It is further ORDERED that the Plaintiff's Motion to Stay Agency Action
                    is DENIED AS MOOT. It is further ORDERED that the plaintiff's request for an oral
                    hearing is DENIED AS MOOT. It is further ORDERED that this case is CLOSED.
                    Signed by Judge Reggie B. Walton on October 23, 2014. (lcrbw2) (Entered:
                    10/23/2014)
   10/23/2014   103 MEMORANDUM OPINION. Signed by Judge Reggie B. Walton on October 23,
                    2014. (lcrbw2) (Entered: 10/23/2014)
   12/18/2014   104 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 103 Memorandum & Opinion,
                    102 Order on Motion to Dismiss,,, Order on Motion to Stay,,,,,,,,,,,, by TRUE THE
                    VOTE, INC.. Filing fee $ 505, receipt number 0090−3940769. Fee Status: Fee Paid.
                    Parties have been notified. (Johnson, Noel) (Entered: 12/18/2014)
   12/18/2014   105 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court
                    of Appeals. The Court of Appeals fee was paid this date 12/18/14 re 104 Notice of
                    Appeal to DC Circuit Court,. (td, ) (Entered: 12/18/2014)
   12/19/2014        USCA Case Number 14−5316 for 104 Notice of Appeal to DC Circuit Court, filed by
                     TRUE THE VOTE, INC.. (rd) (Entered: 12/19/2014)




                                               JA-16
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 1 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 20 of 228



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 TRUE THE VOTE, INC.,
 7232 Wynnwood Lane
 Houston, TX 77008-6041                                    Civ. No. 13-cv-00734-RBW

                                              Plaintiff,

    v.


 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 UNITED STATES OF AMERICA,
 Serve: Eric H. Holder
 Attorney General for the United States
 Department of Justice
 Room B-103
 950 Pennsylvania Ave. NW
 Washington DC 20530-0001

 Serve: Ronald C. Machen, Jr.
 United States Attorney for the District of Columbia,
 United States Attorney’s Office
 ATTN: Civil Process Clerk
 555 4th Street, NW
 Washington, DC 20530

 DANIEL WERFEL, in his official capacity as
 Acting Commissioner of the INTERNAL REVENUE
 SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 STEVEN T. MILLER, in his official and individual
 capacity as former Deputy Commissioner, Services &
 Enforcement, and Acting Commissioner, INTERNAL
 REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 5006 Elsmere Place
 Bethesda, MD 20814



                                              JA-17
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 2 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 21 of 228



 DOUGLAS H. SHULMAN, in his official and
 individual capacity as former Commissioner,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 2706 36th Street, N.W.
 Washington, DC 20007

 WILLIAM WILKINS, in his official and individual
 capacity as Chief Counsel, INTERNAL REVENUE
 SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 [Residential address forthcoming]

 LOIS LERNER, in her official and individual
 capacity as Director, Exempt Organizations Division,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 6610 Fernwood Court
 Bethesda, MD 20817

 HOLLY PAZ, in her official and individual capacity
 as Acting Manager, Exempt Organizations Technical
 Unit, Acting Director, Office of Rulings &
 Agreements, and Director, Office of Rulings &
 Agreements, INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 5703 Northfield Road
 Bethesda, MD 20817

 CINDY M. THOMAS, in her official and individual
 capacity as Program Manager, Exempt Organizations
 Determinations Unit of the INTERNAL REVENUE
 SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 11 Wesley Drive
 Wilder, KY 41076-1472



                                            JA-18
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 3 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 22 of 228



 STEVEN GRODNITZKY, in his official and
 individual capacity as Manager, Exempt
 Organizations Technical Unit,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 916 6th Street, NE
 Washington, DC 20002

 DAVID FISH, in his official and individual capacity
 as Acting Director, Office of Rulings & Agreements,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 3623 37th St. N.
 Arlington, VA 22207

 MICHAEL C. SETO, in his official capacity and
 individual capacity as Acting Manager, Technical
 Unit, INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 1711 Massachusetts Avenue, N.W., #512
 Washington, D.C. 20036

 SUSAN MALONEY, in her official and individual
 capacity as an Exempt Organizations Specialist,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 4753 Summerside Road
 Cincinnati, OH 45244

 RONALD BELL, in his official and individual
 capacity as an Exempt Organizations Specialist,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224,

 929 Main Street
 Covington, KY 41011




                                             JA-19
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 4 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 23 of 228



 JANINE L. ESTES, in her official and individual
 capacity as an Exempt Organizations Specialist,
 INTERNAL REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 8956 Richmond Road
 Union, KY 41091

 FAYE NG, in her official and individual capacity as
 an Exempt Organizations Specialist, INTERNAL
 REVENUE SERVICE,
 1111 Constitution Avenue, N.W.
 Washington, DC 20224

 6568 Pepperell Lane
 Cincinnati, OH 45236, and

 UNKNOWN NAMED EMPLOYEES OF THE
 INTERNAL REVENUE SERVICE, in their official
 and individual capacities,

                                           Defendants.

         First Amended Verified Complaint for Declaratory Judgment,
     Injunctive Relief, and Compensatory, Statutory, and Punitive Damages


        Plaintiff, True the Vote, Inc. (“True the Vote”), by counsel, respectfully states as follows

 for its complaint against Defendants the Internal Revenue Service (“IRS”), the United States of

 America (the “U.S. Government”), IRS Commissioner Daniel Werfel (“Commissioner Werfel”),

 and Steven T. Miller (“Mr. Miller”), Douglas H. Shulman (“Mr. Shulman”), William Wilkins

 (“Mr. Wilkins”), Lois Lerner (“Ms. Lerner”), Holly Paz (“Ms. Paz”), Steven Grodnitzky (“Mr.

 Grodnitzky”), David Fish (“Mr. Fish”), Michael C. Seto (“Mr. Seto”), Cindy M. Thomas (“Ms.

 Thomas”), Susan Maloney (“Ms. Maloney”), Ronald Bell (“Mr. Bell”), Janine L. Estes (“Ms.

 Estes”), Faye Ng (“Ms. Ng”), and Unknown Named Employees of the Internal Revenue Service

 (collectively, the “IRS Employees”) (collectively, the “IRS Defendants”).




                                               JA-20
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 5 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 24 of 228



                                           Introduction

        1.      This action arises out of the IRS Defendants’ wrongful acts and omissions

 concerning the application of True the Vote to the IRS for recognition as a tax-exempt

 educational and charitable organization pursuant to the following Sections of Title 26 of the U.S.

 Code, the Internal Revenue Code: 26 U.S.C. § 501(c)(3) (“Section 501(c)(3)”), 26 U.S.C. §

 509(a)(1) (“Section 509(a)(1)”), and 26 U.S.C. § 170(b)(1)(A)(vi) (“Section 170(b)(1)(A)(vi)”).

        2.      True the Vote is a not-for-profit Texas corporation organized and operated

 exclusively or primarily for a charitable purpose.

        3.      True the Vote is entitled to tax-exempt status by virtue of its status as a not-for-

 profit, non-partisan, charitable and educational organization. As stated in True the Vote’s

 application for tax-exempt status (the “Application”) and other information furnished to the IRS,

 True the Vote’s mission is to promote and improve the integrity of the voting process in the

 United States. Its primary activity is to observe and promote better compliance with election

 laws and procedures through citizen participation. True the Vote seeks to educate the public

 about election law compliance and procedures. True the Vote works with any person or

 organization who shares its mission of supporting and promoting free and fair elections. True the

 Vote’s charitable and educational purposes fall squarely within applicable legal precedent for

 tax-exempt status under Sections 501(c)(3), 509(a)(1) and 170(b)(1)(A)(vi).

        4.      It has now been more than three years since True the Vote filed its Application

 with the IRS on July 15, 2010. Yet the Application remains pending at the IRS. As a practical

 matter, True the Vote’s application has essentially been denied, albeit without benefit of the

 normal and customary appeals process to which applicants are entitled.




                                               JA-21
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 6 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 25 of 228


        5.        Because of True the Vote’s mission of promoting election integrity and its

 perceived association with “Tea Party” organizations, the IRS Defendants systematically

 targeted True the Vote’s application for unwarranted delay and heightened review and scrutiny.

 As a result, True the Vote was deliberately subjected to numerous unnecessary, burdensome, and

 unlawful requests for information about its operations, activities, leadership, volunteers,

 associations, and affiliations. The effect if not the intent of this wrongful conduct was to infringe

 the First Amendment rights of free speech and association of True the Vote and its members,

 supporters, and donors—both current and prospective.

        6.        Under the IRS Defendants’ unlawful scheme, True the Vote was forced to

 repeatedly furnish the IRS with information, materials, and documents that were not necessary to

 determine whether True the Vote was entitled to tax-exempt status. The IRS Defendants’

 repeated requests for additional information and documents were intended to harass True the

 Vote and to have a chilling effect on the First Amendment rights of current and prospective

 members and donors. Rather than use True the Vote’s information and documents for any

 legitimate purpose, the IRS Defendants repeatedly accessed and inspected the information in

 violation of federal law that prohibits IRS agents from inspecting taxpayer information without

 authorization.

        7.        By creating, developing, implementing, and applying this unlawful scheme, the

 IRS Defendants acted in violation of their oaths and duties to uphold the Constitution of the

 United States and the laws of the United States. Instead, the IRS Defendants exceeded their

 authority under federal law to recognize the status of tax-exempt charitable and educational

 organizations. True the Vote has been irreparably harmed, and its recognition as a tax-exempt




                                                JA-22
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 7 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 26 of 228


 charitable and educational organization has been improperly withheld as a result of the IRS

 Defendants’ actions.

        8.       True the Vote has taken, in a timely manner, all reasonable steps to secure a

 determination from the IRS of its charitable and educational status.

        9.       The IRS has failed to make a determination with respect to True the Vote’s

 Application despite multiple efforts over three years by True the Vote to furnish to the IRS all

 information requested, including substantial information and materials unnecessary to the

 processing of True the Vote’s Application.

        10.      Due to the unwarranted and unlawful delay of the processing of its Application,

 True the Vote requested hardship status three times to seek an expedited processing of its

 Application. However, no expedited process occurred.

        11.      Attached as Exhibit A is a timeline describing True the Vote’s correspondence

 with the IRS regarding its Application.

        12.      It has been more than 270 days since the IRS received a substantially completed

 application for tax-exempt status from True the Vote, thereby confirming that True the Vote has

 exhausted its administrative remedies as required under 26 U.S.C. § 7428(b)(2).

        13.      Accordingly, True the Vote seeks the following relief against the following IRS

 Defendants:

              a. against the U.S. Government, a declaratory judgment pursuant to 26 U.S.C.

                 § 7428 finding that True the Vote is a tax-exempt charitable and educational

                 organization under Sections 501(c)(3), 509(a)(1), and 170(b)(1)(A)(vi);




                                               JA-23
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 8 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 27 of 228


              b. against the IRS and Commissioner Werfel, a declaratory judgment and injunctive

                 relief pursuant to 28 U.S.C. §§ 2201 and 2202 to prevent further infringement of

                 True the Vote’s First Amendment rights of free speech and association;

              c. against the Defendant IRS Employees in their individual capacities, pursuant to

                 Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics, 403

                 U.S. 388 (1971), actual and/or punitive damages resulting from the Defendant

                 IRS Employees’ violations of True the Vote’s First Amendment rights of free

                 speech and association;

              d. against the U.S. Government, pursuant to 26 U.S.C. § 7431, statutory and/or

                 actual and punitive damages caused by the U.S. Government’s willful,

                 unauthorized inspection of True the Vote’s confidential tax return information in

                 violation of 26 U.S.C. § 6103; and

              e. against each of the IRS Defendants, in their official capacities, declaratory and

                 injunctive relief from violations of the Administrative Procedure Act, 5 U.S.C. §

                 706 (the “APA”).

                                     Jurisdiction and Venue

                                    (Subject Matter Jurisdiction)


        14.      This Court has subject matter jurisdiction under 26 U.S.C. § 7431(a), 28 U.S.C. §

 1331 (federal question), 28 U.S.C. § 2201 (Declaratory Judgment Act), and 5 U.S.C. § 702

 (Administrative Procedure Act).

        15.      This Court also has subject matter jurisdiction under 28 U.S.C. § 1346(e) because

 this is an action brought pursuant to 26 U.S.C. § 7428.




                                                JA-24
       Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 9 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 28 of 228


        16.      True the Vote satisfies the prerequisites for an action under 28 U.S.C. § 7428 for

 the following reasons:

              a. True the Vote seeks relief as to its qualification or classification under Section

                 501(c)(3), thereby satisfying the requirements of 28 U.S.C. § 7428(b)(1).

              b. The IRS has failed to make a determination with respect to True the Vote’s initial

                 qualification as an organization described in Section501(c)(3), thereby satisfying

                 the requirements of 28 U.S.C. § 7428(a)(2).

              c. True the Vote has exhausted its administrative remedies, thereby satisfying the

                 requirements of 28 U.S.C. § 7428(b)(2).

              d. There are actual legal interests of sufficient immediacy to reflect an actual

                 controversy between True the Vote and the U.S. Government, thereby satisfying

                 the requirements of 28 U.S.C. § 7428(a).

        17.      This Court is duly authorized and empowered pursuant to 26 U.S.C. § 7428 to

 issue a declaratory judgment granting the initial qualification for exempt status of an

 organization such as True the Vote as described in Section 501(c)(3) of the Code.

        18.      Pursuant to 28 U.S.C. § 2201, Defendant U.S. Government has waived its

 sovereign immunity with regard to True the Vote’s claims seeking declaratory relief from

 violations of its constitutional rights. Section 2201 does not bar review of these claims because

 they are not “with respect to Federal taxes.”

        19.      The Anti-Injunction Act, 26 U.S.C. § 7421(a), does not bar review of these claims

 because they are not brought “for the purpose of restraining the assessment or collection of any

 tax.” Alternatively, these claims are not barred because they satisfy one or more of the judicially-

 created exceptions to the Anti-Injunction Act. See, e.g., Enochs v. Williams Packing and




                                                 JA-25
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 10 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 29 of 228


 Navigation Co., 370 U.S. 1 (1962); South Carolina v. Regan, 465 U.S. 367 (1984); Cohen v.

 United States, 650 F.3d 717 (D.C. Cir. 2011) (en banc).

        20.      This Court is authorized pursuant to 28 U.S.C. § 2202 to grant “[f]urther

 necessary or proper relief based on a declaratory judgment or decree,” including injunctive relief.

        21.      Pursuant to 5 U.S.C. § 702, the U.S. Government has waived its sovereign

 immunity in actions “seeking relief other than money damages and stating a claim that an agency

 or an officer or employee thereof acted or failed to act in an official capacity or under color of

 legal authority….”

           22.   The U.S. Government has waived its sovereign immunity pursuant to 26 U.S.C.

 § 7431, which provides taxpayers a cause of action for damages against the United States for

 knowing or negligent unauthorized inspection of tax return information in violation of 26 U.S.C.

 § 6103.

        23.      Defendant U.S. Government is a proper defendant pursuant to 26 U.S.C.

 § 7431(a)(1) and 28 U.S.C. § 1346(e).

           24.   This action is brought within two years after the date of discovery by True the

 Vote of the unauthorized inspections of its confidential taxpayer return information as described

 herein. 26 U.S.C. § 7431(d).

                                       (Personal Jurisdiction)

           25.   Personal jurisdiction over the IRS and U.S. Government is proper in this Court

 because they “maintain [their]…principal place of business in” the District of Columbia. D.C.

 Code § 13-422.

           26.   Personal jurisdiction over Defendants Mr. Miller, Mr. Wilkins, Ms. Lerner, Ms.

 Paz, and Mr. Fish, and Unknown Named Employees of the IRS is proper in this Court because at




                                                JA-26
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 11 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 30 of 228


 times relevant to this Complaint they “maintain[ed] [their]…principal place of business in” the

 District of Columbia, D.C. Code § 13-422, and have “transact[ed]…business in the District of

 Columbia,” D.C. Code § 13-423(a)(1).

        27.      Personal jurisdiction over Defendants Mr. Shulman, Mr. Grodnitzky, and Mr.

 Seto are proper in this Court because they are “domiciled in” the District of Columbia and at

 times relevant to this Complaint “maintain[ed] [their]…principal place of business in” the

 District of Columbia. D.C. Code § 13-422.

        28.       Personal jurisdiction over defendants Mr. Thomas, Ms. Maloney, Mr. Bell, Ms.

 Estes, Ms. Ng, and Unknown Named Employees of the IRS is proper in this Court for the

 following reasons:

              a. Each of the foregoing IRS Employees has established minimum contacts with this

                 forum by virtue of deliberate actions or omissions, described more thoroughly

                 herein, regarding the processing of True the Vote’s application for tax-exempt

                 status within this forum. Such involvement also satisfies the conditions for

                 jurisdiction within this forum under D.C. Code § 13-423(a)(1)

                 (“transacting…business in the District of Columbia”) and D.C. Code § 13-

                 423(a)(4) (“causing tortious injury in the District of Columbia by an act or

                 omission outside the District of Columbia” while “engag[ing] in [a] persistent

                 course of conduct” within the District of Columbia);

              b. Each of the foregoing IRS Employees worked in concert with one or more of the

                 IRS Defendants residing in the District of Columbia—including the IRS, Mr.

                 Miller, Mr. Shulman, Mr. Wilkins, Ms. Lerner, Ms. Paz, Mr. Grodnitzky, Mr.

                 Fish, Mr. Seto, and Unknown Named Employees of the IRS—in furtherance of a




                                               JA-27
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 12 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 31 of 228


                 civil conspiracy aimed at creating, revising, implementing and applying the

                 unlawful and discriminatory IRS Targeting Scheme, described more thoroughly

                 herein, in violation of the statutory and constitutional rights of True the Vote and

                 others.

                                                 (Venue)

         29.     Venue is proper in this district under 26 U.S.C. § 7428(a), which requires such

 actions to be brought in either the United States Tax Court, the United States Court of Federal

 Claims, or the United States District Court for the District of Columbia.

         30.     Venue is also appropriate under 28 U.S.C. § 1391(e)(1)(B) because a substantial

 part of the events or omissions giving rise to the claims occurred in this district.

                                               The Parties

                                                (Plaintiff)

         31.     Plaintiff True the Vote, Inc. is a not-for-profit corporation duly created on June 7,

 2010 and validly existing under the laws of the State of Texas. True the Vote’s current mailing

 address is in care of its registered agent:

                           Catherine Engelbrecht
                           7232 Wynnwood Lane
                           Houston, TX 77008-6041

                                        (The IRS Defendants)

         32.     Defendant IRS is an agency of the U.S. Government that is responsible for

 administration and enforcement of provisions of the Internal Revenue Code, as well as all other

 IRS rules, regulations, policies, procedures, and practices.

         33.     Defendant the U.S. Government is a proper defendant pursuant to 5 U.S.C. § 702,

 26 U.S.C. §§ 7428, 7431(a), and 28 U.S.C. § 1346(e).




                                                 JA-28
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 13 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 32 of 228


         34.     Defendant Commissioner Werfel is the Acting Commissioner of the IRS. As

 such, Commissioner Werfel is responsible for managing, directing, and supervising the activities

 and executing and implementing the laws and policies of the IRS. Commissioner Werfel is sued

 in his official capacity only.

         35.     At times relevant to this Complaint, Defendant Mr. Miller was either the Deputy

 Commissioner for Services and Enforcement, or the Acting Commissioner, of the IRS. His

 current position with the U.S. Government is unknown to True the Vote. During the time that he

 was Deputy Commissioner for Services and Enforcement or the Acting Commissioner of the

 IRS, Mr. Miller was responsible for managing, directing, and supervising the activities of the

 IRS and executing and implementing the laws, regulations, and policies governing the activities

 of the IRS. Mr. Miller is sued in his official capacity, and pursuant to Fed. R. Civ. P. 4(i)(3), in

 his individual capacity for acts and omissions occurring in connection with duties performed on

 behalf of the U.S. Government.

         36.     At times relevant to this Complaint, Defendant Mr. Shulman was the

 Commissioner of the IRS. At such times, he was responsible for managing, directing, and

 supervising the activities of the IRS and executing and implementing the laws, regulations, and

 policies governing the activities of the IRS. Mr. Shulman is sued in his official capacity and,

 pursuant to Fed. R. Civ. P. 4(i)(3), in his individual capacity for acts and omissions occurring in

 connection with duties performed on behalf of the U.S. Government.

         37.     Defendant Mr. Wilkins is the Chief Counsel for the IRS, appointed to that

 position by the President of the United States. At times relevant to this Complaint, Mr. Wilkins

 was responsible for interpreting, administering and enforcing the Internal Revenue laws,

 representing the IRS in litigation, and providing all other legal support needed by the IRS. He




                                                JA-29
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 14 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 33 of 228


 and IRS Employees subject to his supervision and control were directly involved in the actions

 and activities described in this Complaint. Mr. Wilkins is sued in his official capacity and,

 pursuant to Fed. R. Civ. P. 4(i)(3), in his individual capacity for acts and omissions occurring in

 connection with duties performed on behalf of the U.S. Government.

        38.     At times relevant to this Complaint, Defendant Ms. Lerner was the Director of the

 Exempt Organizations Division of the IRS. At such times, she was responsible for planning,

 managing, directing, administering, enforcing, and executing the rules, policies and practices of

 the Exempt Organizations Division of the IRS. Ms. Lerner is sued in her official capacity and,

 pursuant to Fed. R. Civ. P. 4(i)(3), in her individual capacity for acts and omissions occurring in

 connection with duties performed on behalf of the U.S. Government.

        39.     At times relevant to this Complaint, Defendant Ms. Paz was either the Acting

 Manager, Exempt Organizations Technical Unit; the Acting Director, Office of Rulings and

 Agreements; or the Director, Office of Rulings and Agreements, of the IRS. Her current position

 with the government is unknown to True the Vote. Ms. Paz was responsible for processing

 determination letter requests from exempt organizations seeking recognition of tax-exempt

 status, and providing assistance and guidance to other IRS officers and employees involved in

 such processing. Ms. Paz is sued in her official capacity and, pursuant to Fed. R. Civ. P. 4(i)(3),

 in her individual capacity for acts and omissions occurring in connection with duties performed

 on behalf of the U.S. Government.

        40.      Defendant Ms. Thomas is the Program Manager, Exempt Organizations

 Determinations Unit, of the IRS. She is the highest ranking IRS employee in the Exempt

 Organizations Determination Unit of the IRS, located in Cincinnati, Ohio. She is responsible for

 processing determination letter requests from exempt organizations seeking recognition of tax-




                                               JA-30
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 15 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 34 of 228


 exempt status, and providing assistance and guidance to other IRS officers and employees

 involved in such processing. She is sued in her official and, pursuant to Fed. R. Civ. P. 4(i)(3), in

 her individual capacity for acts and omissions occurring in connection with duties performed on

 behalf of the U.S. Government.

        41.     Defendant Mr. Grodnitzky is a Manager, Exempt Organizations Technical Unit,

 of the IRS. He is responsible for processing determination letter requests from exempt

 organizations seeking recognition of tax-exempt status, and providing assistance and guidance to

 other IRS officers and employees involved in such processing. He is sued in his official capacity

 and, pursuant to Fed. R. Civ. P. 4(i)(3), in his individual capacity for acts and omissions

 occurring in connection with duties performed on behalf of the U.S. Government

        42.      At times relevant to this Complaint, Defendant Mr. Fish was either the Acting

 Director, Exempt Organizations Office of Rulings and Agreements, or the Manager, Exempt

 Organizations, Guidance Unit, of the IRS. At such times, he was responsible for processing

 determination letter requests from exempt organizations seeking recognition of tax-exempt

 status, and providing assistance and guidance to other IRS officers and employees involved in

 such processing. His current position with the government is unknown to True the Vote. He is

 sued in his official capacity and, pursuant to Fed. R. Civ. P. 4(i)(3), in his individual capacity for

 acts and omissions occurring in connection with duties performed on behalf of the U.S.

 Government.

        43.     Defendant Mr. Seto is the Acting Manager, Exempt Organizations Technical

 Unit, of the IRS. He is responsible for processing determination letter requests from exempt

 organizations seeking recognition of tax-exempt status, and providing assistance and guidance to

 other IRS officers and employees involved in such processing. He is sued in his official capacity




                                                JA-31
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 16 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 35 of 228


 and, pursuant to Fed. R. Civ. P. 4(i)(3), in his individual capacity for acts and omissions

 occurring in connection with duties performed on behalf of the U.S. Government.

        44.     Defendant Ms. Maloney is an IRS Exempt Organizations Specialist in the IRS

 Determinations Unit who oversaw the processing of True the Vote’s application for tax-exempt

 status. She is sued in her official capacity and, pursuant to Fed. R. Civ. P. 4(i)(3), in her

 individual capacity for acts and omissions occurring in connection with duties performed on

 behalf of the U.S. Government.

        45.     Defendant Mr. Bell is an IRS Exempt Organizations Specialist in the IRS

 Determinations Unit who oversaw the processing of True the Vote’s application for tax-exempt

 status. He is sued in his official capacity and, pursuant to Fed. R. Civ. P. 4(i)(3), in his individual

 capacity for acts and omissions occurring in connection with duties performed on behalf of the

 U.S. Government.

        46.     Defendant Ms. Estes is an IRS Exempt Organizations Specialist in the IRS

 Determinations Unit who oversaw the processing of True the Vote’s application for tax-exempt

 status. She is sued in her official capacity and, pursuant to Fed. R. Civ. P. 4(i)(3), in her

 individual capacity for acts and omissions occurring in connection with duties performed on

 behalf of the U.S. Government.

        47.     Defendant Ms. Ng is an IRS Exempt Organizations Specialist in the IRS

 Determinations Unit who oversaw the processing of True the Vote’s application for tax-exempt

 status. She is sued in her official capacity and, pursuant to Fed. R. Civ. P. 4(i)(3), in her

 individual capacity for acts and omissions occurring in connection with duties performed on

 behalf of the U.S. Government.




                                                JA-32
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 17 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 36 of 228


         48.     Defendant Unknown Named Employees of the Internal Revenue Service are

 current and/or former directors, officers, agents, and employees of the IRS who developed,

 implemented, applied, approved, or oversaw the unconstitutional IRS identification, review, and

 processing criteria and policies described herein. Each Unknown Named Defendant is sued in his

 or her official capacity and/or, pursuant to Fed. R. Civ. P. 4(i)(3), in his or her individual

 capacity for acts and omissions occurring in connection with duties performed on behalf of the

 U.S. Government. The identity of all individual named defendants liable to True the Vote cannot

 be completely and accurately ascertained at this time, but will be more fully known after the

 completion of discovery.

         49.     At all times relevant to this Complaint, the IRS Employee Defendants were acting

 under color of federal law within the scope of their employment at the IRS.

                                       Factual Allegations

 True the Vote’s Application for Tax-exempt Status

         50.     On June 7, 2010, an entity then known as KSP/True the Vote was duly created as

 a non-profit corporation under the laws of the State of Texas. (Exhibit B at 20.)

         51.     KSP stands for “King Street Patriots,” which was True the Vote’s 26 U.S.C.

 § 501(c)(4) affiliated organization. King Street Patriots and True the Vote are separate and

 distinct corporate entities.

         52.     On August, 26, 2011, KSP/True the Vote changed its name to True the Vote, Inc.

         53.     On July 15, 2010, True the Vote properly filed with the IRS its Application for

 Recognition of Exemption Under Section 501(c)(3) of the Internal Revenue Code (Form 1023)

 (Exhibit B.)




                                                JA-33
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 18 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 37 of 228


        54.     True the Vote received no further contact from the IRS Defendants during

 calendar year 2010.

        55.     On January 5, 2011, at the request of True the Vote, Sen. John Cornyn (R-TX)

 inquired of the IRS as to the status of True the Vote’s application for tax-exempt status on behalf

 of his constituent, True the Vote, a Texas-based organization.

        56.     In a February 15, 2011 letter sent from the Cincinnati, Ohio IRS office, Defendant

 Ms. Maloney requested additional information from True the Vote in order to complete the IRS’

 consideration of True the Vote’s Application. (Exhibit C.)

        57.     In letters dated March 7, 2011 and March 8, 2011, True the Vote furnished to the

 IRS the information requested in the IRS’ February 15 letter.

        58.     Following True the Vote’s submission of the requested information, the IRS

 Defendants failed to proceed in a lawful manner to consider and grant True the Vote’s

 application for tax-exempt status.

        59.     On or around October 27, 2011, the IRS Taxpayer Advocate advised Sen. Cornyn

 in response to his January 5, 2011 inquiry that it had contacted Defendant Mr. Bell regarding the

 status of True the Vote’s application and that Mr. Bell had informed the Taxpayer Advocate that

 he was waiting for a determination on True the Vote’s Application from the IRS Washington

 D.C. office. (Exhibit G.)

        60.     On October 12, 2011, True the Vote’s legal counsel contacted the IRS and its

 agent, Defendant Mr. Bell, to inquire as to the status of True the Vote’s Application. During this

 phone conversation, Mr. Bell stated that True the Vote’s Application was being overseen by and

 had been forwarded to the IRS office in Washington, D.C. for additional review. According to

 Mr. Bell, the Washington, D.C. office had assumed primary approval responsibility.




                                               JA-34
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 19 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 38 of 228


        61.       On November 8, 2011, True the Vote memorialized its October 12, 2011 phone

 conversation with the IRS in correspondence. Along with this November 8, 2011

 correspondence, True the Vote submitted to the IRS additional information regarding its mission,

 purpose and activities, together with documentation of legal precedent in and before the IRS that

 provided the IRS Defendants the legal basis for granting to True the Vote recognition as a

 charitable and educational tax-exempt organization.

        62.       Following True the Vote’s submission of the legal precedent for recognition of

 True the Vote as a charitable and educational tax-exempt organization, the IRS Defendants still

 failed to proceed in a lawful manner to consider and grant True the Vote’s application for tax-

 exempt status.

        63.       In a February 8, 2012 letter, sent from the Cincinnati, Ohio IRS office, Defendant

 Ms. Estes stated that the IRS needed even more information from True the Vote to complete the

 IRS’ consideration of True the Vote’s Application. (Exhibit D.)

        64.       In a letter dated March 20, 2012, True the Vote furnished to the IRS the

 information requested in the IRS’ February 8, 2012 letter.

        65.       Following True the Vote’s submission of the requested information, the IRS

 Defendants again failed to proceed in a lawful manner to consider and grant True the Vote’s

 application for exempt status.

        66.       In an October 9, 2012 letter, sent from the Cincinnati, Ohio IRS office, Defendant

 Ms. Ng requested still more information from True the Vote in order to complete its

 consideration of its Application. (Exhibit E.)

        67.       In a letter dated November 30, 2012, True the Vote furnished to the IRS the

 information requested in the IRS’ October 9, 2012 letter.




                                                  JA-35
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 20 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 39 of 228


        68.     Following True the Vote’s submission of the requested information, the IRS

 Defendants yet again failed to proceed in a lawful manner to consider and grant True the Vote’s

 application for exempt status.

        69.     True the Vote has acted in good faith in its dealings with the IRS Defendants—

 responding to all requests of the IRS for materials, documents, and information—

 notwithstanding that the information requested is and was well beyond the scope of the

 government’s legitimate inquiries for purposes of ascertaining and acting on True the Vote’s

 application for tax-exempt status.

        70.     Despite responding to each and every request propounded to True the Vote by

 Defendants, True the Vote has yet to receive recognition of its tax-exempt status from the IRS.

        71.     True the Vote has incurred substantial costs and expenses in responding to the

 IRS’ burdensome, unnecessary, and unlawful requests for information.

        72.     Because the IRS Defendants deliberately and unnecessarily delayed the

 processing of its Application, True the Vote’s ability to build its organization has been hindered

 and it has been forced to forfeit grants from grant-making foundations and other contributions

 and fundraising opportunities.

 IRS Scheme of Targeting Tea Party Applicants for Tax-exempt Status

        73.     Beginning in 2010, and possibly earlier, the IRS Defendants developed and

 implemented a written and unwritten policy for identifying and subjecting certain applicants for

 tax-exempt status to additional and heightened review and scrutiny, based solely on a notion by

 the IRS Defendants that groups should be targeted for such review based on their purpose,

 mission, and/or name(s). (This policy, as described more fully throughout this Complaint, is

 collectively referred to as the “IRS Targeting Scheme.”)




                                               JA-36
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 21 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 40 of 228


        74.      Under the IRS Targeting Scheme, applications for tax-exempt status filed by

 organizations whose names, purpose(s), or mission(s)- in the view of the IRS Defendants—

 indicated a conservative philosophical viewpoint or a viewpoint supported by “Tea Party”

 organizations (the “Targeted Organizations”) were subjected to additional review and scrutiny,

 and deliberate delays in processing.

        75.      Under the IRS Targeting Scheme, the IRS Defendants engaged in other

 discriminatory conduct toward the Targeted Organizations.

        76.      The IRS Defendants swept True the Vote into its IRS Targeting Scheme based

 solely on True the Vote’s name, affiliation with King Street Patriots, and/or its mission and

 purpose of promoting election integrity.

        77.      On May 10, 2013, at a meeting of the Exempt Organizations Committee of the

 Tax Section of the American Bar Association, Defendant Ms. Lerner—who was at the time the

 Director of the Exempt Organizations Division of the IRS—admitted in a response to a question

 she had planted in the audience that the IRS had selected applications for tax-exempt status for

 further review and scrutiny “simply because the applications” “used names like Tea Party or

 Patriots.” Streckfus, EO Tax Journal 2013-82, May 11, 2013, available in part at

 http://electionlawblog.org/?p=50160.

        78.      At that May 10, 2013 meeting, Defendant Ms. Lerner made the following

 additional admissions regarding the IRS Targeting Scheme:

              a. “That was wrong, that was absolutely incorrect, insensitive, and inappropriate —
                 that’s not how we go about selecting cases for further review. We don’t select for
                 review because they have a particular name.” Id.

              b. “The other thing that happened was they also, in some cases, cases sat around for
                 a while. “[The IRS] sent some letters out that were far too broad, asking questions
                 of these organizations that weren’t really necessary for the type of application.”
                 Id.



                                                JA-37
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 22 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 41 of 228




              c. “[The IRS] went back and looked at questions that had been sent out to folks
                 because some of them were extensive and where the questions weren’t necessary
                 we gave the organizations flexibility as to which questions they needed to answer
                 and gave them more time to answer them. In some cases we told them to just
                 ignore the letter we already sent and sent a new list of questions. In some cases
                 we said we don’t need those questions answered. We can deal with your
                 application without responses to those questions.” Id.

        79.      At the time, Defendant Ms. Lerner apologized on behalf of the IRS for the way

 the IRS had handled the applications of the Targeted Organizations. Id.

        80.      On or around May 14, 2013, the Treasury Inspector General for Tax

 Administration issued a report entitled “Inappropriate Criteria Were Used to Identify Tax-

 Exempt Applications for Review” (the “TIGTA Report”). The TIGTA Report describes the

 results of the Inspector General’s audit of the IRS Targeting Scheme. (Exhibit F.)

        81.      The TIGTA Report concludes as follows:

                The IRS used inappropriate criteria that identified for review Tea Party and
                other organizations applying for tax-exempt status based upon their names
                or policy positions instead of indications of potential political campaign
                intervention. Ineffective management: 1) allowed inappropriate criteria to
                be developed and stay in place for more than 18 months, 2) resulted in
                substantial delays in processing certain applications, and 3) allowed
                unnecessary information requests to be issued.

 (Exhibit F at 2.)

        82.      Appendix VII to the TIGTA Report is a Comprehensive Timeline of

 Events. The timeline summarizes the involvement of various IRS agents and officers—

 including Defendant IRS Employees—in the creation, revision and implementation of the

 IRS Targeting Scheme. (Exhibit F at 37-38.)

        83.      As described by the TIGTA Report, in March and April of 2010, the IRS

 Exempt Organizations (“EO”) Determinations Unit in Cincinnati, Ohio, under the control

 and direction of Defendant Ms. Thomas, “began searching for…requests for tax-



                                               JA-38
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 23 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 42 of 228


 exemption involving the Tea Party, Patriots, 9/12 and 26 U.S.C. § 501(c)(4) applications

 involving political sounding names, e.g., ‘We the People’ or ‘Take Back the Country.’”

 (Exhibit F at 36-37.)

          84.     By July 2010, the EO “Determinations Unit management requested its specialists

 to be on the lookout for Tea Party applications.” (Exhibit F at 12, 36.)

          85.    “In August 2010, the Determinations Unit distributed the first formal BOLO

 listing. The criteria in the BOLO listing were Tea Party organizations applying for 26 U.S.C.

 § 501(c)(3) or 26 U.S.C. § 501(c)(4) status.” 1 (Exhibit F at 12.)

          86.    As detailed by the TIGTA Report, between 2010 and 2012, the EO

 Determinations Unit and EO Specialists in the Cincinnati, Ohio IRS office, under the direction

 and control of Defendant Ms. Thomas, worked in concert with the IRS EO Technical Unit and

 other IRS offices in Washington, D.C. to develop and revise the unconstitutional IRS Targeting

 Scheme and to process applications in accordance with the IRS Targeting Scheme. (Exhibit F at

 19, 37-48.)

          87.    In March 2010, and possibly earlier, Defendant Paz, who was then Acting

 Manager of the EO Technical Unit, was aware of the existence and application of the IRS

 Targeting Scheme. (Exhibit F at 37.)

          88.    In March 2010, Defendant Ms. Paz requested that certain applications being

 processed in accordance with the IRS Targeting Scheme in the IRS EO Determinations Unit,

 under the direction and control of Defendant Ms. Thomas, be transferred to IRS offices in

 Washington, D.C. (Exhibit F at 37.)




 1
     “BOLO” stands for “Be On The Look Out.” (Exhibit F at 6.)


                                                JA-39
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 24 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 43 of 228


         89.    In April 2010, and possibly earlier, Defendant Mr. Grodnitzky, who was then

 Acting Manager of the EO Technical Unit, was aware of the existence and application of the IRS

 Targeting Scheme. (Exhibit F at 37.)

         90.    In April 2010, Defendant Mr. Grodnitzky suggested the need for a “Sensitive

 Case Report” regarding applications being processed in accordance with IRS Targeting Scheme.

 (Exhibit F at 37.) Defendant Ms. Thomas agreed that a “Sensitive Case Report” was needed.

 (Id.)

         91.    In April 2010, Defendant Mr. Grodnitzky directed the preparation of a “Sensitive

 Case Report” regarding processing applications for tax-exempt status submitted by the Targeted

 Organizations. (Exhibit F at 38.)

         92.    According to the TIGTA Report, the Sensitive Case Report was shared with the

 Director, Office of Rulings and Agreements, and a chart summarizing the Sensitive Case Report

 was provided to Defendant Ms. Lerner, the Director of the Exempt Organizations division.

 (Exhibit F at 38.)

         93.    In April 2010, the IRS EO Determinations Unit requested that the EO Technical

 Unit provide assistance with identifying and processing the applications subject to the IRS

 Targeting Scheme. (Exhibit F at 19.)

         94.    Defendant Ms. Thomas requested status updates from the EO Technical Unit on

 these requests for assistances several times. (Exhibit F at 20.)

         95.    In May 2010, the Technical Unit began reviewing additional information request

 letters prepared by the Determinations Unit. (Exhibit F at 32.)

         96.    Between 2010 and 2012, the IRS EO Technical Unit—under the direction and

 control of either Defendant Ms. Paz, Defendant Mr. Grodnitzky, or Defendant Mr. Seto—the




                                                JA-40
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 25 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 44 of 228


 IRS Office of Rulings and Agreements—under the direction and control of either Defendant Ms.

 Paz or Defendant Mr. Fish—Defendant Ms. Lerner, and Unknown Named Employees of the IRS

 developed and revised written and oral guidance on how IRS Employees, including Defendant

 Ms. Thomas, Ms. Maloney, Ms. Estes, Mr. Bell, Ms. Ng, and Unknown Named IRS Employees

 were to identify and process applications in accordance with the IRS Targeting Scheme. (See

 Exhibit F at 19, 20, 37-48.)

        97.     Between 2010 and 2012, the EO Determinations Unit—under the direction and

 control of Defendant Ms. Thomas—and EO Specialists implemented and applied this written and

 oral guidance on how to identify and process applications in accordance with the IRS Targeting

 Scheme. (See Exhibit F at 37-48.)

        98.     Based on this written and oral guidance, IRS Employees prepared, reviewed, and

 issued letters requesting substantial additional information from True the Vote and hundreds of

 other applicants for tax-exempt status that were among the Targeted Organizations. (Exhibit F at

 24 and 44.)

        99.     In March 2012, a draft list of template questions prepared by a team of specialists

 was forwarded to the Guidance Unit—under the direction and control of Defendant Mr. Fish—

 for review. (Exhibit F at 45.)

        100.    Pursuant to the IRS Targeting Scheme, “the Determinations Unit requested

 irrelevant (unnecessary) information” from the Targeted Organizations. (Exhibit F at 24.)

        101.    As the TIGTA Report states: “This created a burden on the organizations that

 were required to gather and forward information that was not needed by the Determinations Unit

 and led to delays in processing the applications.” (Exhibit F at 24.)




                                               JA-41
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 26 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 45 of 228


        102.    The Targeted Organizations were not subjected to the IRS Targeting Scheme

 because their applications indicated “political activity” as that term is defined by the Internal

 Revenue Code and regulations, guidance and rulings of the IRS. Rather, the Targeted

 Organizations were subjected to this unconstitutional and otherwise illegal scheme because they

 were perceived to be associated with conservative policy positions and Tea Party organizations.

        103.    On June 29, 2011, and likely earlier, Defendant Ms. Lerner was made aware of

 the existence and application of the IRS Targeting Scheme. (Exhibit F at 13 and 41.)

        104.    On June 29, 2011, Defendant Ms. Lerner was presented with a briefing paper

 concerning the existence and application of the IRS Targeting Scheme. (Exhibit F at 41.)

        105.    The primary author of the briefing paper was a specialist in the IRS EO Guidance

 Unit, which was under the direction and control of Defendant Mr. Fish. (Exhibit F at 41.)

        106.    Defendant Mr. Seto reviewed the briefing paper before presenting it to Defendant

 Ms. Lerner. (Exhibit F at 41.)

        107.    As early as June 29, 2011, and likely earlier, Defendants Ms. Lerner, Ms. Paz, Mr.

 Grodnitzky, Mr. Fish, Mr. Seto, Ms. Thomas, and Unknown Named Employees of the IRS were

 aware that applications for tax-exempt status were being subjected to additional and heightened

 review and scrutiny and delays in processing based solely on one or more of the following

 discriminatory criteria:

            a. “Tea Party,” “Patriots,” or “9/12 Project” is referenced in the case file;

            b. Issues include U.S. Government spending, U.S. Government debt, or taxes;

            c. Education of the public via advocacy/lobbying to “make America a better place to

                live.”; and/or

            d. Statements in the case file criticize how the country is being run.




                                                JA-42
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 27 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 46 of 228


 (Exhibit F at 41).

        108.    Defendant Ms. Lerner did not engage in actions necessary to halt the application

 of the IRS Targeting Scheme despite knowing that it violated federal law and the First

 Amendment to the United States Constitution. Rather, starting in “January 2012 criteria again

 focused on the policy positions of organizations instead of tax-exempt laws and Treasury

 Regulations.” (Exhibit F at 13.)

        109.    Attached as Exhibit H is a July 17, 2013 letter from Members of Congress to

 Defendant Commissioner Werfel. This letter includes testimony describing the involvement of

 Defendant Mr. Wilkins, Defendant Ms. Lerner, and other IRS Employees in creating, overseeing,

 revising, and implementing the IRS Targeting Scheme.

        110.    According to testimony of Carter Hull (“Mr. Hull”), an IRS tax law specialist in

 Washington, D.C. who was assigned to review some of the first applications of the Targeted

 Organizations, sometime in the winter of 2010-2011, the senior advisor to Defendant Ms. Lerner

 told Mr. Hull that Defendant Mr. Wilkins’ office would need to review the applications of the

 Targeted Organizations. (Exhibit H at 2.)

        111.    In an email to Defendant Mr. Seto, Defendant Ms. Lerner stated that the

 applications of the Targeted Organizations would need to go through a “multi-tier review” and

 “they will eventually have to go [through her staff] and the chief counsel’s office.” (Exhibit H at

 2.)

        112.    Mr. Hull testified that this was the first time in his tenure as an IRS employee that

 Defendant Ms. Lerner’s office had requested that he send applications for tax-exempt status to

 her office for review. (Exhibit H at 2.)




                                               JA-43
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 28 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 47 of 228


        113.    On August 4, 2011, personnel from the Office of Rulings and Agreements—under

 the direction of Defendant Ms. Paz—and other IRS Employees held a meeting with Defendant

 Mr. Wilkins and his office “so that everyone would have the latest information on the [IRS

 Targeting Scheme].” (Exhibit F at 42.)

        114.    Months later, Defendant Mr. Wilkins’ office instructed Mr. Hull that “more

 information” was needed from the Targeted Organizations to process their applications for tax-

 exempt status. (Exhibit H at 3.)

        115.    An IRS tax law specialist and an employee from Defendant Mr. Wilkins’ office

 then prepared a “template” of questions that would be sent to the Targeted Organizations.

 (Exhibit H at 4.)

        116.    The template questions included requests for information from the Targeted

 Organizations about the Targeted Organizations’ political activities leading up to the 2010

 election. (Exhibit H at 5.)

        117.    Defendant Mr. Wilkins did not engage in actions necessary to halt the application

 of the IRS Targeting Scheme despite knowing that it violated federal law and the First

 Amendment to the United States Constitution. Rather, Defendant Mr. Wilkins and the Office of

 the Chief Counsel, under his direction and control, coordinated the development and

 implementation of the IRS Targeting Scheme.

        118.    In January 2012, the IRS’ written criteria used to identify and subject applications

 to the IRS Targeting Scheme included the following: “Political action type organizations

 involved in limiting/expanding government, educating on the constitution and bill of rights, [and]

 social economic reform/movement.’” (Exhibit F at 36.)




                                              JA-44
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 29 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 48 of 228


        119.    In March 2012, and possibly earlier, Defendant Mr. Miller was made aware of the

 existence and application of the IRS Targeting Scheme.

        120.    Defendant Miller did not engage in actions necessary to halt the application of the

 IRS Targeting Scheme despite knowing that it violated federal law and the First Amendment to

 the United States Constitution.

        121.    In the spring of 2012, and possibly earlier, Defendant Mr. Shulman was made

 aware of the existence and application of the IRS Targeting Scheme.

        122.    Defendant Shulman did not engage in actions necessary to halt the application of

 the IRS Targeting Scheme despite knowing that it violated federal law and the First Amendment

 to the United States Constitution.

        123.    Defendants the IRS, Commissioner Werfel, Mr. Shulman, Mr. Miller, Mr.

 Wilkins, Ms. Lerner, Ms. Paz, Mr. Grodnitzky, Mr. Fish, Mr. Seto, Ms. Thomas, Ms. Maloney,

 Mr. Bell, Ms. Estes, Ms. Ng, and Unknown Named IRS Employees have not taken necessary

 actions to halt the IRS Targeting Scheme and to ensure that applicants subjected to the IRS

 Targeting Scheme instead received a determination for tax-exempt status despite actual

 knowledge that the IRS had received sufficient information from the applicants to make

 determinations of exempt status.

        124.    The IRS Defendants knowingly developed, implemented, and applied the IRS

 Targeting Scheme in violation of the United States Constitution, the Internal Revenue Code

 governing tax-exempt organizations, procedures historically followed by the IRS, and Treasury

 Regulations.




                                              JA-45
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 30 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 49 of 228


         125.    The IRS illegally and incorrectly categorized and characterized True the Vote

 based on its name, its affiliation with King Street Patriots, and other Tea Party groups, and the

 mission of True the Vote to protect the integrity of elections.

         126.    True the Vote’s Application was intentionally targeted for additional review and

 scrutiny by the IRS Defendants pursuant to the IRS Targeting Scheme because of True the

 Vote’s affiliation with King Street Patriots and other Tea Party groups and the conservative

 policy positions these organizations are perceived to hold.

         127.    King Street Patriots submitted its application for tax-exempt status as a social

 welfare organization in the spring of 2010. It has not yet received from the IRS a determination

 letter recognizing its tax-exempt status under 26 U.S.C. § 501(c)(4).

         128.    The IRS Defendants made multiple, unnecessary, burdensome, and voluminous

 requests for information and documentation wholly unnecessary to the determination of True the

 Vote’s tax-exempt status. These requests were propounded solely based on True the Vote’s

 name, its affiliation with King Street Patriots, and its mission and purpose of protecting the

 integrity of elections.

         129.    The IRS and IRS Employees made certain requests for information of True the

 Vote specifically identified in the TIGTA Report as being unnecessary for the determination of

 True the Vote’s tax-exempt status. (Exhibit F at 26.) For example, True the Vote was asked to

 provide the following information:

             a. List each past or present board member, officer, key employee and members of
                their families who:

                           a) Has served on the board of another organization.

                           b) Was, is or plans to be a candidate for public office. Indicate the nature
                              of each candidacy.




                                                  JA-46
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 31 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 50 of 228


                       c) Has previously conducted similar activities for another entity.

                       d) Has previously submitted an application for tax-exempt status.

        (Exhibit D at 3.)

            b. Do you or will you endorse candidates? If yes, explain and answer the following:

                       a) Provide your endorsement criteria.

                       b) Once a candidate is endorsed, how does your organization handle the
                          endorsement?

                       c) Provide a list of all candidates you have endorsed.

                       d) Does your organization notify the candidate of the endorsement? If
                          yes, explain.

                       e) Do you provide any materials to candidates, which they may use to
                          promote their candidacy? If so, please describe and provide copies of
                          those materials.

        (Exhibit D at 8.)

            c. You have indicated you have a close connection with King Street Patriots.

                       a) Provide the address of the organization.

                       b) Describe in detail the nature of the relationship.

                       c) Do you work with the organization(s) regularly?

                       d) Provide copies of all related contracts with such organizations.

                       e) Describe the nature of all contacts with the organizations.

                       f) Do you share employees, volunteers, resources, office space, etc. with
                          the organization(s)? If yes, explain.

 (Exhibit D at 8.)

            d. Are you associated with any other IRC 501(c)(3), 501(c)(4) or 527 organizations?
               If yes:

                       a) Provide the name, federal employer identification number and address
                          of each organization.



                                              JA-47
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 32 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 51 of 228




                       b) Describe in detail the nature of the relationship(s).

                       c) Do you work with the organization(s) regularly?

                       d) Provide copies of all related contracts with such organizations.

                       e) Describe the nature of all contacts with the organizations.

                       f) Do you share employees, volunteers, resources, office space, etc. with
                          the organization(s)? If yes, explain.

 (Exhibit D at 8.)

            e. Do you engage in business dealings with any candidate(s) for public office or an
               organization associated with the candidate, such as renting office space or
               providing access to a membership list? If so, describe the relationship in detail
               and provide contracts or other agreements documenting the business relationship.

                (Exhibit D at 9.)

            f. Has any person or organization provided educational services to you? If yes,
               provide the following:

                       a) The name of the person or organization.

                       b) A full description of the services provided.

                       c) The political affiliation of the person or organization.

 (Exhibit D at 9.)

            g. Have you conducted candidate forums at which candidates for public office were
               invited to speak? If yes, provide the following:

                       a) Details, including the nature of the forums.

                       b) The candidates invited to participate.

                       c) The candidates that did participate.

                       d) The issues discussed.

                       e) The time and location of the event.




                                              JA-48
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 33 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 52 of 228


                       f) Copies of all materials distributed regarding the forum and provided at
                          the forum, including any internet material discussing or advertising the
                          forum.

 (Exhibit D at 9.)

            h. You have submitted handouts on teambuilding and presentations used to mobilize
               and train your volunteers (including Tab 19 and Tab 20 of your response).
               However, we need additional information on the following:

                       d) Please describe how you partner with Local Parties, local Election
                          Officials and other authorities to place your volunteers as poll workers
                          or poll watchers.

 (Exhibit E at 3.)

            i. Please provide a breakdown of the total number of volunteers you have trained as
            poll watchers that:

                        i. were appointed by Democratic candidates or the Democratic Party,

                       ii. were appointed by Republican candidates or the Republican Party,

                       iii. were appointed by other candidates and other political parties (please
                            specify the names the other parties).

 (Exhibit E at 4.)

            j. Please provide a breakdown of the total number of volunteers you have trained as
            poll workers that:

                       i. were appointed by the Democratic Party,

                       ii. were appointed by the Republican Party,

                       iii. were appointed by other political parties (please specify the names of
                            the other parties)?

                (Exhibit E at 4.)

        130.    The questions contained in Paragraph 129 are but a sampling of the intrusive and

 burdensome questions propounded to True the Vote by the IRS Defendants and is representative

 of the unnecessary and discriminatory questioning of True the Vote by the IRS.




                                              JA-49
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 34 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 53 of 228


        131.      Certain of the burdensome questions propounded by the IRS to True the Vote

 further demonstrate the utter disregard by the IRS Defendants of information provided by True

 the Vote in its initial application filed in July 2010. In its Application, True the Vote stated under

 penalty of perjury that it did not “support or oppose candidates in political campaigns in any

 way[.]” (Exhibit B at 9.) As a Section 501(c)(3) organization, True the Vote engages in no

 partisan campaign intervention, endorses no political candidates and makes no political

 expenditures.

        132.      The IRS Defendants deliberately delayed the processing of True the Vote’s

 Application on the basis of True the Vote’s mission and philosophy, its name, and its affiliation

 with King Street Patriots.

        133.      The deliberate targeting of True the Vote for additional review and scrutiny

 caused and is continuing to cause the IRS to withhold a determination of True the Vote’s tax-

 exempt status.

        134.      The mistreatment and mishandling of True the Vote’s application for tax-exempt

 status and the refusal of the IRS Defendants to issue a determination letter recognizing True the

 Vote’s tax-exempt status violate True the Vote’s constitutional rights and has caused the

 organization substantial damages and financial hardship.

        135.      The IRS Targeting Scheme was developed, revised, and implemented under the

 authority of Defendants the IRS, Mr. Miller, Mr. Shulman, Mr. Wilkins, Ms. Lerner, Ms. Paz,

 Mr. Fish, Mr. Grodnitzky, Mr. Seto, Mr. Thomas, and Unknown Named IRS Employees in

 violation of the Constitution of the United States and federal law. (Exhibit F at 35.)

        136.      According to an internal IRS memorandum released by the IRS as part of a status

 report on the IRS Targeting Scheme, applications for tax-exempt status continued to be subjected




                                                JA-50
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 35 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 54 of 228


 to the onerous IRS Targeting Scheme until June 20, 2013, when it was allegedly suspended.

 Werfel, Charting a Path Forward at the IRS: Initial Assessment and Plan of Action, Appendix C,

 June 24, 2013, available at

 http://www.irs.gov/pub/newsroom/Initial%20Assessment%20and%20Plan%20of%20Action.pdf.

        137.    The application of the IRS Targeting Scheme to True the Vote has substantially

 and materially interfered with its ability to engage in free speech, free association, and activities

 in furtherance of its charitable purpose.

        138.    The violations by Defendants of True the Vote’s constitutional rights have caused

 irreparable harm to True the Vote. Such harm will continue unless this Court provides the

 requested relief.

                                          COUNT I
                       Declaratory Judgment Pursuant to 26 U.S.C. § 7428
                             (Against Defendant U.S. Government)

        139.    Plaintiff True the Vote realleges and incorporates by reference the preceding

 paragraphs of this Complaint as though fully set forth herein.

        140.    Under 28 U.S.C. § 2201 of the Declaratory Judgment Act and 26 U.S.C. § 7428

 of the Internal Revenue Code (the “Code”), this Court is empowered to issue a declaratory

 judgment regarding the initial qualification of an organization as an organization described in

 Section 501(c)(3) of the Code.

        141.    True the Vote hereby seeks an Order declaring that it is exempt from federal

 income tax under Section 501(a) of the Code as a charity described in Sections 501(c)(3),

 509(a)(1) and 170(b)(1)(A)(vi) of the Code.

        142.    No part of True the Vote’s earnings inures to the benefit of any private

 shareholder or individual.




                                                JA-51
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 36 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 55 of 228


        143.    True the Vote does not participate or intervene in partisan political campaigns on

 behalf of or in opposition to any candidate for public office.

        144.    To date, True the Vote has timely filed its IRS Form 990 for the relevant years.

        145.    The unexplained and inexcusable delay in ruling on the substantially complete

 Form 1023 has caused True the Vote hardship and irreparable injury by thwarting significant

 donations from ready and willing donors.

        146.    True the Vote is entitled to the relief requested because more than 270 days have

 passed since the filing of the substantially complete Form 1023 on July 15, 2010, and through no

 fault of True the Vote, the IRS still has not issued a Notice of Determination with respect to the

 Application. Due to the passage of the statutorily prescribed review period, all administrative

 remedies are deemed exhausted as a matter of law pursuant to 26 U.S.C. § 7428(b)(2).

        147.    Pursuant to § 7430(a) of the Code, True the Vote is entitled to reasonable

 attorneys’ fees, costs, and expenses in the prosecution of this action.

                                              COUNT II
                  Violation of the First Amendment to the United States Constitution
                                   Declaratory and Injunctive Relief
                       (Against Defendants the IRS and Commissioner Werfel)

        148.    Plaintiff realleges and incorporates by reference the preceding paragraphs of this

 Complaint as though fully set forth herein.

        149.    The First Amendment to the United States Constitution protects True the Vote’s

 rights of free speech and association.

        150.    The IRS Targeting Scheme under which True the Vote was deliberately subjected

 to additional review and scrutiny on the basis of True the Vote’s affiliations, mission, and

 substantive philosophical views—actual or as perceived by the IRS Defendants—restricts the




                                                JA-52
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 37 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 56 of 228


 freedom of speech and association of True the Vote and the persons associated with it, in

 violation of the First Amendment.

        151.    The IRS Targeting Scheme under which the determination of True the Vote’s tax-

 exempt status was deliberately delayed on the basis of True the Vote’s affiliations, mission, and

 substantive philosophical views—actual or as perceived by the IRS Defendants—infringes upon

 the freedom of speech and association rights of True the Vote and the persons who operate,

 support, and associate with it, in violation of the First Amendment.

        152.    The IRS Targeting Scheme was applied to True the Vote for the purpose of

 chilling True the Vote’s expression of its views and right of free association in violation of the

 First Amendment.

        153.    The application of the IRS Targeting Scheme to True the Vote has impaired the

 expressive associational effectiveness of True the Vote and its members.

        154.    The conduct of Defendants the IRS and Commissioner Werfel has had a chilling

 effect on the willingness and ability of potential donors, grant-making foundations, and others to

 provide financial support to True the Vote.

        155.    The deliberate delay of True the Vote’s determination of exempt status for more

 than three years amounts to a functional denial of tax-exempt status, without True the Vote’s

 having the benefit of its due process rights and an appeal of an actual denial.

        156.    The existence and application of the IRS Targeting Scheme by the IRS and

 Commissioner Werfel constitutes blatant viewpoint discrimination in violation of the First

 Amendment.




                                               JA-53
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 38 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 57 of 228


        157.    The existence and application of the IRS Targeting Scheme by the IRS and

 Commissioner Werfel constitutes First Amendment retaliation in violation of the First

 Amendment.

        158.    Defendants the IRS and Commissioner Werfel knowingly and willfully applied

 the IRS Targeting Scheme to True the Vote and other applicants for tax-exempt status in

 violation of the First Amendment.

        159.    Defendants the IRS and Commissioner Werfel have caused irreparable harm to

 True the Vote by violating True the Vote’s First Amendment rights of freedom of speech and

 association.

        160.    True the Vote has no other adequate remedy at law for Defendant IRS’ violations

 of True the Vote’s constitutional rights.

        161.    This Court is empowered to grant declaratory and injunctive relief pursuant to 28

 U.S.C. §§ 2201 and 2202.

                                       COUNT III
            Violation of the First Amendment to the United States Constitution
                                      Bivens Action
   (Against Defendants Mr. Miller, Mr. Shulman, Mr. Wilkins, Ms. Lerner, Ms. Paz, Mr.
  Grodnitzky, Mr. Fish, Mr. Seto, Ms. Thomas, Ms. Maloney, Mr. Bell, Ms. Estes, Ms. Ng,
    and Unknown Named Employees of the Internal Revenue Service In Their Individual
                                       Capacities)

        162.    Plaintiff realleges and incorporates by reference the preceding paragraphs of this

 Complaint as though fully set forth herein.

        163.    The First Amendment to the United States Constitution protects True the Vote’s

 right to free speech and association.




                                               JA-54
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 39 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 58 of 228


        164.    In Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics, 403

 U.S. 388 (1971), the Supreme Court recognized a civil action for money damages against federal

 officials for constitutional violations while acting under the color of federal authority.

        165.    Defendants Mr. Miller, Mr. Shulman, Mr. Wilkins, Ms. Lerner, Ms. Paz, Mr.

 Grodnitzky, Mr. Fish, Mr. Seto, Ms. Thomas, Ms. Maloney, Mr. Bell, Ms. Estes, Ms. Ng, and

 Unknown Named Employees of the IRS (the “IRS Employees”), while acting under the color of

 federal authority, violated True the Vote’s constitutional rights to free speech and association.

 They did so by creating, developing, implementing, and applying the IRS Targeting Scheme to

 True the Vote and by failing to prevent such development, implementation, and application by

 others under their direct supervision and control despite knowledge of such unconstitutional

 conduct.

        166.    Defendant the IRS Employees knew, or reasonably should have known, that their

 actions and omissions would violate True the Vote’s constitutional rights.

        167.    Congress has not provided any alternative, existing process, or remedy for

 protecting the constitutionally recognized interests violated by the IRS Employees. This Court

 may, therefore, recognize a remedy for damages under Bivens v. Six Unknown Named Agents of

 the Federal Bureau of Narcotics, 403 U.S. 388 (1971).

                                          COUNT IV
                                  Violation of 26 U.S.C. § 6103
                            (Against Defendant the U.S. Government)

        168.    Plaintiff realleges and incorporates by reference the preceding paragraphs of this

 Complaint as though fully set forth herein.




                                                JA-55
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 40 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 59 of 228


        169.    Title 26, U.S.C. § 6103 provides that tax “[r]eturns and return information shall

 be confidential” and prohibits disclosure and inspection by United States employees except as

 provided for by this provision.

        170.    Title 26, U.S.C. § 7431 provides taxpayers a cause of action for damages against

 the U.S. Government for knowing or negligent unauthorized inspection of tax return information

 in violation of 26 U.S.C. § 6103.

        171.    “Return information” is defined very broadly to include the following:

        (A) a taxpayer’s identity, the nature, source, or amount of his income, payments,
        receipts, deductions, exemptions, credits, assets, liabilities, net worth, tax liability,
        tax withheld, deficiencies, overassessments, or tax payments, whether the
        taxpayer’s return was, is being, or will be examined or subject to other
        investigation or processing, or any other data, received by, recorded by, prepared
        by, furnished to, or collected by the Secretary with respect to a return or with
        respect to the determination of the existence, or possible existence, of liability (or
        the amount thereof) of any person under this title for any tax, penalty, interest,
        fine, forfeiture, or other imposition, or offense,

        (B) any part of any written determination or any background file document
        relating to such written determination (as such terms are defined in section
        6110(b) [IRC Sec. 6110(b)]) which is not open to public inspection under section
        6110 [IRC Sec. 6110][.]

 26 U.S.C. § 6103(b)(2)(A)-(B).

        172.    Because the IRS has not issued a written determination regarding True the Vote’s

 Application, no information furnished by True the Vote to the IRS is open to public inspection

 under 26 U.S.C. §§ 6104 or 6110.

        173.    All information furnished by True the Vote to the IRS is the “return information”

 of True the Vote pursuant to 26 U.S.C. § 6103(b)(2).

        174.    Pursuant to the IRS Targeting Scheme, the IRS Defendants knowingly requested

 information from True the Vote that was and is unnecessary to its determination of True the

 Vote’s tax-exempt status.



                                                JA-56
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 41 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 60 of 228


           175.    Pursuant to the IRS Targeting Scheme, the IRS Defendants knowingly requested

 information from True the Vote in furtherance of the IRS’ discriminatory and unconstitutional

 written identification and review policy.

           176.    Title 26, U.S.C. § 6103(h) authorizes “inspection by…officers and employees of

 the Department of the Treasury whose official duties require such inspection or disclosure for tax

 administration purposes.” 2

           177.    Inspection of return information furnished by True the Vote to the IRS

 Defendants in response to questions the IRS Defendants knew or should have known to be

 unnecessary to the determination of True the Vote’s tax-exempt status is not authorized under 26

 U.S.C. § 6103 because it is per se not “for tax administration purposes.”

           178.    Inspection of return information furnished by True the Vote to the IRS

 Defendants in response to questions asked in furtherance of the IRS Defendants’ discriminatory

 and unconstitutional Targeting Scheme is not authorized under 26 U.S.C. § 6103 because it is

 per se not “for tax administration purposes.”



 2
     The term “tax administration”--
       (A) means—

         (i)      the administration, management, conduct, direction, and supervision of the
                  execution and application of the internal revenue laws or related statutes (or
                  equivalent laws and statutes of a State) and tax conventions to which the United
                  States is a party, and

         (ii)     the development and formulation of Federal tax policy relating to existing or
                  proposed internal revenue laws, related statutes, and tax conventions, and

       (B) includes assessment, collection, enforcement, litigation, publication, and statistical
           gathering functions under such laws, statutes, or conventions.

 26 U.S.C. § 6103(b)(4)(A)-(B).




                                                  JA-57
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 42 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 61 of 228


        179.    For example, the IRS Defendants knowingly inspected return information

 provided to the IRS in response to the non-exhaustive list of questions identified by the TIGTA

 report as “unnecessary,” (Exhibit F at 26) See supra ¶¶ 117(a)-(j).

        180.    True the Vote provided tax return information to the IRS Defendants in response

 to requests for additional information on March 7, March 8, and November 8, 2011 and on

 March 20 and November 30, 2012. (See Exhibit A.)

        181.    This tax return information was inspected on and after these dates by IRS

 Employees—including Defendants Ms. Maloney, Mr. Bell, Ms. Estes, and Ms. Ng—who were

 the IRS agents to whom the information was addressed.

        182.    The number of unauthorized inspections of True the Vote’s return information

 and the identity of those who made the inspections cannot be completely and accurately

 ascertained at this time, but will be more fully known after the completion of discovery.

        183.    Each such inspection was made willfully or as a result of gross negligence.

        184.    At a minimum, each such inspection was made as a result of negligence.

        185.    Such inspections did not result from a “good faith, but erroneous interpretation of

 section 6103,” 26 U.S.C. § 7431(b)(1), because knowingly unnecessary and unconstitutional

 actions cannot be made in good faith, nor can any law be interpreted in good faith to permit

 unconstitutional conduct or conduct knowingly outside of its permissible scope.

        186.    Such inspections were not requested by True the Vote, thus making it wrongful

 under 26 U.S.C. § 7431(b)(2).

        187.    Each such inspection therefore violates 26 U.S.C. § 6103.




                                              JA-58
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 43 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 62 of 228



                                           Count V
                        Violations of the Administrative Procedure Act
             (Against the IRS and the IRS Employees in Their Official Capacities)

          188.   Plaintiff realleges and incorporates by reference the preceding paragraphs of this

 Complaint as though fully set forth herein.

          189.   The Administrative Procedure Act (the “APA”) provides a cause of action for any

 person suffering legal wrong because of agency action, or adversely affected or aggrieved by

 agency action against the United States, a United States agency, or an officer thereof. 5 U.S.C.

 § 702.

          190.   Pursuant to 5 U.S.C. § 702, the U.S. Government has waived its sovereign

 immunity in actions seeking relief other than money damages and stating a claim that an agency

 or an officer or employee thereof acted or failed to act in an official capacity or under color of

 legal authority.

          191.   Pursuant to 5 U.S.C. § 706, this Court shall hold unlawful and set aside agency

 action, findings, and conclusions found to be

                 (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
                    with law;

                 (B) contrary to constitutional right, power, privilege, or immunity;

                 (C) in excess of statutory jurisdiction, authority, or limitations, or short of
                     statutory right;

                 (D) without observance of procedure required by law;

          192.   Defendant the IRS is an agency of the U.S. Government for purposes of the APA.

          193.   Defendants Commissioner Werfel, Mr. Shulman, Mr. Miller, Mr. Wilkins, Ms.

 Lerner, Ms. Paz, Mr. Fish, Mr. Seto, Ms. Thomas, Ms. Maloney, Mr. Bell, Ms. Estes, Ms. Ng,




                                                 JA-59
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 44 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 63 of 228


 and Unknown Named Employees of the IRS, at times relevant to this Complaint, were officers of

 an agency of the U.S. Government for purposes of the APA.

        194.     The IRS Defendants’ discriminatory and unlawful application of the IRS

 Targeting Scheme to True the Vote based on True the Vote’s mission, its perceived

 philosophical policy positions, and its affiliation with King Street Patriots and other groups

 constitutes final agency action that is contrary to True the Vote’s constitutional rights to due

 process under the Fifth Amendment, and freedom of speech and association under the First

 Amendment.

        195.     Title 26, U.S.C. § 501(a) exempts from federal income tax groups described in 26

 U.S.C. § 501(c)(3).

        196.     Title 26 U.S.C. § 508(a)(1) requires organizations seeking tax-exempt status

 under 26 U.S.C. § 501(c)(3) to “give[] notice to the Secretary in such manner as the Secretary

 may by regulations prescribe, that it is applying for recognition of such status.”

        197.     Pursuant to 26 U.S.C. § 7803(2), the IRS Commissioner is empowered to

 administer, manage, conduct, direct, and supervise the execution and application of the internal

 revenue laws.

        198.     Title 26, C.F.R. § 1.501(a)-1 permits the IRS Commissioner to “require any

 additional information deemed necessary for a proper determination of whether a particular

 organization is exempt under section 501(a).”

        199.     The IRS Defendants’ application of the IRS Targeting Scheme to True the Vote,

 under which the IRS Defendants required True the Vote to provide information wholly

 unnecessary for a determination of True the Vote’s tax-exempt status, violated the IRS




                                                JA-60
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 45 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 64 of 228


 Defendants’ statutory and agency authority under the Internal Revenue Code and the rules and

 regulations promulgated thereunder.

        200.    The IRS Defendants’ application of the IRS Targeting Scheme to True the Vote is

 contrary to the intention of Congress as expressed in 26 U.S.C. §§ 501(a), 501(c)(3), and 508(a).

        201.    The IRS Defendants’ application of the IRS Targeting Scheme to True the Vote,

 under which IRS Defendants required True the Vote to provide information wholly unnecessary

 for a determination of True the Vote’s tax-exempt status, violated the IRS Defendants’ authority

 under Internal Revenue Manual § 7.20.2.4.1, which requires “requests for additional

 information” to be “relevant to the paragraph of section 501(c) appropriate to the applicant.”

        202.    The IRS Defendants departed from customary and established procedures in the

 processing the applications of the Targeted Organizations, applying arbitrary and subjective

 criteria for consideration of True the Vote’s Application and which criteria are still unknown to

 True the Vote and other Targeted Organizations. (See Exhibit H.) Such criteria were created and

 implemented without observance of procedures required by law, exceed the statutory and agency

 authority of the IRS Defendants, are arbitrary and capricious, and are contrary to law. True the

 Vote has no knowledge or notice of the legal standard(s) by which its Application has been

 judged and processed by the IRS Defendants.

        203.    The IRS Defendants have subjected True the Vote to discriminatory treatment in

 the processing of its Application and have applied subjective criteria to True the Vote that have

 not been applied to other applicants for exempt status.

        204.    The deliberate delay of True the Vote’s determination for nearly three years

 amounts to a functional denial of tax-exempt status, while depriving True the Vote of its due

 process right to appeal an adverse decision on the Application.




                                              JA-61
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 46 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 65 of 228


        205.    The IRS Defendants’ functional denial of True the Vote’s Application was

 arbitrary and capricious and contrary to law.

        206.    True the Vote has no other adequate remedy at law for the IRS Defendants’

 violations of True the Vote’s constitutional and statutory rights.

                                             Damages

        207.    Title 26, U.S.C. § 7431 authorizes damages “in an amount equal to the sum of—

        (1) the greater of—
                 (A) $ 1,000 for each act of unauthorized inspection or disclosure of a return or
                 return information with respect to which such defendant is found liable, or
                 (B) the sum of--
                         (i) the actual damages sustained by the plaintiff as a result of such
                         unauthorized inspection or disclosure, plus
                         (ii) in the case of a willful inspection or disclosure or an inspection or
                         disclosure which is the result of gross negligence, punitive damages, plus
        (2) the costs of the action, plus
        (3) in the case of a plaintiff which is described in section 7430(c)(4)(A)(ii), reasonable
        attorneys fees, except that if the defendant is the United States, reasonable attorneys fees
        may be awarded only if the plaintiff is the prevailing party (as determined under section
        7430(c)(4)).

        208.    The number of unauthorized inspections of True the Vote return information

 cannot be completely and accurately ascertained at this time, but will be more fully known after

 the completion of discovery. At minimum, Defendant the U.S. Government is liable for $1,000

 for each unauthorized inspection by employees of the U.S. Government.

        209.    The IRS Defendants’ conduct has caused True the Vote to incur substantial costs

 preparing responses to the IRS Defendants’ unnecessary, burdensome and unconstitutional

 requests for information.

        210.    Because the IRS Defendants delayed the processing of True the Vote’s

 Application, True the Vote was forced to forfeit a foundation grant in the amount of $25,000 that

 was contingent on True the Vote receiving its tax-exempt status.




                                                 JA-62
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 47 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 66 of 228


        211.    Because the IRS Defendants deliberately delayed the processing of True the

 Vote’s Application, True the Vote was forced to return a foundation grant in the amount of

 $35,000 that was contingent on True the Vote receiving its tax-exempt status.

        212.    Because the IRS and IRS Employees deliberately delayed the processing of True

 the Vote’s Application, True the Vote was forced to forgo applying for grants from other grant-

 making foundations that had committed to support True the Vote.

        213.    Because the IRS and IRS Employees deliberately delayed the processing of True

 the Vote’s Application, True the Vote was forced to forgo other fundraising opportunities.

        214.    WHEREFORE, True the Vote prays for the relief set forth below.

                                        Prayer for Relief

 Plaintiff True the Vote respectfully requests the following relief:

    1. A declaration that the True the Vote is exempt from federal income taxation under

        Section 501(a) of the Internal Revenue Code as a charity described in Sections 501(c)(3),

        509(a)(1) and 170(b)(1)(A)(vi) of the Internal Revenue Code;

    2. A declaration that the IRS Targeting Scheme and any other similar policies are

        unconstitutional under the First Amendment to the United States Constitution;

    3. Injunctive relief to prevent the IRS from further implementing and applying the IRS

        Targeting Scheme and any other similar practices and policies;

    4. Injunctive relief to prevent the IRS from illegally inspecting True the Vote’s the return

        information;

    5. An award to True the Vote of $1,000 in damages for each unauthorized inspection of its

        return information;




                                               JA-63
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 48 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 67 of 228


    6. An award to True the Vote in excess of $85,000 in actual damages for its costs and losses

        incurred as a result of the IRS Targeting Scheme and the IRS Employees’ violations of

        True the Vote’s constitutional rights;

    7. An award to True the Vote of actual damages incurred as a result of the unauthorized

        inspections of its return information;

    8. An award to True the Vote punitive damages pursuant to 26 U.S.C. § 7431 and Bivens v.

        Six Unknown Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971);

    9. Costs and reasonable attorneys’ fees under 26 U.S.C. § 7431 and 28 U.S.C. § 2412 or

        other statute; and

    10. Such other relief as the Court deems just.


 Respectfully submitted this 22nd day of July, 2013


                                                         s/Cleta Mitchell
 Kaylan L. Phillips (D.C. 1110583)                       Michael J. Lockerby (D.C. 502987)**
 Noel H. Johnson (Wisc. 1068004)*                        Cleta Mitchell (D.C. 433386)
 Zachary S. Kester (Ind. 28630-49)*                      FOLEY & LARDNER, LLP
 ACTRIGHT LEGAL FOUNDATION                               Washington Harbour
 209 West Main Street                                    3000 K Street NW Suite #600
 Plainfield, IN 46168                                    Washington, DC 20007
 (317) 203-5599 (telephone)                              (202) 672-5300 (telephone)
 (888) 815-5641 (fax)                                    (202) 672-5399 (fax)
 kphillips@actrightlegal.org                             mlockerby@foley.com
 njohnson@actrightlegal.org                              cmitchell@foley.com
 zkester@actrightlegal.org                               Lead Counsel for Plaintiff
 Counsel for Plaintiff
                                                         *Pro Hac Vice Motions granted
 John C. Eastman (Cal. 193726)*                          ** Pro Hac Vice Motion pending
 Center for Constitutional Jurisprudence
 c/o Chapman University School of Law
 One University Drive
 Orange, CA 92866
 (877) 855-3330 (telephone and fax)
 jeastman@chapman.edu
 Counsel for Plaintiff



                                                 JA-64
      Case 1:13-cv-00734-RBW Document 14 Filed 07/22/13 Page 49 of 49
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 68 of 228




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      Case 1:13-cv-00734-RBW Document 14-1 Filed 07/22/13 Page 1 of 2
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 69 of 228




                            Exhibit A:

                     Timeline of Events




                                   JA-66
      Case 1:13-cv-00734-RBW Document 14-1 Filed 07/22/13 Page 2 of 2
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 70 of 228




       Date                                            Event(s)
   July 15, 2010                KSP/True the Vote filed Form 1023 (39 total pages).
   January 2011                KSP/True the Vote sought hardship status to expedite
                                               501(c)3 determination.
 February 15, 2011      IRS sent Information Request #1, including 11 inquiries, signed by
                                             Defendant Susan Maloney.
   March 7, 2011          KSP/True the Vote sent Response #1 to IRS Inquiry Letter #1
                                                   (13 total pages).
   March 8, 2011          KSP/True the Vote sent Response #2 to IRS Inquiry Letter #1
                                                   (11 total pages).
   May 16, 2011       KSP/True the Vote sent the IRS an earnest and personal plea to expedite
                     501(c)3 application, signed by Catherine Engelbrecht, and directed to the
                                        attention of Defendant Ronald Bell.
  October 12, 2011     True the Vote’s counsel, Cleta Mitchell, telephoned Defendant Bell to
                               inquire about the status of True the Vote's application.
    Nov. 8, 2011      True the Vote sent a letter memorializing the phone call with Defendant
                             Bell along with additional information and legal precedent
                                                   (26 total pages).
  February 8, 2012   IRS sent Information Request #2, including at least 119 distinct inquiries,
                                         signed by Defendant Janine Estes.
  March 20, 2012             True the Vote sent a Response to Information Request #2
                                                  (583 total pages).
  October 9, 2012         IRS sent Information Request #3, with 15 inquiries, signed by
                                                 Defendant Faye Ng.
   Nov. 30, 2012             True the Vote sent a Response to Information Request #3
                                                  (105 total pages).




                                           JA-67
      Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 1 of 40
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 71 of 228




                             Exhibit B:

                            Form 1023




                                   JA-68
        Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 2 of 40
USCA Case #14-5316     Document #1587305      Filed: 12/07/2015    Page 72 of 228


   Form 1023 Checklist
   (Revised June 2006)
   Application for Recognition of Exemption under Section 501 (c)(3) of the
   Internal Revenue Code


   Note. Retain a copy of the co mpleted Form 1023 in your permanent records. Refer to the General Instructions
   regarding Public Inspection of approved applications.

   Check each box to finish your application (Form 1023). Send this completed Checklist with your filled-in
   application. If you have not answered all the items below,your application may be returned toyou as
   incomplete.

    [Y!' Assemble the application and materials in this order:
          • Form 1023 Checklist
          •   Form 2848, Power of Attorney and Declaration of Representative (if filing)
          • Form 8821, Tax Information Authorization (if filing)
          • Expedite request (if requesting)
          • Application (Form 1023 and Schedules A through H, as required)

          • Articles of organization
          • Amendments to articles of organization in chronological order
          • Bylaws or other   rules of operation and amendments
          • Documentation of nondiscriminatory policy for schools, as required by Schedule B
          • Form 5768, Election/Revocation of Election by an Eligible Section 501 (c)(3) Organization To Make
            Expenditures To Influence Legislation (if filing)
          • All other attachments, including explanations, financial data, and printed materials or publications. Label
            each page with name and EIN.

    5'(                                                                              't_
          User fee payment placed in envelope on top of checklist. DO NOT STAP E or otherwise attach your check or
          money orc;ler to your application. Instead, just place it in the envelope. f�SO
                                                                                     .

    � Employer Identification Number (EIN) 17 -2_g{.p O()q5
    � Completed Parts I through XI of the application, including any requested information and any required
          Schedules A through H.
          • You must provide specific details about your past, present, and planned activities.
          • Generalizations or failure to answer questions in the Form 1 023 application will prevent us from recognizing
            you as tax exempt.
          • Describe your purposes and proposed activities in specific easily understood terms.
          • Financial information should correspond with proposed activities.

          Schedules. Submit only those schedules that apply to you and check either "Yes" or "No" below.

          Schedule A         X
                          Yes_ No                       Schedule E    Yes_ No     2L
          Schedule 8 Yes_ No .)t                        Schedule F    Yes_ No      L  I

          Schedule C Yes_ No )(                         Schedule G    Yes_ No     A
          ScheduleD      Yes_ No       X                Schedule H    Yes_ No     L




                                                            JA-69
        Case
USCA Case    1:13-cv-00734-RBW
          #14-5316              Document 14-2 Filed
                       Document #1587305            07/22/13
                                               Filed:        Page 3 Page
                                                      12/07/2015    of 40 73 of 228



    g    An exact copy of your complete articles of organization (creating document). Absence of the proper purpose
         and dissolution clauses is the number one reason for delays in the issuance of determination letters.

         • Location of Purpose Clause from Part Ill, line 1 (Page, Article and Paragraph Number)
                                                r     f'
                                                                                                     Acr;c\-e 5-
         • Location of Dissolution Clause from art lll line 2b or 2c (Page •. Article and Paragraph Number) or by
                                                                                                                    furp:>sc
           operation of state law o.st   opV_IQ=lo. ,As$e\s        Vpot9Wl..,tlw  j Vp Lp.'l)
    � Signature of an officer, director, trustee, or other official who is authorized to sign the application.
         • Signature at Part XI of Form 1023.

    � Your name on the application must be the same as your legal name as it appears in your articles of
         organization.

    Send completed Form 1023, user fee payment, and all other required information, to:


    Internal Revenue Service
    P.O. Box 192
    Covington, KY 41012-0192


    If you are using express mail or a delivery service, send Form 1023, user fee payment, and attachments to:

    Internal Revenue Service
    201 West Rivercenter Blvd.
    Attn: Extracting Stop 312
    Covington, KY 41011




                                                           JA-70
             Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 4 of 40
USCA Case #14-5316                              Document #1587305                                                  Filed: 12/07/2015                                      Page 74 of 228




     Form2848                                                Power of Attorney                                                                               OMB NO. 1545·0150
                                                                                                                                                             For lAS Uee Only
     (Rev. Match 2004)                                and Declaration of Representative
                                                                                                                                                          Aeceivt<:� by;
     Otpo.nmtn1 ct tl'lt Tr•�UI'Y
     lnlema.l Revenue Service                           .. Type or print. .,. See the separate instructions.
     � PowerofAttomey
                                                                                                                                                          Name

                                                                                                                                                          Telephone
                 Caution: Form 2848 will not be honored for anypurpose other than representation before the IRS.                                          Function
       1     Taxpayer information. Taxpaver(s) must sign and date this form on page 2, l in e 9.                                                          Date             I     I
     Taxpayer name(s) and address                                                                        Social :;ecu� number(s)                 Employer identification
                                                                                                                                                 number
      KSP!True the Vote
      708 Damascus
      Rosenberg, Texas 77471                                                                                                                        27 i 2860095
                                                                                                         Daytime telephone number                Plan number �f applicable)

                                                                                                         (         )
     hereby appo1nt(s) the tollow1ng representallve(s) as attorney(s)-1n-fact:


      2                             i n and date this form on page 2, Part II.
            Representative(s) must sg
     Name and address                                                                                    CAF No . . . . . . . . . . . . ..�3.�2:.�5-�1�� ........... .
     Oeron R. Harrington, JO,CPA
                                                                                                         Telephone No. .... .. . ..      2�.!:?�?:���9........ .
     2225 County Road 90, Suite 115                                                                      Fax No. ........ ... .!!.��.:�??::����.............
      Pearland, TX 77584
                                                                                        Check      if   new: Address 0 Telephone No. 0 Fax No.                                  0
     Name and address                                                                                    CAF No. .. . . . . . .. . . . .����:��-��-�� ............
     Tony Carbone, CPA
                                                                                                         Telephone No. ....... J��..           ��!:����.......       ..
     2225 County Road 90, Suite 115                                                                      Fax No. .............�!I.H�?:�.��.L ..........
      Pearland, TX 77584
                                                                                        Check if new: Address               0     Telephone No.            0     Fax No.        0
     Name and address                                                                                    CAF No. ... ..........����:��-��-�� .......... ..
     Marilyn Allison, CPA
                                                                                                         Telephone No. .......          J��:�?!.��-��........ .
     2225 County Road 90, Suite 115                                                                      Fax No.     .............�!1.�:��?:-!i.��.L........         ..
     Pearland, TX 77584
                                                                                        Check if new: Address               0     Telephone No.            0     Fax No.        0
     to represent the taxpayer(s) before the Internal Revenue Service for the follow1ng tax matters:


      3     Tax matters
           Type of Tax (Income, Employment, Excise. etc.)                                  Tax Form Numbe r                                      Year(s) or Period(s)
           or Civil Penalty         (see the instructions
                                              for line 3)                                (1040, 941, 720, etc.)                          (see the instructions for line 3)

     Non-profit                                                                                    990, 1023                            2010




      4                                                                      CAF) . If the power of attorney I S for a spec1fic use n ot r ecord ed
            Spec1fic u s e not recorded o n Centralized A utho nza t 1on FHe (
            on CAF. check this box. See the I nstructions fo r Line 4. Sp ecif ic u ses not recorded on CAF. . . . . . . . . • � 0
      5     Acts authorized. The representatives are authorized to receive and inspect confidential tax information and to perform any
                                                                                                                                    r
            and all acts that I (we) can perform with respect to the tax matters described on line 3. fo example, the authority to sign any
            agreements, consents. or other documents. The authority does not include the power to receive refund checks (see line 6
            below), the power to substitute another representative. the power to sign certain returns. or the power to execute a request
                                                                                    i
            lor disclosure of tax returns or return information to a th rd party. See the line 5 instructions for more information.
            Exceptions. An unenrolled return preparer cannot                 sign
                                                                     any document for a taxpayer and may only represent taxpayers in
            limited situations. See Unenrolted Return Preparer on page 2 of the instructions. An enrolled actuary may only repr-esent
            taxpayers to the extent provided in section 10.3(d) of Circular 230. See the line 5 instructions for restrictions on tax matters
            partners.

            List any specific additions or deletions to the acts otherwise authorized in this power of attorney: ...............................
             .��.0.����!!��!1�� �'!Y. �'CC!!.<:��I!.f.���-�-��-�      .
                                                                   ... ....................   . .
                                                                                              ..             .
                                                                                                    . . . . . . . .. - . . . . . . . . .................................................




      6     R ece ipt of refund checks. I f you want to authorize a representative named on line 2 to receive. BUT NOT TO ENDORSE
            OR CASH, refund checks, initial here                                and list the name of that representative below.

            Name of r
                    e presentative to rece1ve refund check(s) .,.

     For Privacy Acl and Paperwor1< Reduction Notice, s.oe page 4 of the Instructions.                                 Cat No. 1 1980J                  Fa<m 2848 (Rev. 3· 2004)




                                                                                  JA-71
             Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 5 of 40
USCA Case #14-5316                                       Document #1587305                                                           Filed: 12/07/2015                          Page 75 of 228




      Form 2848 (Rev.    3·2004)                                                                                                                                                               Page 2

       7     Notices and communications. Original notices and other written communications will be sent to you and a copy to the
             trrst representative listed on line 2.
        a If you also want the second representative listed to receive a copy of notices and communications, check this box                                                             .      . .,.. 0
        b Ifyou do not want anynotices or communications sent toyour representative(s), check this box                                                        .     .   .   .   .       .      . .,.. 0
       8     Retention/revocation of prior power(s) of attorney. The filing of this power of attorney automatically revokes all earlier

                                                                                                                                                      .
             power(s) of attorney on file with the Internal Revenue Service for the same tax matters and years or periods covered by
             this document. If you do not want to revoke a prior power of attorney. check here. . . •        .     . . . . . . .,.. 0
             YOU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WA.tff TO REMAIN IN EFFECT.

       9     Signatun� of taxpayeris). If a tax matter concerns a joint return, both husband and wife must sign if joint representation is
             re(luested, otherwise, see the instructions. If signed by a corporate officer, partner, guardian, tax matters partner; executor,




     £�
             receiver, administrator. or trustee on behalf of the taxpayer, I certify that I have the authority to execute this form on behalf
             of the taxpayer.

             ... I F NOT SIGNED AND::TED, THIS POWER OF ATTORNEY WILL BE RETURNED.                                                              {)

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                                                                            00000
                           Print Name                                            PIN Number                          Print name of taxpayer from line 1 if other than individual




                                              Signature                                                                    Date                       Title (if applicable)


                                                                            00000
                           Print Name                                            PIN Number

      lmiJ             Dec laration of Representative

      Caution: Students with a special order lo represent taxpayers In Qualified Low Income Taxpayer Clinics or the Stuctenl Tax Clinic
      Program, see the instructions tor Parr II.
      Under penalties of perjury, I declare that:
           • I am not currently under suspension or disbarment (rom practice before the Internal rlevenue Service;

        • I am aware of regulations contained in Treasury Department Circular No. 230 (31 CFR, Part 10), as amended. concermng
             the practice of attorneys, certified public accountants, enrolled agents, enrolled actuaries. and others:
        • I am authorized to represent the taxpayer(s) identified i n Part I for the tax matter(s) specified there: and
        • I am one of the following:
            a    Attorney-a member in good standing of the bar of the highest coun of the jurisdiction shown below.
            b    Certified Public Accountant-duly qualified to practice as a certified public accountant In the jurisdiction shown below.
            c    Enrolled Agent-enrolled as an agent under the re(luirements of Treasury Department Circular No. 230.
            d Officer-a bona flde officer of the taxpayer's organization.
            e    Full·Time Employee-a full·tlme employee of the taxpayer.
             t   Family Member-a member of the taxpayer's Immediate family �.e.. spouse, parent, child, brother, or sister).
            9 Enrolled Actuary-enrolled as an actuary by the Joint Board for the Enrollment of Actuaries under 29 U.S.C. 1242 (the
                 authority to practice before the Service is limited by section 10.3(d) of Treasury Department Circular No. 230).
            h    Unenrolled Return Preparer-the authority to practice before the Internal Revenue Service Is limited by Treasury Department
                 Circular No. 230, section 10.7(cX1)(viii). You must have prepared the return in question and the return must be under
                 el<aminatlon by the IRS. See Unenrolled Return Preparer on page 2 of the instructions.

     "' IF THIS DECLARATION OF REPRESENTATIVE IS NOT SIGNED AND DATED, THE POWER OF ATTORNEY WILL
        BE RETURNED. See the Part II instructions.

       Designation-Insert                  Jurisdiction (state) or
                                                                                                                         Signature           �                              Date
        above letter (a-ttl                       identification
                                                                                               --.
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        Case
USCA Case    1:13-cv-00734-RBW
          #14-5316              Document 14-2 Filed
                       Document #1587305            07/22/13
                                               Filed:        Page 6 Page
                                                      12/07/2015    of 40 76 of 228



                                            Application for Recognition of Exemption
   Form      1023                                                                                                                 O MB No. 1 545·0056

                                                                                                                                   Not e: If exempt s tatus is
   {Rev. June 2000)                  Under Section 501{c)(3) of the Internal Revenue Code                                         app roved, this
   Oapattm&nt of the Treasury                                                                                                     spplicslion w i ll be open
   Internal Revenue Service                                                                                                        for publci inSPeCtion.
     Use the instructions to complete this application and for a definition of all bold items. For additional help, call IRS Exempt
   Organizations Customer Account Services toll-free at 1-877-829-5500. Visit our website at www.irs.gov for forms and
   publications. If the required information and documents are not submitted with p ayment of the appropriate user fee, the
   application may be returned to you.
     Attach additional sheets to th is application if you need more space to answer fully. Put your name and EIN on each sheet and
   identify each answer by Part and line number. Complete Parts I - XI of Form 1023 and submit only those Schedules (A through
   H) that apply to you.

                    Identification of Applicant

     1       Full name of organization (exactly as it appears in your org anizing document)       2 c/o Name (if applicable)
   KSP!True the Vote

    3        M ailing address (Number and street) (see instructions}              Room/Suite 4 Ei'TPC¥!' ldirtifiaful Nurrb:r (8�

   708 Damascus                                                                                                       XX-XXXXXXX

             City or town, state or country, and ZIP+ 4                                           5 Mo n th the annual accounting period ends (01 - 12)
   Rosenberg, TX 77471                                                                            12

    6        Primary contact (officer, director, trustee, or authorized representative)
             a Name: Catheri ne En ge l brec h t                                                   b Phone:                 832-444-7701

                                                                                                  c Fax: (optional)

    7        Are you represented by an authorized representative, such as an attomey or accountant? If "Yes,"                    121 Yes           0 No
             provide the authorized representative's name, and the name and address of t he authorized
             representative's firm. Include a completed Form 2848, Power of Attorney and Declaration of
             Rep rese ntati ve with your application if you would like us to communicate with your representative.
                                ,




    8        Was a person who is not one of your offi cers dir ectors, trustees, employees, or an authorz
                                                            .                                                i ed                D    Yes          Ill No
             representative listed in line 7, paid, or promised payment, to help plan, manage, or advis e you about
             the structure or activities of your organization, or about your financial or tax matters? If "Yes,"
             provide the person's name, the name and address of the person's firm, the amounts paid or
             promised to be paid, and describe that person s role.
                                                                '




    9a Organization's website: www.truethvote.org

         b   Organization's email: (optional)

   10        Certain organizations are not required to file an information return (Form 990 or Form 990-EZ). If you              D Yes             Ill No
             are granted tax-exemption. are you claiming to be excused from filing Form 990 or Form 990-EZ? If
             "Yes," explain. See the instructions for a description of org anizations not required to file Form 990 or
             Form 990-EZ.


   11        Date incorporated if a corporation, or f ormed if other t h an a corporation.
                                                            ,                                  (MM/DD/YYYY}            06   I 07 I            2010

   12        Were you formed under the laws of a foreign country?                                                                DYes              Ill No
             If "Yes," state the country.


   For Paperwork Reduction Act Notice, see page 24 of the instructions.                      Cat. No. 17133K                  Form 1023 (Rev. 6·2006)




                                                                      JA-73
        Case
USCA Case    1:13-cv-00734-RBW
          #14-5316              Document 14-2 Filed
                       Document #1587305            07/22/13
                                               Filed:        Page 7 Page
                                                      12/07/2015    of 40 77 of 228



   Form 1023 (Rev. 6-2006)         Name:                                                                               E IN:                                    Page 2

   1@111          Organizational Structure
   You must be a corporation (including a limited liability company), an unincorporated association, or a trust to be tax exempt.
   (See instructions.) DO NOT file this form unless you can check "Yes" on lines 1, 2, 3, or 4.
    1     Are you a corporation? If "Yes," attach a copy of your articles of incorporation showing certification                             (il Yes          0 No
          of filing with the appropriate state agency. Include copies of any amendments to your articles and
          be sure they also show state filing certification.
    2     Are you a limited liability company (LLC)? If "Yes," attach a copy of your articles of organization showing                        0 Yes            0 No
          certification of filing with the appropriate state agency. Also, if you adopted an operating agreement, attach
          a copy. Include copies of any amendments to your articles and be sure they show state filing certification.
          Refer to the instructions for circumstances when an LLC should not file its own exemption application.

    3     Are you an unincorporated association? If "Yes," attach a copy of your articles of association,                                    0 Yes            0 No
          constitution, or other similar organizing document that is dated and includes at least two signatures.
          Include signed and dated copies of any amendments.
    4a Are you a trust? If "Yes," attach a signed and dated copy of your trust agreement. Include signed                                     0 Yes            0 No
       and dated copies of any amendments.
     b Have you been funded? If "No," explain how you are formed without anything of value placed in trust.                                  0 Yes            0 No
    5                                                                                                                                        Ql Yes           0 No


   The following questions are designed to ensure that when you file this application, your organizing document contains the required provisions
   to meet the organizational test under section 501(c)(3). Unless you can check the boxes in both lines 1 and 2, your organizing document
   does not meet the organizational test. DO NOT file this application until you have amended your organizing document. Submit your
   original and amended organizing documents (showing state filing certification if you are a corporation or an LLC) with your application.

          Section 501(c)(3) requires that your organizing document state your exempt purpose(s), such as charitable,
          religious, educational, and/or scientific purposes. Check the box to confirm that your organizing document
          meets this requirement. Describe specifically where your organizing document meets this requirement, such as
          a reference t o a particular article or section in your organizing document. Refer to the instructions for exempt
          purpose language. Location of Purpose Clause (Page, Article, and Paragraph): Article 5--Purpose

    2a Section 501{c)(3) requires that upon dissolution of your organization, your remaining assets must be used exclusively
       for exempt purposes, such as charitable, religious, educational, and/or scientific purposes. Check the box on line 2a to
       confirm that your organizing document meets this requirement by express provision for the distribution of assets upon
       dissolution. If you rely on state law for your dissolution provision, do not check the box on line 2a and go to line 2c.
    2b If you checked the box on line 2a, specify the location of your dissolution clause ( Paoe Article, and Para raph .
                                                                                                                   .
                                                                 Ut                       m lh
       Do not complete line 2c if you checked box 2a. Ulstrltl lon ot Assets upon w a g up                .
    2c See the instructions for information about the operation of state law in your particular state. Check this box if
       you rely on operation of state law for your dissolution provision and indicate the state:

   ':t!TI'" Narrative Description of Your Activities                    Su. ot�Ci\eJ
   Using an attachment, describe your past, present, and planned activities in a narrative. If you believe that you have already provided some of
   this information in response to other parts of this application, you may summarize that information here and refer to the specific parts of the
   application for supporting details. You may also attach representative copies of newsletters, brochures, or similar documents for supporting
   details to this narrative. Remember that if this application is approved, it will be open for public inspection. Therefore, your narrative
   description of activities should be thorough and accurate. Refer to the instructions for infonmation that must be included in your description.

   l@fl          Compensation and Other Financial Arrangements With Your Officers, Directors, Trustees,
                 Employees, and Independent Contractors
    1a List the names, titles, and mailing addresses of all of your officers. directors, and trustees. For each person listed, state their
       total annual compensation, or proposed compensation, for all services to the organization, whether as an officer, employee, or
          other position. Use actual figures, if available. Enter "none" if no compensation is or will be paid. If additional space is needed,
          attach a separate sheet. Refer to the instructions for information on what to include as compensation.

                                                                                                                                           Compensation amount
   Name                                      Title                                  Mailin9 address                                        (ann ual actual or estim ated)
                                                                                  708  Damascus
                                                                                  ······•························•···•·•··
   Catherine Engelbrecht                   Director                                                                                                             None
                                                                                  Rosenberg, TX 77471
                                                                                  3225        Locke Lane
                                                                                  · · · · · - · · · · · · · · ··························
   Dianne Josephs                          Director                                                                                                             None
                                                                                  Houston, TX 77019
                                                                                  708      Damascus
                                                                                  · · · · · · · · · · · · · · ················••·····•··
   Brian Engelbrecht                       Director                                                                                                             None
                                                                                  Rosenberg, TX 77471




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                                                                      JA-74
        Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 8 of 40
USCA Case #14-5316     Document #1587305      Filed: 12/07/2015    Page 78 of 228


   Form 1023 (Rev. 6-2006)         Name:                                                                   EIN:                               Page 3
   l::tffllj Compensation and Other Financial Arrangements With Your Officers, Directors, Trustees,
                  Employees, and Independent Contractors (Continued)
        b List the names, titles, and mailing addresses of each of your five highest compensated employees who receive or will
           receive compensation of more than $50,000 per year. Use the actual figure, if available. Refer to the instructions for
           information on what to include as compensation. Do not include officers, directors, or trustees listed in line 1a.

                                                                                                                          Com pensation amoun t
   Name                                     rrtte                                 Maili ng address                        (annual actual or estimated)




        c list the names, names of businesses, and mailing addresses of your five highest compensated independent contractors
          that receive or will receive compensation of more than $50,000 per year. Use the actual figure, if available. Refer to the
          instructions for information on what to include as compensation.

                                                                                                                          Compensation amount
   Name                                     Title                                 Mailing address                         (annual actual or estim ated)




  The following "Yes" or "No" questions relate to past, present, or planned relationships, transactions, or agreements with your officers.
  directors, trustees, highest compensated employees, and highest compensated independent contractors listed in lines 1a, 1b, and 1c.

    2a Are any of your officers, directors, or trustees related to each other through family or business                   0 Ye s           bZl No
       relationships? If "Yes." identify the individuals and explain the relationship.
        b Do you have a business relationship with any of your officers. directors, or trustees other than                  0 Yes           Ill No
          through their position as an officer, director, or trustee? If "Yes," identify the individuals and describe
          the business relationship with each of your officers, directors, or trustees.

        c Are any of your officers, directors, or trustees related to your highest compensated employees or                0 Yes            bZl No
          highest compensated independent contractors listed on lines 1 b or 1c through family or business
          relationships? If "Yes," identify the individuals and explain the relationship.

    3a For each of your officers, directors, trustees, highest compensated employees, and highest
       compensated independent contractors listed on lines 1a, 1b, or 1c, attach a list showing their name,
       qualifications, average hours worked, and duties.

        b Do any of your officers, directors, trustees, highest compensated employees, and highest                         0 Yes            bZl No
          compensated independent contractors listed on lines 1a, 1b, or 1c receive compensation from any
          other organizations, whether tax exempt or taxable, that are related to you through common
          control? If "Yes," identify the Individuals, explain the relationship between you and the other
          organization, and describe the compensation arrangement.

    4     In establishing the compensation for your officers, directors, trustees, highest compensated
          employees, and highest compensated independent contractors listed on lines 1a, 1b, and 1c, the
          following practices are recommended, although they are not required to obtain exemption. Answer
          "Yes" to all the practices you use.
                                                                                                                                     fJjA
        a Do you or will the individuals that approve compensation arrangements follow a conflict of Interest policy?      0 Yes            0 No
     b Do you or will you approve compensation arrangements in advance of paying compensation?                             0 Yes            0 No
     c    Do you or will you document in writing the date and terms of approved compensation arrangements?                 0 Yes            0 No

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                                                                    JA-75
        Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 9 of 40
USCA Case #14-5316     Document #1587305      Filed: 12/07/2015    Page 79 of 228


   Form 1023 (Rev. 6-2006)        Name:                                                                   EIN:                         Page   4
   IQMI'J Compensation and Other Financial Arrangements With Your Officers, Directors, Trustees,
                 Employees, and Independent Contractors (Continued)

     d Do you or will you record in writing the decision made by each individual who decided or voted on
       compensation arrangements?
                                                                                                                         0 Yes        0 No        tJ/fo.
      e Do you or will you approve compensation arrangements based on information about compensation paid by             D Yes        0 No
        similarly situated taxable or tax-exempt organizations for similar services, current compensation surveys
        compiled by independent firms, or actual written offers from similarly situated organizations? Refer to the
         instructions for Part V, lines 1a, 1b, and 1c, for information on what to include as compensation.

         Do you or will you record in writing both the information on which you relied to base your decision             0 Yes        0 No
         and its source?
     g If you answered "No" to any item on lines 4a through 4f, describe how you set compensation that is
       reasonable for your officers, directors, trustees, highest compensated employees, and highest
       compensated independent contractors listed in Part V, lines 1a, 1b, and lc.

    Sa Have you adopted a conflict of interest policy consistent with the sample conflict of interest policy
       in Appendix A to the instructions? If "Yes ," provide a copy of the policy and explain how the policy
                                                                                                                         0 Yes        0 No
       has been adopted, such as by resolution of your governing board. If "No," answer lines Sb and Sc.

     b What procedures will you follow to assure that persons who have a conflict of interest will not have
       influence over you for setting their own compensation?
     c What procedures will you follow to assure that persons who have a conflict of interest will not have
         influence over you regarding business deals with themselves?
         Note: A conflict of interest policy is recommended though it is not required to obtain exemption.
         Hospitals, see Schedule C, Section I, line 14.

    6a Do you or will you compensate any of your officers, directors, trustees, highest compensated employees,           0 Yes        0 No
         and highest compensated independent contractors listed in lines 1a, 1b, or 1c through non-fixed
         payments, such as discretionary bonuses or revenue-based payments? If "Yes," describe all non-fixed
         compensation arrangements, including how the amounts are determined, who is eligible for such
         arrangements, whether you place a limitation on total compensation, and how you determine or will
         determine that you pay no more than reasonable compensation for services. Refer to the instructions for
         Part V, lines 1a, 1b, and 1c, for information on what to include as compensation.
     b Do you or will you compensate any of your employees, other than your officers, directors, trustees,               0 Yes        ONo
         or your five highest compensated employees who receive or will receive compensation of more than
         $50,000 per year, through non-fixed payments, such as discretionary bonuses or revenue-based
         payments? If "Yes," describe all non-fixed compensation arrangements including how the amounts
                                                                                      ,

         are or will be determined, who is or will be eligible for such arrangements, whether you place or will
         place a limitation on total compensation, and how you determine or will determine that you pay no
         more than reasonable compensation for services. Refer to the instructions for Part V, lines 1a, 1b,
         and 1c, for information on what to include as compensation.


    7a Do you or will you purchase any goods, services, or assets from any of your officers, directors,                  0 Yes        0 No
       trustees, highest compensated employees, or highest compensated independent contractors listed in
       lines 1a, 1b, or 1c? If "Yes,•· describe any such purchase that you made or intend to make, from
         whom you make or will make such purchases, how the terms are or will be negotiated at arm's
         length, and explain how you determine or will determine that you pay no more than fair market
         value. Attach copies of any written contracts or other agreements relating to such purchases.
     b Do you or will you sell any goods, services, or assets to any of your officers. directors, trustees,              0 Yes        0 No
         highest compensated employees, or highest compensated independent contractors listed in lines 1 a,
         1b, or 1c? If "Yes," describe any such sales that you made or intend to make, to whom you make or
         will make such sales, how the terms are or will be negotiated at arm's length, and explain how you
         determine or will determine you are or will be paid at least fair market value. Attach copies of any
         written contracts or other agreements relating to such sales.

    Sa Do you or will you have any leases, contracts, loans, or other agreements with your officers. directors,          0 Yes        0 No
        trustees, highest compensated employees, or highest compensated independent contractors listed in
        lines 1a, 1b, or 1c? If "Yes," provide the information requested in lines Sb through Bf.

     b Describe any written or oral arrangements that you made or intend to make.
     c Identify with whom you have or will have such arrangements.
     d Explain how the terms are or will be negotiated at arm's length.
     e Explain how you deterrrine you pay no rrae than fair market value or you are paid at least fair market value.
     f Attach copies of any signed leases, contracts, loans, or other agreements relating to such arrangements.

    9a Do you or will you have any leases, contracts, loans, or other agreements with any organization in                0 Yes        0 No
       which any of your officers, directors, or trustees are also officers, directors, or trustees, or in which
       any individual officer, director, or trustee owns more than a 35% interest? If "Yes," provide the
       information requested in lines 9b through 9f.                                                                                           /
   ______________________________ ___________________                                                                                         /
                                                                                                                       Form 1023 (Rev. 6·2006)




                                                                    JA-76
       Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 10 of 40
USCA Case #14-5316     Document #1587305      Filed: 12/07/2015   Page 80 of 228


   Form 1023 (Rev. 6-2006)        Name:                                                                EIN:                           Page 5
   h#ftW Compensation and Other Financial Arrangements With Your Officers, Directors, Trustees,
                  Employees, and Independent Contractors (Continued)

        b Describe any written or oral arrangements you made or intend to make.
        c Identify with whom you have or will have such arrangements.
        d Explain how the terms are or will be negotiated at arm's length.
        e Explain how you determine or will determine you pay no more than fair market value or that you are
          paid at least fair market value.

        f Attach a copy of any signed leases, contracts, loans, or other agreements relating to such arrangements.

   l@fJI Your Members and Other Individuals and Organizations That Receive Benefits From You
   The following "Yes" or "No" questions relate to goods, services, and funds you provide to individuals and organizations as part
   of your activities. Your answers should pertain to past, present, and planned activities. (See instructions.)

    1a In carrying out your exempt purposes, do you provide goods, services, or funds to individuals? If               0 Yes         0 No
       "Yes," describe each program that provides goods, services, or funds to individuals.

        b In carrying out your exempt purposes, do you provide goods, services, or funds to organizations? If          0 Yes         0 No
          "Yes," describe eachprogram thatprovides goods,services,or funds to organizations.

    2     Do any of your programs limit the provision of goods, services. or funds to a specific individual or         0 Yes         GZI No
          group of specific individuals? For example, answer "Yes," if goods, services, or funds are provided
          only for a particular individual, your members, individuals who work for a particular employer, or
          graduates of a particular school. If "Yes," explain the limitation and how recipients are selected for
          each program.


    3     Do any Individuals who receive goods, services, or funds through your programs have a family or              0 Yes         121 No
          business relationship with any officer, director, trustee, or with any of your highest compensated
          employees or highest compensated independent contractors listed in Part V, lines 1a, 1b, and 1c? If
          "Yes," explain how these related individuals are eligible for goods, services, or funds.

   l@ijil Your History
   The following "Yes" or "No" questions relate to your history. (See instructions.)

    1     Are you a successor to another organization? Answer "Yes," if you have taken or will take over the           0 Yes         Ill No
          activities of another organization; you took over 25% or more of the fair market value of the net
          assets of another organization; or you were established upon the conversion of an organization from
          for-profit to non-profit status. If "Yes," complete Schedule G.


    2     Are you submitting this application more than 27 months after the end of the month in which you              0 Yes        0 No
          were legally formed? If "Yes," complete Schedule E.

   1@1@1 Your Specific Activities
   The following "Yes" or "No" questions relate to specific activities that you may conduct. Check the appropriate box. Your
   answers should pertain to past, present, and planned activities. (See instructions.)

          Do you support or oppose candidates in political campaigns in any way? If "Yes," explain.                    0 Yes         GZI No
    2a Do you attempt to influence legislation? If "Yes," explain how you attempt to influence legislation             GZI Yes      0 No
       and complete line 2b. If "No," go to line 3a.

     b Have you made or are you making an election to have your legislative activities measured by                     0 Yes        0 No
       expenditures by filing Form 5768? If "Yes." attach a copy of the Form 5768 that was already filed or
       attach a completed Form 5768 that you are filing with this application. If "No," describe whether your
       attempts to influence legislation are a substantial part of your activities. Include the time and money
       spent on your attempts to influence legislation as compared to your total activiti'es.


    3a Do you or will you operate bingo or gaming activities? If "Yes," describe who conducts them, and                0 Yes        liJ No
       list all revenue received or expected to be received and expenses paid or expected to be paid in
          operating these activities. Revenue and expenses should be provided for the time periods specified
          in Part IX, Financial Data.

     b Do you or will you enter into contracts or other agreements with individuals or organizations to                0 Yes        lil No
          conduct bingo or gaming for you? if "Yes," describe any written or oral arrangements that you made
          or intend to make, identify with whom you have or will have such arrangements, explain how the
          terms are or will be negotiated at anm's length, and explain how you determine or will determine you
          pay no more than fair market value or you will be paid at least fair market value. Attach copies or
          any written contracts or other agreements relating to such arrangements.


     c List the states and local jurisdictions, including Indian Reservations, in which you conduct or will
       conductgaming or bingo.

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                                                                   JA-77
             Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 11 of 40
USCA Case #14-5316                       Document #1587305                          Filed: 12/07/2015                 Page 81 of 228


  Form 1023 (Rev. 6-2006)        Name:                                                              EIN :                          Page 6
  l@llJi!l Your Specific Activities(Continued)
   4a Do you or will you undertake fundraising? If "Yes," check all the fundraising programs you do or will         0 Yes         0 No
      conduct. (See instructions.)

         0 mail solicitations                                   0 phone solicitations
         0 email solicitations                                  0 accept donations on your website
         Ill personal solicitations                             0 receive donations from another organization's website
         0 vehicle, boat, plane, or similar donations           Ill government grant solicitations
         Ill foundation grant solicitations                     0 Other
         Attach a description of each fundraising program.

     b Do you or will you have written or oral contracts with any individuals or organizations to raise funds       0 Yes         Ill No
       for you? If "Yes," describe these activities. Include all revenue and expenses from these activities
       and state who conducts them. Revenue and expenses should be provided for the time periods
       specified in Part IX, Financial Data. Also, attach a copy of any contracts or agreements.

     c Do you or will you engage in fundraising activities for other organizations? If "Yes," describe these        0 Yes         Ill No
         arrangements. Include a description of the organizations for which you raise funds and attach copies
         of all contracts or agreements.

    d Ust all states and local jurisdictions in which you conduct fundraising. For each state or local
      jurisdiction listed, specify whether you fundraise for your own organization, you fundraise for another
      organization, or another organization fundraises for you.

       e Do you or will you maintain separate accounts for any contributor under which the contributor has          0 Yes         Ill No
         the right to advise on the use or distribution of funds? Answer "Yes" if the donor may provide advice
         on the types of investments, distributions from the types of Investments, or the distribution from the
         donor's contribution account. If ''Yes," describe this program, including the type of advice that may
         be provided and submit copies of any written materials provided to donors.


   5     Are you affiliated with agovernmental unit? If "Yes," explain.                                             0 Yes         Ill No
   6a Do you or will you engage In economic development? If "Yes," describe your program.                           0 Yes         Ill No
     b Describe in full who benefits from your economic development activities and how the activities
        promote exem
                   ptpurposes.

   7a Do or will persons other than your employees or volunteers develop your facilities? If "Yes," describe        0 Yes         Ill No
      each facility, the role of the developer, and any business or family relationship(s) between the
         developer and your officers, directors, or trustees.

     b Do or will persons other than your employees or volunteers manage your activities or facilities? If          0 Yes         Ill No
       "Yes," describe each activity and facility, the role of the manager, and any business or family
         relationship(s) between the manager and your officers. directors, or trustees.

    c If there is a business or family relationship between any manager or developer and your officers,
         directors, or trustees. identify the individuals, explain the relationship, describe how contracts are
         negotiated at arm's length so that you pay no more than fair market value, and submit a copy of any
         contracts or other agreements.

   8     Do you or will you enter into joint ventures, including partnerships or limited liability companies        0 Yes        Iii No
         treated as partnerships, in which you share profits and losses with partners other than section
         501(c)(3) organizations? If "Yes," describe the activities of these joint ventures in which you
         participate.

   9a Are you applying for exemption as a childcare organization under section 501(k)? If "Yes," answer             0 Yes         Ill No
      lines 9b through 9d. If "No," go to line 10.
    b Do you provide child care so that parents or caretakers of children you care for can be gainfully             0 Yes        0 No
         employed (see instructions)? If "No," explain how you qualify as a childcare organization described
         in section 501 (k).

    c Of the children for whom you provide child care, are 85% or more of them cared for by you to                  0 Yes        0 No
         enable their parents or caretakers to be gainfully employed (see instructions)? If ''No," explain how
         you qualify as a childcare organization described in section 501 (k).

    d Are your services available to the general public? If "No," describe the specific group of people for         0 Yes        0 No
         whom your activities are available. Also, see the instructions and explain how you qualify as a
         childcare organization described in section 501(k).

  10     Do you or will you publish, own, or have rights in music, literature, tapes, artworks, choreography,       0 Yes        !Zl No
         scientific discoveries, or other intellectual property? If "Yes," explain. Describe who owns or will
         own any copyrights, patents, or trademarks, whether fees are or will be charged, how the fees are
         determined, and how any items are or will be produced, distributed, and marketed.

                                                                                                                  Form 1 023 (Rev. 6-2006)




                                                                 JA-78
                Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 12 of 40
USCA Case #14-5316                         Document #1587305                           Filed: 12/07/2015                   Page 82 of 228


  Form 1023 (Rev. 6·2006)          Name:                                                                EIN:                            Page 7
  i®i(@l Your Specific Activities(Continued)
  11       D o you or will you accept contributions of: real property; conservation easements; closely held               0 Yes        Ill No
           securities; intellectual property such as patents, trademarks, and copyrights; works of music or art;
           licenses; royalties; automobiles, boats, planes, or other vehicles; or collectibles of any type? If "Yes,"
           describe each type of contribution, any conditions imposed by the donor on the contribution, and
           any agreements with the donor regarding the contribution.

  12a Do you or will you operate in a foreign country or countries? If "Yes," answer lines 12b through                    D Yes        Ill No
           12d. If "No," go to line 13a.
       b Name the foreign countries and regions within the countries in which you operate.
       c Describe your operations in each country and region in which you operate.
       d Describe how your operations in each country and region further your exempt purposes.
  13a Do you or will you make grants, loans, or other distributions to organization(s)? If "Yes," answer lines            D Yes        Ill No
      13b through 13g. If "No," go to line 14a.

       b Describe how your grants, loans, or other distributions to organizations further your exempt purposes.
       c Do you have written contracts with each of these organizations? If "Yes," attach a copy of each contract.        0 Yes        0 No
    d Identify each recipient organization and any relationship between you and the recipient organization.
    e Describe the records you keep with respect to the grants, loans, or other distributions you make.
    f Describe your selection process, including whether you do any of the following:
      (i) Do you require an application form? If "Yes," attach a copy of the form.                                        0 Yes        0 No
      Qi) Do you require a grant proposal? If "Yes," describe whether the grant proposal specifies your                   0 Yes        D No
          responsibilities and those of the grantee, obligates the grantee to use the grant funds only for the

          of grant funds, requires a final written report and an accounting of how grant funds were used,
          purposes for which the grant was made, provides for periodic written reports concerning the use

          and acknowledges your authority to withhold and/or recover grant funds in case such funds are,
          or appear to be, misused.
       g Describe your procedures for oversight of distributions that assure you the resources are used to
         further your exempt purposes, including whether you require periodic and final reports on the use of
         resources.

  14a      Do you or will you make grants, loans, or other distributions to foreign organizations? If "Yes,"              0 Yes        Ill No
           answer lines 14b through 14f. If "No," go to line 15.

       b Provide the name of each foreign organization, the country and regions within a country in which
         each foreign organization operates, and describe any relationship you have with each foreign
           organization.

       c   Does any foreign organization listed in line 14b accept contributions earmarked for a specific country         0 Yes        D No
           or specific organization? If "Yes," list all earmarked organizations or countries.
       d Do your contributors know that you have ultimate authority to use contributions made to you at your              0 Ye·s       D No
         discretion for purposes consistent with your exempt purposes? If "Yes," describe how you relay this
           information to contributors.

    e Do you or will you make pre-grant inquiries about the recipient organization? If "Yes," describe these              0 Yes        D No
           inquiries,
                including whether you inquire about the recipient's financial status, its tax-exempt status
      under the Internal Revenue Code, its ability to accomplish the purpose for which the resources are
      provided, and other relevant information.

           Do you or will you use any additional procedures to ensure that your distributions to foreign                  D Yes        D No
           organizations are used in furtherance of your exempt purposes? If "Yes," describe these procedures.
           including site visits by your employees or compliance checks by impartial experts, to verify that grant
           funds are being used appropriately.

                                                                                                                        Form 1023 (Rev. 6·2006)




                                                                    JA-79
             Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 13 of 40
USCA Case #14-5316                    Document #1587305                          Filed: 12/07/2015                   Page 83 of 228


  Form 1023 (Rev. 6-2006)     Name:                                                              E IN:                           Page   8
  I@Qi!l Your Specific Activities(Continued)
  15    Do you have a close connection with anyorganizations? If "Yes," explain.                                   Ill Y&s      0 No
  16   Are you applying for exemption as a cooperative hospital service organization under section                 0 Yes        � No
       501{e)? If "Yes." explain.
  17   Are you applying for exemption as a cooperative service organization of operating educational               0 Yes        Ill No
       organizations under section 501{1)? If "Yes," explain.
  18   Are you applying for exemption as a charitable risk pool under section 501(n}? If "Yes," explain.           0 Yes        Ill No
  19    Do you or will you operate a school? If "Yes," complete Schedule B. Answer "Yes," whether you              0 Yes        Ill No
       operate a school asyour main function or as a secondaryactivity.
  20    Is your main function to provide hospital or medical care? If "Yes." complete Schedule C.                  0 Yes        Ill No
  21   Do you or will you provide low-income housing or housing for the elderly or handicapped? If                 0 Yes        fll No
       "Yes," complete Schedule F.
  22   Do you or will you provide scholarships, fellowships, educational loans, or other educational grants to     0 Ye s       Ill No
       individuals, including grants for travel, study, or other similar purposes? If "Yes, " com pl ete
       Schedule H.
        Note: Private foundations may use Schedule H to request advance approval of individual grant
        procedures.




                                                                                                                 Form 1023 (Rev. 6-2006)




                                                              JA-80
               Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 14 of 40
USCA Case #14-5316                            Document #1587305                                           Filed: 12/07/2015                                   Page 84 of 228


  Form 1023 (Rev. 6-2006)            Name:                                                                                        E I N:                                       Page 9
  l@ilf!l Financial Data
  For purposes of this schedule, years in existence refer to completed tax years. If In existence 4 or more years, complete the
  schedule for the most recent 4 tax years. If in existence more than 1 year but less than 4 years, complete the statements for
  each year in existence and provide projections of your likely revenues and expenses based on a reasonable and good faith
  estimate of your future finances for a total of 3 years of financial information.. If in existence less than 1 year, provide projections
  of your likely revenues and expenses for the current year and the 2 following years, based on a reasonable and good faith
  estimate of your future finances for a total of 3 years of financial information. (See instructions.)

                                                     A Statement of Revenues and Expenses
                Type of revenue or expen
                                       . se          Current tax year                    3 prior tax years or 2 suc
                                                                                                                  ceeding tax years
                                                   (a) From. . .. . . . . . .. (b) From........... (c) From... . • . . • . . • (d) From...........             (e) Provide Total lor
                                                           • • . �.QH   L.             . • • �.Q1.1. ..    . . ).Q1� ..
                                                       To                          To                   To                         To . . . . . • . . . . .       (a) though
                                                                                                                                                                        r    (d)

          1   Gifts, grants, and
              contributions received (do not
              include unusual grants)                          190,000                   432,000                    765,000
          2   Membership fees received
          3   Gross investment income
              Net unrelated business
              income
          4


          5   Taxes levied for vour benefit
          6   Value of services or facilities
              furnished by a governmental
              unit without charge (not
              including the value of services
              generally furnished to the
   �
              public without charge)
   ::2
   �
              Any revenue not otherwise
   �      7
              listed above or in lines 9-12
   IX:

              below (attach an itemized list)
          8   Total of lines 1 throuah 7
              Gross receipts from admissions,
              merchandise sold or services
          9

              performed, or furnishing of
              facilities in any activity that is
              related to yo  ur exempt
              purposes {att  ach itemzed list)
         10   Total of lines 8 and 9
         11   Net gain or loss o n sale of
              capital assets (attach
              schedule and see Instructions)

         12   Unusual grants
         13   Total Revenue
              Add lines 10 through 1 2
         14   Fundraisingex
                          penses
         15   Contributions, gifts, grants,
              and similar amounts paid out
              (attach an itemized list)

         16   Disbursements to or for the
              benefit of members (attach an
              itemized list)

              Compensation of officers,                                                                                                                       ·   it..�
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   � 18 Other salaries and waaes -                                           +
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              Interest ex
                        ...ense
   Q.
   � 19                 •n•                                                                                                                                   < "'�  -'"., ·
                                                                                                                                                                  � ,_
                                                                                                                                                                     ..    '


         20   Occupancy(rent utilities etc.)                     27,000                    32 400                    54,000                                    -�-              '·
         21    preciation and de
              De               pletion
         22   Professional fees                                    3,000                     3,500                     4,000

         23   Any expense not otherwise
              classified, such as program
              services (attach itemized list)                  160,000                   395,400                    706,500
              Total Expenses
              Add lines 14 through 23
         24
                                                               190,000                   431,300                    764,500

                                                                                                                                                     Form 1 023 (Rev. 6-2006)




                                                                               JA-81
               Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 15 of 40
USCA Case #14-5316                          Document #1587305                           Filed: 12/07/2015                      Page 85 of 228


  Form 1 023 (Rev 6-2006)           Name·                                                                EfN·                               Page 1 0
                   Financial Data (Continued)
   .



                              B. Balance Sheet (for your most recently completed tax year)                                      Year End:

                                                          Assets                                                                (Whole dollars)
   1      Cash .                                                                                                          1

   2      Accounts receivable, net                                                                                        2
   3      Inventories .                                                                                                   3

   4      Bonds and notes receivable (attach an itemized Jist)                                                            4

   5      Corporate stocks (attach an itemized list)                                                                      5
   6      Loans receivable (attach an itemized list) .                                                                    6
   7      Other Investments (attach an itemized list)                                                                     7

   8      Depreciable and depletable assets (attach an itemized Jist) .                                                   8
   9      Land .                                                                                                          9

  10      Other assets (attach an itemized list)                                                                         10

  11                   Total Assets (add lines 1 through 10) .                                                           11
                                                         Liabilities
  12      Accounts payable                                                                                               12
  13      Contributions, gifts, grants, etc. payable                                                                     13
  14      Mortgages and notes payable (attach an itemized list)                                                          14
  15      Other liabilities (attach an itemized list)                                                                    15
  16                   Total Liabilities (add lines 12 through 15)                                                       16

                                              Fund Balances or Net Assets
  17     Total fund balances or net assets                                                                               17
  18                 Total Liabilities and Fund Balances or Net Assets (add lines 1 6 and 17)                            18
  19      Have there been any substantial changes in your assets or liabilities since the end of the period                   0 Yes         0 No
          shown above? If "Yes," explain.
  1@1!1 Public Charty
                   i Status
  Part X is designed to classify you as an organization that is either a private foundation or a public charity. Public charity status
  is a more favorable tax status than private foundation status. If you are a private foundation, Part X is designed to further
  determine whether you are a private operating foundation. (See instructions.)

   1a Are you a private foundation? If "Yes," go to line lb. If "No," go to line 5 and proceed as instructed.                 0 Yes         � No
      If you are unsure, see the instructions.

       b As a private foundation, section 508(e) requires special provisions in your organizing document in                                 0
          addition to those that apply to all organizations described in section 501(c)(3). Check the box to
         confirm that your organizing document meets this requirement, whether by express provision or by
         reliance on operation of state law. Attach a statement that describes specifically where your
         organizing document meets this requirement, such as a reference to a particular article or section in
         your organizing document or by operation of state law. See the instructions, including Appendix B,
         for information about the special provisions that need to be contained in your organizing document.
         Go to line 2.

   2     Are you a private operating foundation? To be a private operating foundation you must engage                         0 Yes         0 No
         directly in the active conduct of charitable, religious, educational, and similar activities, as opposed
         to indirectly carrying out these activities by providing grants to individuals or other organizations. If
          "Yes," go to line 3. If "No," go to the signature section of Part XI.

   3     Have you existed for one or more years? If "Yes," attach financial information showing that you are a private        O Yes         0 No
         operating foundation; go to the signature section of Part XI. If "No," continue to line 4.

   4     Have you attached either (1} an affidavit or opinion of counsel, (including a written affidavit or opinion           0 Yes         0 No
         from a certified public accountant or accounting firm with expertise regarding this tax law matter),
         that sets forth facts concerning your operations and suppOrt to demonstrate that you are likely to
         satisfy the requirements to be classified as a private operating foundation; or (2) a statement
         describing your proposed operations as a private operating foundation?

   5     If you answered "No" to line la, indicate the type of public charity status you are requesting by checking one of the choices below.
         You may check only one box.

         The organization is not a private foundation because it is:
       a 509(a)(1) and 170(b)(1 )(A)(i)-a church or a convention or association of churches. Complete and attach Schedule A.                0
    b    509(a)(1) and 170(b)(1)(A)(ii)-a school. Complete and attach Schedule B.                                                           0
       c 509(a)(1) and 170(b)(1)(A)(ili)-a hospital, a cooperative hospital service organization, or a medical research                     0
         organization operated in conjunction with a hospital. Complete and attach Schedule C.

       d 509(a)(3}-an organization supporting either one or more organizations described in line Sa through c, f, g, or h                   0
         or a publiclysupported section 501{c)(4),(5), or(6) organization. Complete and attach Schedule D.
                                                                                                                         Form 1023 (Rov. 6·2006)




                                                                       JA-82
                Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 16 of 40
USCA Case #14-5316                                  Document #1587305                                                                                 Filed: 12/07/2015                                                       Page 86 of 228


             ev. 6-2006)
  Form 1023 (R                             Name:                                                                                                                                         EIN:                                                Page 1 1

  l:tffil)         Public Charity Status(Continued)
       e   509(a)(4)-an organization organized and operated exclusively for testing for public safety.                                                                                                                                        0
       f   509(a)(1) and 170(b}(1)(A)(iv)-an organization operated for the benefit of a college or university that is owned or                                                                                                                0
           operated by a governmental unit.

       g 509(a)(1) and 170(b)(1)(A)(vi)-an organization that receives a substantial part of its financial support in the form                                                                                                                 0
           of contributions from publicly supported organizations, from a governmental unit, or from the general public.

       h 509(a)(2)-an organization that normally receives not more than one-third of its financial support from gross                                                                                                                         0
         investment income and receives more than one-third of its financial support from contributions, membership
           fees, and gross receipts from activities related to its exempt functions (subject to certain exceptions).

           A publicly supported organization, but unsure if it is described In 5g or 5h. The organization would like the IRS to                                                                                                               QJ
           decide the correct status.

   6       If you checked box g, h, or i in question 5 above, you must request either an advance or a definitive ruling by
           selecting one of the boxes below. Refer to the instructions to determine which type of ruling you are eligible to receive.

       a Request for Advance Ruling: By checking this box and signing the consent, pursuant to section 6501(c)(4} of                                                                                                                          Ill
           the Code you request an advance ruling and agree to extend the statute of limitations on the assessment of
           excise tax under section 4940 of the Code. The tax will apply o ly if you do not establish public support status    n
           at the end of the 5-year advance ruling period. The assessment period will be extended for the 5 advance ruling
           years to 8 years, 4 months, and 1 5 days beyond the end of the first year. You have the right to refuse or limit
           the extension to a mutually agreed-upon period of time or issue(s). Publication 1035, Extending the Tax
           Assessment Period, provides a more detailed explanation of your rights and the consequences of the choices
           you make. You may obtain Publication 1035 free of charge from the IRS web site at www.irs.gov or by calling
           toll-free 1-800-829-3676. Signing this consent will not deprive you of any appeal rights to which you would
           otherwise be entitled. If you decide not to extend the statute of limitations, you are not eligible for an advance
           ruling.


            Consent Fixing Period of Limitations Upon Assessment of Tax Under Section 4940 of the Internal Revenue Code


              For Organization




              (Signature of Officer, Director, Trustee, or other                                         (Type or print name of signer)                                                                       (Date)
              authorized olflcia�

                                                                                                         (Type or print title or auth rity of signer)o
              For IRS Use Only




              iF!s O;�.;c.-o;, -&�.;.;pior9a,;r�8iro;,;; ·
                                                       ·     · · · · · · · · · · · · · · · · ·· · · · · ·· · · · · ·· · · · · · · · · · · · · · · · · · ·· · · · · · · · · · · · · · · · · · · · ·   · · ··   ioai&i   ··   · · ······· ······ ··




    b      Request for Definitive Ruling: Check this box if you have completed one tax year of at least 8 full months and                                                                                                                     0
           you are requesting a definitive ruling. To confirm your public support status, answer line 6b(i) if you checked box
           g in line 5 above. Answer line 6b�i) if you checked box h in line 5 above. If you checked box i in line 5 above,
           answer both lines 6b(i) and (ii).

           (i) (a) Enter 2% of line 8, column {e) on Part IX-A. Statement of Revenues and Expenses.
              (b) Attach a list showing the name and amount contributed by each person, company, or organization whose                                                                                                                       0
                   gifts totaled more than the 2% amount. If the answer is "None," check this box.

           (ii) (a) For each year amounts are included on lines 1 , 2, and 9 of Part IX-A Statement of Revenues and
                    Expenses, attach a list showing the name of and amount received from each disqualified person. If the
                    answer is "None," check this box.                                                                                                                                                                                        0
              (b) For each year amounts are included on line 9 of Part IX-A. Statement of Revenues and Expenses, attach
                  a list showing the name of and amount received from each payer, other than a disqualified person, whose
                  payments were more than the larger of (1) 1% of line 10, Part IX-A. Statement of Revenues and
                  Expenses, or (2) $5,000. If the answer is "None," check this box.                                                                                                                                                          0
   7       Did you receive any unusual grants during any of the years shown on Part IX-A. Statement of                                                                                                                  0 Yes                0 No
           Revenues and Expenses? If "Yes," attach a list including the name of the contributor, the date and
           amount of the grant, a brief description of the grant, and explain why it is unusual.



                                                                                                                                                                                                                   Form 1023 (Rev. 6·2006)




                                                                                                             JA-83
              Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 17 of 40
USCA Case #14-5316                             Document #1587305                                    Filed: 12/07/2015                    Page 87 of 228


  Form 1023 (Rev. 6·2006)             Name:                                                                               EIN:                        Page 12
  l@iiji User Fee Information
  You must include a user fee payment with this application. It will not be processed without your paid user fee. If your average
  annual gross receipts have exceeded or will exceed $10,000 annually over a 4-year period, you must submit payment of $750. It
  your gross receipts have not exceeded or will not exceed $10,000 annually over a 4-year period, the required user fee payment
  is $300. See instructions for Part XI, for a definition of gross receipts over a 4-year period. Your check or money order must be
  made payable to the United States Treasury. User fees are subject to change. Check our website at www.m.gov
                                                                                                        i     and type "User
  Fee" in the keyword box, or call Customer Account Services at 1·877-829-5500 for current Information.

                                                                                                                                       0 Yes          Ill No


   2                                                                                                                                                  0
   3
  I declare underthe penalties of perjury that I am authorized t                                                       tion and that I have examined this
                                                               o sign this application on beha' lf or the above organiza


              �
  application, Including the accompanying schedules and attachments, and to the best or my lknowledge lt ls true, corr  ect, and complet e.
  Please
  Sign
  Here             (Signature or Officer, Director, Trustee, or other          (Type or print name of signer)                        (Date)
                   authorized oHiciaQ

                                                                               (Type or print title or authority of signer)

  Reminder: Send the completed Form 1 023 Checklist with your filled-in-application.                                                 Form 1 023 (Rev. 6-2006)




                                                                           JA-84
          Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 18 of 40
USCA Case #14-5316                 Document #1587305                       Filed: 12/07/2015             Page 88 of 228



    KSPffrue the Vote                                                                      EIN XX-XXXXXXX



    Part IV Description of Activities:




    KSPffrue the Vote is a non-partisian initiative to recruit and train volunteers to work inside polling places
    for elections. True the Vote initiatives are the following:

          •    Mobilizing and training volunteers who are willing to work as election monitors
          •    Aggressively pursuing fraud reports to ensure prosecution when appropriate
          •    Providing a support system for volunteers that includes live and online training, quick reference
                guides, a call bank to phone in problem reports, information on videotaping at polling places,
                and security as necessary
          •    Creating documentaries and instructional videos for use in recruiting and training
          •    Raising awareness of the problem through strategic outreach efforts including advertising, social
                networking, media relations, and relational marketing
          •    Voter registration programs and efforts to validate existing registration lists, including the use of
                pattern recognition software to detect problem areas




    Part V


    2a Relationships of directors: Catherine Engelbrecht and Bryan Engelbrecht are both on the Board of
    Directors and are married.




    PartY

    3a.        Name                     Qualifications                 Avg. Hrs Worked               Duties

    Bryan Engelbrecht          co-owner of Engelbrecht Mfg. Inc.            10/wk                    advisor


    Dianne Josephs             owner Dianne L. Josephs Design, Inc.         40/wk             event coordinator

    Catherine Engelbrecht       co-owner of Engelbrecht Mfg. Inc.           65/wk          Pres. And spokesperson




    Part VII


    2b. In 20 I I , KSP!frue the Vote would like to see Texas enact legislation to support use of a Voter ID
    Card. 20% of budget would be used to support printing to educate on the cause.




                                                          JA-85
         Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 19 of 40
USCA Case #14-5316              Document #1587305                      Filed: 12/07/2015            Page 89 of 228



    KSP!Irue the Vote                                                                 EIN XX-XXXXXXX




    Part VII


    15. KSP/ True the Vote has a close connection with King Street Patriots (EIN 27-1620 1 72). Both were
    formed approximately 6 months apart and have the same Board of Directors. KSPffrue the Vote began as
    an initiative ofKing Street Patriots. King Street Patriots' leadership oversees the True the Vote program.
    However, you do not have to be associated with King Street Patriots to volunteer for KSP/ True the Vote.




                                                      JA-86
       Case
USCA Case   1:13-cv-00734-RBW
          #14-5316     DocumentDocument
                               #158730514-2 Filed 07/22/13
                                              Filed:        Page 20Page
                                                     12/07/2015     of 40 90 of 228




   KSPffrue the Vote
                                                                EIN XX-XXXXXXX




   Part IX Financial Data
                                           2010       2011                 2112
     Other Expenses
     Advertising                            50,000    30,000               100,000
     Design - cards & materials             20,000    45,000                75,000
     Printing                               25,000   1 75,000              250,000
     Signage                                25,000   100,000               200,000
     True The Vote website                  10,000
     True The Vote website - maintenance    12,000    14,400                24,000
     Various Collateral Material            10,000    25,000                50,000
     Video completion                        3,000
     Misallaneous                            5,000
            Total Other Expenses:
                                                       6,000                 7,500
                                           160,000   395,400               706,500




                                            JA-87
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 21 of 40
  Fax Case
USCA       #14-5316
      Server                     Document
                                 9/16/2010 #1587305
                                           2 : 58 : 1 1 PM                 PAGE    Filed:      Fax Server
                                                                                          12/07/2015
                                                                                       2/006           Page 91 of 228

    Corpora!ions SccLion                                                                                      Hope Andrade
    P.O.Box 13697                                                                                              Secretary of State
    Austin, Texas 71!71 1-3697




                                   Office of the Secretary of State




      The undersigned, as Secretary of State of Texas, does hereby certify that the attached is a true and
      correct copy of each document on file in this oftlce as described below:


                                                    KSP!frue the Vote
                                               Filing Number: 801278527



      Certificate of Formation                                                                                    June 07, 20'10




                                                        In testimony whereof, T have hereunto signed my name
                                                        officially and caused to be impressed hereon the Seal of
                                                        State at my office i n Austin, Texas on September 1 6,
                                                        2010.




                                                                                              Hope Andrade
                                                                                              Secretary of State




                                   Come vi.1il us on Jhe inJemet aJ hltp:llwww..\·os.state.lx.u.vl
      Phone: (512) 463-5555                            Fax: (512) 463-5709                           Dial: 7-1-1 for Relay Sen-ices
      Prepared by: VCASTILLO                               TID: 111266                                  Document; 328076970002




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                Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 22 of 40
  Fax Case
USCA       #14-5316
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                                                                            9/16/2010 #1587305
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                                                                                1                  Nonprofit Corporation                                                                       l                  forWeb Filing 1
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                                                               Article 2 - Registered Agent and Registered Office
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     :c . The business address of the registered agent and the registered office address is:                                                                                                                                                                                                                               •
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      Ll A. Management ofthe affairs ofthe corporation Is to be yested solely in the members ofthe corporation                                                                                                                                                                                                             i
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     );;! B. Management of the affairs of the corporation is to be vested in its board of directors. The number of directors,                                                                                                                                                                                              !
     which must be minimum of three. that constitutes the initial board of directors and the names and addresses of the
                                             a
     persons who are to serve as directors until the first annual meeting or until their successors are el ected and qualified
                                                                                                                                                                                                                                                                                                                           iI
      are set forth below...--.........0 00_........ . ...........
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     ;Director 1: Catherine Engelbrecht                                                                                                                                          [Title: Director
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                         5551 Cedar Creek Houston TX, USA 77056
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     1Director3: Bryan                                                                                                                                                                                         [Title: Director
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                       Engelbrecht
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     iAddress. 708 Damascus Rosenberg TX, USA 77471                                                                                                                                                                                                                                                                        :
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      ·o A. The. .--.....
                  corporation will have members.
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      � B. The corporation wtll not have members.                                                                                                                                                                                                                                                                          i
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     1The c rporation is organized for the following purpose or purposes:
     lThe Corporation is organized for charitable purposes, including such purposes                                                                                                                                                                                                                                        i
     ras, making distributions to organizations that qualify as exempt organizat.ions                                                                                                                                                                                                                                      !
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               Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 23 of 40
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                                                                                   2 : 58 : 1 1 PM                                                                               PAGE     Filed: 12/07/2015
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     [corresponding section of any future federal tax code and the Texas Tax Code,                                                                                                                                                                                                                               i
     !Section 1 1 .18. The specific and primary purpose of the Corporation is to                                                                                                                                                                                                                                 !
     !educatelinfonn and register voters within the meaning of Section 501(c)(3) of
     �he Internal Revenue Code of 1986, as amended, or any future federal tax code
     land the Texas Tax Code, Section 11.18.
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     ;Restrictions and Limitations
     !No part of the net earnings of the Corporation shall inure to the benefit of, or
     ;be distributable to its members, trustees, or other private persons, except
     :that the Corporation shall be authorized and empowered to pay reasonable
     !compensation for services rendered and to make payments and distributions in
     furtherance of the purposes set forth in the purpose clause hereof. No
     !substantial part of the activities of the Corporation shall be the carrying on
     : of propaganda, or otherwise attempting to influence legislation, and the
      ;Corporation shall not participate in, or intervene in (including the publishing
     ! or distribution of statements) any political campaign on behalf of any candidate
      �or public office. Notwithstanding any other provision of this document, the
      :corporation shall not carry on any other activities not pennitted to be carried
     : on (a) by an organization exempt from federal income tax under section 501(c)(3)
      \of the Internal Revenue Code, or corresponding section of any future federal
      :tax code, or (b) by an organization, contributions to which are deductible under
      !section 1-70(c)(2) of the Internal Revenue Code, or corresponding section of
      \any future federal tax code.
     I
     \Distribution of Assets Upon Winding Up
     J
       Upon the dissolution of the Corporation, assets shall be distributed for one or
     !more exempt purposes within the meaning of section 501 (c)(3) of the Internal
     ]Revenue Code, or corresponding section of any future federal tax code, or shall
     ibe distributed to the federal government, or to a state or local government, for
     la public purpose. Any such assets not disposed of shall be disposed of by the
     :court of commons Pleas of the county in which the principal office of the
     :corporation Is then located, exclusively for such purposes or to such
     :organization or organizations, as said Court shall determine, which are
     �organized and operated exclusively for such purposes.
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          he attached addendum, ir any, Is incorporated herein by rererence.)


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                                                                                               Organizer
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     ;The name and address of the organizer are set forth below.                                                                                                                                                                                                                                                 i

                                                                                   2226 County Road 90,Suite 1 1 6, Pearland, TX n584
                                                                                                                                                                                                                                                                                 .




     j(Brian
        ;· "·"'.G.. Herrington·-.
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          Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 24 of 40
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                                            9/16/2010 #1587305
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     !traudulenl instrument and certifies under penalty of pe�ury that the undersigned is authorized underthe pirovisions of                                  I
     :1aw governing the entity to execute the filing instrument.                                            """-- ---... · "· --' l                           j
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     :Signature or organiZer                                                                                                                                  ;
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           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 25 of 40
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  Fax Case #14-5316
      Server                      Document
                                  9/16/2010 #1587305
                                            1 2 : 19 : 4 1 PM                PAGE  Filed: 12/07/2015
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    Corporalions Section                                                                                      Hope Andrade
    P.O.Box 13697                                                                                                Secretary of Stale
    AtJSiin, Texas -n\71 1-3697




                                   Office of the Secretary of State




      The undersigned, as Secretary of State of Texas, does hereby certify that the attached is a true and
      correct copy of each document on file in this office as described below:


                                                    KSPfrrue the Vote
                                               Filing Number: 801278527



      Certificate of Correction                                                                            September 02, 2010




                                                        In testimony whereo( T have hereunto signed my name
                                                        officially and caused to be impressed hereon the Seal of
                                                        State at my office in Austin, Texas on September 16,
                                                        2010.




                                                                                              Hope Andrade
                                                                                              Secretary of State




                                   Come visti us on 1he internet at hllp:lfwww.sos.sta/e.lx.t1.1·/
      Phone: (512) 463-5555                            Fax: (512) 463-5709                           Dial: 7-1-1 for Relay Services
      Prepared by: CPENA                                   TID: 10266                                   Document: 328026970002




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               Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 26 of 40
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                                            9/16/2010 #1587305
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                                                                                                       12/07/2015    Page 96 of 228




               Form403                                                                                This s�ce relen.-ed for office usc.

               (Revised 12/09}

               Submit in duplicate to:
                                                                                                                FILED
                                                                                                            In the Office of the
               Secretary of Stnte                                                                        Secretary of State ofrt.Jl811
               P.O. Oox 13697
               Austin, TX 787 1 1 -3697
                                                            Certificate of Correction                           SEP 02 ZD10
               512 463-5555
               FAX: S 12/463-5709
                                                                                                         Corporations Section
               Filin Fc:c: SIS


                                                               Entity Information

               I . The name of the filing entity is:

               KSI'/True th� Vote
               State the name of the entity as currently shown in lhe �cords of the secrelary of state. If the certifica�e ofcorrection
               corrects the name of the entity, state the pn:scnt name and nul the nw.me as il wiU be cotteo:ted.

               The file num�r issued to the filing entity by the secretary of state is:



                                                    Filing Instrument to be Corrected

               2. The filing instrument to be corrected is : Certificate offonnation Non
                                                                                       profit Corporatio:-t

               The date the fi ling instrument was filed with the secretary of statr::               06/07f2010
                                                                                                                   mmltfdln•y}'

                                               Identification of Errors and Corrections
                    (lodicate the errors that have betn motdeby c�king the spproprilllc box or boxes; then provide the corrected text.)


               0 The entity name is inaccurate or erroneously stated. The corrected entity name is:


               0 The registered agent name is inaccurate or erroneously stated. The corrected registered agent
               name is:
                                                              ·Corrected Registered Agent
                                                          (Complete either A or B, but nO(
                                                                                        both.)

               t\. The registered agent is an organization {canuol be en1ht named �bove) by the name of:



               OR
               B. T� registered agent is an individual resident of the state whose name is:
                . . . ':'
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                                                         l e      lmt Na.
                                                                       > lt                                                       SuffiX

      ··   ·
               'lbe .person· executing this certificate of correction affinns that the· registered agent,               :Y"IIP'se:naf!!�' �· · 1'
               be ing cortected by. this �rtificate, consented to serve as registered agent at the l
                                                                                                   iime1 the 'filing
               instrument beingcortected took effect.

                               RECEIVED                                       4

                                  SEP - 2 201U
                             Secretary of State




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        Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 27 of 40
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  Fax Case #14-5316                      Document  1 2 : 19 : 4 1 PM
                                         9/16/2010 #1587305                         PAGE
                                                                                       Filed:4/006   Fax Server
                                                                                              12/07/2015    Page 97 of 228




         0 The registered office address is inaccurate or erroneou.�ly stated. The corrected registered office
         address is:


                                                                                                          TX
         Sfi'Ut Adllress (No P.O. BPX)                               City                                 StOlt   Zip Code

         0 The purpose ofthe entity is inaccurate or erroneously stated. The purpose is corrected to read as
         follows:




         0 The period of duration of the entity is inaccurate or erroneously stated.
         The period of duration is corrected to read as follows:



                                           Identification or Other Errors and Corrections
          (Indicate lhe olher errors and corrections th.at have been made by c:hec:kiJliand oompletina the aPflmpria�e box or boxes.)

         0 Other a-ron and wrrectkms. The following inaccuracies and errors in the filing instrument are
         corrected as follows:

        0Add Each of the following provisions                  was omitted and should be added to the filing instrument.

         The identification or reference of each added provision and the full text of the provision is set forth
         helow.
        Article 3 - Managemertt

        Dianne Josephs - Director
        3225 Locke Lane
        Houston, TX 77019


        UAlter The fol lo ing identified pro isions of the tiling instrument contain inaccuracies or errors
                                    w                     v

         to be corrected. The full text of each corrected provision is set fonh below :




        0Delete Each ofthe pt?Yisions identified below was included in error and should be deleted.
        Article 3 • Management

        Dlrector 2
        LyM Lasher
        .SSSI Cedar Creek
        Hull$tOn, 'fX USA 77056




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       Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 28 of 40
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                                      9/16/2010 #1587305                                PAGE
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                                                                                                  12/07/2015    Page 98 of 228




        U Defective Exec:atioo                 The filing instrument was defectively or erroneously signed, sealed,
        acknowledged or          verified.      Attached is a correctly signed, sealed, acknowledged                           � verified
        instrument.


                                                Statement Regarding Correction

        The tiling instrumen t identified in this certificate was an inaccurate record of the event or transaction
        evidenced in the instrument, cootained an n
                                                  i accurc�te or tmoneous statement, or was defectively or
        erroneously signed, sealed, acknowledged or verified . This certificate of correction is submitted for
        the purpose of correcting the filing instrument

                                    Correction to Merger, Conversion or Exchange

        The tiling instrument identified in this certificate of correction is a merger, conversion or other
        instrument involving multiple entities. The name and file number of each entity that was a party to
        the transaction is SCL forth below. (lfthe space pruvidctl i:; oot sufficict�. inclu<lc information 11.1 :111 \l�chmemto tins iorm.J


                                                                                                            SOS/11� m1mbu



        Entity nGIJill'

                                                         Effectiveness of Filing

        After the secretary ofstate files the certif�ate ofcorrection, the filing instrument is considered to have
        been corrected on the date the filing instrument was originally filed except as to persons adversely
        affected. /\s to persons adversely affected by the correction, 1� !iling instrument is considered to
        have been corrected on the date the certificate ofcorrection is filed by the secretary of state.

                                                                  Execution
        The undersigned signs this document subject to the penalties imposed by law for the submission of a
        materially false or fraudulent instrument and certifies under perlalty of perjury that the undersigned is
        authorized under the provisions of law governing the entity to eKecute the filing instrument.




        Date:


                                                                By:
                                                                                                                                          -




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                                                                       JA-95
          Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 29 of 40
USCA Case #14-5316             Document #1587305                    Filed: 12/07/2015          Page 99 of 228




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                                          KSP!fRUE THE VOTE


                                          ARTICLE I - OFFICES


     1.        REGISTERED OFFICE AND AGENT


     The registered office and registered agent of the Corporation shall be as set forth in the
     Corporation's Certificate of Formation.     The registered office or the registered agent may be
     changed by resolution of the Board of Directors, upon making the appropriate filing with the
     Secretary of State.


     2.        PRINCIPAL OFFICE

     The principal office of the Corporation shall be at 708 Damascus, Rosenberg, Texas 77471,
     provided that the Board of Directors shall have the power to change the location of the principal
     office.


     3.        OTHER OFFICES


     The Corporation may also have other offices at such places, within or without the State of Texas,
     as the Board of Directors may designate, or as the business of the Corporation may require or as
     may be desirable.


                                        ARTICLE II - DIRECTORS


     I.        BOARD OF DIRECTORS


     To the extent not limited or prohibited by law, the Certificate of Formation or these Bylaws, the
     powers of the Corporation shall be exercised by or under the authority of, and the business and
     affairs of the Corporation shall be managed under the direction of the Board of Directors of the
     Corporation.     Directors need not be residents of the State of Texas or members of the
     Corporation unless the Certificate of Formation or these Bylaws so require.


     2.        NUMBER AND ELECTION OF DIRECTORS

     The number of directors shall be three (3) provided that the number may be increased or
     decreased from time to time by an amendment to these Bylaws or resolution adopted by the
     Board of Directors, provided that the number of directors may not be decreased to fewer than
     three (3).   No decrease in the number of Directors shall have the effect of shortening the term of
     any incumbent director.


     At the first annual meeting of the Board of Directors and at each annual meeting thereafter, the
     directors shall elect directors.   A director shall hold office until the next annual election of
     directors and until said director's successor shall have been elected, appointed, or designated and
     qualified.




                                                    JA-96
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 30 of 40
USCA Case #14-5316            Document #1587305                      Filed: 12/07/2015          Page 100 of 228




      3.     REMOVAL


      A director may be removed from office, with or without cause, by the persons entitled to elect,
      designate, or appoint the director.    If the director was elected to office, removal requires an
      affirmative vote equal to the vote necessary to elect the director.


      4.     RESIGNATION

      A director may resign by providing written notice of such resignation to the Corporation.      The
      resignation shall be effective upon the date of receipt of the notice of resignation or the date
      specified in such notice.    Acceptance of the resignation shall not be required to make the
      resignation effective.


      5.     VACANCIES AND INCREASE IN NUMBER OF DIRECTORS


      Any vacancy occurring in the Board of Directors shall be filled by the affirmative vote of a
      majority of the remaining directors though less than a quorum of the Board of Directors. A
      director elected to fill a vacancy shall be elected for the unexpired term of the previous director.
      Any directorship to be filled by reason of an increase in the number of directors shall be filled by
      election at an annual meeting or at a special meeting of the Board of Directors called for that
      purpose.


      6.     ANNUAL MEETING OF DIRECTORS


      The annual meeting of the Board of Directors shall be held no later than the last Monday during
      the month of July, at which they shall elect officers and transact such other business as shall
      come before the meeting. The time and place of the annual meeting of the Board of Directors
      may be changed by resolution of the Board of Directors.


      Failure to hold the annual meeting at the designated time shall not work a dissolution of the
      Corporation.   In the event the Board of Directors fails to call the annual meeting at the
      designated time, any Director may make demand that such meeting be held within a reasonable
      time, such demand to be made in writing by registered mail directed to any officer of the
      Corporation. If the annual meeting of the Board of Directors is not called within sixty (60) days
      following such demand, any Director may compel the holding of such annual meeting by legal
      action directed against the Board of Directors, and all of the extraordinary writs of common law
      and of courts of equity shall be available to such Director to compel the holding of such annual
      meeting.


      7.     REGULAR MEETING OF DIRECTORS

      Regular meetings of the Board of Directors may be held with or without notice at such time and
                                                        2




                                                     JA-97
            Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 31 of 40
USCA Case #14-5316            Document #1587305                    Filed: 12/07/2015          Page 101 of 228




      place as may be from time to time determined by the Board of Directors.


      8.      SPECIAL MEETINGS OF DIRECTORS


      The Secretary shall cal I a special meeting of the Board of Directors whenever requested to do so
      by the President or by two (2) or more directors.   Such special meeting shall be held at the date
      and time specified in the notice of meeting.


      9.      PLACE OF DIRECTORS' MEETINGS

      All meetings of the Board of Directors shall be held either at the principal office of the
      Corporation or at such other place, either within or without the State of Texas, as shall be
      specified in the notice of meeting or executed waiver of notice.


      10.     NOTICE OF DIRECTORS' MEETINGS


      Notice of any special meeting of the Board of Directors shall be given at least two (2) days
      previously thereto by written notice delivered personally or sent by mail or telegram to each
      Director at that Director's address as shown by the records of the Corporation.   If mailed, such
      notice shall be deemed to be delivered when deposited in the United States mail in a sealed
      envelope so addressed, the postage thereon prepaid.    If notice is given by telegram, such notice
      shall be deemed to be delivered when the telegram is delivered to the telegraph company.      Any
      Director may waive notice of any meeting.      The attendance of a Director at any meeting shall
      constitute a waiver of notice of such meeting, except where a Director attends a meeting for the
      express purpose of objecting to the transaction of any business because the meeting is not
      lawfully called or convened.   Neither the business to be transaction at, nor the purpose of, any
      regular or special meeting of the Board need be specified in the notice or waiver of notice of
      such meeting, unless specifically required by law or by these Bylaws.


      11.     QUORUM AND VOTING OF DIRECTORS

      A quorum for the transaction of business by the Board of Directors shall be a majority of the
      number of directors fixed by these Bylaws.      Directors present by proxy may not be counted
      toward a quorum.    The act of the majority of the directors present in person or by proxy at a
      meeting at which a quorum is present shall be the act of the Board of Directors, unless the act of
      a greater number is required by Jaw or the Certificate of Formation.

      A director may vote in person or by proxy executed in writing by the director. No proxy shall
      be valid after three months from the date of its execution. Each proxy shall be revocable unless
      expressly provided therein to be irrevocable, and unless otherwise made irrevocable by law.


      12.     COMPENSATION


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                                                     JA-98
            Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 32 of 40
USCA Case #14-5316            Document #1587305                     Filed: 12/07/2015           Page 102 of 228




      Directors, as such, shall not receive any stated salary for their services, but by resolution of the
      Board of Directors a fixed sum and expenses of attendance, if any, may be allowed for
      attendance at any meeting of the Board or Directors.      A director shall not be precluded from
      serving the Corporation in any other capacity and receiving compensation for such services.
      Member of committees may be allowed similar compensation and reimbursement of expenses
      for attending committee meetings.


      13.     ACTION BY DIRECTORS WITHOUT MEETING

      Any action required by the Texas Business Organizations Code to be taken at a meeting of the
      Board of Directors, or any action which may be taken at a meeting of the Board of Directors or
      any committee, may be taken without a meeting if a consent in writing, setting forth the action to
      be taken, shall be signed by all the Board of Directors entitled to vote with respect to the subject
      matter thereof, or all of the members of the committee, as the case may be. Such consent shall
      have the same force and effect as a unanimous vote.


      If the Corporation's Certificate of Formation so provide, any action required by the Texas
      Business Organizations Code to be taken at a meeting of the Board of Directors or any action
      that may be taken at a meeting of the Board of Directors of any committee may be taken without
      a meeting if a consent in writing, setting forth the action to be taken, is signed by a sufficient
      number of Board of Directors or committee members as would be necessary to take that action at
      a meeting at which all of the Board of Directors or members of the committee were present and
      voted.


      Each written consent shall bear the date of signature of each Director or committee member who
      signs the consent.   A written consent signed by less than all of the Board of Directors or
      committee members is not effective to take the action that is the subject of the consent unless,
      within sixty (60) days after the date of the earliest dated consent delivered to the Corporation in
      the manner required by this section, a consent or consents signed by the required number of
      Board of Directors or committee members is delivered to the Corporation at its registered office,
      registered agent, principal place of business, transfer agent, registrar, exchange agent, or an
      officer or agent of the Corporation having custody of the books in which proceedings of
      meetings of Board of Directors or committees are recorded.         Delivery shall be by hand or
      certified or registered mail, return receipt requested.   Delivery to the Corporation's principal
      place of business shall be addressed to the President or principaJ executive officer of the
      Corporation.


      Prompt notice of the taking of any action by Board of Directors or a committee without a
      meeting by less than unanimous written consent shall be given to all Board of Directors or
      committee members who did not consent in writing to the action.


      If any action by Board of Directors or a committee is taken by written consent signed by less
      than all of the Board of Directors or committee members, any articles or documents filed with
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                                                     JA-99
            Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 33 of 40
USCA Case #14-5316            Document #1587305                     Filed: 12/07/2015           Page 103 of 228




      the Secretary of State as a result of the taking of the action shall state, in lieu of any statement
      required by this Act concerning any vote of the Board of Directors or committee members, that
      written consent has been given in accordance with the provisions of section 6.202 of the Texas
      Business Organizations Code and that any written notice required by such section has been
      given.


      A telegram, telex, cablegram, or similar transmission by a Director or member of a committee or
      a photographic, photostatic, facsimile, or similar reproduction of a writing signed by a Director
      or member of a committee shall be regarded as signed by the Director or member of a committee
      for purposes of this section.

      14.      COMMITTEES OF THE BOARD OF DIRECTORS


      The Board of Directors, by resolution adopted by a majority of the Directors in office, may
      designate and appoint one or more committees, each of which shall consist of two or more
      Directors, which committees, to the extent provided in said resolution, shall have and exercise
      the authority of the Board of Directors in the management of the Corporation, except that no
      such committee shall have the authority of the Board of Directors in reference to amending,
      altering or repealing the Bylaws; electing, appointing or removing any member of any such
      committee or any Director or officer of the Corporation; amending or restating the Certificate of
      formation; adopting a plan of merger or adopting a plan of consolidation with another
      Corporation; authorizing the sale, lease, exchange or mortgage of all or substantially all of the
      property and assets of the Corporation; authorizing the voluntary dissolution of the Corporation
      or revoking proceedings therefore; adopting a plan for the distribution of the assets of the
      Corporation; or amending, altering or repealing any resolution of the Board of Directors which
      by its tenns provides that it shall not be amended, altered or repeated by such committee. The
      designation and appointment of any such committee and the delegation of authority to such
      committee shall not operate to relieve the Board of Directors, or any individual Director, of any
      responsibility imposed by law upon the Board of Directors or upon any individual Director.


      Other committees not having and exercising the authority of the Board of Directors in the
      management of the Corporation may be appointed in such manner as may be designated by a
      resolution adopted by a majority of the Directors present at a meeting at which a quorum is
      present.   Except as otherwise provided in such resolution, members of each such committee
      shall be Directors of the Corporation, and the President of the Corporation shall appoint the
      members thereof. Any member thereof may be removed by the person or persons authorized to
      appoint such member whenever in their judgment the best interests of the Corporation shall be
      served by such removal.


      Each member of a committee shall continue as such until the next annual meeting of the Board
      of Directors and until a successor is appointed, unless the committee shall be sooner terminated,
      or unless such member be removed from such committee, or unless such member cease to
      qualify as a member thereof.
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                                                    JA-100
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 34 of 40
USCA Case #14-5316            Document #1587305                      Filed: 12/07/2015          Page 104 of 228




      One member of each committee shall be appointed chairman by the person or persons authorized
      to appoint the members thereof.


      Vacancies in the membership of any committee may be filled by appointments made in the same
      manner as provided in the case of the original appointments.


      Unless otherwise provided in the resolution of the Board of Directors designating a committee, a
      majority of the whole committee shall constitute a quorum and the act of a majority of the
      members present at a meeting at which a quorum is present shall be the act of the committee.


      Each committee may adopt rules for its own government not inconsistent with these Bylaws or
      with rules adopted by the Board of Directors.


                                        ARTICLE lli - OFFICERS


      1.     NUMBER OF OFFICERS


      The officers of a Corporation shall consist of a president and a secretary and may also consist of
      one or more vice-presidents, a treasurer, and such other officers and assistant officers as may be
      deemed necessary. New offices may be created and filled at any meeting of the Board of
      Directors.   Any two or more offices may be held by the same person, except the offices of
      president and secretary.   A committee duly designated may perform the functions of any officer
      and the functions of any two or more officers may be performed by a single committee,
      including the functions of both president and secretary.


      2.     ELECTION OF OFFICERS AND TERM OF OFFICE


      All officers shall be elected or appointed annually by the Board of Directors at the regular annual
      meeting of the Board of Directors for such terms not exceeding three (3) years.


      3.     REMOVAL OF OFFICERS, VACANCIES


      Any officer elected or appointed may be removed by the Board of Directors whenever in their
      judgment the best interests of the Corporation will be served thereby. The removal of an officer
      shall be without prejudice to the contract rights, if any, of the officer so removed. Election or
      appointment of an officer or agent shall not of itself create contract rights.    A vacancy in any
      office because of death, resignation, removal, disqualification or otherwise, may be filled by the
      Board of Directors for the unexpired portion of the term.


      4.     POWERS OF OFFICERS


      Each officer shall have, subject to these Bylaws, in addition to the duties and powers specifically
                                                      6




                                                   JA-101
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 35 of 40
USCA Case #14-5316            Document #1587305                      Filed: 12/07/2015            Page 105 of 228




      set forth herein, such powers and duties as are commonly incident to that office and such duties
      and powers as the Board of Directors shall from time to time designate.            All officers shall
      perform their duties subject to the directions and under the supervision of the Board of Directors.
       The President may secure the fidelity of any and all officers by bond or otherwise.


      All officers and agents of the Corporation, as between themselves and the Corporation, shall
      have such authority and perform such duties in the management of the Corporation as may be
      provided in theses Bylaws, or as may be determined by resolution of the Board of Directors not
      inconsistent with these Bylaws.

      In the discharge of a duty imposed or power conferred on an officer of a Corporation, the officer
      may in good faith and with ordinary care rely on information, opinions, reports, or statements,
      including financial statements and other financial data, concerning the Corporation or another
      person, that were prepared or presented by:     (I) one or more other officers or employees of the
      Corporation, including members of the Board of Directors; or (2) legal counsel, public
      accountants, or other persons as to matters the officer reasonably believes are within the person's
      professional or expert competence.


      An officer is not relying in good faith within the meaning of this section if the officer has
      knowledge concerning the matter in question that makes reliance otherwise permitted by this
      subsection unwarranted.


      5.     PRESIDENT


      The President shall be the chief executive officer of the Corporation and shall preside at all
      meetings of all directors.   Such officer shall see that all orders and resolutions of the board are
      carried out, subject however, to the right of the directors to delegate specific powers, except such
      as may be by statute exclusively conferred on the President, to any other officers of the
      Corporation.


      The President or any Vice-President shall execute bonds, mortgages and other instruments
      requiring a seal, in the name of the Corporation. When authorized by the board, the President or
      any Vice-President may affix the seal to any instrument requiring the same, and the seal when so
      affixed shall be attested by the signature of either the Secretary or an Assistant Secretary.

      The President shall be ex-officio a member of all standing committees.


      The President shall submit a report of the operations of the Corporation for the year to the
      directors at their meeting next preceding the annual meeting of the Board of Directors.

      6.     VICE-PRESIDENTS

      The Vice-President, or Vice-Presidents in order of their rank as fixed by the Board of Directors,
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                                                     JA-102
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 36 of 40
USCA Case #14-5316             Document #1587305                    Filed: 12/07/2015           Page 106 of 228




      shall, in the absence or disability of the President, perform the duties and exercise the powers of
      the President, and they shall perform such other duties as the Board of Directors shall prescribe.


      7.     THE SECRETARY AND ASSISTANT SECRETARIES


      The Secretary shall attend all meetings of the Board of Directors and shall record all votes and
      the minutes of all proceedings and shall perform like duties for the standing committees when
      required.    The Secretary shall give or cause to be given notice of all meetings of the Board of
      Directors and shall perform such other duties as may be prescribed by the Board of Directors.
      The Secretary shall keep in safe custody the seal of the Corporation, and when authorized by the
      Board of Directors, affix the same to any instrument requiring it, and when so affixed, it shall be
      attested by the Secretary's signature or by the signature of an Assistant Secretary.

      The Assistant Secretaries shall in order of their rank as fixed by the Board of Directors, in the
      absence or disability of the Secretary, perform the duties and exercise the powers of the
      Secretary, and they shall perform such other duties as the Board of Directors shall prescribe.


      Jn the absence of the Secretary or an Assistant Secretary, the minutes of all meetings of the board
      shall be recorded by such person as shall be designated by the President or by the Board of
      Directors.


      8.     THE TREASURER AND ASSISTANT TREASURERS


      The Treasurer shall have the custody of the corporate funds and securities and shall keep full and
      accurate accounts of receipts and disbursements in books belonging to the Corporation and shall
      deposit all moneys and other valuable effects in the name and to the credit of the Corporation in
      such depositories as may be designated by the Board of Directors.


      The Treasurer shall disburse the funds of the Corporation as may be ordered by the Board of
      Directors, taking proper vouchers for such disbursements.          The Treasurer shall keep and
      maintain the Corporation's books of account and shall render to the President and directors an
      account of all of the Treasurer's transactions and of the financial condition of the Corporation
      and exhibit the books, records and accounts to the President or directors at any time.           The
      Treasurer shall disburse funds for capital expenditures as authorized by the Board of Directors
      and in accordance with the orders of the President, and present to the President's attention any
      requests for disbursing funds if in the judgment of the Treasurer any such request is not properly
      authorized. The Treasurer shall perform such other duties as may be directed by the Board of
      Directors or by the President.

      If required by the Board of Directors, the Treasurer shall give the Corporation a bond in such
      sum and with such surety or sureties as shall be satisfactory to the Board of Directors for the
      faithful performance of the duties of the office and for the restoration to the Corporation, in case
      of death, resignation, retirement or removal from office, of all books, papers, vouchers, money
                                                       8




                                                    JA-103
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 37 of 40
USCA Case #14-5316             Document #1587305                     Filed: 12/07/2015            Page 107 of 228




      and other property of whatever kind in the incumbent's possession or under the incumbent's
      control belonging to the Corporation.

      The Assistant Treasurers in the order of their seniority shall, in the absence or disability of the
      Treasurer, perform the duties and exercise the powers of the Treasurer, and they shall perform
      such other duties as the Board of Directors shall prescribe.

                        ARTICLE IV - INDEMNIFICATION AND INSURANCE

      1.     INDEMNIFICATION


      The Corporation shall have the full power to indemnify and advance or reimburse expenses
      pursuant to the provisions of the Texas Business Organizations Code to any person entitled to
      indemnification under the provisions of the Texas Business Organizations Code.

      2.     INSURANCE


      The Corporation may purchase and maintain insurance or another arrangement on behalf of any
      person who is or was a member, director, officer, employee, or agent of the Corporation or who
      is or was serving at the request of the Corporation as a director, officer, partner, venturer,
      proprietor, trustee, employee, agent, or similar functionary of another foreign or domestic
      corporation, employee benefit plan, other enterprise, or other entity, against any liability asserted
      against him or her and incurred by him or her in such a capacity or arising out of his or her status
      as such a person, whether or not the Corporation would have the power to indemnify him or her
      against that liability. Without limiting the power of the Corporation to procure or maintain any
      kind of insurance or other arrangement, the Corporation may, for the benefit of persons
      indemnified by the Corporation, (I) create a trust fund� (2) establish any form of self-insurance;
      (3) secure its indemnity obiigation by grant of a security interest or other lien on the assets of the
      Corporation; or (4) establish a letter of credit, guaranty, or surety arrangement. The insurance
      or other arrangement may be procured, maintained, or established within the Corporation or with
      any insurer or other person deemed appropriate by the Board of Directors regardless of whether
      all or part of the stock or other securities of the insurer or other person are owned in whole or
      part by the Corporation. In the absence of fraud, the judgment of the Board of Directors as to
      the terms and conditions of the insurance or other arrangement and the identity of the insurer or
      other person participating in an arrangement shall be conclusive and the insurance or
      arrangement shall not be voidable and shall not subject the directors approving the insurance or
      arrangement to liability, on any ground, regardless of whether directors participating in the
      approval are beneficiaries of the insurance or arrangement.

                                     ARTICLE V - MISCELLANEOUS

      1.     WAIVER O F NOTICE


                                                        9




                                                     JA-104
           Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 38 of 40
USCA Case #14-5316            Document #1587305                      Filed: 12/07/2015           Page 108 of 228




      Whenever any notice is required to be given to any member or director of the Corporation under
      the provisions of the Texas Business Organizations Code, the Certificate ofFormation, or these
      Bylaws, a waiver thereof in writing signed by the person or persons entitled to such notice,
      whether before or after the time stated therein, shall be equivalent to the giving of such notice.


      2.     MEETINGS BY TELEPHONE CONFERENCE, ELECTRONIC OR .OTHER
      REMOTE COMMUNICATIONS TECHNOLOGY


      Subject to the provisions required or permitted by the Texas Business Organizations Code and
      these Bylaws for notice of meetings, members of the Board of Directors, or members of any
      committee may participate in and hold a meeting of such board, or committee by means of: (I)
      conference telephone or similar communications equipment by which all persons participating in
      the meeting can communicate with each other; or (2) another suitable electronic communications
      system, including videoconferencing technology or the Internet, only if: (a) each member
      entitled to participate in the meeting consents to the meeting being held by means of that system;
      and (b) the system provides access to the meeting in a manner or using a method by which each
      member participating in the meeting can communicate concurrently with each other participant.
      Participation in a meeting pursuant to this section shall constitute presence in person at such
      meeting, except where a person participates in the meeting for the express purpose of objecting
      to the transaction of any business on the ground that the meeting is not lawfully called or
      convened.


      3.     SEAL


      The Corporation may adopt a corporate seal in such form as the Board of Directors may
      determine. The Corporation shall not be required to use the corporate seal and the lack of the
      corporate seal shall not affect an otherwise valid contract or other instrument executed by the
      Corporation.


      4.     CONTRACTS

      The Board of Directors may authorize any officer or officers, agent or agents of the Corporation,
      in addition to the officers so authorized by these Bylaws, to enter into any contract or execute
      and deliver any instrument in the name of and on behalf of the Corporation, and such authority
      may be general or confined to specific instances.


      5.     CHECKS, DRAFTS, ETC.

      All checks, drafts or other instruments for payment of money or notes of the Corporation shall be
      signed by such officer or officers or such other person or persons as shall be determined from
      time to time by resolution of the Board of Directors.

      6.     DEPOSITS
                                                       10




                                                    JA-105
             Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 39 of 40
USCA Case #14-5316            Document #1587305                      Filed: 12/07/2015           Page 109 of 228




      All funds of the Corporation shall be deposited from time to time to the credit of the Corporation
      in such banks, trust companies, or other depositories as the Board of Directors may select.


      7.       GIFTS


      The Board of Directors may accept on behalf of the Corporation any contribution, gift, bequest
      or devise for the general purposes or for any special purpose of the Corporation.


      8.       BOOKS AND RECORDS


      The Corporation shall keep correct and complete books and records of account and shall keep
      minutes of the proceedings of the Board of Directors, and committees and shall keep at the
      registered office or principal office in this State a record of the names and addresses of its
      members entitled to vote.   A Director of the Corporation, on written demand stating the purpose
      of the demand, has the right to examine and copy, in person or by agent, accountant, or attorney,
      at any reasonabl e time, for any proper purpose, the books and records of the Corporation relevant
      to that purpose, at the expense of the member.


      9.       FINANCIAL RECORDS AND ANNUAL REPORTS


      The Corporation shall maintain current true and accurate financial records with full and correct
      entries made with respect to all financial transactions of the Corporation, including all income
      and expenditures, in accordance with generally accepted accounting practices.           All records,
      books, and annual reports (if required by law) ofthe financial activity of the Corporation shall be
      kept at the registered office or principal office of the Corporation in this state for at least three
      years after the closing of each fiscal year and shall be available to the public for inspection and
      copying there during normal business hours.      The Corporation may charge for the reasonable
      expense of preparing a copy of a record or report.


      I 0.     FISCAL YEAR


      The fiscal year of the Corporation shall be as determined by the Board of Directors.


                                     ARTICLE VI - CONSTRUCTION


      1.       PRONOUNS AND HEADINGS


      All personal pronouns used in these Bylaws shall include the other gender whether used in
      masculine or feminine or neuter gender, and the singular shall include the plural whenever and as
      often as may be appropriate.   All headings herein are for convenience only and neither limit nor
      amplify the provisions of these Bylaws.


                                                       11




                                                    JA-106
                  Case 1:13-cv-00734-RBW Document 14-2 Filed 07/22/13 Page 40 of 40
USCA Case #14-5316                   Document #1587305                     Filed: 12/07/2015           Page 110 of 228



             2.      INVALID PROVISIONS

             If any one or more of the provisions of these Bylaws, or the applicability of any such provision
             to a specific situation, shall be held invalid or unenforceable, such provision shall be modified to
             the minimum extent necessary to make it or its application valid and enforceable, and the
             validity and enforceability of all other provisions of these Bylaws and all other applications of
             any such provision shall not be affected thereby.


                  ARTICLE VD - DISSOLUTION/DISCONTINUANCE OF THE CORPORATION

             In the event the Board issues a unanimous proclamation that the activities of the Corporation are
             forever discontinued, all of the Corporation's assets shall be transferred to an organization that is
             qualified as a charitable organization under Section 50I(c)(3) of the Internal Revenue Code of
             1954 (as amended), with similar values and beliefs consistent with that of KSP!fRUE THE
             VOTE, as selected and proclaimed by the Board ofDirectors.

                                    ARTICLE VIII - AMENDMENT OF BYLAWS

             The Board of Directors may amend or repeal these Bylaws, or adopt new Bylaws, unless the
             Certificate ofFonnation or the Texas Business Organizations Code limits such powers.


             Adopted by the .Board ·ofDirectors on
                                  _
                                                     �V,,          2010.




   .··· ·.




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                                                           JA-107
       Case 1:13-cv-00734-RBW Document 14-3 Filed 07/22/13 Page 1 of 6
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 111 of 228




                             Exhibit C:

          IRS Request for Information #1

                     (February 15, 2011)




                                   JA-108
            Case 1:13-cv-00734-RBW Document 14-3 Filed 07/22/13 Page 2 of 6
USCA Case #14-5316               Document #1587305               Filed: 12/07/2015          Page 112 of 228



 Internal Revenue Service                              Department of the Treasury
 P . O . Box   2508   4511
                      -   Room
 Cincinnati, Ohio 45201


 Date :   February        15, 2011
                                                       Employer Identification NUmber:
                                                           XX-XXXXXXX
                                                       Person t o Contact - Group            #:
                                                           Susan Maloney      -    7824
 KSP/True the Vote                                         ID#   0203218
 C/0 Deron R Harrington JD CPA                         Contact Telephone Numbers:
 2 2 2 5 County Road 9 0 ,       Ste 1 1 5                 513-263-3649           Phone
 Pearland , TX 7 7 5 8 4                                   513-263-3690           Fax
                                                       Response Due Date:
                                                           March 8,    2011
 Dear Sir o r Madam :


 We need more information before we can complete our consideration o f your
 application for exemption.                  Please provide the information requested on the
 enclosure by the response due date shown above .                     Your response must be signed
 by an authorized person or an officer whose name is listed on your
 application.         Also,   the information you submit should be accompanied by the
 following declaration:


      Under penal ties of perjury,               I declare that      I have examined this
      informa tion,         including accompanying documen ts,           and,     to the best o f
      my knowledge and belief,                the information contains a l l        the relevant
      facts relating to the request for the information,                        and such facts
      are true,       correct,      and complete.


 To facilitate processing of your application,                    please attach a copy of this
 letter to your response .             This will enable us to quickly and accurately
 associate the additional documents with your case f i l e .


 I f we do not hear from you within that time,                   we will assume you no longer
 want us to consider your application for exemption and will close your case.
 As a result,     the Internal Revenue Service will treat you as a taxable entity.
 If we receive the information after the response due date,                             we may ask you to
 send us a new application.


 In addition,     i f you do not respond to the information reques t by the due
 date,    we will conclude that you have not taken all reasonable steps t o
 complete your application for exemption.                    Under code section 7428 (b) ( 2 ) ,       you
 must show that you have taken all the reasonable steps to obtain your
 exemption letter under IRS procedures                 in a timely manner and exhausted your
 administrative remedies before you can pursue a declaratory judgmen t .
 Accordingly,     i f you f a i l t o timely provide the information we need t o enable
 us to act on your application,                you may lose your rights to a declaratory
 judgment under Code section 742 8 .


 I f you have any questions ,           please contact the person whose name and telephone
 number are shown in the heading of                 this   letter.




                                                                                        Letter 1312   (TEDS)



                                                   JA-109
USCA CaseCase 1:13-cv-00734-RBW
          #14-5316               Document 14-3 Filed
                       Document #1587305       Filed:07/22/13 Page 3Page
                                                      12/07/2015     of 6 113 of 228



                                     Page 2
 KSP/True the Vote
 XX-XXXXXXX
                                                  ly yours ,




                                          E
                                                wdJ!�
                                          s s n Maloney
                                               pt Organizations   Specialist


 Enclosure :   Information Request




                                      JA-110
                  Case 1:13-cv-00734-RBW Document 14-3 Filed 07/22/13 Page 4 of 6
  USCA Case #14-5316                Document #1587305            Filed: 12/07/2015      Page 114 of 228



                                                  Page 3
    KSP/True the Vote
    XX-XXXXXXX
    Additional Information Requested:


1 . In order to meet the organizational test for exemption under section
    5 0 1 ( c ) ( 3 ) , your organizational document, Articles of Incorporation, must be
   amended to include the following provision:

    a.       Said organization is organized exclusively for charitable ,                     religious,
             educational, and scientific purposes, including, for such purposes ,                           the
             making of distributions to organizations that qualify as exempt
             organizations under section S O l ( c ) ( 3 ) of the Internal Revenue Code,                    or
             corresponding section of any future federal tax code .


    PLEASE SUBMIT A COMPLETE COPY OF THIS AMENDMENT .                       SINCE YOU ARE INCORPORATED
    IN THE STATE OF TEXAS ,            THE COPY YOU SUBMIT TO US MUST SHOW THAT IT HAS BEEN
    PROPERLY FILED WITH YOUR APPROPRIATE STATE AGENCY .                      WE CANNOT ACCEPT A COPY
    STAMPED "RECEIVED " .


2 . Your board is narrow and related. This could lead to substantial private
    benefit or inurement, both of which are prohibited under 5 0 1 ( c ) ( 3 ) . In
   Better Business Bureau of washington ,             D.C. ,   Inc .   v.   United States,    326 U . S .
   279   ( 1 9 45 ) ,    the Court held that the presence o f a single non-exempt purpose,
   if substantial in nature, will destroy a claim for exemption regardless of
   the number or importance of truly exempt purposes .


  To insure that your organization will serve public interests and not the
  personal or private interests of a few individuals,                       unrelated individuals
  selected from the community you will serve should control your Board of
  Director s .           Members o f the Board should be selected from the following
   categori e s ;        ( 1 ) community leader s , such as elected or appointed officials,
  members of the clergy,             educators,   civic leader s ,     or other such individual s
  representing a broad cross-section o f the views and interests of your
  community,            (2)   individuals having special knowledge or expertise in your
  particular field or discipline in which your organization is operating,                            (3)
  public officials acting in their capacities as such, ( 4 ) individuals
  selected by public officials, and ( 5 ) individuals selected pursuant to your
  organizations governing instrument or bylaws by a broadly based membership .


  Therefore,            i t is recommended that you modify your Board of Directors to place
  control in the hands of unrelated individuals selected from the community you
  will serve.

  Please submit the names and qual ifications of the new board members, as well
  as a statement signed by each that they will take an active part in your
  operation.


  If you are unwilling to do so,            please explain your position.


3 . The activities narrative submitted with your application states,
                                                                   "KSP/True
  the Vote is a non-partisan initiative to recruit and train volunteers to
  work inside polling places for elections .               True the Vote initiatives are the




                                                    JA-111
  USCA CaseCase 1:13-cv-00734-RBW
            #14-5316               Document 14-3 Filed
                         Document #1587305       Filed:07/22/13 Page 5Page
                                                        12/07/2015     of 6 115 of 228



                                           Page 4
    KSP/True the Vote
    27 -2860095


      •    Mobilizing and training volunteers who are willing to work as election
           monitors.
      •    Aggressively pursuing fraud reports to ensure prosecution when
           appropriate.
      •    Providing a support system for volunteers that includes live and online
           training,     quick reference guides , a call bank to phone in problem
           reports s ,   information on videotaping at polling places, and security as
           necessary.
      •    creating documentaries and instructional videos for use in recruiting
           and training.
      •    Rais ing awareness of the problem through strategic outreach efforts
           including advertising,    social networking,   media relations ,   and
           relational marketing .
      •    Voter registration programs and efforts to validate existing
           registration l i s t s , including the use of pattern recognition software
           to detect problem areas . "


  Please answer the following questions regarding your activities :


      a.   Provide a job description of an election monitor.      Do they go to the
           polls on election day?     I f s o , where are they located at the polls?
           What do they do?
      b.   How will the organization pursue fraud reports and ensure prosecution.
           Explain each step in detail .    Who will do this?
      c.   Explain videotaping at a polling place. Who will do this? What purpose
           will i t serve? Explain in detai l .
      d.   How will the organization raise awareness through advertising,           social
           networking, media relations and relational marketing? Provide examples
           and explain in detail .
      e . Why is pattern recognition software needed to detect problem areas?
          What problem areas? Explain in detail .
      f.   Explain how voter registration ful fills an exempt purpos e .
      g.   What percentage of the organization ' s time and resources i s devoted to
           each of the listed activities?     The percentage , when applied,    should
           total 1 0 0 .
     h.    Explain how each of your activities fulfill an exempt purpos e .

4 . Form 1 02 3 , Part v , page 4 ( enclosed) was answered with an N/A.   Please check
    the boxes yes or no and return to u s .




                                            JA-112
    USCA CaseCase 1:13-cv-00734-RBW
              #14-5316               Document 14-3 Filed
                           Document #1587305       Filed:07/22/13 Page 6Page
                                                          12/07/2015     of 6 116 of 228



                                            Page 5
      KSP/True the Vote
       2 7 - 2 8 6 0 095


                 PLEASE DIRECT ALL CORRESPONDENCE REGARDING YOUR CASE TO:


                u s Mai l :                      Street Addre s s :


                 Internal Revenue Service        Internal Revenue Service
                 Exempt Organizations            Exempt Organizations
                 P.   0.    Box 2 5 0 8          5 5 0 Main St , Federal Bldg.
                Cincinnati , OH 45201            Cincinnati, OH 45202
                ATT: Susan Maloney               ATT : Susan Maloney
                     Room   4511                        Room  4511
                           Group 7 8 2 4               Group 7 8 2 4


Letter 1 3 1 2    (Rev.      12/2007)




                                              JA-113
      Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 1 of 11
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 117 of 228




                             Exhibit D:

          IRS Request for Information #2

                      (February 8, 2012)




                                   JA-114
          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 2 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 118 of 228



I     Internal Revenue Servrce                                     Department of the Treasury
      P.O. Box 2508
I     Cincinnati, OH 45201

      Date: February 8, 2012


I
                                                                   Employer ldentmcatfon Number       :



                                                                    XX-XXXXXXX
      True the Vote                                                Person to Contact - Group #:
      C/0 Foley & Lardner LLP                                       Janine L. Estes - 7829
I     Attn: Richard F. Riley
      3000 K Street NW, Ste 600
                                                                    ID# 0203052
                                                                   Contact Telephone Numbers:
      Washington, DC 20007-5109                                     513-263-3627     Phone
I                                                                   51 3-263-4590
                                                                   Response Due Date:
                                                                                     Fax

                                                                    February 22, 2012

I
      Dear Sir or Madam:

      Thank you for the information submitted November 8, 201 1 regardin·g your application for
      exemption. Unfortunately, we need more information before we can complete our consideration
I     of your application.
                                                                                                                    ..: ·.
                                                                                                                    ;:
      Please provide the information requested on the enclosed Information Request by the response

I     due date shown above. Your response must be signed by an authorized person or an officer
      whose name is listed on the application. Also, the Information you submit should be
      accompanied by the following declaration:

I           Under penalties ofperjury, I declare that I have examined this information,
            including accompanying documents, and, to the best ofmy knowledge and belief,
            the information contains all the relevantfacts relating to the requestfor the
I           information, and suchfacts are true, correct, and complete.




I
      If we approve your application for exemption, we will be required by law to make the application
      and the information that you submit in response to this letter available for public inspection.
      Please ensure that your response doesn't Include unnecessary personal identifying information,
      such as bank account numbers or Social Security numbers, that could result in identity theft or
I     other adverse consequences if publicly disclosed. If you have any questions about the public
      inspection of your application or other documents, please call the person whose name and
      telephone number are shown above.

I     To facilitate processing of your application, please attach a copy of this letter and the enclosed   �- ,...��-:��-�(.' '
                                                                                                               '   -.   '   .

      Application Identification Sheet to your response and all correspondence related to your
I     application. This will enable us to quickly and accurately associate the additional documents
      with your case file. Also, please note the following important response submission information:


I      •   Please don't fax and mail your response. Faxing and mailing your response will result in
           unnecessary delays in processing your application. Each piece of correspondence
           submitted (whether fax or mail} must be processed, assigned, and reviewed by an EO
I          Determinations specialist.



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                                                   JA-115
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          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 3 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 119 of 228



I      •    Please don't fax your response multiple times. Faxing your response multiple times will
            delay the processing of your application for the reasons noted above.

I      •    Please don't call to verify receipt of your response without allowing for adequate processing
            time. It takes a minimum of three workdays to process your faxed or mailed response from

I           the day it is received.

      If we don't hear from you by the response due date shown above, we will assume you no longer
      want us to consider your application for exemption and will close your case. As a result, the
I     Internal Revenue Service will treat you as a taxable entity. If we receive the information after
      the response due date, we may ask you to send us a new application.


I     In addition, if you don't respond to the information request by the due date, we will conclude that
      you have not taken all reasonable steps to complete your application for exemption. Under
      Internal Revenue Code section 7428(b)(2), you must show that you have taken all the

I
      reasonable steps to obtain your exemption letter under IRS procedures in a timely manner and
      exhausted your administrative remedies before you can pursue a declaratory judgment.
      Accordingly, if you fail to timely provide the information we need to enable us to act on your
      application, you may lose your rights to a declaratory judgment under Code section 7428.
I     We have sent a copy of this letter to your representatives as indicated in Form 2848, Power of
      Attorney and Declaration of Representative.

I     If you have any questions, please contact the person whose name and telephone number are
      shown in the heading of this letter.

I
I
I     Enclosures: Information Request

      Cc:      Cleta Mitchell, Esq.


I
               Richard F. Riley, Esq




I
I
I
I
I
                                                    JA-116
I
          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 4 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 120 of 228.,.. -.:.
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      True the Vote


I
      XX-XXXXXXX

      Additional Information Requested:


I     1.     Provide a print-out of each of your website's pages or proposed website's pages, including
             any pages with restricted access.



I     2.     Provide details regarding all of your activity on Facebook and Twitter. Also, provide hard
             copies of all advertising you have conducted using social media outlets.


I     3.     Submit the following information relating to your past and present directors, officers, and key
             employees:

I            a) Provide a resume for each.
             b) Indicate the number of hours per month each Individual has provided or is providing

I
                services to you.
             c) Pr�vide a description of all the services each individual provides or has provided to.y.�\�-���?:
                                                                                                               ��
             d) lndtcate the total compensation provided to each individual.
             e) Describe how each compensation package was determined.

I            f) Indicate if any of your current and former officers, directors, and key employees are
                related to each other (Include family and business relationships) and describe the nature
                of the relationship.

I
      4.     List each past or present board member, officer, key employee and members of their

I
             families who:

             a) Has served on the board of another organization.
             b) Was, is or plans to be a candidate for public office. Indicate the nature of each
I                candidacy.                                     .
             c) Has previously conducted similar activities for another entity.
             d ) Has previously submitted an application for tax exempt status.

I
      5.     Do you have a conflict of interest policy? If yes, submit a copy.


I     6.     Provide minutes of all board meetings since your creation.


I      7.    Regarding your fundraising:



I            a)
             b)
                  Provide copies of all solicitations the organization has made regarding fundraising.
                  Provide copies of all documents related to the organization's fundraising events,
                  including pamphlets, flyers, brochures, webpage solicitations.
             c)   Provide a listing and details regarding all fundraislng expenses.
I
       8.    Provide actual financial information for 2010 and 2011 and a budget for 2012. Provide

I            details regarding each item listed.




I
                                                   JA-117
I
          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 5 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 121 of 228
      True the Vote
      XX-XXXXXXX
I     9.     Provide a description of the collateral materials used by the organization.


I     10.    Although no salaries and wages on the financial information submitted with your initial
             application does the organization currently have or plan to have employees? Provide

I
             the following information:

             a)   How many employees do you have?
             b)   Indicate the total of full-time, part-time, and seasonal employees?

I            c)
             d)
                  If employees are part-time, when did!do they work?
                  If employees are seasonal, during what season (months) did!do they work?
             e)   How many employees arefwere devoted to each activity of the organization throughout

I                 the year?



      11.
I
             Regarding your current and planned volunteers:

             a) How many volunteers do you have?
             b) How many volunteers are/were devoted to each activity of the organization throughout

I               the year?
             c) How many and what sort of resources are devoted to volunteer activities?



I     12.    In your Form 1 023 application, you stated you conduct the following activities: Training
             Election Workers and Publi� Education. Provide the following information for all the
             events you have held from inception to the present:
I            a) The time, location, and content schedule of each event


I
             b) A copy of the handouts you provided to the audience

             c)   Identify the education and workshop materials that instructors used

             d) The names and credentials of the instructors

I            e)   If speeches or forums were conducted in the event, provide detailed contents of the
                  speeches or forums, names of the speakers or panels, and their credentials. If any
                  speakers or panel members were paid, provide the amount paid for each person. If

I                 not, please indicate that they volunteered to conduct the event.

             f) The names of persons from your organization and the amount of time they spent on
                  the event. Indicate the name and amount of time they spent on the event. Indicate
I                 the name and amount of compensation that was paid to each person. If no one was
                  paid, indicate this event was conducted by volunteers to each person.
                                                                                                              �.....
I                                                                                                          .�:.;; .. .
                                                                                                                       �   :




      13.    Provide the following information for all the events you will conduct for 2012 and 2013: .-    ·.� ·'"��:·.,
                                                                                                           ""':  �·k ·;
                                                                                                             �..,.

I            a) The time, location, and 90ntent schedule of each event

             b) Identify handouts you provided to the audience


I            c)   Identify workshop materials that instructors will use




I
                                                    JA-118
I
          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 6 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 122 of 228
      True the Vote
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I            d) The names and credentials of the instructors
             e) If speeches or forums will be conducted in the event, provide detailed contents of the
I               speeches or forums, names of the speakers or panels, and their credentials. If any
                speakers o r panel members will be paid, provide the amount will be paid for each
                person. If not, please indicate they volunteered to conduct the event.
I           f)    The names of persons from your organization and the amount of time they will spend
                  on the event. Indicate the name and amount of time they will spend on the event.
                  Indicate the name and amount of compensation that will be paid to each person. If
I                 no one will be paid, indicate this event will be conducted by volunteers to each
                  person.
             g) Indicate the percentage of time and resources you will spend on these activities in
I               relation to 1 00% of all your activities.



I     14.    You have stated you will recruit individuals to serve as election administration workers or
             as election observers. Provide the following information:



I            a) Explain the process used to recruit individuals willing to fill these positions.
             b) Provide copies of any materials distributed to recruit individuals.


I
            c) How many individuals have you trained to date?
            d) How many individuals are currently undergoing training?
            e) How many elections have you provided election workers for?
I           f) What percentage of individuals recruited go on to serve as administration workers?                            ..



             g) What percentage of individuals recruited go on to serve as election observers?              . ������:.:
I
                                                                                                                          ·
                                                                                                                          . . . .



            h ) What percentage of individuals recruited do not go on serve as election workers?
             i)   Do you only train electiOn workers for the state of Texas? If yes, do you plan to
                  expand your activities to other states? List the states In which you plan to train
I                 election workers. If you have already expanded provide a list states in which you are
                  currently training election workers.

            j) Are there any regulations that govern the role of an election observer? If yes,
I                 provide copies of the applicable regulations.



I     15.   You stated that election administration workers are trained by local election
            administrators. Provide the following information:
             a) Do election administration workers receive any training from you? Explain the
I               training received.
             b) If training is received from you how does this training differ from the training received
                by election observers?
I            c) When do the election administration workers receive this training: prior to the
                training, concurrently with the training, or after receiving the training from local
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                election administrators?                                                                       ·




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          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 7 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 123 of 228
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      16.    You have stated the organization's materials are carefully vetted by election law experts.
             Provide the names and credentials of the election law experts used by the organization

I
      17.    You have stated the organization's voter integrity center will be staffed with legal and

I            election experts. Provide the names and credentials of the legal and election experts
             used by the organization.



I     18.    How many reports have election observers made to the voter integrity center? Of those
             reports how many have been elevated to the appropriate election administration official
             to correct the violation?

I
      19.    You have stated the organization may participate in civil lawsuits to compel compliance

I            with the election law. Provide a description of any of your organization's involvement in
             civil lawsuits to date.



I     20.    Provide the following information about the organization's voter registration integrity
             activity:


I            a) Explain the process used to recruit individuals.

             b) Provide copies of any materials distributed to recruit individuals.


I
             c)   Describe the training process used by the organization. Provide a copy of any
                  training materials used.

             d) How many individuals have you trained to date?

I            e) How many individuals are currently undergoing training?

             f)   Identify the states in which the organization conducts, has conducted, or plans to
                  conduct this activity.
I            g) In how many jurisdictions have you conducted this activity?



I     21.    You stated the organization has developed, through volunteers, a software capability for
             downloading the registered voter lists, then reviewing and lndentifying potential
             inaccurate registrations. Is there any intellectual property rights associated with this

I
             software? If so, who owns those rights?



      22.    You stated the organization is lessening the burdens of government by assisting
I            governmental bodies in accomplishing their requirements under law. You go on to state
             the organization's review of registration fists directly fulfills the HAVA requirements
             imposed on government and offers a resource to accomplish this task that many local

I            jurisdictions lack. Provide the following information:

             a) Has the organization ever been approached by a jurisdiction specifically to perform a

I
                review of registration lists? If so, please explain.

             b) To your knowledge has a local election administration official ever used your review



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          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 8 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 124 of 228

      True the Vote

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                  of voter rolls to assist them in discharging their statutory obligation to maintain
                  integrity of the voter registration rosters? If so, please explain.

I           c)    In how many jurisdictions have you presented your review of voter rolls to election
                  administration?


I     23.   You stated you will provide voter registration training. In addition to voter registration will
            you, or have you ever, conducted get out to vote drives, or publish or distribute voter
            guides? Provide the following information:
I           a) What is the location, date and time of the events?


I
             b) Who on the organization's behalf have conducted or will conduct the voter
                registration or get out to vote drives?

             c)   Provide copies of all materials published or distributed regarding the activities,

I
                  Including copies of any voter guides.



      24.   You stated the organization may create documentaries. Provide copies of any
I           completed documentaries including printed transcripts.




I     25.   In regards to the organization's public education activities you state the organization
            seeks to educate the public and influential individuals. Define influential individuals.



I     26.   You stated the organization hopes to raise awareness of voter integrity tissues through
            strategic outreach efforts including media relations. Has your organization engaged in
            any activities with the news media? If so, please describe those activities in further

I           detail and, if available, provide copies of articles printed or transcripts of items aired
            because of that activity. News media activity may include the following:



I           a)    Press releases
            b)    Interviews with news media
            c)    Letters to the editor
            d)    Op--ed pieces
I
      27.   In your initial application you stated True the Vote would like to see Texas enact

I           legislation to support the use of a Voter 10 card. 20% of the budget would be used to
            support printing to educate on the cause. In your most recent response you stated True
            the Vote will provide information on its findings to elected officials. Provide the following

I
            information regarding these activities:

            a) Provide copies of all communications, pamphlets, advertisements, and other mate
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               distributed by you regarding the legislation.
I           b) Do you conduct media advertisements lobbying for or against legislation? If yes, provide
               copies of any radio, television, or internet advertisements relating to the organization's
               lobbying activities.

I           c) Do you directly or indirectly communicate with members of legislative bodies? If so,
               explain the amount and nature of the communication.



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          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 9 of 11
I   USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 125 of 228

      True the Vote

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      28.    Are you a membership organization?        Provide details regarding all members' fees and
             benefits.

I     29.    Do you publish or distribute materials or conduct other communications that are prepared by
             or reviewed by another organization? If yes, explain and provide a copy of such materials or
I            communications.




I     30.    Will you publish and/or distribute material in favor of any candidate for public office? If yes,
             explain.
                                                  ·




I     31.    Do you or will you rate candidates? If yes, explain.



I     32.    Do you or will you endorse candidates? If yes, explain and answer the following:

             a) Provide your endorsement criteria.

I            b) Once a candidate Is endorsed, how does your organization handle the endorsement?
             c) Provide a list of all candidates you have endorsed.
             d) Does your organization notify the candidate of the endorsement? If yes, explain .
             e) Do you provide any materials to candidates, which they may use to promote their
I               candidacy? If so, please describe and provide copies of those materials.




I     33.    You have indicated you have a close connection with King Street Patriots.

            a)    Provide the address of the organization.

I           b)
            c)
                  Describe in detail the nature of the relationship.
                  Do you work with the organization(s) regularly?
            d)    Provide copies of all related contracts with such organizations.
            e)    Describe the nature of all contacts with the organizations.
I            f)   Do you share employees, volunteers, resources, office space, etc. with the
                  organlzation(s}? If yes, explain.


I     34.    Are you associated with any other IRC 501(cX3), 501(c)(4) or 527 organizations? If yes:



I
             a)   Provide the name, federal employer identification number and address of each
                  organization.
             b)   Describe in detail the nature of the relationship(s).
             c)   Do you work with the organization(s) regularly?
I            d)
             e)
                  Provide copies of all related contracts with such organizations.
                  Describe the nature of all contacts with the organizations.
             f)   Do you share employees, volunteers, resources, office space, etc. with the

I                 organization(s)? If yes, explain.




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          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 10 of 11
I   USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 126 of 228
      True the Vote

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      35.    Are you associated with any for-profit organizations? If yes:


I            a) Provide the name, federal employer identification number and address of each
                organization.
             b) Describe in detail the nature of the relationship(s).

I            c) Do you work with the organization(s) regularly?
             d) Provide copies of all related contracts with such organizations.
             e) Describe the nature of all contacts with the organizations.
             f) Do you share employees, volunteers, resources, office space, etc. with the
I               organization(s)? If yes, explain.



I     36.   Do you engage in business dealings with any candidate(s) for public office or an
            organization associated with the candidate, such as renting office space or providing access
            to a membership list? If so, describe the relationship In detail and provide contracts or other

I           agreements documenting the business relationship.
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      37.    Has any person or organization provided educational services to you? If yes, provide the .- !        ·,� h�:1:_
I            following:                                                                                             •    .......,.....�
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             a) The name of the person or organization.

I            b) A full description of the services provided.
             c) The political affiliation of the person or organization.



I     38.    Have you conducted candidate forums at which candidates for public office were invited to
             speak? If yes, provide the following:


I           a)
            b)
                  Details, including the nature of the forums
                  The candidates invited to participate
            c)    The candidates that did participate


I
            d)    The issues discussed
            e)    The time and location of the event.
            f)    Copies of all materials distributed regarding the forum and provided at the forum,
                  including any internet material discussing or advertising the forum.

I
      39.    Have any candidates for public office spoken at a function of the organization other than a. ::':. ;� ���:..t�f             ,



I            candidate forum? If yes, provide the following:

             a)   The names of the candidates
             b)   The functions at which they spoke
I            c)
             d)
                  Any materials distributed or published with regard to their appearance and the event
                  Any video or audio recordings of the event
             e)   A transcript of any speeches given by the candidate(s}

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          Case 1:13-cv-00734-RBW Document 14-4 Filed 07/22/13 Page 11 of 11
I   USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 127 of 228

      True the Vote

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                      PLEASE DIRECT ALL CORRESPONDENCE REGARDING YOUR CASE TO:

I                     US Mail:                            Street Address for Delivery Service:

                      Internal Revenue Service            Internal Revenue Service

I
                      Exempt Organizations                Exempt Organizations
                      P. 0. Box 2508                      550 Main St, Federal Bldg.
                      Cincinnati, OH 45201                Cincinnati, OH 45202
                      ATI: Janine L. Estes                ATI: Janina L. Estes
I                             Room 4525
                              Group 7829
                                                                Room 4525
                                                                Group 7829


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I                                                                           Letter 2382 (5-2011)
                                                                            Catalog Number 57829T



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       Case 1:13-cv-00734-RBW Document 14-5 Filed 07/22/13 Page 1 of 5
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 128 of 228




                             Exhibit E:

          IRS Request for Information #3

                       (October 9, 2012)




                                   JA-125
       Case 1:13-cv-00734-RBW Document 14-5 Filed 07/22/13 Page 2 of 5
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 129 of 228


 Internal Revenue Service                                      Department of the Treasury
 P.O. Box 2508
 Cincinnati, OH 45201


 Date: October 9, 2012
                                                               Employer Identification Number:
                                                                XX-XXXXXXX
 True the Vote, Inc.                                          Person to Contact - Group #:
 C/o Cleta Mitchell, Esq.,                                      Faye Ng - 7821
  Foley & Lardner LLP                                           ID# 0203259
 3000 K Street N.W ., Suite 600                               Contact Telephone Numbers:
 Washington, DC 20007-5109                                      5 1 3-263-3699   Phone
                                                                51 3-263-3662    Fax


                                                               Response Due Date:
                                                                November 26, 2012
 -



 Dear Sir or Madam:


 Thank you for the information recently submitted regarding your application for exemption.
  Unfortunately, we need more information before we can complete our consideration of your
 application.


  Please provide the information requested on the enclosed Information Request by the response
 due date shown above. Your response must be signed by an authorized person or an officer
 whose name is listed on the application. Also, the information you submit should be
 accompanied by the following declaration:


       Under penalties o.fperjury, I declare that I have examined tlzis information,
                                                                                    ·
       including accompanying documents, and, to the best ofmy knowledge and belief,
       the information contains all the relevantfacts relating to the requestfor the
       information, and suchfacts are true, correct, and complete.


  If we approve your application for exemption, we will be required by law to make the application
 and the information that you submit in response to this letter available for public inspection.
 Please ensure that your response doesn't include unnecessary personal identifying information,
 such as bank account numbers or Social Security numbers, that could result in identity theft or
 other adverse consequences if publicly disclosed. If you have any questions about the public
  inspection of your application or other documents, please call the person whose name and
 telephone number are shown above.


 To facilitate processing of your application, please attach a copy of this letter and the enclosed
 Application Identification Sheet to your response and all correspondence related to your
  application. This will enable us to quickly and accurately associate the additional documents
 with your case file. Also, please note the following important response submission information:


  •   Please don't fax and mail your response. Faxing and mailing your response will result in
      unnecessary delays in processing your application. Each piece of correspondence
      submitted (whether fax or mail) must be processed, assigned, and reviewed by an EO




                                              JA-126
       Case 1:13-cv-00734-RBW Document 14-5 Filed 07/22/13 Page 3 of 5
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 130 of 228


      Determinations specialist.

  •   Please don't fax your response multiple times. Faxing your response multiple times will
      delay the processing of your application for the reasons noted above.

  •   Please don't call to verify receipt of your response without allowing for adequate processing
      time. It takes a minimum of three workdays to process your faxed or mailed response from
      the day it is received.


  If we don't hear from you by the response due date shown above, we will assume you no longer
 want us to consider your application for exemption and will close your case. As a result, the
  Internal Revenue Service will treat you as a taxable entity. If we receive the information after
 the response due date, we may ask you to send us a new application.



  In addition, if you don't respond to the information request by the due date, we will conclude that
 you have not taken all reasonable steps to complete your application for exemption. Under
  Internal Revenue Code section 7428(b)(2), you must show that you have taken all the
  reasonable steps to obtain your exemption letter under I R S procedures in a timely manner and
  exhausted your administrative remedies before you can pursue a declaratory judgment.
 Accordingly, if you fail to timely provide the information we need to enable us to act on your
  application, you may lose your rights to a declaratory judgment under Code section 7428.



  We have sent a copy of this letter to your representative as indicated in Form 2848, Power of
  Attorney and Declaration of Representative .



  If you have any questions, please contact the person whose name and telephone number are
  shown in the heading of this letter.


                                                               Sincerely yours,


                                                              ��
                                                               Faye Ng
                                                               Exempt Organizations Specialist


  Enclosures: Information Request




                                              JA-127
       Case 1:13-cv-00734-RBW Document 14-5 Filed 07/22/13 Page 4 of 5
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 131 of 228



 Additional Information Requested:


    1.   The purpose clause on your amended Articles of Incorporation dated February 22, 201 1
         states the following:

                  Said organization is organized exclusively for charitable, religious, education, and
                  scientific purposes, including, for such purposes, the making of distributions to
                  organizations that qualify as exempt organizations under section 501 (c)(3) of the
                  Internal Revenue code, or corresponding section of any future federal tax code.
                  The specific and primary purpose of the Corporation is to educate/inform and
                  register voters within the meaning of Section 501 (c)(3) of the Internal Revenue
                  Code, or any federal tax code and the Texas Tax Code, Section 11. 18.

         Your current amended purpose clause appears to permit you to operate for purposes
         beyond the scope of IRC 501 (c)(3) exempt purposes. In order to meet the
         organizational test for exemption under section 501 (c)(3) of the Code, please amend
         your Articles of Incorporation to state the following:

             Said organization is organized exclusively for charitable, religious, education, and
             scientific purposes, including, for such purposes, the making of distributions to
             organizations that qualify as exempt organizations under section 501 (c)(3) of the
             Internal Revenue code, or corresponding section of any future federal tax code. The
             specific and primary purpose of the Corporation is to educate/inform and register
             voters within the meaning of Section 501 (c)(3) of the Internal Revenue Code, or the
             corresponding section of any future federal tax code.



         Please file the amendment to your Articles of Incorporation with the Secretary of State's
         office in the State of Texas and submit a complete copy of the approved amendment to
         us. The copy you submit to us must show that it has been properly filed and approved
         by your appropriate state agency.


    2.   You have submitted handouts on teambuilding and presentations used to mobilize and
         train your volunteers (including Tab 1 9 and Tab 20 of your response). However, we
         need additional information on the following:
            a.    You indicated that your team builders will contact and speak with various groups
                  to solicit for volunteers.   Please provide a list of the names of the groups you
                  have contacted to request an opportunity to speak with regarding your election
                  integrity project.
             b.   Please submit to us a copy of your volunteer registration form.
             c.   On your presentation for Mobilization and Logistics Training, you mentioned that
                  Command Center Coordinators are responsible for the handling of the
                  Certificates of Appointments. Please describe in detail the responsibilities of
                  your Command Center Coordinators with regard to the Certificates of
                  Appointments for your poll watchers.
             d.   Please describe how you partner with Local Parties, local Election Officials and
                  other authorities to place your volunteers as poll workers or poll watchers.
             e.   Please describe how your volunteers are deployed as election workers and poll
                  watchers following the training they receive from you. Please describe the
                  process you use to assign volunteers to perform as poll workers or poll watchers.
             f.   Please describe how you keep your volunteers in teams within the assignment
                  process.




                                                  JA-128
       Case 1:13-cv-00734-RBW Document 14-5 Filed 07/22/13 Page 5 of 5
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 132 of 228




    3.   Please provide a breakdown of the total number of volunteers you have trained as poll
         watchers that:
                       i.   were appointed by Democratic candidates or the Democratic Party,
                      ii.   were appointed by Republican candidates or the Republican Party,
                     iii.   were appointed by other candidates and other political parties (please
                            specify the names the other parties).
    4.   Please provide a breakdown of the total number of volunteers you have trained as poll
         workers that:
                       i.   were appointed by the Democratic Party,
                      ii.   were appointed by the Republican Party,
                     iii.   were appointed by other political parties (please specify the names of the
                            other parties)?


    5.   You stated that you share volunteers, office space, costs as well as directors and
         officers (including your executive director) with the King Street Patriots.
             a.   Please state the amounts you pay for your portion of operational costs and for
                  the sharing of directors and officers.
            b.    Please describe how your portion of the costs was determined in your cost
                  sharing arrangement with Street Patriots. Please provide any documentation you
                  have, which demonstrates that your portion of operational costs (facility rental
                  fees, other costs, and sharing of directors and officers) is reasonable including
                  documentation of other facility space considered.




                  PLEASE DIRECT ALL CORRESPONDENCE REGARDING YOUR CASE TO:



                  US Mail:                                          Street Address for Delivery Service:


                  I nternal Revenue Service                         Internal Revenue Service
                  Exempt Organizations                              Exempt Organizations
                  P. 0. Box 2508                                    550 Main St, Federal Bldg.
                  Cincinnati, OH 45201                              Cincinnati, OH 45202
                  ATI:      Faye Ng                                 ATT: Faye Ng
                            Room 4522                                    Room 4522
                            Group 7821                                   Group 7821




                                                                                      Letter 2382 (5-2011)
                                                                                      Catalog Number 57829T




                                                 JA-129
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 1 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 133 of 228




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 2 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 134 of 228
TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION




                      Inappropriate Criteria Were Used to
                  Identify Tax-Exempt Applications for Review



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 Phone Number | 202-622-6500
 E-mail Address | TIGTACommunications@tigta.treas.gov
 Website        | http://www.treasury.gov/tigta
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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 3 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 135 of 228


                                                    HIGHLIGHTS


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                                                         :+$77,*7$5(&200(1'('
 PDQQHULQWKHIXWXUH
                                                         7,*7$UHFRPPHQGHGWKDWWKH,56ILQDOL]HWKH
 :+<7,*7$','7+($8',7                                LQWHULPDFWLRQVWDNHQEHWWHUGRFXPHQWWKH
 7,*7$LQLWLDWHGWKLVDXGLWEDVHGRQFRQFHUQV           UHDVRQVZK\DSSOLFDWLRQVSRWHQWLDOO\LQYROYLQJ
 H[SUHVVHGE\PHPEHUVRI&RQJUHVV7KH                 SROLWLFDOFDPSDLJQLQWHUYHQWLRQDUHFKRVHQIRU
 RYHUDOOREMHFWLYHRIWKLVDXGLWZDVWRGHWHUPLQH       UHYLHZGHYHORSDSURFHVVWRWUDFNUHTXHVWVIRU
 ZKHWKHUDOOHJDWLRQVZHUHIRXQGHGWKDWWKH,56        DVVLVWDQFHILQDOL]HDQGSXEOLVKJXLGDQFH
  WDUJHWHGVSHFLILFJURXSVDSSO\LQJIRU               GHYHORSDQGSURYLGHWUDLQLQJWRHPSOR\HHV
 WD[H[HPSWVWDWXV GHOD\HGSURFHVVLQJRI            EHIRUHHDFKHOHFWLRQF\FOHH[SHGLWLRXVO\UHVROYH
 WDUJHWHGJURXSV¶DSSOLFDWLRQVDQG UHTXHVWHG        UHPDLQLQJSROLWLFDOFDPSDLJQLQWHUYHQWLRQFDVHV
 XQQHFHVVDU\LQIRUPDWLRQIURPWDUJHWHGJURXSV           VRPHRIZKLFKKDYHEHHQLQSURFHVVIRU
                                                         WKUHH\HDUV DQGUHTXHVWWKDWVRFLDOZHOIDUH
 :+$77,*7$)281'                                       DFWLYLW\JXLGDQFHEHGHYHORSHGE\WKH
                                                         'HSDUWPHQWRIWKH7UHDVXU\
 7KH,56XVHGLQDSSURSULDWHFULWHULDWKDW
 LGHQWLILHGIRUUHYLHZ7HD3DUW\DQGRWKHU              ,QWKHLUUHVSRQVHWRWKHUHSRUW,56RIILFLDOV
 RUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV           DJUHHGZLWKVHYHQRIRXUQLQHUHFRPPHQGDWLRQV
 EDVHGXSRQWKHLU QDPHVRUSROLF\SRVLWLRQV             DQGSURSRVHGDOWHUQDWLYHFRUUHFWLYHDFWLRQVIRU
 LQVWHDGRILQGLFDWLRQVRISRWHQWLDOSROLWLFDO          WZRRIRXUUHFRPPHQGDWLRQV7,*7$GRHVQRW
 FDPSDLJQLQWHUYHQWLRQ,QHIIHFWLYHPDQDJHPHQW       DJUHHWKDWWKHDOWHUQDWLYHFRUUHFWLYHDFWLRQVZLOO
  DOORZHGLQDSSURSULDWHFULWHULDWREHGHYHORSHG      DFFRPSOLVKWKHLQWHQWRIWKHUHFRPPHQGDWLRQV
 DQGVWD\LQSODFHIRUPRUHWKDQPRQWKV             DQGFRQWLQXHVWREHOLHYHWKDWWKH,56VKRXOG
  UHVXOWHGLQVXEVWDQWLDOGHOD\VLQSURFHVVLQJ        EHWWHUGRFXPHQWWKHUHDVRQVZK\DSSOLFDWLRQV
 FHUWDLQDSSOLFDWLRQVDQG DOORZHGXQQHFHVVDU\       SRWHQWLDOO\LQYROYLQJSROLWLFDOFDPSDLJQ
 LQIRUPDWLRQUHTXHVWVWREHLVVXHG                     LQWHUYHQWLRQDUHFKRVHQIRUUHYLHZDQGILQDOL]H
                                                         DQGSXEOLVKJXLGDQFH
 $OWKRXJKWKHSURFHVVLQJRIVRPHDSSOLFDWLRQV
 ZLWKSRWHQWLDOVLJQLILFDQWSROLWLFDOFDPSDLJQ


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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 4 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 136 of 228



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  WKH,QWHUQDO5HYHQXH6HUYLFH ,56  WDUJHWHGVSHFLILFJURXSVDSSO\LQJIRUWD[H[HPSWVWDWXV
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  XQQHFHVVDU\LQIRUPDWLRQIURPWDUJHWHGJURXSV7KLVDXGLWZDVLQLWLDWHGEDVHGRQFRQFHUQV
  H[SUHVVHGE\PHPEHUVRI&RQJUHVVDQGUHSRUWHGLQWKHPHGLDUHJDUGLQJWKH,56¶VWUHDWPHQWRI
  RUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV7KLVUHYLHZLVLQFOXGHGLQRXU)LVFDO<HDU
  $QQXDO$XGLW3ODQDQGDGGUHVVHVWKHPDMRUPDQDJHPHQWFKDOOHQJHRI7D[&RPSOLDQFH
  ,QLWLDWLYHV
  :HZRXOGOLNHWRFODULI\DIHZLVVXHVEDVHGRQWKH,56UHVSRQVHWRRXUUHSRUW7KHUHVSRQVH
  VWDWHVWKDWRXUUHSRUWYLHZVDSSURYDOVDVHYLGHQFHWKDWWKH([HPSW2UJDQL]DWLRQVIXQFWLRQVKRXOG
  QRWKDYHORRNHGFORVHO\DWWKRVHDSSOLFDWLRQV:HGLVDJUHHZLWKWKLVVWDWHPHQW2XUREMHFWLRQ
  ZDVWRWKHFULWHULDXVHGWRLGHQWLI\WKHVHDSSOLFDWLRQVIRUUHYLHZ:HEHOLHYHDOODSSOLFDWLRQV
  VKRXOGEHUHYLHZHGSULRUWRDSSURYDOWRGHWHUPLQHZKHWKHUWD[H[HPSWVWDWXVVKRXOGEHJUDQWHG
  7KH,56¶VUHVSRQVHDOVRVWDWHVWKDWLVVXHVGLVFXVVHGLQWKHUHSRUWKDYHEHHQUHVROYHG:H
  GLVDJUHHZLWKWKLVVWDWHPHQWDVZHOO1LQHUHFRPPHQGDWLRQVZHUHPDGHWRFRUUHFWFRQFHUQVZH
  UDLVHGLQWKHUHSRUWDQGFRUUHFWLYHDFWLRQVKDYHQRWEHHQIXOO\LPSOHPHQWHG)XUWKHUDVRXU
  UHSRUWQRWHVDVXEVWDQWLDOQXPEHURIDSSOLFDWLRQVKDYHEHHQXQGHUUHYLHZVRPHIRUPRUHWKDQ
  WKUHH\HDUVDQGWKURXJKWZRHOHFWLRQF\FOHVDQGUHPDLQRSHQ8QWLOWKHVHFDVHVDUHFORVHGE\WKH
  ,56DQGRXUUHFRPPHQGDWLRQVDUHIXOO\LPSOHPHQWHGZHGRQRWFRQVLGHUWKHFRQFHUQVLQWKLV
  UHSRUWWREHUHVROYHG0DQDJHPHQW¶VFRPSOHWHUHVSRQVHWRWKHGUDIWUHSRUWLVLQFOXGHGDV
  $SSHQGL[9,,,




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 5 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 137 of 228


                               Inappropriate Criteria Were Used to
                           Identify Tax-Exempt Applications for Review



 &RSLHVRIWKLVUHSRUWDUHDOVREHLQJVHQWWRWKH,56PDQDJHUVDIIHFWHGE\WKHUHSRUW
 UHFRPPHQGDWLRQV,I\RXKDYHDQ\TXHVWLRQVSOHDVHFRQWDFWPHRU*UHJRU\'.XW]
 $VVLVWDQW,QVSHFWRU*HQHUDOIRU$XGLW 0DQDJHPHQW6HUYLFHVDQG([HPSW2UJDQL]DWLRQV 




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 6 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 138 of 228


                                             Inappropriate Criteria Were Used to
                                         Identify Tax-Exempt Applications for Review




                                                Table of Contents

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           3URFHVVLQJ'HOD\V3DJH
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           ,QIRUPDWLRQIRU0DQ\3RWHQWLDO3ROLWLFDO&DVHV3DJH
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           $SSHQGL[,,±0DMRU&RQWULEXWRUVWR7KLV5HSRUW3DJH
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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 7 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 139 of 228


                          Inappropriate Criteria Were Used to
                      Identify Tax-Exempt Applications for Review




                             Abbreviations


   %2/2                %H2QWKH/RRN2XW
   (2                 ([HPSW2UJDQL]DWLRQV
   ,5&              ,QWHUQDO5HYHQXH&RGH
   ,56                 ,QWHUQDO5HYHQXH6HUYLFH




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 8 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 140 of 228


                                     Inappropriate Criteria Were Used to
                                 Identify Tax-Exempt Applications for Review




                                             Background

 2UJDQL]DWLRQVVXFKDVFKDULWLHVVHHNLQJ)HGHUDOWD[H[HPSWLRQDUHUHTXLUHGWRILOHDQDSSOLFDWLRQ
 ZLWKWKH,QWHUQDO5HYHQXH6HUYLFH ,56 2WKHURUJDQL]DWLRQVVXFKDVVRFLDOZHOIDUH
 RUJDQL]DWLRQVPD\ILOHDQDSSOLFDWLRQEXWDUHQRWUHTXLUHGWRGRVR7KH,56¶V([HPSW
 2UJDQL]DWLRQV (2 IXQFWLRQ5XOLQJVDQG$JUHHPHQWVRIILFHZKLFKLVKHDGTXDUWHUHGLQ
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 ,Q)LVFDO<HDUSHUFHQWRIDOOFORVHGDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVZHUHDSSURYHG
 GXULQJDQLQLWLDOUHYLHZZLWKOLWWOHRUQRDGGLWLRQDOLQIRUPDWLRQIURPWKHRUJDQL]DWLRQV,I
 VXEVWDQWLDODGGLWLRQDOLQIRUPDWLRQLVQHHGHGWKHDSSOLFDWLRQLVSODFHGLQXQDVVLJQHGLQYHQWRU\
 XQWLOLWFDQEHDVVLJQHGWRDVSHFLDOLVWLQWKH'HWHUPLQDWLRQV8QLWIRUIXUWKHUSURFHVVLQJ7KH
 VSHFLDOLVWGHYHORSVDOHWWHU V UHTXHVWLQJWKHDGGLWLRQDOLQIRUPDWLRQDQGLVVXHVLWWRWKH
 RUJDQL]DWLRQ2QFHWKHVSHFLDOLVWUHFHLYHVDOOWKHQHFHVVDU\LQIRUPDWLRQWRGHWHUPLQHZKHWKHUDQ
 RUJDQL]DWLRQVKRXOGEHDIIRUGHGWD[H[HPSWVWDWXVDILQDOGHWHUPLQDWLRQOHWWHULVLVVXHGWRWKH
 RUJDQL]DWLRQHLWKHUDSSURYLQJRUGHQ\LQJWKHUHTXHVWIRUWD[H[HPSWVWDWXV
 ,IWKH'HWHUPLQDWLRQV8QLWQHHGVWHFKQLFDODVVLVWDQFHSURFHVVLQJDSSOLFDWLRQVLWPD\FDOOXSRQ
 WKH7HFKQLFDO8QLWLQWKH5XOLQJVDQG$JUHHPHQWVRIILFHLQ:DVKLQJWRQ'&7KH,56¶VJRDO
 IRUSURFHVVLQJDOOW\SHVRIDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVZDVGD\VLQ)LVFDO<HDU
 KRZHYHUVRPHFDVHVPD\WDNHVXEVWDQWLDOO\ORQJHU)RUH[DPSOHWKH(2IXQFWLRQVWDWHVLQLWV
 Fiscal Year 2013 Work PlanWKDWDSSOLFDWLRQVUHTXLULQJDGGLWLRQDOLQIRUPDWLRQDUHQRWDVVLJQHG
 IRUUHYLHZXQWLODQDYHUDJHRIILYHPRQWKVDIWHUWKH\DUHUHFHLYHG
 0RVWRUJDQL]DWLRQVUHTXHVWLQJWD[H[HPSWVWDWXVPXVWVXEPLWHLWKHUD)RUPApplication
 for Recognition of Exemption Under Section 501(c)(3) of the Internal Revenue CodeRU
 )RUPApplication for Recognition of Exemption Under Section 501(a)GHSHQGLQJRQWKH
 W\SHRIWD[H[HPSWRUJDQL]DWLRQLWGHVLUHVWREH)RUH[DPSOHDFKDULWDEOHRUJDQL]DWLRQZRXOG
 UHTXHVWH[HPSWLRQXQGHU,QWHUQDO5HYHQXH&RGH ,5& 6HFWLRQ   F  ZKHUHDVDVRFLDO
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 RQ2FWREHUDQGHQGVRQ6HSWHPEHU
 
   )RUDKLJKOHYHORUJDQL]DWLRQDOFKDUWRIRIILFHVUHIHUHQFHGLQWKLVUHSRUWVHH$SSHQGL[9
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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 9 of 55
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 141 of 228


                                         Inappropriate Criteria Were Used to
                                     Identify Tax-Exempt Applications for Review



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 DFWLYLWLHVLWPD\XQGHUWDNH)RUH[DPSOH,5& F  FKDULWDEOHRUJDQL]DWLRQVDUH
 SURKLELWHGIURPGLUHFWO\RULQGLUHFWO\SDUWLFLSDWLQJLQRULQWHUYHQLQJLQDQ\SROLWLFDOFDPSDLJQRQ
 EHKDOIRIRULQRSSRVLWLRQWRDQ\FDQGLGDWHIRUSXEOLFRIILFH KHUHDIWHUUHIHUUHGWRDVSROLWLFDO
 FDPSDLJQLQWHUYHQWLRQ +RZHYHU,5& F  VRFLDOZHOIDUHRUJDQL]DWLRQV
 ,5& F  DJULFXOWXUDODQGODERURUJDQL]DWLRQVDQG,5& F  EXVLQHVVOHDJXHV
 PD\HQJDJHLQOLPLWHGSROLWLFDOFDPSDLJQLQWHUYHQWLRQ)LJXUHKLJKOLJKWVFHUWDLQFKDUDFWHULVWLFV
 RIFRPPRQW\SHVRIWD[H[HPSWRUJDQL]DWLRQV
                                 Figure 1: Characteristics of Certain
                              Common Types of Tax-Exempt Organizations
                                                                                        ,5& F  
     &KDUDFWHULVWLF                                    ,5& F                   F  DQG F  
     0D\UHFHLYHWD[GHGXFWLEOHFKDULWDEOH
                                                               <HV                                1R
     FRQWULEXWLRQV
     0D\HQJDJHLQSROLWLFDOFDPSDLJQ                                              /LPLWHG PXVWQRWFRQVWLWXWH
                                                                1R
     LQWHUYHQWLRQ                                                               SULPDU\DFWLYLW\RIRUJDQL]DWLRQ 
     0XVWSXEOLFO\GLVFORVHWKHLGHQWLW\RI
                                                                1R                               1R
     LWVGRQRUV
                                                                                       <HV XQOLPLWHGDPRXQW
     0D\HQJDJHLQOREE\LQJ i.e.OHJLVODWLYH        /LPLWHG PXVWQRW
                                                                                         LILQIXUWKHUDQFHRI
     DFWLYLW\                                          EHVXEVWDQWLDO 
                                                                                       WD[H[HPSWSXUSRVHV 
     0D\HQJDJHLQJHQHUDODGYRFDF\QRW                                              <HV XQOLPLWHGDPRXQW
                                                      <HV SHUPLWWHGDVDQ
     UHODWHGWROHJLVODWLRQRUWKHHOHFWLRQRI                                          LILQIXUWKHUDQFHRI
                                                      HGXFDWLRQDODFWLYLW\ 
     FDQGLGDWHV                                                                      WD[H[HPSWSXUSRVHV 
  0XVWDSSO\ZLWKWKH,56                              <HV                                      1R
 Source: Draft Advocacy Guide Sheet and Internal Revenue Manual.


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   3ROLWLFDOFDPSDLJQLQWHUYHQWLRQLVWKHWHUPXVHGLQ7UHDVXU\5HJXODWLRQV F   F  
  F  DQG F  
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   ,5& F    
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   ,5& F    
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   $QRUJDQL]DWLRQHQJDJHVLQOREE\LQJRUOHJLVODWLYHDFWLYLWLHVZKHQLWDWWHPSWVWRLQIOXHQFHVSHFLILFOHJLVODWLRQE\
 GLUHFWO\FRQWDFWLQJPHPEHUVRIDOHJLVODWLYHERG\ )HGHUDO6WDWHRUORFDO RUHQFRXUDJLQJWKHSXEOLFWRFRQWDFWWKRVH
 PHPEHUVUHJDUGLQJWKDWOHJLVODWLRQ$QRUJDQL]DWLRQDOVRHQJDJHVLQOREE\LQJZKHQLWHQFRXUDJHVWKHSXEOLFWRWDNH
 DSRVLWLRQRQDUHIHUHQGXP/REE\LQJLVGLVWLQJXLVKHGIURPSROLWLFDOFDPSDLJQLQWHUYHQWLRQEHFDXVHOREE\LQJGRHV
 QRWLQYROYHDWWHPSWVWRLQIOXHQFHWKHHOHFWLRQRIFDQGLGDWHVIRUSXEOLFRIILFH
 
   $QRUJDQL]DWLRQHQJDJHVLQJHQHUDODGYRFDF\ZKHQLWDWWHPSWVWR LQIOXHQFHSXEOLFRSLQLRQRQLVVXHVJHUPDQHWR
 WKHRUJDQL]DWLRQ¶VWD[H[HPSWSXUSRVHV LQIOXHQFHQRQOHJLVODWLYHJRYHUQLQJERGLHV e.g.WKHH[HFXWLYHEUDQFKRU
 UHJXODWRU\DJHQFLHV RU HQFRXUDJHYRWHUSDUWLFLSDWLRQWKURXJK³JHWRXWWKHYRWH´GULYHVYRWHUJXLGHVDQG
 FDQGLGDWHGHEDWHVLQDQRQSDUWLVDQQHXWUDOPDQQHU*HQHUDODGYRFDF\EDVLFDOO\LQFOXGHVDOOW\SHVRIDGYRFDF\RWKHU
 WKDQSROLWLFDOFDPSDLJQLQWHUYHQWLRQDQGOREE\LQJ
                                                                                                                 3DJH

                                                       JA-138                                       ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 10 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 142 of 228


                                       Inappropriate Criteria Were Used to
                                   Identify Tax-Exempt Applications for Review



 'XULQJWKHHOHFWLRQF\FOHWKHDFWLYLWLHVRIWD[H[HPSWRUJDQL]DWLRQVUHFHLYHGPHGLD
 FRYHUDJHFRQFHUQLQJWKHDPRXQWRIPRQH\VSHQWRQLQIOXHQFLQJHOHFWLRQV$FFRUGLQJWRWKH
 &HQWHUIRU5HVSRQVLYH3ROLWLFVWD[H[HPSWJURXSVVXFKDV,5& F  ,5& F  
 DQG,5& F  RUJDQL]DWLRQVVSHQWPLOOLRQLQ&DOHQGDU<HDURQ)HGHUDO
 FDQGLGDWHRULHQWHGH[SHQGLWXUHV,Q&DOHQGDU<HDUWKLVILJXUHLQFUHDVHGWRPLOOLRQ
 ,QDGGLWLRQDVVKRZQLQ)LJXUHWKHQXPEHURIDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVKDVLQFUHDVHG
 RYHUWKHSDVWIRXUILVFDO\HDUV
                                Figure 2: Number of Applications for
                                  I.R.C. §§ 501(c)(3)–(6) Tax-Exempt
                                      Status Received by the IRS

                          )LVFDO                     ,5&6XEVHFWLRQ
                          <HDU        F          F   F                F 
                                                                 
                                                                 
                                                                 
                                                               
                        Source: These data were provided by the EO function as
                        background and were not validated for accuracy or reliability.

 'XULQJWKHHOHFWLRQF\FOHVRPHPHPEHUVRI&RQJUHVVUDLVHGFRQFHUQVWRWKH,56DERXW
 VHOHFWLYHHQIRUFHPHQWDQGWKHGXW\WRWUHDWVLPLODUO\VLWXDWHGRUJDQL]DWLRQVFRQVLVWHQWO\,Q
 DGGLWLRQVHYHUDORUJDQL]DWLRQVDSSO\LQJIRU
 ,5& F  WD[H[HPSWVWDWXVPDGHDOOHJDWLRQVWKDW
 WKH,56 WDUJHWHGVSHFLILFJURXSVDSSO\LQJIRUWD[H[HPSW            This audit focused on
 VWDWXV GHOD\HGWKHSURFHVVLQJRIWDUJHWHGJURXSV¶            allegations  that the IRS targeted
                                                                     specific groups applying for
 DSSOLFDWLRQVIRUWD[H[HPSWVWDWXVDQG UHTXHVWHG
                                                                    tax-exempt status, delayed the
 XQQHFHVVDU\LQIRUPDWLRQIURP WDUJHWHGRUJDQL]DWLRQV               processing of targeted groups’
 /DVWO\VHYHUDOPHPEHUVRI&RQJUHVVUHTXHVWHGWKDWWKH,56          applications, and requested
 LQYHVWLJDWHZKHWKHUH[LVWLQJVRFLDOZHOIDUHRUJDQL]DWLRQV         unnecessary    information from
 DUHLPSURSHUO\HQJDJHGLQDVXEVWDQWLDORUHYHQ                      targeted  organizations.
 SUHGRPLQDQWDPRXQWRIFDPSDLJQDFWLYLW\
 :HLQLWLDWHGWKLVDXGLWEDVHGRQFRQFHUQVH[SUHVVHGE\&RQJUHVVDQGUHSRUWHGLQWKHPHGLD
 UHJDUGLQJWKH,56¶VWUHDWPHQWRIRUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV:HIRFXVHGRXU

 
    7KH&HQWHUIRU5HVSRQVLYH3ROLWLFVREWDLQHGLWVLQIRUPDWLRQIURPWKH)HGHUDO(OHFWLRQ&RPPLVVLRQ:HRQO\
 LQFOXGHGH[SHQGLWXUHVUHSRUWHGWRWKH)HGHUDO(OHFWLRQ&RPPLVVLRQVSHFLILFDOO\IRUDGYRFDWLQJWKHHOHFWLRQRUGHIHDW
 RIFOHDUO\LGHQWLILHG)HGHUDOFDQGLGDWHV
 
    6RPHRIWKLVLQFUHDVHPD\EHGXHWRWKHUHDSSOLFDWLRQRIWKRVHRUJDQL]DWLRQVZKRVHWD[H[HPSWVWDWXVZDVUHYRNHG
 DVDUHVXOWRIQRWILOLQJLQIRUPDWLRQUHWXUQVIRUWKUHHFRQVHFXWLYH\HDUV
                                                                                                             3DJH

                                                      JA-139                                    ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 11 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 143 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



 HIIRUWVRQUHYLHZLQJWKHSURFHVVLQJRIDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVDQGGHWHUPLQLQJ
 ZKHWKHUDOOHJDWLRQVPDGHDJDLQVWWKH,56ZHUHIRXQGHG7D[H[HPSWDSSOLFDWLRQFDVHILOHV
 ZHUHVHOHFWHGIRUUHYLHZLQ-XQHDQGZHUHUHYLHZHGDVSURYLGHGE\WKH(2IXQFWLRQ
 EHWZHHQ-XO\DQG1RYHPEHU:HGLGQRWUHYLHZZKHWKHUVSHFLILFDSSOLFDWLRQVIRU
 WD[H[HPSWVWDWXVVKRXOGEHDSSURYHGRUGHQLHG
 7KLVUHYLHZZDVSHUIRUPHGDWWKH(2IXQFWLRQ+HDGTXDUWHUVRIILFHLQ:DVKLQJWRQ'&DQGWKH
 'HWHUPLQDWLRQV8QLWLQ&LQFLQQDWL2KLRGXULQJWKHSHULRG-XQHWKURXJK)HEUXDU\
 :HFRQGXFWHGWKLVSHUIRUPDQFHDXGLWLQDFFRUGDQFHZLWKJHQHUDOO\DFFHSWHGJRYHUQPHQW
 DXGLWLQJVWDQGDUGV7KRVHVWDQGDUGVUHTXLUHWKDWZHSODQDQGSHUIRUPWKHDXGLWWRREWDLQ
 VXIILFLHQWDSSURSULDWHHYLGHQFHWRSURYLGHDUHDVRQDEOHEDVLVIRURXUILQGLQJVDQGFRQFOXVLRQV
 EDVHGRQRXUDXGLWREMHFWLYH:HEHOLHYHWKDWWKHHYLGHQFHREWDLQHGSURYLGHVDUHDVRQDEOHEDVLV
 IRURXUILQGLQJVDQGFRQFOXVLRQVEDVHGRQRXUDXGLWREMHFWLYH'HWDLOHGLQIRUPDWLRQRQRXUDXGLW
 REMHFWLYHVFRSHDQGPHWKRGRORJ\LVSUHVHQWHGLQ$SSHQGL[,0DMRUFRQWULEXWRUVWRWKHUHSRUW
 DUHOLVWHGLQ$SSHQGL[,,




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   $IXWXUHDXGLWLVEHLQJFRQVLGHUHGWRDVVHVVKRZWKH(2IXQFWLRQPRQLWRUV,5& F  ±  RUJDQL]DWLRQV
 WRHQVXUHWKDWSROLWLFDOFDPSDLJQLQWHUYHQWLRQGRHVQRWFRQVWLWXWHWKHLUSULPDU\DFWLYLW\
                                                                                                            3DJH

                                                     JA-140                                   ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 12 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 144 of 228


                                       Inappropriate Criteria Were Used to
                                   Identify Tax-Exempt Applications for Review




                                         Results of Review

 The Determinations Unit Used Inappropriate Criteria to Identify
 Potential Political Cases
 7KH'HWHUPLQDWLRQV8QLWGHYHORSHGDQGXVHGLQDSSURSULDWHFULWHULDWRLGHQWLI\DSSOLFDWLRQVIURP
 RUJDQL]DWLRQVZLWKWKHZRUGV7HD3DUW\LQWKHLUQDPHV7KHVHDSSOLFDWLRQV KHUHDIWHUUHIHUUHGWR
 DVSRWHQWLDOSROLWLFDOFDVHV ZHUHIRUZDUGHGWRDWHDPRIVSHFLDOLVWVIRUUHYLHZ6XEVHTXHQWO\
 WKH'HWHUPLQDWLRQV8QLWH[SDQGHGWKHFULWHULDWRLQDSSURSULDWHO\LQFOXGHRUJDQL]DWLRQVZLWKRWKHU
 VSHFLILFQDPHV 3DWULRWVDQG RUSROLF\SRVLWLRQV:KLOHWKHFULWHULDXVHGE\WKH
 'HWHUPLQDWLRQV8QLWVSHFLILHGSDUWLFXODURUJDQL]DWLRQQDPHVWKHWHDPRIVSHFLDOLVWVZDVDOVR
 SURFHVVLQJDSSOLFDWLRQVIURPJURXSVZLWKQDPHVRWKHUWKDQWKRVHLGHQWLILHGLQWKHFULWHULD7KH
 LQDSSURSULDWHDQGFKDQJLQJFULWHULDPD\KDYHOHGWRLQFRQVLVWHQWWUHDWPHQWRIRUJDQL]DWLRQV
 DSSO\LQJIRUWD[H[HPSWVWDWXV)RUH[DPSOHZHLGHQWLILHGVRPHRUJDQL]DWLRQV¶DSSOLFDWLRQV
 ZLWKHYLGHQFHRIVLJQLILFDQWSROLWLFDOFDPSDLJQLQWHUYHQWLRQWKDWZHUHQRWIRUZDUGHGWRWKHWHDP
 RIVSHFLDOLVWVIRUSURFHVVLQJEXWVKRXOGKDYHEHHQ:HDOVRLGHQWLILHGDSSOLFDWLRQVWKDWZHUH
 IRUZDUGHGWRWKHWHDPRIVSHFLDOLVWVEXWGLGQRWKDYHLQGLFDWLRQVRIVLJQLILFDQWSROLWLFDOFDPSDLJQ
 LQWHUYHQWLRQ$OODSSOLFDWLRQVWKDWZHUHIRUZDUGHGWRWKHWHDPRIVSHFLDOLVWVH[SHULHQFHG
 VXEVWDQWLDOGHOD\VLQSURFHVVLQJ$OWKRXJKWKH,56KDVWDNHQVRPHDFWLRQLWZLOOQHHGWRGR
 PRUHVRWKDWWKHSXEOLFKDVUHDVRQDEOHDVVXUDQFHWKDWDSSOLFDWLRQVDUHSURFHVVHGZLWKRXW
 XQUHDVRQDEOHGHOD\LQDIDLUDQGLPSDUWLDOPDQQHULQWKHIXWXUH

 Criteria for selecting applications inappropriately identified organizations based
 on their names and policy positions
 7KH'HWHUPLQDWLRQV8QLWGHYHORSHGDQGEHJDQXVLQJFULWHULDWRLGHQWLI\SRWHQWLDOSROLWLFDOFDVHV
 IRUUHYLHZWKDWLQDSSURSULDWHO\LGHQWLILHGVSHFLILFJURXSVDSSO\LQJIRUWD[H[HPSWVWDWXVEDVHGRQ
 WKHLUQDPHVRUSROLF\SRVLWLRQVLQVWHDGRIGHYHORSLQJFULWHULDEDVHGRQWD[H[HPSWODZVDQG
 7UHDVXU\5HJXODWLRQV
                                            
                                            
       $FFRUGLQJWRPHGLDUHSRUWVVRPHRUJDQL]DWLRQVZHUHFODVVLILHGDV,5& F  
 VRFLDOZHOIDUHRUJDQL]DWLRQVEXWRSHUDWHGOLNHSROLWLFDORUJDQL]DWLRQV                     

 
    8QWLO-XO\WKH5XOLQJVDQG$JUHHPHQWVRIILFHUHIHUUHGWRWKHVHFDVHVDV7HD3DUW\FDVHV$IWHUZDUGVWKH
 (2IXQFWLRQUHIHUUHGWRWKHVHFDVHVDVDGYRFDF\FDVHV
 
    ,QLWLDOO\WKHWHDPFRQVLVWHGRIRQHVSHFLDOLVWEXWLWZDVH[SDQGHGWRVHYHUDOVSHFLDOLVWVLQ'HFHPEHU7KH
 (2IXQFWLRQUHIHUUHGWRWKLVWHDPDVWKHDGYRFDF\WHDP
                                                                                                                  3DJH

                                                        JA-141                                     ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 13 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 145 of 228


                                       Inappropriate Criteria Were Used to
                                   Identify Tax-Exempt Applications for Review



                                                                                               6RRQ
 WKHUHDIWHUDFFRUGLQJWRWKH,56D'HWHUPLQDWLRQV8QLWVSHFLDOLVWZDVDVNHGWRVHDUFKIRU
 DSSOLFDWLRQVZLWK7HD3DUW\3DWULRWVRULQWKHRUJDQL]DWLRQ¶VQDPHDVZHOODVRWKHU
 ³SROLWLFDOVRXQGLQJ´QDPHV(2IXQFWLRQRIILFLDOVVWDWHGWKDWLQ0D\WKH'HWHUPLQDWLRQV
 8QLWEHJDQGHYHORSLQJDVSUHDGVKHHWWKDWZRXOGEHFRPHNQRZQDVWKH³%H2QWKH/RRN2XW´
 OLVWLQJ KHUHDIWHUUHIHUUHGWRDVWKH%2/2OLVWLQJ ZKLFKLQFOXGHGWKHHPHUJLQJLVVXHRI7HD
 3DUW\DSSOLFDWLRQV,Q-XQHWKH'HWHUPLQDWLRQV8QLWEHJDQWUDLQLQJLWVVSHFLDOLVWVRQLVVXHV
 WREHDZDUHRILQFOXGLQJ7HD3DUW\FDVHV%\-XO\'HWHUPLQDWLRQV8QLWPDQDJHPHQW
 VWDWHGWKDWLWKDGUHTXHVWHGLWVVSHFLDOLVWVWREHRQWKHORRNRXWIRU7HD3DUW\DSSOLFDWLRQV
 ,Q$XJXVWWKH'HWHUPLQDWLRQV8QLWGLVWULEXWHGWKHILUVWIRUPDO%2/2OLVWLQJ7KHFULWHULD
 LQWKH%2/2OLVWLQJZHUH7HD3DUW\RUJDQL]DWLRQVDSSO\LQJIRU,5& F  RU
 ,5& F  VWDWXV%DVHGRQRXUUHYLHZRIRWKHU%2/2OLVWLQJFULWHULDWKHXVHRI
 RUJDQL]DWLRQQDPHVRQWKH%2/2OLVWLQJLVQRWXQLTXHWRSRWHQWLDOSROLWLFDOFDVHV(2IXQFWLRQ
 RIILFLDOVVWDWHGWKDW'HWHUPLQDWLRQV8QLWVSHFLDOLVWVLQWHUSUHWHGWKHJHQHUDOFULWHULDLQWKH
 %2/2OLVWLQJDQGGHYHORSHGH[SDQGHGFULWHULDIRULGHQWLI\LQJSRWHQWLDOSROLWLFDOFDVHV
 )LJXUHVKRZVWKDWE\-XQHWKHH[SDQGHGFULWHULDLQFOXGHGDGGLWLRQDOQDPHV 3DWULRWVDQG
 3URMHFW DVZHOODVSROLF\SRVLWLRQVHVSRXVHGE\RUJDQL]DWLRQVLQWKHLUDSSOLFDWLRQV
                  Figure 3: Criteria for Potential Political Cases (June 2011)
                      ³7HD3DUW\´³3DWULRWV´RU³3URMHFW´LVUHIHUHQFHGLQWKHFDVHILOH
                          ,VVXHVLQFOXGHJRYHUQPHQWVSHQGLQJJRYHUQPHQWGHEWRUWD[HV
           (GXFDWLRQRIWKHSXEOLFE\DGYRFDF\OREE\LQJWR³PDNH$PHULFDDEHWWHUSODFHWROLYH´
                          6WDWHPHQWLQWKHFDVHILOHFULWLFL]HKRZWKHFRXQWU\LVEHLQJUXQ
      Source: EO function briefing dated June 2011.

 7KHPLVVLRQRIWKH,56LVWRSURYLGH$PHULFD¶VWD[SD\HUVWRSTXDOLW\VHUYLFHE\KHOSLQJWKHP
 XQGHUVWDQGDQGPHHWWKHLUWD[UHVSRQVLELOLWLHVDQGE\DSSO\LQJWKHWD[ODZZLWKLQWHJULW\DQG
 IDLUQHVVWRDOO$FFRUGLQJWR,563ROLF\6WDWHPHQW,56HPSOR\HHVDFFRPSOLVKWKLVPLVVLRQ
 E\EHLQJLPSDUWLDODQGKDQGOLQJWD[PDWWHUVLQDPDQQHUWKDWZLOOSURPRWHSXEOLFFRQILGHQFH
 +RZHYHUWKHFULWHULDGHYHORSHGE\WKH'HWHUPLQDWLRQV8QLWJLYHVWKHDSSHDUDQFHWKDWWKH,56LV
 QRWLPSDUWLDOLQFRQGXFWLQJLWVPLVVLRQ7KHFULWHULDIRFXVHGQDUURZO\RQWKHQDPHVDQGSROLF\


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    7KH%2/2OLVWLQJLQFOXGHVDFRQVROLGDWHGOLVWRIHPHUJLQJLVVXHVWKH(2IXQFWLRQLGHQWLILHVIRUGLVVHPLQDWLRQWR
 'HWHUPLQDWLRQV8QLWVSHFLDOLVWV
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    :HGLGQRWUHYLHZWKHXVHRIRWKHUQDPHGRUJDQL]DWLRQVRQWKH%2/2OLVWLQJWRGHWHUPLQHLIWKHLUXVHZDV
 DSSURSULDWH
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    'XULQJLQWHUYLHZVZLWK'HWHUPLQDWLRQV8QLWVSHFLDOLVWVDQGPDQDJHUVZHFRXOGQRWVSHFLILFDOO\GHWHUPLQHZKR
 KDGEHHQLQYROYHGLQFUHDWLQJWKHFULWHULD(2IXQFWLRQRIILFLDOVODWHUFODULILHGWKDWWKHH[SDQGHGFULWHULDZHUHD
 FRPSLODWLRQRIYDULRXV'HWHUPLQDWLRQV8QLWVSHFLDOLVWV¶UHVSRQVHVRQKRZWKH\ZHUHLGHQWLI\LQJ7HD3DUW\FDVHV
                                                                                                               3DJH

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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 14 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 146 of 228


                                  Inappropriate Criteria Were Used to
                              Identify Tax-Exempt Applications for Review



 SRVLWLRQVRIRUJDQL]DWLRQVLQVWHDGRIWD[H[HPSWODZVDQG7UHDVXU\5HJXODWLRQV&ULWHULDIRU
 VHOHFWLQJDSSOLFDWLRQVIRUWKHWHDPRIVSHFLDOLVWVVKRXOGIRFXVRQWKHDFWLYLWLHVRIWKH
 RUJDQL]DWLRQVDQGZKHWKHUWKH\IXOILOOWKHUHTXLUHPHQWVRIWKHODZ8VLQJWKHQDPHVRUSROLF\
 SRVLWLRQVRIRUJDQL]DWLRQVLVQRWDQDSSURSULDWHEDVLVIRULGHQWLI\LQJDSSOLFDWLRQVIRUUHYLHZE\
 WKHWHDPRIVSHFLDOLVWV
 :HDVNHGWKH$FWLQJ&RPPLVVLRQHU7D[([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQWKH
 'LUHFWRU(2DQG'HWHUPLQDWLRQV8QLWSHUVRQQHOLIWKHFULWHULDZHUHLQIOXHQFHGE\DQ\
 LQGLYLGXDORURUJDQL]DWLRQRXWVLGHWKH,56$OORIWKHVHRIILFLDOVVWDWHGWKDWWKHFULWHULDZHUHQRW
 LQIOXHQFHGE\DQ\LQGLYLGXDORURUJDQL]DWLRQRXWVLGHWKH,56,QVWHDGWKH'HWHUPLQDWLRQV8QLW
 GHYHORSHGDQGLPSOHPHQWHGLQDSSURSULDWHFULWHULDLQSDUWGXHWRLQVXIILFLHQWRYHUVLJKWSURYLGHG
 E\PDQDJHPHQW6SHFLILFDOO\RQO\ILUVWOLQHPDQDJHPHQWDSSURYHGUHIHUHQFHVWRWKH7HD3DUW\
 LQWKH%2/2OLVWLQJFULWHULDEHIRUHLWZDVLPSOHPHQWHG$VDUHVXOWLQDSSURSULDWHFULWHULD
 UHPDLQHGLQSODFHIRUPRUHWKDQPRQWKV'HWHUPLQDWLRQV8QLWHPSOR\HHVDOVRGLGQRW
 FRQVLGHUWKHSXEOLFSHUFHSWLRQRIXVLQJSROLWLFDOO\VHQVLWLYHFULWHULDZKHQLGHQWLI\LQJWKHVHFDVHV
 /DVWO\WKHFULWHULDGHYHORSHGVKRZHGDODFNRINQRZOHGJHLQWKH'HWHUPLQDWLRQV8QLWRIZKDW
 DFWLYLWLHVDUHDOORZHGE\,5& F  DQG,5& F  RUJDQL]DWLRQV
 'HWHUPLQDWLRQV8QLWHPSOR\HHVVWDWHGWKDWWKH\FRQVLGHUHGWKH7HD3DUW\FULWHULRQDVDVKRUWKDQG
 WHUPIRUDOOSRWHQWLDOSROLWLFDOFDVHV:KHWKHUWKHLQDSSURSULDWHFULWHULRQZDVVKRUWKDQGIRUDOO
 SRWHQWLDOSROLWLFDOFDVHVRUQRWGHYHORSLQJDQGXVLQJFULWHULDWKDWIRFXVHVRQRUJDQL]DWLRQQDPHV
 DQGSROLF\SRVLWLRQVLQVWHDGRIWKHDFWLYLWLHVSHUPLWWHGXQGHUWKH7UHDVXU\5HJXODWLRQVGRHVQRW
 SURPRWHSXEOLFFRQILGHQFHWKDWWD[H[HPSWODZVDUHEHLQJDGKHUHGWRLPSDUWLDOO\,QDGGLWLRQ
 WKHDSSOLFDWLRQVIRUWKRVHRUJDQL]DWLRQVWKDWZHUHLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRI
 VSHFLDOLVWVH[SHULHQFHGVLJQLILFDQWGHOD\VDQGUHTXHVWVIRUXQQHFHVVDU\LQIRUPDWLRQWKDWLV
 GHWDLOHGODWHULQWKLVUHSRUW
 $IWHUEHLQJEULHIHGRQWKHH[SDQGHGFULWHULDLQ-XQHWKH'LUHFWRU(2LPPHGLDWHO\
 GLUHFWHGWKDWWKHFULWHULDEHFKDQJHG,Q-XO\WKHFULWHULDZHUHFKDQJHGWRIRFXVRQWKH
 SRWHQWLDO³SROLWLFDOOREE\LQJRU>JHQHUDO@DGYRFDF\´DFWLYLWLHVRIWKHRUJDQL]DWLRQ7KHVH
 FULWHULDZHUHDQLPSURYHPHQWRYHUXVLQJRUJDQL]DWLRQQDPHVDQGSROLF\SRVLWLRQV+RZHYHUWKH
 WHDPRIVSHFLDOLVWVVXEVHTXHQWO\FKDQJHGWKHFULWHULDLQ-DQXDU\ZLWKRXWH[HFXWLYHDSSURYDO
 EHFDXVHWKH\EHOLHYHGWKH-XO\FULWHULDZHUHWRREURDG7KH-DQXDU\FULWHULDDJDLQ
 IRFXVHGRQWKHSROLF\SRVLWLRQVRIRUJDQL]DWLRQVLQVWHDGRIWD[H[HPSWODZVDQG7UHDVXU\
 5HJXODWLRQV$IWHUWKUHHPRQWKVWKH'LUHFWRU5XOLQJVDQG$JUHHPHQWVOHDUQHGWKHFULWHULDKDG
 EHHQFKDQJHGE\WKHWHDPRIVSHFLDOLVWVDQGVXEVHTXHQWO\UHYLVHGWKHFULWHULDDJDLQLQ0D\
  6HH$SSHQGL[9,IRUDFRPSOHWHWLPHOLQHRIFULWHULDXVHGWRLGHQWLI\SRWHQWLDOSROLWLFDOFDVHV 
 7KH0D\FULWHULDPRUHFOHDUO\IRFXVRQDFWLYLWLHVSHUPLWWHGXQGHUWKH7UHDVXU\5HJXODWLRQV
 $VDUHVXOWRIFKDQJHVPDGHWRWKHFULWHULDZLWKRXWPDQDJHPHQWNQRZOHGJHWKH'LUHFWRU
 5XOLQJVDQG$JUHHPHQWVLVVXHGDPHPRUDQGXPUHTXLULQJDOORULJLQDOHQWULHVDQGFKDQJHVWR
 FULWHULDLQFOXGHGRQWKH%2/2OLVWLQJEHDSSURYHGDWWKHH[HFXWLYHOHYHOSULRUWRLPSOHPHQWDWLRQ


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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 15 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 147 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



 The team of specialists processed applications by organizations with names
 other than Tea Party, Patriots, and 9/12
 7RGHWHUPLQHLIRUJDQL]DWLRQVRWKHUWKDQWKRVHVSHFLILFDOO\LGHQWLILHGLQWKHLQDSSURSULDWHFULWHULD
 ZHUHSURFHVVHGE\WKHWHDPRIVSHFLDOLVWVZHUHYLHZHGWKHQDPHVRQDOODSSOLFDWLRQVLGHQWLILHG
 DVSRWHQWLDOSROLWLFDOFDVHV)LJXUHVKRZVWKDWDSSUR[LPDWHO\RQHWKLUGRIWKHDSSOLFDWLRQV
 LGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWVLQFOXGHG7HD3DUW\3DWULRWVRULQWKHLU
 QDPHVZKLOHWKHUHPDLQGHUGLGQRW$FFRUGLQJWRWKH'LUHFWRU5XOLQJVDQG$JUHHPHQWVWKH
 IDFWWKDWWKHWHDPRIVSHFLDOLVWVZRUNHGDSSOLFDWLRQVWKDWGLGQRWLQYROYHWKH7HD3DUW\3DWULRWV
 RUJURXSVGHPRQVWUDWHGWKDWWKH,56ZDVQRWSROLWLFDOO\ELDVHGLQLWVLGHQWLILFDWLRQRI
 DSSOLFDWLRQVIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV
        Figure 4: Breakdown of Potential Political Cases by Organization Name




                                                          72                              TeaParty
                                                                                          9/12
                                                               11
                                                               13                         Patriots
                                       202                                                Other




               Source: EO function Potential Political Case Tracking Sheet as of May 31, 2012.

 :KLOHWKHWHDPRIVSHFLDOLVWVUHYLHZHGDSSOLFDWLRQVIURPDYDULHW\RIRUJDQL]DWLRQVZH
 GHWHUPLQHGGXULQJRXUUHYLHZVRIVWDWLVWLFDOVDPSOHVRI,5& F  WD[H[HPSW
 DSSOLFDWLRQVWKDWDOOFDVHVZLWK7HD3DUW\3DWULRWVRULQWKHLUQDPHVZHUHIRUZDUGHGWRWKH
 WHDPRIVSHFLDOLVWV



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    :HFRXOGQRWGHWHUPLQHZKLFKSRWHQWLDOSROLWLFDOFDVHVPD\KDYHEHHQLGHQWLILHGEDVHGRQDQRUJDQL]DWLRQ¶V
 SROLF\SRVLWLRQV
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    :HGHWHUPLQHGWKLVWKURXJKWZRVWDWLVWLFDOVDPSOHVRI SHUFHQW IURPDXQLYHUVHRI,5& F  
 WD[H[HPSWDSSOLFDWLRQVILOHGGXULQJ0D\WKURXJK0D\WKDWZHUHQRWIRUZDUGHGWRWKHWHDPRIVSHFLDOLVWV
 6HH$SSHQGL[,IRUGHWDLOVRQRXUVDPSOLQJPHWKRGRORJ\
                                                                                                              3DJH

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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 16 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 148 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



 Some applications with indications of significant political campaign intervention
 were not identified for review by the team of specialists
 ,Q0D\WKH'LUHFWRU5XOLQJVDQG$JUHHPHQWVDSSURYHGWKHFXUUHQWFULWHULDIRULGHQWLI\LQJ
 SRWHQWLDOSROLWLFDOFDVHV7KHFULWHULDDUH³ F   F   F  DQG F  
 RUJDQL]DWLRQVZLWKLQGLFDWRUVRIVLJQLILFDQWDPRXQWVRISROLWLFDOFDPSDLJQLQWHUYHQWLRQ«´7R
 GHWHUPLQHLIDOOFDVHVZLWKLQGLFDWLRQVRIVLJQLILFDQWSROLWLFDOFDPSDLJQLQWHUYHQWLRQZHUHVHQWWR
 WKHWHDPRIVSHFLDOLVWVZHUHYLHZHGWZRVWDWLVWLFDOVDPSOHVRI,5& F  DSSOLFDWLRQV
      x   $SSOLFDWLRQV7KDWWKH,56'HWHUPLQHG5HTXLUHG0LQLPDORU1R$GGLWLRQDO
          ,QIRUPDWLRQIRU3URFHVVLQJ±:HUHYLHZHGDVWDWLVWLFDOVDPSOHRI,5& F  
          FDVHVFORVHGIURP0D\WKURXJK0D\IURPDXQLYHUVHRIDSSOLFDWLRQV
          WKDWWKH,56GHWHUPLQHGUHTXLUHGPLQLPDORUQRDGGLWLRQDOLQIRUPDWLRQIURPWKH
          RUJDQL]DWLRQV DOVRUHIHUUHGWRE\WKH(2IXQFWLRQDVPHULWFORVXUHV :HGHWHUPLQHGWKDW
          WZR SHUFHQW RIDSSURYHGDSSOLFDWLRQVKDGLQGLFDWLRQVRIVLJQLILFDQWSROLWLFDO
          FDPSDLJQLQWHUYHQWLRQDQGVKRXOGKDYHEHHQIRUZDUGHGWRWKHWHDPRIVSHFLDOLVWV
          %DVHGRQRXUVWDWLVWLFDOVDPSOHZHSURMHFWDQHVWLPDWHGPHULWFORVXUHDSSOLFDWLRQV
          ZHUHQRWDSSURSULDWHO\LGHQWLILHGDVSRWHQWLDOSROLWLFDOFDVHVGXULQJWKLVWLPHSHULRG
      x   $SSOLFDWLRQV,GHQWLILHGE\WKH,567KDW5HTXLUHG$GGLWLRQDO,QIRUPDWLRQIRU
          3URFHVVLQJ±:HUHYLHZHGDVWDWLVWLFDOVDPSOHRI,5& F  FDVHVFORVHG
          IURP0D\WKURXJK0D\RURSHQDVRI0D\IURPDXQLYHUVHRI
          DSSOLFDWLRQVWKDWWKH,56GHWHUPLQHGUHTXLUHGDGGLWLRQDOLQIRUPDWLRQIURPWKH
          RUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV DOVRUHIHUUHGWRE\WKH(2IXQFWLRQDVIXOO
          GHYHORSPHQWDSSOLFDWLRQV EXWZHUHQRWIRUZDUGHGWRWKHWHDPRIVSHFLDOLVWV)RUWKH
          DSSOLFDWLRQVWKDWZHUHDYDLODEOHIRURXUUHYLHZZHIRXQGWKDW SHUFHQW RI
          DSSOLFDWLRQVLQFOXGHGLQGLFDWLRQVRIVLJQLILFDQWSROLWLFDOFDPSDLJQLQWHUYHQWLRQDQG
          VKRXOGKDYHEHHQSURFHVVHGE\WKHWHDPRIVSHFLDOLVWV:HSURMHFWDQHVWLPDWHGIXOO
          GHYHORSPHQWDSSOLFDWLRQVZHUHQRWDSSURSULDWHO\LGHQWLILHGDVSRWHQWLDOSROLWLFDOFDVHV
          GXULQJWKLVWLPHSHULRG




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    0D\ZDVFKRVHQEHFDXVHLWLVWKHILUVWGDWHWKDWZHZHUHLQIRUPHGWKDWWKH'HWHUPLQDWLRQV8QLWZDVXVLQJ
 FULWHULDZKLFKLGHQWLILHGVSHFLILFRUJDQL]DWLRQVE\QDPH
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    1HLWKHURIWKHWZRFDVHVLQYROYHGD7HD3DUW\3DWULRWVRURUJDQL]DWLRQ
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    6HH$SSHQGL[,9
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    1RQHRIWKHFDVHVLQYROYHGD7HD3DUW\3DWULRWVRURUJDQL]DWLRQ
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    :HFRXOGQRWDQDO\]HVHYHQVDPSOHGDSSOLFDWLRQFDVHILOHVEHFDXVHRILQFRPSOHWHGRFXPHQWDWLRQLQWKHFDVHILOHV
  VL[DSSOLFDWLRQV RUWKHFDVHILOHFRXOGQRWEHORFDWHG RQHDSSOLFDWLRQ 6HH$SSHQGL[,9
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    :HGHWHUPLQHGWKDWHLJKWDSSOLFDWLRQVZHUHDSSURSULDWHO\IRUZDUGHGWRWKHWHDPRIVSHFLDOLVWV)LYHRIWKH
 HLJKWDSSOLFDWLRQFDVHILOHVLQYROYHG7HD3DUW\3DWULRWVRURUJDQL]DWLRQV
 
    6HH$SSHQGL[,9
                                                                                                             3DJH

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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 17 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 149 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



      7RGHWHUPLQHLIFDVHVZLWKRXWLQGLFDWLRQVRIVLJQLILFDQWSROLWLFDOFDPSDLJQLQWHUYHQWLRQZHUH
      VHQWWRWKHWHDPRIVSHFLDOLVWVZHUHYLHZHGDOORIWKHDSSOLFDWLRQVLGHQWLILHGDVSRWHQWLDO
      SROLWLFDOFDVHVDVRI0D\
      x   $SSOLFDWLRQV7KDWWKH,56'HWHUPLQHG6KRXOG%H3URFHVVHGE\WKH7HDPRI
          6SHFLDOLVWV±:HUHYLHZHGDOODSSOLFDWLRQVWKDWKDGEHHQLGHQWLILHGDVSRWHQWLDO
          SROLWLFDOFDVHVDVRI0D\,QWKHPDMRULW\RIFDVHVZHDJUHHGWKDWWKH
          DSSOLFDWLRQVVXEPLWWHGLQFOXGHGLQGLFDWLRQVRIVLJQLILFDQWSROLWLFDOFDPSDLJQLQWHUYHQWLRQ
          +RZHYHUZHGLGQRWLGHQWLI\DQ\LQGLFDWLRQVRIVLJQLILFDQWSROLWLFDOFDPSDLJQ
          LQWHUYHQWLRQIRU SHUFHQW RIWKHDSSOLFDWLRQVWKDWKDGFRPSOHWH
          GRFXPHQWDWLRQ
          :HGLVFXVVHGRXUUHVXOWVZLWK(2IXQFWLRQRIILFLDOVZKRGLVDJUHHGZLWKRXUILQGLQJV
          $OWKRXJK(2IXQFWLRQRIILFLDOVSURYLGHGH[SODQDWLRQVDERXWZK\WKHDSSOLFDWLRQVVKRXOG
          KDYHEHHQLGHQWLILHGDVSRWHQWLDOSROLWLFDOFDVHVWKHFDVHILOHVGLGQRWLQFOXGHWKHVSHFLILF
          UHDVRQ V WKHDSSOLFDWLRQVZHUHVHOHFWHG(2IXQFWLRQRIILFLDOVDOVRVWDWHGWKDW
          DSSOLFDWLRQVPD\QRWOLWHUDOO\LQFOXGHVWDWHPHQWVLQGLFDWLQJVLJQLILFDQWSROLWLFDOFDPSDLJQ
          LQWHUYHQWLRQ$FFRUGLQJWR(2IXQFWLRQRIILFLDOVRUJDQL]DWLRQVPD\QRWXQGHUVWDQG
          ZKDWFRQVWLWXWHVSROLWLFDOFDPSDLJQLQWHUYHQWLRQRUPD\SURYLGHYDJXHGHVFULSWLRQVRI
          FHUWDLQDFWLYLWLHVWKDWWKH(2IXQFWLRQNQRZVIURPSDVWH[SHULHQFHSRWHQWLDOO\LQYROYH
          SROLWLFDOFDPSDLJQLQWHUYHQWLRQ,QWKHVHFDVHVWKH(2IXQFWLRQEHOLHYHVLWLVLPSRUWDQW
          WRUHYLHZWKHDSSOLFDWLRQVWRHQVXUHWKDWSROLWLFDOFDPSDLJQLQWHUYHQWLRQLVQRWWKH
          RUJDQL]DWLRQV¶SULPDU\DFWLYLW\7RSURYLGHIXUWKHUDVVXUDQFHWKDW'HWHUPLQDWLRQV8QLW
          HPSOR\HHVDUHKDQGOLQJWD[PDWWHUVLQDQLPSDUWLDOPDQQHULWZRXOGEHKHOSIXOWR
          GRFXPHQWVSHFLILFDOO\ZK\DSSOLFDWLRQVDUHFKRVHQIRUIXUWKHUUHYLHZ

 Recommendations
 7KH'LUHFWRU(2VKRXOG
 Recommendation 1:(QVXUHWKDWWKHPHPRUDQGXPUHTXLULQJWKH'LUHFWRU5XOLQJVDQG
 $JUHHPHQWVWRDSSURYHDOORULJLQDOHQWULHVDQGFKDQJHVWRFULWHULDLQFOXGHGRQWKH%2/2OLVWLQJ
 SULRUWRLPSOHPHQWDWLRQEHIRUPDOL]HGLQWKHDSSURSULDWH,QWHUQDO5HYHQXH0DQXDO
          Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGZLOO
          HQVXUHWKDWWKHSURFHGXUHVVHWIRUWKLQWKHPHPRUDQGXPUHTXLULQJWKH'LUHFWRU


 
    :HFRXOGQRWFRPSOHWHRXUUHYLHZRIWZRFDVHVGXHWRLQDGHTXDWHGRFXPHQWDWLRQLQWKHFDVHILOHV 6HH
 $SSHQGL[,9
 
    6HYHQWHHQ SHUFHQW RIWKHDSSOLFDWLRQVLQYROYHG7HD3DUW\3DWULRWVRURUJDQL]DWLRQV
 
    ,WVKRXOGDOVREHQRWHGWKDWLQVRPHFDVHVVSHFLDOLVWVREWDLQHGDGGLWLRQDOLQIRUPDWLRQDIWHUWKHDSSOLFDWLRQZDV
 UHFHLYHGWKDWLQGLFDWHGWKHRUJDQL]DWLRQVZHUHLQYROYHGLQSROLWLFDOFDPSDLJQLQWHUYHQWLRQZKLFKZDVQRWDYDLODEOHLQ
 WKHLQLWLDODSSOLFDWLRQGRFXPHQWDWLRQZHUHYLHZHG
                                                                                                             3DJH

                                                      JA-146                                    ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 18 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 150 of 228


                                 Inappropriate Criteria Were Used to
                             Identify Tax-Exempt Applications for Review



        5XOLQJVDQG$JUHHPHQWVWRDSSURYHLQDGYDQFHDOORULJLQDOHQWULHVDQGFKDQJHVWRWKH
        %2/2OLVWLQJDUHPDGHSDUWRIWKH,QWHUQDO5HYHQXH0DQXDO
 Recommendation 2:'HYHORSSURFHGXUHVWREHWWHUGRFXPHQWWKHUHDVRQ V DSSOLFDWLRQVDUH
 FKRVHQIRUUHYLHZE\WKHWHDPRIVSHFLDOLVWV e.g.HYLGHQFHRIVSHFLILFSROLWLFDOFDPSDLJQ
 LQWHUYHQWLRQLQWKHDSSOLFDWLRQILOHRUVSHFLILFUHDVRQVWKH(2IXQFWLRQPD\KDYHIRUFKRRVLQJWR
 UHYLHZWKHDSSOLFDWLRQIXUWKHUEDVHGRQSDVWH[SHULHQFH 
        Management’s Response: 7KH,56SURSRVHGDQDOWHUQDWLYHFRUUHFWLYHDFWLRQWR
        RXUUHFRPPHQGDWLRQ7KH,56VWDWHGLWZLOOUHYLHZLWVVFUHHQLQJSURFHGXUHVWR
        GHWHUPLQHZKHWKHUDQGWRZKDWH[WHQWDGGLWLRQDOGRFXPHQWDWLRQFDQEHLPSOHPHQWHG
        ZLWKRXWKDYLQJDQDGYHUVHLPSDFWRQWKHWLPHOLQHVVRIFDVHSURFHVVLQJ
        Office of Audit Comment: :HGRQRWEHOLHYHWKLVDOWHUQDWLYHFRUUHFWLYHDFWLRQIXOO\
        DGGUHVVHVWKHUHFRPPHQGDWLRQ'HYHORSLQJSURFHGXUHVWREHWWHUGRFXPHQWWKHUHDVRQV
        DSSOLFDWLRQVDUHFKRVHQIRUIXUWKHUUHYLHZZRXOGKHOSHQVXUHWKDWDSSOLFDWLRQVDUHEHLQJ
        KDQGOHGLQDQLPSDUWLDOPDQQHU,QDGGLWLRQDVGHWDLOHGLQWKHQH[WVHFWLRQRIWKLVUHSRUW
        WKHDYHUDJHWLPHWKHVHDSSOLFDWLRQVKDYHEHHQRSHQLVGD\VDVRI'HFHPEHU
        :HGRQRWEHOLHYHGRFXPHQWLQJDEULHIH[SODQDWLRQDERXWZK\DSSOLFDWLRQVDUHFKRVHQIRU
        UHYLHZZRXOGKDYHDQDGYHUVHLPSDFWRQWKHWLPHOLQHVVRIFDVHSURFHVVLQJ
 Recommendation 3:'HYHORSWUDLQLQJRUZRUNVKRSVWREHKHOGEHIRUHHDFKHOHFWLRQF\FOH
 LQFOXGLQJEXWQRWOLPLWHGWRWKHSURSHUZD\VWRLGHQWLI\DSSOLFDWLRQVWKDWUHTXLUHUHYLHZRI
 SROLWLFDOFDPSDLJQLQWHUYHQWLRQDFWLYLWLHV
        Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGZLOO
        GHYHORSWUDLQLQJRQWKHWRSLFVGHVFULEHGLQ5HFRPPHQGDWLRQVDQG%HFDXVH
        HOHFWLRQF\FOHVDUHFRQWLQXRXVWKH,56ZLOOGHYHORSDVFKHGXOHZKLFKHQVXUHVWKDW
        VWDIIKDYHWKHWUDLQLQJDVQHHGHGWRKDQGOHSRWHQWLDOSROLWLFDOLQWHUYHQWLRQPDWWHUV

 Potential Political Cases Experienced Significant Processing Delays
 2UJDQL]DWLRQVWKDWDSSOLHGIRUWD[H[HPSWVWDWXVDQGKDGWKHLUDSSOLFDWLRQVIRUZDUGHGWRWKHWHDP
 RIVSHFLDOLVWVH[SHULHQFHGVXEVWDQWLDOGHOD\V$VRI'HFHPEHUPDQ\RUJDQL]DWLRQVKDG
 QRWUHFHLYHGDQDSSURYDORUGHQLDOOHWWHUIRUPRUHWKDQWZR\HDUVDIWHUWKH\VXEPLWWHGWKHLU
 DSSOLFDWLRQV6RPHFDVHVKDYHEHHQRSHQGXULQJWZRHOHFWLRQF\FOHV DQG 7KH
 IRS Strategic Plan 2009–2013KDVVHYHUDOJRDOVDQGREMHFWLYHVWKDWLQYROYHWLPHO\LQWHUDFWLQJ
 ZLWKWD[SD\HUVLQFOXGLQJHQIRUFHPHQWRIWKHWD[ODZLQDWLPHO\PDQQHUZKLOHPLQLPL]LQJ
 WD[SD\HUEXUGHQ7KH(2IXQFWLRQGRHVQRWKDYHVSHFLILFWLPHOLQHVVJRDOVIRUSURFHVVLQJ
 DSSOLFDWLRQVVXFKDVSRWHQWLDOSROLWLFDOFDVHVWKDWUHTXLUHVLJQLILFDQWIROORZXSZLWKWKH




                                                                                             3DJH

                                              JA-147                              ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 19 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 151 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



 RUJDQL]DWLRQV7KHWLPHLWWDNHVWRSURFHVVDQDSSOLFDWLRQGHSHQGVXSRQWKHIDFWVDQG
 FLUFXPVWDQFHVRIWKHFDVH
 3RWHQWLDOSROLWLFDOFDVHVWRRNVLJQLILFDQWO\ORQJHUWKDQDYHUDJHWRSURFHVVGXHWRLQHIIHFWLYH
 PDQDJHPHQWRYHUVLJKW2QFHFDVHVZHUHLQLWLDOO\LGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRI
 VSHFLDOLVWVWKH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUUHTXHVWHGDVVLVWDQFHYLDHPDLOIURPWKH
 7HFKQLFDO8QLWWRHQVXUHFRQVLVWHQF\LQSURFHVVLQJWKHFDVHV+RZHYHU(2IXQFWLRQ
 PDQDJHPHQWGLGQRWHQVXUHWKDWWKHUHZDVDIRUPDOSURFHVVLQSODFHIRULQLWLDWLQJWUDFNLQJRU
 PRQLWRULQJUHTXHVWVIRUDVVLVWDQFH,QDGGLWLRQWKHUHZHUHVHYHUDOFKDQJHVLQ5XOLQJVDQG
 $JUHHPHQWVPDQDJHPHQWUHVSRQVLEOHIRURYHUVHHLQJWKHIXOILOOPHQWRIUHTXHVWVIRUDVVLVWDQFH
 IURPWKH'HWHUPLQDWLRQV8QLWGXULQJWKLVWLPHSHULRG7KLVFRQWULEXWHGWRWKHOHQJWK\GHOD\VLQ
 SURFHVVLQJSRWHQWLDOSROLWLFDOFDVHV$VDUHVXOWWKH'HWHUPLQDWLRQV8QLWZDLWHGPRUHWKDQ
 PRQWKV )HEUXDU\WR1RYHPEHU WRUHFHLYHGUDIWZULWWHQJXLGDQFHIURPWKH
 7HFKQLFDO8QLWIRUSURFHVVLQJSRWHQWLDOSROLWLFDOFDVHV
 $VDUHVXOWWKH,56GHOD\HGWKHLVVXDQFHRIOHWWHUVWRRUJDQL]DWLRQVDSSURYLQJWKHLUWD[H[HPSW
 VWDWXV)RU,5& F  RUJDQL]DWLRQVWKLVPHDQVWKDWSRWHQWLDOGRQRUVDQGJUDQWRUVFRXOG
 EHUHOXFWDQWWRSURYLGHGRQDWLRQVRUJUDQWV,QDGGLWLRQVRPHRUJDQL]DWLRQVZLWKGUHZWKHLU
 DSSOLFDWLRQVDQGRWKHUVPD\QRWKDYHEHJXQFRQGXFWLQJSODQQHGFKDULWDEOHRUVRFLDOZHOIDUH
 ZRUN7KHGHOD\VPD\KDYHDOVRSUHYHQWHGVRPHRUJDQL]DWLRQVIURPUHFHLYLQJFHUWDLQEHQHILWVRI
 WKHWD[H[HPSWVWDWXV)RUH[DPSOHLIRUJDQL]DWLRQVDUHDSSURYHGIRUWD[H[HPSWVWDWXVWKH\
 PD\UHFHLYHH[HPSWLRQIURPFHUWDLQ6WDWHWD[HVDQGUHGXFHGSRVWDOUDWHV)RURUJDQL]DWLRQVWKDW
 PD\HYHQWXDOO\EHGHQLHGWD[H[HPSWVWDWXVEXWKDYHEHHQRSHUDWLQJZKLOHWKHLUDSSOLFDWLRQVDUH
 SHQGLQJWKHRUJDQL]DWLRQVZLOOEHUHTXLUHGWRUHWURDFWLYHO\ILOHLQFRPHWD[UHWXUQVDQGPD\EH
 OLDEOHWRSD\LQFRPHWD[HVIRULQVRPHFDVHVPRUHWKDQWZR\HDUV
 7RDQDO\]HWKHGHOD\VZH UHYLHZHGWKHHYHQWVWKDWOHGWRGHOD\VLQSURFHVVLQJSRWHQWLDO
 SROLWLFDOFDVHV FRPSDUHGWKHDPRXQWRIWLPHFDVHVDVVLJQHGWRWKHWHDPRIVSHFLDOLVWVZHUH
 RSHQWRDSSOLFDWLRQVWKDWZHUHQRWDVVLJQHGWRWKHWHDPRIVSHFLDOLVWVDQG GHWHUPLQHGLI
 RUJDQL]DWLRQVZHUHHOLJLEOHWRVXHWKH,56GXHWRGHOD\VLQSURFHVVLQJFHUWDLQDSSOLFDWLRQV

 Potential political cases experienced long processing delays
 7KHWHDPRIVSHFLDOLVWVVWRSSHGZRUNLQJRQSRWHQWLDOSROLWLFDOFDVHVIURP2FWREHUWKURXJK
 1RYHPEHUUHVXOWLQJLQDPRQWKGHOD\ZKLOHWKH\ZDLWHGIRUDVVLVWDQFHIURPWKH
 7HFKQLFDO8QLW)LJXUHLOOXVWUDWHVVLJQLILFDQWHYHQWVDQGGHOD\VFRQFHUQLQJSRWHQWLDOSROLWLFDO
 FDVHV)RUDFRPSUHKHQVLYHWLPHOLQHRIHYHQWVUHODWHGWRSRWHQWLDOSROLWLFDOFDVHVVHH
 $SSHQGL[9,,



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    7KH(2IXQFWLRQKRZHYHUKDGDQRYHUDOOJRDOWRSURFHVVPHULWDQGIXOOGHYHORSPHQWWD[H[HPSWDSSOLFDWLRQVLQ
 GD\VIRU)LVFDO<HDU
 
    2IFDVHVUHYLHZHGZHUH,5& F  RUJDQL]DWLRQV
                                                                                                            3DJH

                                                      JA-148                                   ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 20 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 152 of 228


                                     Inappropriate Criteria Were Used to
                                 Identify Tax-Exempt Applications for Review



          Figure 5: Timeline of Events and Delays Involving the Processing
             of Potential Political Cases (*****1******* Through May 2012)

           'DWH            (YHQWVDQG'HOD\V
                                                                                                      
                                                                   
        $SULO        7KHWHDPRIVSHFLDOLVWVLVIRUPHGZLWKRQHVSHFLDOLVWZKRLVDVVLJQHGSRWHQWLDO
                           SROLWLFDOFDVHVDQGEHJLQVZRUNLQJRQWKHPZLWKWKHDVVLVWDQFHRID7HFKQLFDO8QLW
                           HPSOR\HH
       2FWREHU       7KHWHDPRIVSHFLDOLVWVVWRSVSURFHVVLQJSRWHQWLDOSROLWLFDOFDVHVZKLOHZDLWLQJIRU
                           DVVLVWDQFHIURPWKH7HFKQLFDO8QLW
         -XO\        7KH(2IXQFWLRQGHFLGHVWRGHYHORSZULWWHQJXLGDQFHIRUWKH'HWHUPLQDWLRQV8QLW
                           WRSURFHVVWKHSRWHQWLDOSROLWLFDOFDVHV
      1RYHPEHU       'UDIWZULWWHQJXLGDQFHLVSURYLGHGWRWKH'HWHUPLQDWLRQV8QLW
      'HFHPEHU       $GGLWLRQDOVSHFLDOLVWVDUHDGGHGWRWKHWHDPRIVSHFLDOLVWV
       -DQXDU\       6SHFLDOLVWVEHJLQLVVXLQJDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUVWRRUJDQL]DWLRQV
                           DSSO\LQJIRUWD[H[HPSWVWDWXVUHTXHVWLQJWKDWWKHLQIRUPDWLRQEHSURYLGHGLQ
                           WZRWRWKUHHZHHNV7KHVHWLPHSHULRGVDUHVWDQGDUGUHVSRQVHWLPHVJLYHQIRUDQ\
                           LQIRUPDWLRQUHTXHVWDQGDUHLQFOXGHGLQWKH,QWHUQDO5HYHQXH0DQXDO
      )HEUXDU\       &RQFHUQVDUHUDLVHGLQWKHPHGLDUHJDUGLQJUHTXHVWVIRUVLJQLILFDQWDPRXQWVRI
                           LQIRUPDWLRQIURPRUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV7KH'LUHFWRU(2
                           VWRSVVSHFLDOLVWVIURPLVVXLQJDQ\PRUHOHWWHUVUHTXHVWLQJLQIRUPDWLRQ,QVWHDG
                           OHWWHUVDOORZLQJH[WHQVLRQVRIGD\VWRUHVSRQGWRSUHYLRXVDGGLWLRQDOLQIRUPDWLRQ
                           OHWWHUVZHUHGHYHORSHGDQGLVVXHGLQ0DUFKDQG$SULO7KHVHOHWWHUVDOVRQRWHG
                           WKDWDSSOLFDQWVVKRXOGFRQWDFWWKH,56LIWKH\QHHGHGORQJHUWKDQGD\VWRUHVSRQG

        0D\         $ZRUNVKRSLVJLYHQWR'HWHUPLQDWLRQV8QLWVSHFLDOLVWVDVVLJQHGWRSRWHQWLDO
                          SROLWLFDOFDVHV$IWHUZDUGVDUHYLHZRIDOOWKHRSHQFDVHVLVFRPSOHWHGWR
                          UHFRPPHQGZKHWKHUDGGLWLRQDOSURFHVVLQJLVQHFHVVDU\RUZKHWKHUWKHFDVHVFDQ
                          EHFORVHG DVRI'HFHPEHUDSSOLFDWLRQVZHUHVWLOOEHLQJSURFHVVHG 
    Source: Interviews of EO function employees and our review of EO function e-mails.

 ,QHIIHFWLYHRYHUVLJKWE\PDQDJHPHQWOHGWRVLJQLILFDQWGHOD\VLQSURFHVVLQJSRWHQWLDOSROLWLFDO
 FDVHV                                                                                     
                                                     ,Q$SULOWKH'HWHUPLQDWLRQV8QLW
 3URJUDP0DQDJHUUHTXHVWHGYLDHPDLODFRQWDFWLQWKH7HFKQLFDO8QLWWRSURYLGHDVVLVWDQFHZLWK
 SURFHVVLQJWKHDSSOLFDWLRQV$7HFKQLFDO8QLWVSHFLDOLVWZDVDVVLJQHGWKLVWDVNDQGEHJDQ
 ZRUNLQJZLWKWKHWHDPRIVSHFLDOLVWV7KHWHDPRIVSHFLDOLVWVVWRSSHGSURFHVVLQJFDVHVLQ
 2FWREHUZLWKRXWFORVLQJDQ\RIWKHFDVHVWKDWZHUHEHJXQ+RZHYHUWKH'HWHUPLQDWLRQV
 8QLW3URJUDP0DQDJHUWKRXJKWWKHFDVHVZHUHEHLQJSURFHVVHG/DWHUZHZHUHLQIRUPHGE\WKH
 'LUHFWRU5XOLQJVDQG$JUHHPHQWVWKDWWKHUHZDVDPLVFRPPXQLFDWLRQDERXWSURFHVVLQJWKH
 FDVHV7KH'HWHUPLQDWLRQV8QLWZDLWHGIRUDVVLVWDQFHIURPWKH7HFKQLFDO8QLWLQVWHDGRI
                                                                                                             3DJH

                                                       JA-149                                  ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 21 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 153 of 228


                                       Inappropriate Criteria Were Used to
                                   Identify Tax-Exempt Applications for Review



 FRQWLQXLQJWRSURFHVVWKHFDVHV7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUUHTXHVWHGVWDWXV
 XSGDWHVRQWKHUHTXHVWIRUDVVLVWDQFHVHYHUDOWLPHVYLDHPDLO'UDIWZULWWHQJXLGDQFHZDVQRW
 UHFHLYHGIURPWKH7HFKQLFDO8QLWXQWLO1RYHPEHUPRQWKVDIWHUWKH'HWHUPLQDWLRQV8QLW
 VWRSSHGSURFHVVLQJWKHFDVHV$VRIWKHHQGRIRXUDXGLWZRUNLQ)HEUXDU\WKHJXLGDQFH
 KDGQRWEHHQILQDOL]HGEHFDXVHWKH(2IXQFWLRQGHFLGHGWRSURYLGHWUDLQLQJLQVWHDG
 0DQ\RUJDQL]DWLRQVZDLWHGPXFKORQJHUWKDQPRQWKVIRUDGHFLVLRQZKLOHRWKHUVKDYH\HWWR
 UHFHLYHDGHFLVLRQIURPWKH,56)RUH[DPSOHDVRI'HFHPEHUWKH,56KDGEHHQ
 SURFHVVLQJVHYHUDOSRWHQWLDOSROLWLFDOFDVHVIRUPRUHWKDQFDOHQGDUGD\V6RPHRIWKHVH
 RUJDQL]DWLRQVUHFHLYHGUHTXHVWVIRUDGGLWLRQDOLQIRUPDWLRQLQ&DOHQGDU<HDUDQGWKHQGLG
 QRWKHDUIURPWKH,56DJDLQIRUPRUHWKDQD\HDUZKLOHWKH'HWHUPLQDWLRQV8QLWZDLWHGIRU
 DVVLVWDQFHIURPWKH7HFKQLFDO8QLW)RUWKHSRWHQWLDOSROLWLFDOFDVHVZHUHYLHZHGDVRI
 'HFHPEHUDSSOLFDWLRQVKDGEHHQDSSURYHGZHUHZLWKGUDZQE\WKHDSSOLFDQW
 QRQHKDGEHHQGHQLHGDQGFDVHVZHUHRSHQIURPWRFDOHQGDUGD\V VRPHFURVVLQJ
 WZRHOHFWLRQF\FOHV 
 ,Q0DUFKWKH'HSXW\&RPPLVVLRQHU6HUYLFHVDQG(QIRUFHPHQWDVNHGWKH6HQLRU
 7HFKQLFDO$GYLVRUWRWKH$FWLQJ&RPPLVVLRQHU7D[([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQ
 WRORRNLQWRFRQFHUQVUDLVHGE\WKHPHGLDDERXWGHOD\VLQSURFHVVLQJDSSOLFDWLRQVIRUWD[H[HPSW
 VWDWXVIURP7HD3DUW\JURXSVDQGWKHQDWXUHRIWKHTXHVWLRQVEHLQJDVNHGUHODWHGWRWKH
 DSSOLFDWLRQV,Q$SULOWKH6HQLRU7HFKQLFDO$GYLVRUWRWKH$FWLQJ&RPPLVVLRQHU7D[
 ([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQDORQJZLWKDWHDPRI(2IXQFWLRQ+HDGTXDUWHUV
 RIILFHHPSOR\HHVUHYLHZHGPDQ\RIWKHSRWHQWLDOSROLWLFDOFDVHVDQGGHWHUPLQHGWKDWWKHUH
 DSSHDUHGWREHVRPHFRQIXVLRQE\'HWHUPLQDWLRQV8QLWVSHFLDOLVWVDQGDSSOLFDQWVRQZKDW
 DFWLYLWLHVDUHDOORZHGE\,5& F  RUJDQL]DWLRQV:HEHOLHYHWKLVFRXOGEHGXHWRWKH
 ODFNRIVSHFLILFJXLGDQFHRQKRZWRGHWHUPLQHWKH³SULPDU\DFWLYLW\´RIDQ,5& F  
 RUJDQL]DWLRQ7UHDVXU\5HJXODWLRQVVWDWHWKDW,5& F  RUJDQL]DWLRQVVKRXOGKDYHVRFLDO
 ZHOIDUHDVWKHLU³SULPDU\DFWLYLW\´KRZHYHUWKHUHJXODWLRQVGRQRWGHILQHKRZWRPHDVXUH
 ZKHWKHUVRFLDOZHOIDUHLVDQRUJDQL]DWLRQ¶V³SULPDU\DFWLYLW\´
 $VDUHVXOWRIWKLVFRQIXVLRQWKH(2IXQFWLRQ+HDGTXDUWHUVHPSOR\HHVSURYLGHGDWZRGD\
 ZRUNVKRSWRWKHWHDPRIVSHFLDOLVWVLQ0D\WRWUDLQWKHPRQZKDWDFWLYLWLHVDUHDOORZDEOHE\
 ,5& F  RUJDQL]DWLRQVLQFOXGLQJOREE\LQJDQGSROLWLFDOFDPSDLJQLQWHUYHQWLRQ$IWHU
 WKLVZRUNVKRSSRWHQWLDOSROLWLFDOFDVHVZHUHLQGHSHQGHQWO\UHYLHZHGE\WZRSHRSOHWRGHWHUPLQH
 ZKDWLIDQ\DGGLWLRQDOZRUNQHHGHGWREHFRPSOHWHGSULRUWRPDNLQJDGHFLVLRQWRDSSURYHRU
 GHQ\WKHDSSOLFDWLRQVIRUWD[H[HPSWVWDWXV7KLVUHYLHZFRQWLQXHGRQDQ\QHZO\LGHQWLILHG
 SRWHQWLDOSROLWLFDOFDVHV3ULRUWRWKHKDQGVRQWUDLQLQJDQGLQGHSHQGHQWUHYLHZVWKHWHDPRI
 VSHFLDOLVWVKDGRQO\DSSURYHGVL[ SHUFHQW RIDSSOLFDWLRQV$IWHUWKHKDQGVRQWUDLQLQJ

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    ,QUHVSRQVHWRWKH1DWLRQDO7D[SD\HU$GYRFDWH¶V2007 Annual Report to CongressWKH,56FRPPHQWHGWKDW
 SXWWLQJJXLGHVKHHWVIRUSURFHVVLQJDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVRQLWV,QWHUQHWVLWHZRXOGUHVXOWLQIHZHU
 GHOD\V
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                                                                                                         
                                                                                                               3DJH

                                                       JA-150                                     ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 22 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 154 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



 DQGLQGHSHQGHQWUHYLHZVEHJDQWKH'HWHUPLQDWLRQV8QLWDSSURYHGDQDGGLWLRQDODSSOLFDWLRQV
 E\'HFHPEHU,QDGGLWLRQLWZDVGHFLGHGWKDWDSSOLFDWLRQVFRXOGEHDSSURYHGEXWD
 UHIHUUDOIRUIROORZXSFRXOGEHVHQWWRDQRWKHUXQLWZKLFKFRXOGUHYLHZWKHDFWLYLWLHVRIDQ
 RUJDQL]DWLRQDWDODWHUGDWHWRGHWHUPLQHLIWKH\ZHUHFRQVLVWHQWZLWKWKHRUJDQL]DWLRQ¶V
 WD[H[HPSWVWDWXV

 Potential political cases were open much longer than similar cases that were not
 identified for processing by the team of specialists
 )RU)LVFDO<HDUWKHDYHUDJHWLPHLWWRRNWKH'HWHUPLQDWLRQV8QLWWRFRPSOHWHSURFHVVLQJ
 DSSOLFDWLRQVUHTXLULQJDGGLWLRQDOLQIRUPDWLRQIURPRUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV
  DOVRUHIHUUHGWRE\WKH(2IXQFWLRQDVIXOOGHYHORSPHQWFDVHV ZDVFDOHQGDUGD\VDFFRUGLQJ
 WR,56GDWD,QFRPSDULVRQWKHDYHUDJHWLPHDSRWHQWLDOSROLWLFDOFDVHZDVRSHQDVRI
 'HFHPEHUZDVFDOHQGDUGD\V ZLWKSRWHQWLDOSROLWLFDOFDVHVEHLQJRSHQORQJHU
 WKDQWKHDYHUDJHFDOHQGDUGD\VLWWRRNWRFORVHRWKHUIXOOGHYHORSPHQWFDVHV )LJXUHVKRZV
 WKDWPRUHWKDQSHUFHQWRIWKHSRWHQWLDOSROLWLFDOFDVHVKDYHEHHQRSHQPRUHWKDQRQH\HDU
                Figure 6: Number of Calendar Days Potential Political Cases
                           Were Open (as of December 17, 2012)
                                           1XPEHUDQG3HUFHQWDJHRI3RWHQWLDO
                                       3ROLWLFDO&DVHV2SHQE\&DOHQGDU'D\5DQJH
                                                                                           0RUH
                               ±        ±       ±       ±       7KDQ
                   7RWDO      &DOHQGDU       &DOHQGDU       &DOHQGDU       &DOHQGDU       &DOHQGDU
                   &DVHV      'D\V           'D\V           'D\V           'D\V            'D\V
                                                                                        
                    
                                                                                    
                 Source: Our analysis of EO function documentation.




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    2IWKHDSSOLFDWLRQV SHUFHQW LQYROYHG7HD3DUW\3DWULRWVRURUJDQL]DWLRQV
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    7KH5HYLHZRI2SHUDWLRQV8QLWFRPSOHWHVFRPSOLDQFHUHYLHZVRQWD[H[HPSWRUJDQL]DWLRQVWRGHWHUPLQHZKHWKHU
 WKH\DUHRSHUDWLQJLQDFFRUGDQFHZLWKWKHLUWD[H[HPSWSXUSRVHVDQGDUHFXUUHQWZLWKWKHLUILOLQJUHTXLUHPHQWV8QLW
 SHUVRQQHOUHYLHZLQIRUPDWLRQDYDLODEOHRQ,56V\VWHPV ILOHGUHWXUQVDSSOLFDWLRQVIRUWD[H[HPSWLRQDQGWKH
 ,QWHUQHWWRDVVHVVWKHRUJDQL]DWLRQV¶RSHUDWLRQVDQGPDNHUHFRPPHQGDWLRQVIRUIXUWKHUDFWLRQV
 
    6HH$SSHQGL[,9
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    3HUFHQWDJHVPD\QRWHTXDOSHUFHQWGXHWRURXQGLQJ
                                                                                                             3DJH

                                                      JA-151                                    ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 23 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 155 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



 Some charitable organizations were eligible to sue the IRS for declaratory
 judgment due to the delays in processing applications
 7KH'HWHUPLQDWLRQV8QLWGLGQRWDOZD\VWLPHO\DSSURYHRUGHQ\WKHDSSOLFDWLRQVIRU
 ,5& F  WD[H[HPSWVWDWXVIRUSRWHQWLDOSROLWLFDOFDVHV+RZHYHUWKHWD[ODZSURYLGHV
 RUJDQL]DWLRQVZLWKWKHDELOLW\WRVXHWKH,56WRIRUFHDGHFLVLRQRQWKHLUDSSOLFDWLRQVLIWKH,56
 GRHVQRWDSSURYHRUGHQ\WKHLUDSSOLFDWLRQVZLWKLQFDOHQGDUGD\V
 $VRI0D\ SHUFHQW RI,5& F  SRWHQWLDOSROLWLFDOFDVHVZHUHRSHQ
 PRUHWKDQFDOHQGDUGD\VDQGWKHRUJDQL]DWLRQVKDGUHVSRQGHGWLPHO\WRDOOUHTXHVWVIRU
 DGGLWLRQDOLQIRUPDWLRQDVUHTXLUHG$VRIWKHHQGRIRXUILHOGZRUNQRQHRIWKHVHRUJDQL]DWLRQV
 KDGVXHGWKH,56HYHQWKRXJKWKH\KDGWKHOHJDOULJKW,QDQRWKHURSHQFDVHVRUJDQL]DWLRQV
 ZHUHWLPHO\LQWKHLUUHVSRQVHVWRDGGLWLRQDOLQIRUPDWLRQUHTXHVWVEXWWKHFDOHQGDUGD\
 WKUHVKROGKDGQRWEHHQUHDFKHGDVRI0D\7KHVHRUJDQL]DWLRQVPD\KDYHWKHULJKW
 WRVXHWKH,56LQWKHIXWXUHLIGHWHUPLQDWLRQVDUHQRWPDGHZLWKLQWKHFDOHQGDUGD\SHULRG

 Recommendations
 7KH'LUHFWRU(2VKRXOG
 Recommendation 4: 'HYHORSDSURFHVVIRUWKH'HWHUPLQDWLRQV8QLWWRIRUPDOO\UHTXHVW
 DVVLVWDQFHIURPWKH7HFKQLFDO8QLWDQGWKH*XLGDQFH8QLW7KHSURFHVVVKRXOGLQFOXGHDFWLRQV
 WRLQLWLDWHWUDFNDQGPRQLWRUUHTXHVWVIRUDVVLVWDQFHWRHQVXUHWKDWUHTXHVWVDUHUHVSRQGHGWR
 WLPHO\
         Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGZLOO
         GHYHORSDIRUPDOSURFHVVIRUWKH'HWHUPLQDWLRQ8QLWWRUHTXHVWDVVLVWDQFHDQGWR
         PRQLWRUVXFKUHTXHVWV
 Recommendation 5: 'HYHORSJXLGDQFHIRUVSHFLDOLVWVRQKRZWRSURFHVVUHTXHVWVIRU
 WD[H[HPSWVWDWXVLQYROYLQJSRWHQWLDOO\VLJQLILFDQWSROLWLFDOFDPSDLJQLQWHUYHQWLRQ7KLV
 JXLGDQFHVKRXOGDOVREHSRVWHGWRWKH,QWHUQHWWRSURYLGHWUDQVSDUHQF\WRRUJDQL]DWLRQVRQWKH
 DSSOLFDWLRQSURFHVV
         Management’s Response: 7KH,56SURSRVHGDOWHUQDWLYHFRUUHFWLYHDFWLRQWRRXU
         UHFRPPHQGDWLRQ7KH,56ZLOOGHYHORSWUDLQLQJRQWKHWRSLFVGHVFULEHGLQ
         5HFRPPHQGDWLRQVDQG%HFDXVHHOHFWLRQF\FOHVDUHFRQWLQXRXVWKH,56



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    5HYHQXH3URFHGXUHSURYLGHVIXUWKHUJXLGDQFHRQWKHLPSOHPHQWDWLRQRIWKLVULJKW
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    7D[H[HPSWDSSOLFDWLRQFDVHILOHVZHUHVHOHFWHGIRUUHYLHZLQ-XQHEDVHGRQD0D\OLVWLQJRI
 DSSOLFDWLRQVEHLQJSURFHVVHGE\WKHWHDPRIVSHFLDOLVWV
 
    7KH*XLGDQFH8QLWSURYLGHVIRUPDODQGLQIRUPDOJXLGDQFHWKDWH[SODLQVKRZFHUWDLQODZVVXFKDVUHJXODWLRQV
 UHYHQXHUXOLQJVUHYHQXHSURFHGXUHVQRWLFHVDQGDQQRXQFHPHQWVPD\DSSO\WRH[HPSWRUJDQL]DWLRQV
                                                                                                            3DJH

                                                      JA-152                                   ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 24 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 156 of 228


                                       Inappropriate Criteria Were Used to
                                   Identify Tax-Exempt Applications for Review



          QRWHGWKDWLWZLOOGHYHORSDVFKHGXOHZKLFKHQVXUHVWKDWVWDIIKDYHWKHWUDLQLQJDV
          QHHGHGWRKDQGOHSRWHQWLDOSROLWLFDOLQWHUYHQWLRQPDWWHUV
          Office of Audit Comment::HGRQRWEHOLHYHWKDWWKLVDOWHUQDWLYHFRUUHFWLYHDFWLRQ
          IXOO\DGGUHVVHVRXUUHFRPPHQGDWLRQ:HEHOLHYHWKDWVSHFLILFJXLGDQFHVKRXOGEH
          GHYHORSHGDQGPDGHDYDLODEOHWRVSHFLDOLVWVSURFHVVLQJSRWHQWLDOSROLWLFDOFDVHV0DNLQJ
          WKLVJXLGDQFHDYDLODEOHRQWKH,QWHUQHWIRURUJDQL]DWLRQVFRXOGDOVRDGGUHVVDFRQFHUQ
          UDLVHGLQWKH,56¶VUHVSRQVHWKDWPDQ\DSSOLFDWLRQVDSSHDUWRFRQWDLQLQFRPSOHWHDQG
          LQFRQVLVWHQWLQIRUPDWLRQ
 Recommendation 6:'HYHORSWUDLQLQJRUZRUNVKRSVWREHKHOGEHIRUHHDFKHOHFWLRQF\FOH
 LQFOXGLQJEXWQRWOLPLWHGWRD ZKDWFRQVWLWXWHVSROLWLFDOFDPSDLJQLQWHUYHQWLRQYHUVXVJHQHUDO
 DGYRFDF\ LQFOXGLQJFDVHH[DPSOHV DQGE WKHDELOLW\WRUHIHUIRUIROORZXSWKRVHRUJDQL]DWLRQV
 WKDWPD\FRQGXFWDFWLYLWLHVLQDIXWXUH\HDUZKLFKPD\FDXVHWKHPWRORVHWKHLUWD[H[HPSWVWDWXV
          Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGZLOO
          GHYHORSWUDLQLQJRQWKHWRSLFVGHVFULEHGLQ5HFRPPHQGDWLRQVDQG%HFDXVH
          HOHFWLRQF\FOHVDUHFRQWLQXRXVWKH,56UHSRUWHGWKDWLWZLOOGHYHORSDVFKHGXOHZKLFK
          HQVXUHVWKDWVWDIIKDYHWKHWUDLQLQJDVQHHGHGWRKDQGOHSRWHQWLDOSROLWLFDOLQWHUYHQWLRQ
          PDWWHUV
 Recommendation 7:3URYLGHRYHUVLJKWWRHQVXUHWKDWSRWHQWLDOSROLWLFDOFDVHVVRPHRIZKLFK
 KDYHEHHQLQSURFHVVIRUWKUHH\HDUVDUHDSSURYHGRUGHQLHGH[SHGLWLRXVO\
          Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGVWDWHG
          WKDWZKLOHWKLVLVDQRQJRLQJSURMHFWLWLVFORVHO\RYHUVHHLQJWKHUHPDLQLQJRSHQFDVHV
          WRHQVXUHWKDWLWUHDFKHVGHWHUPLQDWLRQVDVH[SHGLWLRXVO\DVSRVVLEOH
 7KH$FWLQJ&RPPLVVLRQHU7D[([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQVKRXOG
 Recommendation 8:5HFRPPHQGWR,56&KLHI&RXQVHODQGWKH'HSDUWPHQWRIWKH7UHDVXU\
 WKDWJXLGDQFHRQKRZWRPHDVXUHWKH³SULPDU\DFWLYLW\´RI,5& F  VRFLDOZHOIDUH
 RUJDQL]DWLRQVEHLQFOXGHGIRUFRQVLGHUDWLRQLQWKH'HSDUWPHQWRIWKH7UHDVXU\3ULRULW\*XLGDQFH
 3ODQ
          Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGZLOO
          VKDUHWKLVUHFRPPHQGDWLRQZLWKWKH,56&KLHI&RXQVHODQGWKH'HSDUWPHQWRI
          7UHDVXU\¶V2IILFHRI7D[3ROLF\




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   7KH'HSDUWPHQWRIWKH7UHDVXU\LVVXHVD3ULRULW\*XLGDQFH3ODQHDFK\HDUWRLGHQWLI\DQGSULRULWL]HWKHWD[LVVXHV
 WKDWVKRXOGEHDGGUHVVHGWKURXJKUHJXODWLRQVUHYHQXHUXOLQJVUHYHQXHSURFHGXUHVQRWLFHVDQGRWKHUSXEOLVKHG
 DGPLQLVWUDWLYHJXLGDQFH
                                                                                                              3DJH

                                                       JA-153                                    ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 25 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 157 of 228


                                          Inappropriate Criteria Were Used to
                                      Identify Tax-Exempt Applications for Review




 The Determinations Unit Requested Unnecessary Information for
 Many Potential Political Cases
 7KH'HWHUPLQDWLRQV8QLWVHQWUHTXHVWVIRULQIRUPDWLRQWKDWZHODWHU LQZKROHRULQSDUW 
 GHWHUPLQHGWREHXQQHFHVVDU\IRU SHUFHQW RIRUJDQL]DWLRQVWKDWUHFHLYHGDGGLWLRQDO
 LQIRUPDWLRQUHTXHVWOHWWHUV$FFRUGLQJWRWKH,QWHUQDO5HYHQXH0DQXDOWKHVHUHTXHVWVVKRXOG
 EHWKRURXJKFRPSOHWHDQGUHOHYDQW+RZHYHUWKH'HWHUPLQDWLRQV8QLWUHTXHVWHGLUUHOHYDQW
  XQQHFHVVDU\ LQIRUPDWLRQEHFDXVHRIDODFNRIPDQDJHULDOUHYLHZDWDOOOHYHOVRITXHVWLRQV
 EHIRUHWKH\ZHUHVHQWWRRUJDQL]DWLRQVVHHNLQJWD[H[HPSWVWDWXV:HDOVREHOLHYHWKDW
 'HWHUPLQDWLRQV8QLWVSHFLDOLVWVODFNHGNQRZOHGJHRIZKDWDFWLYLWLHVDUHDOORZHGE\
 ,5& F  DQG,5& F  WD[H[HPSWRUJDQL]DWLRQV 7KLVFUHDWHGEXUGHQRQWKH
 RUJDQL]DWLRQVWKDWZHUHUHTXLUHGWRJDWKHUDQGIRUZDUGLQIRUPDWLRQWKDWZDVQRWQHHGHGE\WKH
 'HWHUPLQDWLRQV8QLWDQGOHGWRGHOD\VLQSURFHVVLQJWKHDSSOLFDWLRQV7KHVHGHOD\VFRXOGUHVXOW
 LQSRWHQWLDOGRQRUVDQGJUDQWRUVEHLQJUHOXFWDQWWRSURYLGHGRQDWLRQVRUJUDQWVWRRUJDQL]DWLRQV
 DSSO\LQJIRU,5& F  WD[H[HPSWVWDWXV,QDGGLWLRQVRPHRUJDQL]DWLRQVPD\QRWKDYH
 EHJXQFRQGXFWLQJSODQQHGFKDULWDEOHRUVRFLDOZHOIDUHZRUN
 $IWHUUHFHLYLQJGUDIWJXLGDQFHLQ1RYHPEHUWKHWHDPRIVSHFLDOLVWVEHJDQVHQGLQJUHTXHVWV
 IRUDGGLWLRQDOLQIRUPDWLRQLQ-DQXDU\WRRUJDQL]DWLRQVWKDWZHUHDSSO\LQJIRUWD[H[HPSW
 VWDWXV)RUVRPHRUJDQL]DWLRQVWKLVZDVWKHVHFRQGOHWWHUUHFHLYHGIURPWKH,56UHTXHVWLQJ
 DGGLWLRQDOLQIRUPDWLRQWKHILUVWRIZKLFKKDGEHHQUHFHLYHGPRUHWKDQD\HDUEHIRUHWKLVGDWH
 7KHVHOHWWHUVUHTXHVWHGWKDWWKHLQIRUPDWLRQEHSURYLGHGLQWZRRUWKUHHZHHNV DVLVFXVWRPDU\LQ
 WKHVHOHWWHUV GHVSLWHWKHIDFWWKDWWKH,56KDGGRQHQRWKLQJZLWKVRPHRIWKHDSSOLFDWLRQVIRU
 PRUHWKDQRQH\HDU$IWHUWKHOHWWHUVZHUHUHFHLYHGRUJDQL]DWLRQVVHHNLQJWD[H[HPSWVWDWXVDV
 ZHOODVPHPEHUVRI&RQJUHVVH[SUHVVHGFRQFHUQVDERXWWKHW\SHDQGH[WHQWRITXHVWLRQVEHLQJ
 DVNHG)RUH[DPSOHWKH'HWHUPLQDWLRQV8QLWUHTXHVWHGGRQRULQIRUPDWLRQIURP
 RUJDQL]DWLRQVWKDWLWZRXOGEHUHTXLUHGWRPDNHSXEOLFLIWKHDSSOLFDWLRQZDVDSSURYHGHYHQ
 WKRXJKWKLVLQIRUPDWLRQFRXOGQRWEHGLVFORVHGE\WKH,56ZKHQSURYLGHGE\RUJDQL]DWLRQV
 ZKRVHWD[H[HPSWVWDWXVKDGEHHQDSSURYHG)LJXUHVKRZVDQH[DPSOHRIUHTXHVWVVHQWWR
 RUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXVUHJDUGLQJGRQRUV




 
      6HH$SSHQGL[,9
 
      2IWKHRUJDQL]DWLRQVKDG7HD3DUW\3DWULRWVRULQWKHLUQDPHV
                                                                                                 3DJH

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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 26 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 158 of 228


                                     Inappropriate Criteria Were Used to
                                 Identify Tax-Exempt Applications for Review



              Figure 7: Example of Requests for Information Regarding
           Past and Future Donors in Letters Sent in January/February 2012

      3URYLGHWKHIROORZLQJLQIRUPDWLRQIRUWKHLQFRPH\RXUHFHLYHGDQGUDLVHGIRUWKH\HDUVIURP
      LQFHSWLRQWRWKHSUHVHQW$OVRSURYLGHWKHVDPHLQIRUPDWLRQIRUWKHLQFRPH\RXH[SHFWWR
      UHFHLYHDQGUDLVHIRUDQG
          D 'RQDWLRQVFRQWULEXWLRQVDQGJUDQWLQFRPHIRUHDFK\HDUZKLFKLQFOXGHVWKHIROORZLQJ
             LQIRUPDWLRQ
               7KHQDPHVRIWKHGRQRUVFRQWULEXWRUVDQGJUDQWRUV,IWKHGRQRUFRQWULEXWRURU
                 JUDQWRUKDVUXQRUZLOOUXQIRUDSXEOLFRIILFHLGHQWLI\WKHRIILFH,IQRWSOHDVH
                 FRQILUPE\DQVZHULQJWKLVTXHVWLRQ³1R´
               7KHDPRXQWVRIHDFKRIWKHGRQDWLRQVFRQWULEXWLRQVDQGJUDQWVDQGWKHGDWHV\RX
                 UHFHLYHGWKHP
               +RZGLG\RXXVHWKHVHGRQDWLRQVFRQWULEXWLRQVDQGJUDQWV"3URYLGHWKHGHWDLOV

      ,I\RXGLGQRWUHFHLYHRUGRQRWH[SHFWWRUHFHLYHDQ\GRQDWLRQFRQWULEXWLRQDQGJUDQWLQFRPH
      SOHDVHFRQILUPE\DQVZHULQJ³1RQHUHFHLYHG´DQGRU³1RQHH[SHFWHG´
    Source: Application case files.

 $IWHUPHGLDDWWHQWLRQWKH'LUHFWRU(2VWRSSHGLVVXDQFHRIDGGLWLRQDOLQIRUPDWLRQUHTXHVW
 OHWWHUVDQGSURYLGHGDQH[WHQVLRQRIWLPHWRUHVSRQGWRSUHYLRXVO\LVVXHGOHWWHUV7KH'HSXW\
 &RPPLVVLRQHUIRU6HUYLFHVDQG(QIRUFHPHQWWKHQDVNHGWKH6HQLRU7HFKQLFDO$GYLVRUWRWKH
 $FWLQJ&RPPLVVLRQHU7D[([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQWRILQGRXWKRZ
 DSSOLFDWLRQVZHUHEHLQJSURFHVVHGDQGPDNHUHFRPPHQGDWLRQV7KH6HQLRU7HFKQLFDO$GYLVRU
 DQGDWHDPRIVSHFLDOLVWVYLVLWHGWKH'HWHUPLQDWLRQV8QLWLQ&LQFLQQDWL2KLRDQGEHJDQ
 UHYLHZLQJFDVHV$VSDUWRIWKLVHIIRUW(2IXQFWLRQ+HDGTXDUWHUVRIILFHHPSOR\HHVUHYLHZHGWKH
 DGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUVSUHSDUHGE\WKHWHDPRIVSHFLDOLVWVDQGLGHQWLILHG
 VHYHQTXHVWLRQVWKDWWKH\GHHPHGXQQHFHVVDU\6XEVHTXHQWO\WKH(2IXQFWLRQLQVWLWXWHGWKH
 SUDFWLFHWKDWDOODGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUVIRUSRWHQWLDOSROLWLFDOFDVHVEHUHYLHZHGE\
 WKH(2IXQFWLRQ+HDGTXDUWHUVRIILFHEHIRUHWKH\DUHVHQWWRRUJDQL]DWLRQVVHHNLQJWD[H[HPSW
 VWDWXV,QDGGLWLRQ(2IXQFWLRQRIILFLDOVLQIRUPHGXVWKDWWKH\GHFLGHGWRGHVWUR\DOOGRQRUOLVWV
 WKDWZHUHVHQWLQIRUSRWHQWLDOSROLWLFDOFDVHVWKDWWKH,56GHWHUPLQHGLWVKRXOGQRWKDYH
 UHTXHVWHG)LJXUHOLVWVWKHVHYHQTXHVWLRQVLGHQWLILHGDVEHLQJXQQHFHVVDU\




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 27 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 159 of 228


                                    Inappropriate Criteria Were Used to
                                Identify Tax-Exempt Applications for Review



     Figure 8: Seven Questions Identified As Unnecessary by the EO Function

     1XPEHU 4XHVWLRQ
                5HTXHVWVWKHQDPHVRIGRQRUV
                5HTXHVWVDOLVWRIDOOLVVXHVWKDWDUHLPSRUWDQWWRWKHRUJDQL]DWLRQDQGDVNVWKDW
                 WKHRUJDQL]DWLRQLQGLFDWHLWVSRVLWLRQUHJDUGLQJVXFKLVVXHV
                5HTXHVWV WKHUROHVDQGDFWLYLWLHVRIWKHDXGLHQFHDQGSDUWLFLSDQWVRWKHUWKDQ
                 PHPEHUVLQWKHDFWLYLW\DQG WKHW\SHRIFRQYHUVDWLRQVDQGGLVFXVVLRQV
                 PHPEHUVDQGSDUWLFLSDQWVKDGGXULQJWKHDFWLYLW\
                $VNVZKHWKHUWKHRIILFHUGLUHFWRUetc.KDVUXQRUZLOOUXQIRUSXEOLFRIILFH
                5HTXHVWVWKHSROLWLFDODIILOLDWLRQRIWKHRIILFHUGLUHFWRUVSHDNHUVFDQGLGDWHV
                 VXSSRUWHG etc.RURWKHUZLVHUHIHUVWRWKHUHODWLRQVKLSZLWKLGHQWLILHG
                 SROLWLFDOSDUW\±UHODWHGRUJDQL]DWLRQV
                5HTXHVWVLQIRUPDWLRQUHJDUGLQJHPSOR\PHQWRWKHUWKDQIRUWKHRUJDQL]DWLRQ
                 LQFOXGLQJKRXUVZRUNHG
                5HTXHVWVLQIRUPDWLRQUHJDUGLQJDFWLYLWLHVRIDQRWKHURUJDQL]DWLRQ±QRWMXVW
                 WKHUHODWLRQVKLSRIWKHRWKHURUJDQL]DWLRQWRWKHDSSOLFDQW
   Source: EO function review of additional information request letters.

 :HUHYLHZHGFDVHILOHLQIRUPDWLRQIRUDOORUJDQL]DWLRQVWKDWUHFHLYHGDGGLWLRQDOLQIRUPDWLRQ
 UHTXHVWOHWWHUVDQGGHWHUPLQHGWKDW SHUFHQW KDGUHFHLYHGUHTXHVWVIRULQIRUPDWLRQWKDWZDV
 ODWHUGHHPHGXQQHFHVVDU\E\WKH(2IXQFWLRQ2IWKHRUJDQL]DWLRQV
    x   ZHUHLQIRUPHGWKDWWKH\GLGQRWQHHGWRUHVSRQGWRSUHYLRXVUHTXHVWVIRULQIRUPDWLRQ
        DQGLQVWHDGUHFHLYHGDUHYLVHGUHTXHVWIRULQIRUPDWLRQ
    x   HLWKHUUHFHLYHGDOHWWHURUDWHOHSKRQHFDOOVWDWLQJWKDWWKHLUDSSOLFDWLRQZDVDSSURYHG
        DQGWKH\QRORQJHUQHHGHGWRUHVSRQGWRLQIRUPDWLRQUHTXHVWVWKH\KDGUHFHLYHGIURPWKH
        ,56




                                                                                                3DJH

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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 28 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 160 of 228


                                   Inappropriate Criteria Were Used to
                               Identify Tax-Exempt Applications for Review



 )LJXUHVKRZVH[FHUSWVIURPWKHDSSURYDOOHWWHUGHYHORSHGIRURUJDQL]DWLRQVWKDWGLGQRWQHHGWR
 UHVSRQGWRDSUHYLRXVDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHU
  Figure 9: Excerpts From a Template Approval Letter, Which Includes a Statement
            That Previously Requested Information Is No Longer Needed
          'HDU$SSOLFDQW
          :HDUHSOHDVHGWRLQIRUP\RXWKDWXSRQUHYLHZRI\RXUDSSOLFDWLRQIRUWD[
          H[HPSWVWDWXVZHKDYHGHWHUPLQHGWKDW\RXDUHH[HPSWIURP)HGHUDOLQFRPHWD[
          XQGHUVHFWLRQ F   RIWKH,QWHUQDO5HYHQXH&RGH%HFDXVHWKLVOHWWHU
          FRXOGKHOSUHVROYHDQ\TXHVWLRQVUHJDUGLQJ\RXUH[HPSWVWDWXV\RXVKRXOG
          NHHSLWLQ\RXUSHUPDQHQWUHFRUGV



          3OHDVHQRWWKDWZHKDYHMXVWFRPSOHWHGDQRWKHUUHYLHZRI\RXUUHTXHVWWREH
          UHFRJQL]HGDVWD[H[HPSWXQGHUVHFWLRQ F   RIWKH,QWHUQDO5HYHQXH
          &RGHV%DVHGRQWKDWUHYLHZZHFRQFOXGHGWKDWZHGRQRWQHHGWKHDGGLWLRQDO
          PDWHULDOVSUHYLRXVO\UHTXHVWHGEHFDXVH\RXUDSSOLFDWLRQDQGPDWHULDOVSURYLGH
          VXIILFLHQWLQIRUPDWLRQ

        Source: IRS template approval letter.

 Recommendation
 Recommendation 9:7KH'LUHFWRU(2VKRXOGGHYHORSWUDLQLQJRUZRUNVKRSVWREHKHOG
 EHIRUHHDFKHOHFWLRQF\FOHLQFOXGLQJEXWQRWOLPLWHGWRKRZWRZRUGTXHVWLRQVLQDGGLWLRQDO
 LQIRUPDWLRQUHTXHVWOHWWHUVDQGZKDWDGGLWLRQDOLQIRUPDWLRQVKRXOGEHUHTXHVWHG
        Management’s Response: 7KH,56DJUHHGZLWKWKLVUHFRPPHQGDWLRQDQGZLOO
        GHYHORSWUDLQLQJRQWKHWRSLFVGHVFULEHGLQ5HFRPPHQGDWLRQVDQG%HFDXVH
        HOHFWLRQF\FOHVDUHFRQWLQXRXVWKH,56UHSRUWHGWKDWLWZLOOGHYHORSDVFKHGXOHZKLFK
        HQVXUHVWKDWVWDIIKDYHWKHWUDLQLQJDVQHHGHGWRKDQGOHSRWHQWLDOSROLWLFDOLQWHUYHQWLRQ
        PDWWHUV




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 29 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 161 of 228


                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review



                                                                                    $SSHQGL[,

         Detailed Objective, Scope, and Methodology

 7KHRYHUDOOREMHFWLYHZDVWRGHWHUPLQHZKHWKHUDOOHJDWLRQVZHUHIRXQGHGWKDWWKH,56
  WDUJHWHGVSHFLILFJURXSVDSSO\LQJIRUWD[H[HPSWVWDWXV GHOD\HGSURFHVVLQJWDUJHWHG
 JURXSV¶DSSOLFDWLRQVIRUWD[H[HPSWVWDWXVDQG UHTXHVWHGXQQHFHVVDU\LQIRUPDWLRQIURP
 WDUJHWHGJURXSV7RDFFRPSOLVKRXUREMHFWLYHZH
 ,     $VVHVVHGWKHDFWLRQVWDNHQE\WKH(2IXQFWLRQLQUHVSRQVHWRWKHLQFUHDVHLQDSSOLFDWLRQV
        IRUWD[H[HPSWVWDWXVIURPRUJDQL]DWLRQVSRWHQWLDOO\LQYROYHGLQSROLWLFDOFDPSDLJQ
        LQWHUYHQWLRQ
        $ ,QWHUYLHZHG(2IXQFWLRQPDQDJHPHQWWRLGHQWLI\VWHSVWDNHQDQGZKRDXWKRUL]HG
           WKHP:HDOVRGHYHORSHGDWLPHOLQHRIHYHQWV
        % 2EWDLQHGDOLVWRIDSSOLFDWLRQVWKDWZHUHLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRI
           VSHFLDOLVWVDQGGHWHUPLQHGWKHVWDWXVRIWKHLGHQWLILHGFDVHV RSHQDSSURYHGGHQLHG
           etc. WKURXJK0D\:HDOVRUHFHLYHGDQXSGDWHGOLVWRILGHQWLILHGFDVHV
           WKURXJK'HFHPEHUWRGHWHUPLQHWKHVWDWXVRIHDFKLQLWLDOFDVHDVRIWKLVGDWH
        & 'HWHUPLQHGZKHWKHUSURFHGXUHVDQGFRQWUROVLQSODFHVLQFH0D\UHVXOWHGLQ
           LQFRQVLVWHQWWUHDWPHQWRIDSSOLFDWLRQVSRWHQWLDOO\LQYROYLQJSROLWLFDOFDPSDLJQ
           LQWHUYHQWLRQ
 ,,    'HWHUPLQHGZKHWKHUFKDQJHVWRSURFHGXUHVDQGFRQWUROVVLQFH0D\DIIHFWHGWKH
        WLPHOLQHVVRIUHYLHZLQJDSSOLFDWLRQVSRWHQWLDOO\LQYROYLQJSROLWLFDOFDPSDLJQ
        LQWHUYHQWLRQ
        $ ,QWHUYLHZHG(2IXQFWLRQSHUVRQQHOWRGHWHUPLQHZKHWKHUWKHUHZHUHDQ\RXWVLGH
           LQIOXHQFHVWKDWDIIHFWHGWKHWLPHOLQHVVRIUHYLHZLQJSRWHQWLDOSROLWLFDOFDVHV
        % 5HYLHZHGDOO,5& F  SRWHQWLDOSROLWLFDOFDVHVWRGHWHUPLQHZKHWKHUWKH\
           ZHUHSURFHVVHGZLWKLQWKHGD\VWDQGDUGUHTXLUHGE\ODZ
 ,,,   'HWHUPLQHGZKHWKHUWKHDFWLRQVWDNHQE\WKH(2IXQFWLRQWRLGHQWLI\DSSOLFDWLRQVIRU
        WD[H[HPSWVWDWXVRIRUJDQL]DWLRQVSRWHQWLDOO\LQYROYHGLQSROLWLFDOFDPSDLJQLQWHUYHQWLRQ
        ZHUHFRQVLVWHQW
        $ 6HOHFWHGDVWDWLVWLFDOVDPSOHRIRSHQDQGFORVHG,5& F  DSSOLFDWLRQ
           FDVHVIURPDXQLYHUVHRIFDVHVWKDWWKH,56GHWHUPLQHGQHHGHGVLJQLILFDQW
           DGGLWLRQDOLQIRUPDWLRQ IXOOGHYHORSPHQW RQWKH(PSOR\HH3ODQV([HPSW
           2UJDQL]DWLRQV'HWHUPLQDWLRQ6\VWHPIURP0D\WKURXJK0D\WRGHWHUPLQH
           ZKHWKHUWKH\VKRXOGKDYHEHHQLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV
                                                                                           3DJH

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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 30 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 162 of 228


                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



              :HVHOHFWHGRXUVWDWLVWLFDOVDPSOHXVLQJWKHIROORZLQJFULWHULDSHUFHQWFRQILGHQFH
              OHYHOSHUFHQWHUURUUDWHDQGSHUFHQWSUHFLVLRQUDWH:HXVHGDUDQGRPVDPSOH
              WRHQVXUHWKDWHDFKDSSOLFDWLRQFDVHKDGDQHTXDOFKDQFHRIEHLQJVHOHFWHGZKLFK
              HQDEOHGXVWRREWDLQVXIILFLHQWHYLGHQFHWRVXSSRUWRXUUHVXOWV$FRQWUDFWHG
              VWDWLVWLFLDQUHYLHZHGRXUSURMHFWLRQV
               2EWDLQHGWKHXQLYHUVHRIFDVHVIURPWKH(PSOR\HH3ODQV([HPSW
                 2UJDQL]DWLRQV'HWHUPLQDWLRQ6\VWHPDQGSHUIRUPHGYDOLGLW\FKHFNVWRHQVXUHWKDW
                 WKHGDWDZHUHDFFXUDWH:HIRXQGWKHGDWDFRXOGEHUHOLHGRQIRUWKLVUHYLHZ
               2EWDLQHGDVWDWLVWLFDOVDPSOHRIRSHQDQGFORVHGDSSOLFDWLRQFDVHV
               'HWHUPLQHGZKHWKHUDSSOLFDWLRQFDVHVZLWKSRWHQWLDOSROLWLFDOFDPSDLJQ
                 LQWHUYHQWLRQLVVXHVZHUHLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV
               ,QWHUYLHZHG(2IXQFWLRQSHUVRQQHOWRREWDLQWKHLUSHUVSHFWLYHRQDQ\DSSOLFDWLRQ
                 FDVHVZHLGHQWLILHGWKDWVKRXOGKDYHEHHQLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRI
                 VSHFLDOLVWVEXWZHUHQRW
          % 6HOHFWHGDVWDWLVWLFDOVDPSOHRIFORVHG,5& F  DSSOLFDWLRQFDVHVIURPD
             XQLYHUVHRIFDVHVWKDWWKH,56GHWHUPLQHGGLGQRWQHHGVLJQLILFDQWDGGLWLRQDO
             LQIRUPDWLRQ PHULWFDVHV RQWKH(PSOR\HH3ODQV([HPSW2UJDQL]DWLRQV
             'HWHUPLQDWLRQ6\VWHPIURP0D\WKURXJK0D\WRGHWHUPLQHZKHWKHUWKH\
             VKRXOGKDYHEHHQLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV:HVHOHFWHG
             RXUVWDWLVWLFDOVDPSOHXVLQJWKHIROORZLQJFULWHULDSHUFHQWFRQILGHQFHOHYHO
             SHUFHQWHUURUUDWHDQGSHUFHQWSUHFLVLRQUDWH:HXVHGDUDQGRPVDPSOHWR
             HQVXUHWKDWHDFKDSSOLFDWLRQFDVHKDGDQHTXDOFKDQFHRIEHLQJVHOHFWHGZKLFK
             HQDEOHGXVWRREWDLQVXIILFLHQWHYLGHQFHWRVXSSRUWRXUUHVXOWV$FRQWUDFWHG
             VWDWLVWLFLDQUHYLHZHGRXUSURMHFWLRQV
               2EWDLQHGWKHXQLYHUVHRIFDVHVIURPWKH(PSOR\HH3ODQV([HPSW
                 2UJDQL]DWLRQV'HWHUPLQDWLRQ6\VWHPDQGSHUIRUPHGYDOLGLW\FKHFNVWRHQVXUHWKDW
                 WKHGDWDZHUHDFFXUDWH:HIRXQGWKHGDWDFRXOGEHUHOLHGRQIRUWKLVUHYLHZ
               2EWDLQHGDVWDWLVWLFDOVDPSOHRIFORVHGDSSOLFDWLRQFDVHV
               'HWHUPLQHGZKHWKHUDSSOLFDWLRQFDVHVZLWKSRWHQWLDOSROLWLFDOFDPSDLJQ
                 LQWHUYHQWLRQLVVXHVZHUHQRWLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV




 
   $QH[SHFWHGHUURUUDWHRISHUFHQWZDVFKRVHQEHFDXVHZHGHWHUPLQHGWKDWFDVHVQHHGLQJVLJQLILFDQWDGGLWLRQDO
 LQIRUPDWLRQKDGFULWHULDWKDWLQFOXGHGWKHQDPHVRIVSHFLILFJURXSV
 
   $QH[SHFWHGHUURUUDWHRISHUFHQWZDVFKRVHQEHFDXVHSURFHGXUHVUHTXLUHWKDWFDVHVZLWKSROLWLFDOLVVXHV
 JHQHUDOO\QHHGVLJQLILFDQWDGGLWLRQDOLQIRUPDWLRQ
                                                                                                            3DJH

                                                      JA-159                                   ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 31 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 163 of 228


                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review



             ,QWHUYLHZHG(2IXQFWLRQSHUVRQQHOWRREWDLQWKHLUSHUVSHFWLYHRQDQ\DSSOLFDWLRQV
               ZHLGHQWLILHGWKDWVKRXOGKDYHEHHQLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRI
               VSHFLDOLVWVEXWZHUHQRW
        & 2EWDLQHGDQGUHYLHZHGDOODSSOLFDWLRQFDVHVLGHQWLILHGIRUSURFHVVLQJE\WKHWHDP
           RIVSHFLDOLVWVDVRI0D\WRGHWHUPLQHZKHWKHUWKH\ZHUHFRUUHFWO\LGHQWLILHG
             'HWHUPLQHGZKHWKHUDSSOLFDWLRQFDVHVZHUHFRUUHFWO\LGHQWLILHGIRUSURFHVVLQJE\
               WKHWHDPRIVSHFLDOLVWV
             ,QWHUYLHZHG(2IXQFWLRQSHUVRQQHOWRREWDLQWKHLUSHUVSHFWLYHRQDQ\FDVHVZH
               LGHQWLILHGWKDWVKRXOGQRWKDYHEHHQLGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRI
               VSHFLDOLVWV
        ' &RPSXWHGWKHDYHUDJHF\FOHWLPHRISURFHVVLQJSRWHQWLDOSROLWLFDOFDVHVDQG
           FRPSDUHGLWWRWKHDYHUDJHF\FOHWLPHIRUSURFHVVLQJVLPLODUFDVHVWKDWZHUHQRW
           SURFHVVHGE\WKHWHDPRIVSHFLDOLVWV
        ( 'HWHUPLQHGWKHQXPEHURIRUJDQL]DWLRQVWKDWPD\KDYHEHHQDGYHUVHO\DIIHFWHGE\
           LQFRQVLVWHQWWUHDWPHQW
 ,9    'HWHUPLQHGZKHWKHUWKH(2IXQFWLRQFRQVLVWHQWO\KDGDUHDVRQDEOHEDVLVIRUUHTXHVWLQJ
        LQIRUPDWLRQIURPRUJDQL]DWLRQVVHHNLQJWD[H[HPSWVWDWXVWKDWZHUHSRWHQWLDOO\LQYROYHG
        LQSROLWLFDOFDPSDLJQLQWHUYHQWLRQ
        $ 5HYLHZHGDOOSRWHQWLDOSROLWLFDOFDVHVWKDWZHUHLVVXHGDGGLWLRQDOLQIRUPDWLRQ
           UHTXHVWOHWWHUVWRGHWHUPLQHZKHWKHUWKHOHWWHUVLQFOXGHGTXHVWLRQVGHHPHG
           XQQHFHVVDU\E\WKH(2IXQFWLRQ
        % ,QWHUYLHZHG(2IXQFWLRQSHUVRQQHOWRREWDLQWKHLUSHUVSHFWLYHRQDGGLWLRQDO
           LQIRUPDWLRQWKDWZDVUHTXHVWHGWKDWPD\QRWKDYHEHHQQHFHVVDU\WRKHOSPDNHD
           GHWHUPLQDWLRQGHFLVLRQ
        & 'HWHUPLQHGWKHQXPEHURIWD[SD\HUVWKDWPD\KDYHEHHQDGYHUVHO\DIIHFWHG
 Internal controls methodology
 ,QWHUQDOFRQWUROVUHODWHWRPDQDJHPHQW¶VSODQVPHWKRGVDQGSURFHGXUHVXVHGWRPHHWWKHLU
 PLVVLRQJRDOVDQGREMHFWLYHV,QWHUQDOFRQWUROVLQFOXGHWKHSURFHVVHVDQGSURFHGXUHVIRU
 SODQQLQJRUJDQL]LQJGLUHFWLQJDQGFRQWUROOLQJSURJUDPRSHUDWLRQV7KH\LQFOXGHWKHV\VWHPV
 IRUPHDVXULQJUHSRUWLQJDQGPRQLWRULQJSURJUDPSHUIRUPDQFH:HGHWHUPLQHGWKHIROORZLQJ
 LQWHUQDOFRQWUROVZHUHUHOHYDQWWRRXUDXGLWREMHFWLYH(2IXQFWLRQSROLFLHVSURFHGXUHVDQG
 SUDFWLFHVIRULGHQWLI\LQJDQGSURFHVVLQJDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVZLWKLQGLFDWLRQVRI
 SROLWLFDOFDPSDLJQLQWHUYHQWLRQ:HHYDOXDWHGWKHVHFRQWUROVE\LQWHUYLHZLQJSHUVRQQHO
 UHYLHZLQJGRFXPHQWDWLRQUHYLHZLQJVWDWLVWLFDOVDPSOHVRIDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVDQG
 UHYLHZLQJDSSOLFDWLRQVLGHQWLILHGDVLQYROYLQJSRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQ

                                                                                          3DJH

                                             JA-160                            ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 32 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 164 of 228


                               Inappropriate Criteria Were Used to
                           Identify Tax-Exempt Applications for Review



                                                                               $SSHQGL[,,

                  Major Contributors to This Report

 *UHJRU\'.XW]$VVLVWDQW,QVSHFWRU*HQHUDOIRU$XGLW 0DQDJHPHQW6HUYLFHVDQG([HPSW
 2UJDQL]DWLRQV
 5XVVHOO30DUWLQ$FWLQJ$VVLVWDQW,QVSHFWRU*HQHUDOIRU$XGLW 0DQDJHPHQW6HUYLFHVDQG
 ([HPSW2UJDQL]DWLRQV 
 7UR\'3DWHUVRQ'LUHFWRU
 7KRPDV)6HLGHOO$XGLW0DQDJHU
 &KHU\O-0HGLQD/HDG$XGLWRU
 -XOLD0RRUH6HQLRU$XGLWRU
 0LFKDHO$0F*RYHUQ$XGLWRU
 (YDQ$&ORVH$XGLW(YDOXDWRU




                                                                                       3DJH

                                           JA-161                           ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 33 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 165 of 228


                               Inappropriate Criteria Were Used to
                           Identify Tax-Exempt Applications for Review



                                                                             $SSHQGL[,,,

                          Report Distribution List

 $FWLQJ&RPPLVVLRQHU&
 2IILFHRIWKH&RPPLVVLRQHU±$WWQ&KLHIRI6WDII&
 &KLHI&RXQVHO&&
 'HSXW\&RPPLVVLRQHUIRU6HUYLFHVDQG(QIRUFHPHQW6(
 1DWLRQDO7D[SD\HU$GYRFDWH7$
 $FWLQJ'HSXW\&RPPLVVLRQHU7D[([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQ6(7
 'LUHFWRU([HPSW2UJDQL]DWLRQV7D[([HPSWDQG*RYHUQPHQW(QWLWLHV'LYLVLRQ6(7(2
 'LUHFWRU2IILFHRI/HJLVODWLYH$IIDLUV&//$
 'LUHFWRU2IILFHRI3URJUDP(YDOXDWLRQDQG5LVN$QDO\VLV5$62
 2IILFHRI,QWHUQDO&RQWURO26&)2&3,&,&
 $XGLW/LDLVRQ'LUHFWRU&RPPXQLFDWLRQVDQG/LDLVRQ7D[([HPSWDQG*RYHUQPHQW(QWLWLHV
 'LYLVLRQ6(7&/




                                                                                     3DJH

                                          JA-162                           ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 34 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 166 of 228


                                       Inappropriate Criteria Were Used to
                                   Identify Tax-Exempt Applications for Review



                                                                                                   $SSHQGL[,9

                                      Outcome Measures

 7KLVDSSHQGL[SUHVHQWVGHWDLOHGLQIRUPDWLRQRQWKHPHDVXUDEOHLPSDFWWKDWRXUUHFRPPHQGHG
 FRUUHFWLYHDFWLRQVZLOOKDYHRQWD[DGPLQLVWUDWLRQ7KHVHEHQHILWVZLOOEHLQFRUSRUDWHGLQWRRXU
 6HPLDQQXDO5HSRUWWR&RQJUHVV

 Type and Value of Outcome Measure:
 x   5HOLDELOLW\RI,QIRUPDWLRQ±$FWXDOQLQHDSSOLFDWLRQFDVHILOHVWKDWZHUHHLWKHULQFRPSOHWHRU
     FRXOGQRWEHORFDWHGIRUXVWRUHYLHZ VHHSDJH 

 Methodology Used to Measure the Reported Benefit:
 'XULQJRXUUHYLHZRIDSSOLFDWLRQVIRUWD[H[HPSWVWDWXVWKDWZHUHQRWLGHQWLILHGIRUWKHWHDPRI
 VSHFLDOLVWVZHZHUHXQDEOHWRUHYLHZVHYHQFDVHILOHVEHFDXVHWKHFDVHILOHODFNHGFRPSOHWH
 GRFXPHQWDWLRQ VL[FDVHV RUWKHFDVHILOHFRXOGQRWEHORFDWHG RQHFDVH ,QDGGLWLRQGXULQJRXU
 UHYLHZRIDOOLGHQWLILHGSRWHQWLDOSROLWLFDOFDVHVWKURXJK0D\ZHZHUHXQDEOHWR
 DQDO\]HWZRFDVHILOHVEHFDXVHRILQFRPSOHWHGRFXPHQWDWLRQ

 Type and Value of Outcome Measure:
 x   5HOLDELOLW\RI,QIRUPDWLRQ±3RWHQWLDORUJDQL]DWLRQVZKRVHWD[H[HPSWDSSOLFDWLRQVZHUH
     QRWDSSURSULDWHO\LGHQWLILHGDVKDYLQJVLJQLILFDQWSRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQ
      VHHSDJH 

 Methodology Used to Measure the Reported Benefit:
 :HVHOHFWHGDVLPSOHUDQGRPVDPSOHRI,5& F  FDVHVFORVHGIURP0D\
 WKURXJK0D\IURPDXQLYHUVHRIDSSOLFDWLRQVWKDWWKH,56GHWHUPLQHGUHTXLUHG
 PLQLPDORUQRDGGLWLRQDOLQIRUPDWLRQIURPRUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSWVWDWXV'XULQJ
 RXUFDVHUHYLHZVZHGHWHUPLQHGWKDWWZRFDVHVZHUHQRWDSSURSULDWHO\LGHQWLILHGDVKDYLQJ
 VLJQLILFDQWSRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQ:HSURMHFWHGZLWKSHUFHQWFRQILGHQFH
 DQDFWXDOHUURUUDWHRIEHWZHHQSHUFHQWDQGSHUFHQWDQGWKDWEHWZHHQHLJKWDQG
 DSSOLFDWLRQV ZHUHQRWSURSHUO\LGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV


 
   7KHSRLQWHVWLPDWHHUURUUDWHIRUWKHVDPSOHLVSHUFHQW7KHSHUFHQWFRQILGHQFHLQWHUYDOZDVFDOFXODWHG
 XVLQJWKH([DFW%LQRPLDO0HWKRG
 
   7KHSRLQWHVWLPDWHQXPEHURIHUURUDSSOLFDWLRQVLV7KHSHUFHQWFRQILGHQFHLQWHUYDOZDVFDOFXODWHGXVLQJWKH
 ([DFW%LQRPLDO0HWKRG
                                                                                                              3DJH

                                                       JA-163                                    ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 35 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 167 of 228


                                     Inappropriate Criteria Were Used to
                                 Identify Tax-Exempt Applications for Review



 Type and Value of Outcome Measure:
 x   5HOLDELOLW\RI,QIRUPDWLRQ±3RWHQWLDORUJDQL]DWLRQVZKRVHWD[H[HPSWDSSOLFDWLRQVZHUH
     QRWDSSURSULDWHO\LGHQWLILHGDVKDYLQJVLJQLILFDQWSRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQ
      VHHSDJH 

 Methodology Used to Measure the Reported Benefit:
 :HVHOHFWHGDVLPSOHUDQGRPVDPSOHRI,5& F  FDVHVFORVHGIURP0D\
 WKURXJK0D\RURSHQDVRI0D\IURPDXQLYHUVHRIDSSOLFDWLRQVWKDWWKH
 ,56GHWHUPLQHGUHTXLUHGDGGLWLRQDOLQIRUPDWLRQIURPRUJDQL]DWLRQVDSSO\LQJIRUWD[H[HPSW
 VWDWXV'XULQJRXUFDVHUHYLHZVZHGHWHUPLQHGWKDWFDVHVZHUHQRWDSSURSULDWHO\LGHQWLILHG
 DVKDYLQJVLJQLILFDQWSRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQ:HSURMHFWHGZLWKSHUFHQW
 FRQILGHQFHDQDFWXDOHUURUUDWHRIEHWZHHQSHUFHQWDQGSHUFHQWDQGWKDWEHWZHHQ
 DQGDSSOLFDWLRQVZHUHQRWSURSHUO\LGHQWLILHGIRUSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWV

 Type and Value of Outcome Measure:
 x   7D[SD\HU%XUGHQ±3RWHQWLDORUJDQL]DWLRQVWKDWZDLWHGORQJHUWKDQDYHUDJHIRUWKH,56
     WRPDNHDGHFLVLRQUHJDUGLQJWKHLUWD[H[HPSWVWDWXV VHHSDJH 

 Methodology Used to Measure the Reported Benefit:
 :HREWDLQHGGDWDIURPWKH(2IXQFWLRQRQWKHDYHUDJHQXPEHURIGD\VLWWRRNWRGHWHUPLQH
 ZKHWKHUDQDSSOLFDWLRQIRUWD[H[HPSWVWDWXVZDVDSSURYHGRUGHQLHG,Q)LVFDO<HDULW
 WRRNRQDYHUDJHGD\VWRFORVHDFDVHWKDWQHHGHGDGGLWLRQDOLQIRUPDWLRQIURPWKH
 RUJDQL]DWLRQSULRUWRDSSURYLQJRUGHQ\LQJWKHDSSOLFDWLRQ$VRI'HFHPEHUWKHUHZHUH
 SRWHQWLDOSROLWLFDOFDVHVWKDWZHUHRSHQPRUHWKDQFDOHQGDUGD\V

 Type and Value of Outcome Measure:
 x   7D[SD\HU%XUGHQ±3RWHQWLDORUJDQL]DWLRQVWKDWUHFHLYHGDGGLWLRQDOLQIRUPDWLRQUHTXHVW
     OHWWHUVZLWKTXHVWLRQVWKDWZHUHODWHUGHHPHGXQQHFHVVDU\E\WKH(2IXQFWLRQ VHHSDJH 

 Methodology Used to Measure the Reported Benefit:
 :HUHYLHZHGSRWHQWLDOSROLWLFDOFDVHVWKDWKDGUHFHLYHGDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUV
 IURPWKH'HWHUPLQDWLRQV8QLW8VLQJDOLVWRIVHYHQTXHVWLRQVWRSLFVWKDWWKH(2IXQFWLRQ
 FDWHJRUL]HGDVXQQHFHVVDU\ZHLGHQWLILHGSRWHQWLDOSROLWLFDOFDVHVWKDWLQFOXGHGDGGLWLRQDO
 LQIRUPDWLRQUHTXHVWOHWWHUVDVNLQJTXHVWLRQVGHHPHGXQQHFHVVDU\E\WKH(2IXQFWLRQ

 
   :HIRXQGWKDWVHYHQFDVHVIURPWKHVDPSOHRIZHUHQRWUHYLHZDEOHEHFDXVHRILQFRPSOHWHGRFXPHQWDWLRQ
 
   7KHSRLQWHVWLPDWHHUURUUDWHIRUWKHVDPSOHLVSHUFHQWZLWKDSUHFLVLRQRISHUFHQW
 
   7KHSRLQWHVWLPDWHQXPEHURIHUURUDSSOLFDWLRQVLVZLWKDSUHFLVLRQRIDSSOLFDWLRQV
                                                                                                         3DJH

                                                    JA-164                                  ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 36 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 168 of 228


                                  Inappropriate Criteria Were Used to
                              Identify Tax-Exempt Applications for Review



                                                                                      $SSHQGL[9

                    High-Level Organizational Chart
                 of Offices Referenced in This Report

 7KHIROORZLQJLVDKLJKOHYHORUJDQL]DWLRQDOFKDUWRIRIILFHVZHGLVFXVVLQWKLVUHSRUWVWDUWLQJ
 ZLWKWKH'HSXW\&RPPLVVLRQHUIRU6HUYLFHVDQG(QIRUFHPHQWZKRUHSRUWVWRWKH,56
 &RPPLVVLRQHU


                                      'HSXW\&RPPLVVLRQHUIRU
                                      6HUYLFHVDQG(QIRUFHPHQW
                                             :DVKLQJWRQ'&


                                     $FWLQJ&RPPLVVLRQHU7D[
     6HQLRU7HFKQLFDO
                                     ([HPSWDQG*RYHUQPHQW
         $GYLVRU
       :DVKLQJWRQ'&                    (QWLWLHV'LYLVLRQ
                                             :DVKLQJWRQ'&


                                             'LUHFWRU(2                 6HQLRU7HFKQLFDO
                                             :DVKLQJWRQ'&                   $GYLVRU
                                                                             :DVKLQJWRQ'&


                                           'LUHFWRU5XOLQJV
                                           DQG$JUHHPHQWV
                                             :DVKLQJWRQ'&



          0DQDJHU                              3URJUDP                              0DQDJHU
        7HFKQLFDO8QLW                        0DQDJHU                              *XLGDQFH8QLW
        :DVKLQJWRQ'&                      'HWHUPLQDWLRQV                          :DVKLQJWRQ'&
                                                  8QLW
                                              &LQFLQQDWL2+

          7HFKQLFDO                                                                    *XLGDQFH
          6SHFLDOLVWV                       'HWHUPLQDWLRQV                            6SHFLDOLVWV
        :DVKLQJWRQ'&                        6SHFLDOLVWV                          :DVKLQJWRQ'&
                                              &LQFLQQDWL2+



                                                                                               3DJH

                                               JA-165                              ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 37 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 169 of 228


                                 Inappropriate Criteria Were Used to
                             Identify Tax-Exempt Applications for Review



                                                                                   $SSHQGL[9,

                     Timeline of Written Criteria for
                  Identifying Potential Political Cases

 7KHIROORZLQJLOOXVWUDWHVWKHFKDQJHVWRWKHZULWWHQFULWHULDSURYLGHGWR'HWHUPLQDWLRQV8QLW
 HPSOR\HHVIRULGHQWLI\LQJDSSOLFDWLRQVIRUWKHWHDPRIVSHFLDOLVWV

        'DWH                           &ULWHULD'HYHORSHGRU$FWLRQV7DNHQ

   )HEUXDU\                                  
                                                                     
    0DUFK±$SULO      7KH'HWHUPLQDWLRQV8QLWEHJDQVHDUFKLQJIRURWKHUUHTXHVWVIRUWD[
                 H[HPSWLRQLQYROYLQJWKH7HD3DUW\3DWULRWVDQG,5& F  
                     DSSOLFDWLRQVLQYROYLQJSROLWLFDOVRXQGLQJQDPHVe.g.³:HWKH3HRSOH´RU
                     ³7DNH%DFNWKH&RXQWU\´
     -XO\      'HWHUPLQDWLRQV8QLWPDQDJHPHQWUHTXHVWHGLWVVSHFLDOLVWVWREHRQWKH
                     ORRNRXWIRU7HD3DUW\DSSOLFDWLRQV
    $XJXVW     )LUVW%2/2OLVWLQJLVVXHGZLWKFULWHULDOLVWHGDV³«YDULRXVORFDO
                     RUJDQL]DWLRQVLQWKH7HD3DUW\PRYHPHQW«DSSO\LQJIRUH[HPSWLRQXQGHU
                      F  RU F  ´
     -XO\      &ULWHULDFKDQJHGWR³2UJDQL]DWLRQVLQYROYHGZLWKSROLWLFDOOREE\LQJRU
                     DGYRFDF\IRUH[HPSWLRQXQGHU F  RU F  ´EDVHGRQWKH
                     FRQFHUQVWKH'LUHFWRU(2UDLVHGLQ-XQH
    -DQXDU\    &ULWHULDFKDQJHGWR³3ROLWLFDODFWLRQW\SHRUJDQL]DWLRQVLQYROYHGLQ
                     OLPLWLQJH[SDQGLQJJRYHUQPHQWHGXFDWLQJRQWKHFRQVWLWXWLRQDQGELOORI
                     ULJKWVVRFLDOHFRQRPLFUHIRUPPRYHPHQW´EDVHGRQ'HWHUPLQDWLRQV8QLW
                     FRQFHUQVWKDWWKH-XO\FULWHULDZDVWRRJHQHULF
     0D\       &ULWHULDFKDQJHGWR³ F   F   F  DQG F  
                     RUJDQL]DWLRQVZLWKLQGLFDWRUVRIVLJQLILFDQWDPRXQWVRISROLWLFDOFDPSDLJQ
                     LQWHUYHQWLRQ UDLVLQJTXHVWLRQVDVWRH[HPSWSXUSRVHDQGRUH[FHVVSULYDWH
                     EHQHILW ´




                                                                                            3DJH

                                              JA-166                             ([KLELW)3DJH
       Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 38 of 55
 USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 170 of 228


                                          Inappropriate Criteria Were Used to
                                      Identify Tax-Exempt Applications for Review



                                                                                                         $SSHQGL[9,,

                        Comprehensive Timeline of Events

    7KHIROORZLQJFKDUWLOOXVWUDWHVDWLPHOLQHRIHYHQWVIURP)HEUXDU\WKURXJK-XO\
    LQYROYLQJWKHLGHQWLILFDWLRQDQGSURFHVVLQJRISRWHQWLDOSROLWLFDOFDVHV,WVKRZVWKDWWKHUHZDV
    FRQIXVLRQDERXWKRZWRSURFHVVWKHDSSOLFDWLRQVGHOD\VLQWKHSURFHVVLQJRIWKHDSSOLFDWLRQVDQG
    DODFNRIPDQDJHPHQWRYHUVLJKWDQGJXLGDQFH7KHWLPHOLQHZDVGHYHORSHGXVLQJGRFXPHQWDWLRQ
    SURYLGHGE\WKH(2IXQFWLRQDVZHOODVQXPHURXVLQWHUYLHZVZLWK(2IXQFWLRQSHUVRQQHO

     'DWH          (YHQW                                                           $GGLWLRQDO'HWDLOV                6RXUFH

 )HEUXDU\                                                                                                      (0DLO
    
  $URXQG         7KH'HWHUPLQDWLRQV8QLW*URXS0DQDJHUDVNHGD                  'HWHUPLQDWLRQV8QLW               ,QWHUYLHZ
0DUFK     VSHFLDOLVWWRVHDUFKIRURWKHU7HD3DUW\RUVLPLODU            SHUVRQQHOLQGLFDWHGWKDW
                   RUJDQL]DWLRQV¶DSSOLFDWLRQVLQRUGHUWRGHWHUPLQHWKH          WKH\XVHGWKHGHVFULSWLRQ
                   VFRSHRIWKHLVVXH7KHVSHFLDOLVWFRQWLQXHGWRFRPSOHWH      7HD3DUW\DVDVKRUWKDQG
                   VHDUFKHVIRUDGGLWLRQDOFDVHVXQWLOWKHSUHFXUVRUWRWKH       ZD\RIUHIHUULQJWRWKH
                   %2/2OLVWLQJZDVLVVXHGLQ0D\                           JURXSRIFDVHVLQYROYLQJ
                                                                                   SROLWLFDOFDPSDLJQ
                                                                                   LQWHUYHQWLRQUDWKHUWKDQWR
                                                                                   WDUJHWDQ\SDUWLFXODUJURXS
                                                                                   7KHVSHFLDOLVWXVHG7HD
                                                                                   3DUW\3DWULRWVDQGDV
                                                                                   SDUWRIWKHFULWHULDIRUWKHVH
                                                                                   VHDUFKHV
0DUFK±      7HQ7HD3DUW\FDVHVZHUHLGHQWLILHG7KH$FWLQJ               1RWDOORIWKHWHQFDVHVKDG       (0DLO
              0DQDJHU7HFKQLFDO8QLWUHTXHVWHGWZRPRUHFDVHVEH           7HD3DUW\LQWKHLUQDPHV
                   WUDQVIHUUHGWR:DVKLQJWRQ'&
                                                                              
$SULO±   7KHQHZ$FWLQJ0DQDJHU7HFKQLFDO8QLWVXJJHVWHGWKH                                             (0DLO
                   QHHGIRUD6HQVLWLYH&DVH5HSRUWRQWKH7HD3DUW\FDVHV
                   7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUDJUHHG
 $SULO                                                                                                      (0DLO
 $SULO    $'HWHUPLQDWLRQV8QLWVSHFLDOLVWGHYHORSHGDOLVWRI           :KLOHWKHKHDGLQJRIWKH           (0DLO
                   LGHQWLILHG7HD3DUW\FDVHVGXULQJDVHDUFKRI               GRFXPHQWOLVWLQJWKHVH
                   DSSOLFDWLRQV7KUHHKDGDOUHDG\EHHQDSSURYHGDV              FDVHVUHIHUUHGWR7HD
                   WD[H[HPSW                                                    3DUW\FDVHVQRWDOORIWKH
                                                                                   RUJDQL]DWLRQVOLVWHGKDG
                                                                                   7HD3DUW\LQWKHLUQDPHV


                                                                                                                     3DJH

                                                          JA-167                                        ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 39 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 171 of 228


                                           Inappropriate Criteria Were Used to
                                       Identify Tax-Exempt Applications for Review




    'DWH          (YHQW                                                         $GGLWLRQDO'HWDLOV                6RXUFH

$SULO   7KHILUVW6HQVLWLYH&DVH5HSRUWZDVSUHSDUHGE\WKH          6HQVLWLYH&DVH5HSRUWVDUH     'RFXPHQWDWLRQ
                  7HFKQLFDO8QLW                                              VKDUHGZLWKWKH'LUHFWRU
                                                                                5XOLQJVDQG$JUHHPHQWV
                                                                                DQGDFKDUWVXPPDUL]LQJ
                                                                                DOO6HQVLWLYH&DVH5HSRUWV
                                                                                LVSURYLGHGWRWKH'LUHFWRU
                                                                                (2
$SULO±     7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUUHTXHVWHG                                              (0DLO
             7HFKQLFDO8QLWFRQWDFWVIRUWKHVSHFLDOLVWDVVLJQHGWR
                  ZRUNRWKHU7HD3DUW\FDVHV&RQWDFWVZHUHUHFHLYHG
                                                       
                                                   
0D\     7KH'HWHUPLQDWLRQV8QLWVSHFLDOLVWZLOOVHQGDGGLWLRQDO                                        (0DLO
                  LQIRUPDWLRQUHTXHVWOHWWHUVWRWKH7HFKQLFDO8QLWIRU
                  UHYLHZSULRUWRLVVXDQFHDVSDUWRIWKH7HFKQLFDO8QLW¶V
                  DWWHPSWWRSURYLGHDVVLVWDQFHWRWKH'HWHUPLQDWLRQV8QLW
0D\                                                                                                    (0DLO
                                   
0D\     7KH7HFKQLFDO8QLWEHJDQUHYLHZLQJDGGLWLRQDO                                                 ,QWHUYLHZ
                  LQIRUPDWLRQUHTXHVWOHWWHUVSUHSDUHGE\WKH                                                   DQG(0DLO
                  'HWHUPLQDWLRQV8QLW
-XQH     'HWHUPLQDWLRQV8QLWEHJDQWUDLQLQJLWVVSHFLDOLVWVRQ                                       'RFXPHQWDWLRQ
                  HPHUJLQJLVVXHVWRZDWFKIRULQFOXGLQJDQHPHUJLQJ
                  LVVXHUHIHUUHGWRDV7HD3DUW\&DVHV
-XQH                                                                                                   (0DLO
-XQH                                                                                                 (0DLO
  -XO\      'HWHUPLQDWLRQV8QLWPDQDJHPHQWUHTXHVWHGLWV                                                   (0DLO
                  VSHFLDOLVWVWREHRQWKHORRNRXWIRU7HD3DUW\
                  DSSOLFDWLRQV
 -XO\                                                                                                   (0DLO
-XO\    3ULRUWRWKH%2/2OLVWLQJGHYHORSPHQWDQHPDLOZDV                                        ,QWHUYLHZDQG
                  VHQWXSGDWLQJWKHGHVFULSWLRQRIDSSOLFDWLRQVLQYROYLQJ                                      'RFXPHQWDWLRQ
                  SRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQDQGSURYLGLQJD
                  FRRUGLQDWRUFRQWDFWIRUWKHFDVHV7KHGHVFULSWLRQZDV
                  FKDQJHGWRUHDG³7KHVHFDVHVLQYROYHYDULRXVORFDO
                  RUJDQL]DWLRQVLQWKH7HD3DUW\PRYHPHQW>WKDW@DUH
                  DSSO\LQJIRUH[HPSWLRQXQGHU F  RU F  ´




                                                                                                                 3DJH

                                                           JA-168                                   ([KLELW)3DJH
        Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 40 of 55
  USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 172 of 228


                                         Inappropriate Criteria Were Used to
                                     Identify Tax-Exempt Applications for Review




     'DWH         (YHQW                                                         $GGLWLRQDO'HWDLOV                6RXUFH

$XJXVW 7KH%2/2OLVWLQJZDVGHYHORSHGE\WKH'HWHUPLQDWLRQV                                         ,QWHUYLHZDQG
                 8QLWLQRUGHUWRUHSODFHWKHH[LVWLQJSUDFWLFHRIVHQGLQJ                                     'RFXPHQWDWLRQ
                 VHSDUDWHHPDLOVWRDOO'HWHUPLQDWLRQV8QLWHPSOR\HHVDV
                 WRFDVHVWRZDWFKIRUSRWHQWLDOO\DEXVLYHFDVHVFDVHV
                 UHTXLULQJSURFHVVLQJE\WKHWHDPRIVSHFLDOLVWVDQG
                 HPHUJLQJLVVXHV7KHGHVFULSWLRQRIDSSOLFDWLRQV
                 LQYROYLQJSRWHQWLDOSROLWLFDOFDPSDLJQLQWHUYHQWLRQRQ
                 WKH%2/2OLVWLQJZDVWKHVDPHGHVFULSWLRQXVHGLQWKH
                 -XO\HPDLO
  $XJXVW    7KHUHVSRQVLELOLW\IRUDSSOLFDWLRQVLQYROYLQJSRWHQWLDO                                     ,QWHUYLHZDQG
                  SROLWLFDOFDPSDLJQLQWHUYHQWLRQZDVPRYHGWRDGLIIHUHQW                                     'RFXPHQWDWLRQ
                  WHDPRIVSHFLDOLVWVDVSDUWRIDJURXSUHDOLJQPHQWZLWKLQ
                  WKH'HWHUPLQDWLRQV8QLW
  2FWREHU   $SSOLFDWLRQVLQYROYLQJSRWHQWLDOSROLWLFDOFDPSDLJQ          3HUWKH'LUHFWRU5XOLQJV        ,QWHUYLHZV
                  LQWHUYHQWLRQZHUHWUDQVIHUUHGWRDQRWKHU'HWHUPLQDWLRQV      DQG$JUHHPHQWVWKHUHZDV
                  8QLWVSHFLDOLVW7KHVSHFLDOLVWGLGQRWZRUNRQWKHFDVHV   DPLVFRPPXQLFDWLRQDERXW
                  ZKLOHZDLWLQJIRUJXLGDQFHIURPWKH7HFKQLFDO8QLW          QRWZRUNLQJWKHFDVHV
                                                                                ZKLOHZDLWLQJIRUJXLGDQFH
  2FWREHU    7HFKQLFDO8QLWSHUVRQQHOIRUZDUGHGDPHPRUDQGXPWR           7KHOLVWLQFOXGHGFDVHV       (0DLO
             WKHLU$FWLQJ0DQDJHUGHVFULELQJWKHZRUNFRPSOHWHGRQ        RIZKLFKGLGQRWKDYH
                  WKH7HD3DUW\FDVHVE\WKH7HFKQLFDO8QLW,QFOXGHGZDV     7HD3DUW\LQWKHLUQDPHV
                  DOLVWRIWKHFDVHVWKH7HFKQLFDO8QLWKDGDVVLVWHGWKH
                  'HWHUPLQDWLRQV8QLWZLWK
  2FWREHU    'HWHUPLQDWLRQV8QLWSHUVRQQHOUDLVHGFRQFHUQVWRWKH                                           (0DLO
             7HFKQLFDO8QLWZLWKWKHDSSURDFKEHLQJXVHGWRGHYHORS
                  WKH7HD3DUW\FDVHV:K\GRHVWKH7HFKQLFDO8QLWQHHG
                  WRUHYLHZHYHU\DGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHU
                  ZKHQDWHPSODWHOHWWHUFRXOGEHDSSURYHGDQGXVHGRQDOO
                  WKHFDVHV"
 1RYHPEHU    $QHZFRRUGLQDWRUFRQWDFWIRUSRWHQWLDOSROLWLFDOFDVHV                                     ,QWHUYLHZDQG
             ZDVDQQRXQFHG                                                                               'RFXPHQWDWLRQ
1RYHPEHU± $'HWHUPLQDWLRQV8QLW*URXS0DQDJHUUDLVHGFRQFHUQWR                                           (0DLO
            WKH'HWHUPLQDWLRQV8QLW$UHD0DQDJHUWKDWWKH\DUHVWLOO
                 ZDLWLQJIRUDQDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHU
                 WHPSODWHIURPWKH7HFKQLFDO8QLWIRUWKH7HD3DUW\FDVHV
                 7KHFRRUGLQDWRUKDGUHFHLYHGFDOOVIURPWD[SD\HUV
                 FKHFNLQJRQWKHVWDWXVRIWKHLUDSSOLFDWLRQV
 1RYHPEHU    7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUGLVFXVVHG                                              (0DLO
             7HD3DUW\FDVHVZLWKWKH7HFKQLFDO8QLWPDQDJHU
                  5HYLHZRIWKHFDVHVE\WKH7HFKQLFDO8QLWIRXQGWKDWQRW
                  DOORIWKHFDVHVKDGWKHVDPHLVVXHVVRDWHPSODWHOHWWHU
                  KDGQRWEHHQGHYHORSHG


                                                                                                                 3DJH

                                                         JA-169                                     ([KLELW)3DJH
       Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 41 of 55
 USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 173 of 228


                                        Inappropriate Criteria Were Used to
                                    Identify Tax-Exempt Applications for Review




       'DWH       (YHQW                                                        $GGLWLRQDO'HWDLOV              6RXUFH

'HFHPEHU     7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUDVNHGWKH                                           (0DLO
             7HFKQLFDO8QLWPDQDJHUIRUDVWDWXVRQWKH7HD3DUW\
                  FDVHV7KH7HFKQLFDO8QLWPDQDJHUUHVSRQGHGWKDWWKH\
                  ZHUHJRLQJWRGLVFXVVWKHFDVHVZLWKWKH6HQLRU
                  7HFKQLFDO$GYLVRUWRWKH'LUHFWRU(2VKRUWO\
 -DQXDU\     7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUUHTXHVWHGDQ                                        (0DLO
             XSGDWHRQWKH7HD3DUW\FDVHVIURPWKH7HFKQLFDO8QLW
                  $FWLQJ0DQDJHU
 -DQXDU\    $QHZSHUVRQWRRNRYHUWKH7HFKQLFDO8QLW$FWLQJ                                           ,QWHUYLHZ
                  0DQDJHUUROH
 )HEUXDU\     7KH7HFKQLFDO8QLW$FWLQJ0DQDJHUSURYLGHGDQXSGDWH                                        (0DLO
             WRWKH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHURQWKH
                  FDVHVEHLQJZRUNHGE\WKH7HFKQLFDO8QLW/HWWHUVZHUH
                  EHLQJGHYHORSHGDQGZRXOGEHUHYLHZHGVKRUWO\
0DUFK    $'HWHUPLQDWLRQV8QLW*URXS0DQDJHUUHPLQGHGWKH                                            (0DLO
                  'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUWRIROORZXSZLWK
                  WKH7HFKQLFDO8QLWRQWKHVWDWXVRIWKH7HD3DUW\FDVHV
        




0DUFK                                                                                              (0DLO
0DUFK   7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUVWDWHGWKDW        7KLVFRQWUDGLFWVWKH            (0DLO
                  ZKLOHZDLWLQJIRUDVVLVWDQFHIURPWKH7HFKQLFDO8QLWWKH   2FWREHUGHFLVLRQQRW
                  'HWHUPLQDWLRQV8QLWVWLOOQHHGHGWRZRUN7HD3DUW\FDVHV    WRZRUNFDVHVXQWLO
                  WRWKHH[WHQWSRVVLEOH                                     DVVLVWDQFHLVUHFHLYHGIURP
                                                                               WKH7HFKQLFDO8QLWDQG
                                                                               VXSSRUWVWKHVWDWHPHQWRI
                                                                               WKH'LUHFWRU5XOLQJVDQG
                                                                               $JUHHPHQWVWKDWWKHUHZDV
                                                                               DPLVFRPPXQLFDWLRQDERXW
                                                                               QRWZRUNLQJWKHFDVHV
                                                                               ZKLOHDZDLWLQJDVVLVWDQFH
$SULO                                                                                              (0DLO
-XQH±   7KH$FWLQJ'LUHFWRU5XOLQJVDQG$JUHHPHQWVUHTXHVWHG                                      (0DLO
                  FULWHULDXVHGWRLGHQWLI\7HD3DUW\FDVHVIURPWKH
                  'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHU7KH
                  'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUUHTXHVWHGFULWHULD
                  IURPD'HWHUPLQDWLRQV8QLW*URXS0DQDJHU


   
    7KH7D[SD\HU$GYRFDWH6HUYLFHLVDQLQGHSHQGHQWRUJDQL]DWLRQZLWKLQWKH,56WKDWSURYLGHVDVVLVWDQFHWR
   WD[SD\HUVZKRVHWD[SUREOHPVKDYHQRWEHHQUHVROYHGWKURXJKQRUPDO,56FKDQQHOV7D[SD\HU$GYRFDWH6HUYLFH
   HPSOR\HHVPXVWDWWLPHVUHO\RQDVVLVWDQFHIURPHPSOR\HHVDVVLJQHGWRRWKHU,56IXQFWLRQV7RUHTXHVWDVVLVWDQFH
   WKH7D[SD\HU$GYRFDWH6HUYLFHLVVXHVDQ2SHUDWLRQV$VVLVWDQFH5HTXHVW VSHFLI\LQJWKHDFWLRQVQHHGHGWRKHOS
   UHVROYHWKHWD[SD\HU¶VSUREOHP
                                                                                                              3DJH

                                                        JA-170                                    ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 42 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 174 of 228


                                        Inappropriate Criteria Were Used to
                                    Identify Tax-Exempt Applications for Review




    'DWH         (YHQW                                                       $GGLWLRQDO'HWDLOV                6RXUFH

-XQH    $'HWHUPLQDWLRQV8QLW*URXS0DQDJHUSURYLGHGFULWHULD      7KHVHFULWHULDDUHYHU\           (0DLO
                 IRULGHQWLI\LQJSRWHQWLDO7HD3DUW\FDVHVWRWKH           GLIIHUHQWWKDQWKH
                 'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHU,QIRUPDWLRQ          %2/2OLVWLQJFULWHULD
                 ZDVWKHQIRUZDUGHGWRWKH$FWLQJ'LUHFWRU5XOLQJVDQG     DYDLODEOHDWWKHWLPH
                 $JUHHPHQWV
-XQH                                                                                                 (0DLO
                                                        




-XQH    7KH$FWLQJ'LUHFWRU5XOLQJVDQG$JUHHPHQWV                                                 (0DLO
                 FRPPHQWHGWKDWWKHFULWHULDEHLQJXVHGWRLGHQWLI\7HD
                 3DUW\FDVHVPD\KDYHUHVXOWHGLQRYHULQFOXVLRQ
                                            
                   
-XQH    7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUPHQWLRQHG                                            (0DLO
                 WKDWWKH'HWHUPLQDWLRQV8QLWQHHGHGDVVLVWDQFHIURPWKH
                 7HFKQLFDO8QLWWRHQVXUHFRQVLVWHQF\
-XQH   $EULHILQJZDVKHOGZLWKWKH'LUHFWRU(27KHEULHILQJ   7KHEULHILQJSDSHUIRUWKH     'RFXPHQWDWLRQ
                 SDSHUQRWHGWKDWWKH'HWHUPLQDWLRQV8QLWVHQWFDVHVWKDW   'LUHFWRU(2ZDVSUHSDUHG      DQG(0DLO
                 PHWDQ\RIWKHFULWHULDEHORZWRDGHVLJQDWHGWHDPRI      E\7D[/DZ6SHFLDOLVWVLQ
                 VSHFLDOLVWVWREHZRUNHG                                  WKH7HFKQLFDO8QLWDQGWKH
                                                                             *XLGDQFH8QLWDQGZDV
                 x ³7HD3DUW\´³3DWULRWV´RU³3URMHFW´LV            UHYLHZHGE\WKH$FWLQJ
                   UHIHUHQFHGLQWKHFDVHILOH                             0DQDJHU7HFKQLFDO8QLW
                 x ,VVXHVLQFOXGH*RYHUQPHQWVSHQGLQJ*RYHUQPHQW           $*XLGDQFH8QLWVSHFLDOLVW
                   GHEWRUWD[HV                                          ZDVWKHSULPDU\DXWKRURI
                                                                             WKHEULHILQJSDSHU
                 x (GXFDWLRQRIWKHSXEOLFYLDDGYRFDF\OREE\LQJWR
                   ³PDNH$PHULFDDEHWWHUSODFHWROLYH´                   'XULQJWKHEULHILQJWKH
                                                                             'LUHFWRU(2UDLVHG
                 x 6WDWHPHQWVLQWKHFDVHILOHFULWLFL]HKRZWKHFRXQWU\    FRQFHUQVRYHUWKHODQJXDJH
                   LVEHLQJUXQ                                           RIWKH%2/2OLVWLQJ
                 2YHUDSSOLFDWLRQVZHUHLGHQWLILHGE\WKLVWLPH,W    FULWHULD7KH'LUHFWRU(2
                 ZDVGHFLGHGWRGHYHORSDJXLGHVKHHWIRUSURFHVVLQJ        LQVWUXFWHGWKDWWKHFULWHULD
                 WKHVHFDVHV                                               EHLPPHGLDWHO\UHYLVHG

-XO\    $FRQIHUHQFHFDOOZDVKHOGZLWKWKH7HFKQLFDO8QLWWKH                                      (0DLO
                 'LUHFWRU(2DQGWKH'HWHUPLQDWLRQV8QLW3URJUDP
                 0DQDJHU7KH\GHYHORSHGQHZFULWHULDIRULGHQWLI\LQJ
                 FDVHV7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUPDGH
                 FKDQJHVWRWKH%2/2OLVWLQJ7KHFULWHULDZHUHFKDQJHG
                 WR³RUJDQL]DWLRQVLQYROYHGZLWKSROLWLFDOOREE\LQJRU
                 DGYRFDF\IRUH[HPSWLRQXQGHU F  RU F  ´


                                                                                                              3DJH

                                                        JA-171                                   ([KLELW)3DJH
       Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 43 of 55
 USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 175 of 228


                                          Inappropriate Criteria Were Used to
                                      Identify Tax-Exempt Applications for Review




     'DWH          (YHQW                                                         $GGLWLRQDO'HWDLOV         6RXUFH

  -XO\    7KH(2IXQFWLRQ+HDGTXDUWHUVRIILFHZRXOGEHSXWWLQJD                                   (0DLO
                   GRFXPHQWWRJHWKHUZLWKUHFRPPHQGHGDFWLRQVIRU
                   LGHQWLILHGFDVHV
 -XO\    7KH7HFKQLFDO8QLWZDVDVVLJQHGDQHZSHUVRQWR                                         (0DLO
                   FRRUGLQDWHZLWKWKH'HWHUPLQDWLRQV8QLW
 -XO\    :RUNFRPPHQFHGRQWKHJXLGHVKHHWZKHQWKH$FWLQJ                                       (0DLO
                   0DQDJHU7HFKQLFDO8QLWDVNHGWD[ODZVSHFLDOLVWVWR
                   GUDIWDOLVWRIWKLQJVIRU'HWHUPLQDWLRQV8QLWVSHFLDOLVWV
                   WRORRNIRUZKHQZRUNLQJWKHVHFDVHV
$XJXVW    5XOLQJVDQG$JUHHPHQWVRIILFHSHUVRQQHOKHOGDPHHWLQJ                                  (0DLO
                   ZLWK&KLHI&RXQVHOVRWKDWHYHU\RQHZRXOGKDYHWKH
                   ODWHVWLQIRUPDWLRQRQWKHLVVXH
$XJXVW    $*XLGDQFH8QLWVSHFLDOLVWDVNHGLI&RXQVHOZRXOG                                       (0DLO
                   UHYLHZDFKHFNVKHHWSULRUWRLVVXDQFHWRWKH
                   'HWHUPLQDWLRQV8QLW7KH$FWLQJ'LUHFWRU5XOLQJVDQG
                   $JUHHPHQWVUHVSRQGHGWKDW&RXQVHOZRXOGUHYLHZLW
                   SULRUWRLVVXDQFH
$XJXVW                                                                                        'RFXPHQWDWLRQ
                                                
 6HSWHPEHU    7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUVHQWDOLVWRI                                  (0DLO
              DOOLGHQWLILHGFDVHVWRWKH$FWLQJ'LUHFWRU5XOLQJVDQG
                   $JUHHPHQWVVRWKDWWKH7HFKQLFDO8QLWFRXOGFRPSOHWHD
                   OLPLWHG³WULDJH´RIWKHFDVHVXVLQJDYDLODEOHLQIRUPDWLRQ
                   IURPWKHHOHFWURQLFFDVHILOHV$7HFKQLFDO8QLW
                   VSHFLDOLVWUHYLHZHGWKHOLVWWRGHWHUPLQHLIDQ\FDVHV
                   FRXOGEHFORVHGRQPHULWRUFORVHGZLWKDQDGYHUVH
                   GHWHUPLQDWLRQOHWWHU7KLVWULDJHZDVFRQVLGHUHGDWKLUG
                   VFUHHQLQJ
 6HSWHPEHU    7KHGUDIWJXLGHVKHHWZDVVHQWIRUUHYLHZDQGFRPPHQW                                   (0DLO
              WRYDULRXV(2IXQFWLRQ+HDGTXDUWHUVRIILFHHPSOR\HHV
 2FWREHU     $QHZSHUVRQWRRNRYHUDVWKH$FWLQJ'LUHFWRU5XOLQJV                                 ,QWHUYLHZ
                   DQG$JUHHPHQWV
  2FWREHU     $7HFKQLFDO8QLWPDQDJHUIRUZDUGHGLQLWLDOWULDJHUHVXOWV                               (0DLO
              WRWKH'HWHUPLQDWLRQV8QLW
  2FWREHU     %DVHGRQWKHFDWHJRULHVDQGWHUPLQRORJ\XVHGLQWKH                                     (0DLO
              WULDJHUHVXOWVVSUHDGVKHHWWKH'HWHUPLQDWLRQV8QLW
                   3URJUDP0DQDJHUZDVXQFOHDUZKDWWKH'HWHUPLQDWLRQV
                   8QLWVKRXOGGRZLWKWKHWULDJHUHVXOWV±FORVHFDVHV
                   GHYHORSIXUWKHUetc.±DQGUHTXHVWHGWKHVWDWXVRQWKH
                   JXLGDQFHIURPWKH7HFKQLFDO8QLW


                                                                                                           3DJH

                                                           JA-172                                ([KLELW)3DJH
        Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 44 of 55
  USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 176 of 228


                                         Inappropriate Criteria Were Used to
                                     Identify Tax-Exempt Applications for Review




     'DWH         (YHQW                                                          $GGLWLRQDO'HWDLOV         6RXUFH

  2FWREHU    $7HFKQLFDO8QLWVSHFLDOLVWSURYLGHGIXUWKHUH[SODQDWLRQ                                 (0DLO
             RIWKHWULDJHUHVXOWVLQDQHPDLOWRWKH'HWHUPLQDWLRQV
                  8QLW3URJUDP0DQDJHU
  2FWREHU    7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUFRQWDFWHG                                        (0DLO
             WKH$FWLQJ0DQDJHU7HFKQLFDO8QLWDVNLQJDGGLWLRQDO
                  TXHVWLRQVUHJDUGLQJWKHWULDJHUHVXOWVDQGUHTXHVWLQJD
                  VWDWXVXSGDWHRQWKH7HFKQLFDO8QLWJXLGDQFH
                                        
                                                                          
  1RYHPEHU    $QXSGDWHGGUDIWYHUVLRQRIWKHJXLGHVKHHWZDVVHQWWR                                  (0DLO
             (2IXQFWLRQHPSOR\HHVIRUFRPPHQW
  1RYHPEHU    7KH$FWLQJ0DQDJHU7HFKQLFDO8QLWKDGD7HFKQLFDO                                      (0DLO
             8QLWVSHFLDOLVWSURYLGHPRUHGHWDLOVRQWKHWULDJHUHVXOWV
                  DQGLQIRUPHGWKH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHU
                  WKDWWKHJXLGDQFHZDVEHLQJUHYLHZHGSULRUWRLVVXDQFH
  1RYHPEHU    7KH$FWLQJ'LUHFWRU5XOLQJVDQG$JUHHPHQWVLQIRUPHG                                   ,QWHUYLHZ
             WKH$FWLQJ0DQDJHU7HFKQLFDO8QLWDQGWKH                                             DQG(0DLO
                  'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUWKDWEDVHGRQ
                  IHHGEDFNUHFHLYHGWKHJXLGDQFHGHYHORSHGZRXOGQRW
                  ZRUNLQLWVSUHVHQWIRUP±LWZDV³WRRODZ\HUO\´WREH
                  XVHIXODQGQHHGHGWKH'HWHUPLQDWLRQV8QLWLQSXW
 1RYHPEHU    7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUIRUZDUGHG                                        (0DLO
             WKH7HFKQLFDO8QLWVSHFLDOLVW¶VWULDJHUHVXOWVWRWKH6HQLRU
                  7HFKQLFDO$GYLVRUWRWKH'LUHFWRU(2SHUWKH'LUHFWRU¶V
                  UHTXHVW
 1RYHPEHU    7KH$FWLQJ0DQDJHU7HFKQLFDO8QLWIRUZDUGHGWKH                                        (0DLO
             FODULILHGWULDJHUHVXOWVWRWKH'HWHUPLQDWLRQV8QLW
                  3URJUDP0DQDJHU
1RYHPEHU± $QHZ'HWHUPLQDWLRQV8QLWFRRUGLQDWRUZDVDVVLJQHG                                       ,QWHUYLHZ
            RYHUVLJKWRIWKHFDVHVE\D'HWHUPLQDWLRQV8QLW*URXS                                    DQG(0DLO
                 0DQDJHU7KHGUDIW7HFKQLFDO8QLWJXLGDQFHZDV
                 SURYLGHGWRWKH*URXS0DQDJHU7KHFRRUGLQDWRUEHJDQ
                 ZRUNLQJFDVHVDIWHUUHFHLYLQJWKHJXLGDQFHLQ
                 DQWLFLSDWLRQRIDWHDPEHLQJDVVHPEOHGWRZRUNWKH
                 FDVHV
1RYHPEHU    7KH'HWHUPLQDWLRQV8QLWVSHFLDOLVWDVVLJQHGWKHFDVHV                                   ,QWHUYLHZ
                  EHJDQZRUNLQJWKHPDIWHUUHFHLYLQJWKHGUDIW7HFKQLFDO
                  8QLWJXLGDQFH




                                                                                                           3DJH

                                                          JA-173                                 ([KLELW)3DJH
      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 45 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 177 of 228


                                        Inappropriate Criteria Were Used to
                                    Identify Tax-Exempt Applications for Review




    'DWH         (YHQW                                                           $GGLWLRQDO'HWDLOV         6RXUFH

'HFHPEHU±   $WHDPRI'HWHUPLQDWLRQV8QLWVSHFLDOLVWVZDVFUHDWHGWR                                  (0DLO
            UHYLHZDOOWKHLGHQWLILHGFDVHV$QHPSOR\HHIURP
                 4XDOLW\$VVXUDQFHZDVDOVRSDUWRIWKHWHDP7KH
                 7HFKQLFDO8QLWSURYLGHGFRQWDFWVIRUWKHP
'HFHPEHU    7KHILUVWPHHWLQJZDVKHOGE\WKHWHDPRIVSHFLDOLVWV                                   ,QWHUYLHZ
                                                                                                      DQG(0DLO
-DQXDU\    7KHILUVWEDWFKRIOHWWHUVUHTXHVWLQJDGGLWLRQDO                                         ,QWHUYLHZ
                 LQIRUPDWLRQIRUDSSOLFDWLRQVFRQWDLQLQJLQFRPSOHWHRU                                    DQG(0DLO
                 PLVVLQJLQIRUPDWLRQZDVLVVXHGE\'HWHUPLQDWLRQV8QLW
                 VSHFLDOLVWVEDVHGLQSDUWRQWKHLUUHDGLQJRIWKHGUDIW
                 JXLGDQFHLVVXHGE\WKH7HFKQLFDO8QLW
-DQXDU\    $'HWHUPLQDWLRQV8QLWVSHFLDOLVWZDVWDVNHGZLWK                                         ,QWHUYLHZV
                 SHUIRUPLQJDVHFRQGDU\VFUHHQLQJRILGHQWLILHGSRWHQWLDO
                 SROLWLFDOFDVHVWRHQVXUHWKDWWKH\LQYROYHGSROLWLFDO
                 DFWLYLWLHVDQGQRWMXVWJHQHUDORUOREE\LQJDGYRFDF\
 -DQXDU\    7KH%2/2OLVWLQJFULWHULDZHUHDJDLQXSGDWHG7KH                                     ,QWHUYLHZDQG
            FULWHULDZDVUHYLVHGDV³SROLWLFDODFWLRQW\SH                                          'RFXPHQWDWLRQ
                 RUJDQL]DWLRQVLQYROYHGLQOLPLWLQJH[SDQGLQJ
                 *RYHUQPHQWHGXFDWLQJRQWKH&RQVWLWXWLRQDQG%LOORI
                 5LJKWVVRFLDOHFRQRPLFUHIRUPPRYHPHQW´7KH
                 FRRUGLQDWRUFRQWDFWZDVFKDQJHGDVZHOO
 )HEUXDU\   $PHPEHURIWKHWHDPRIVSHFLDOLVWVDVNHGZKHQWRVWDUW                                     (0DLO
            LVVXLQJDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUVWR
                 DSSOLFDQWVDJDLQ
 )HEUXDU\   7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUTXHVWLRQHG                                          (0DLO
            ZK\WKHWHDPRIVSHFLDOLVWVZDVQRWLVVXLQJDGGLWLRQDO
                 LQIRUPDWLRQUHTXHVWOHWWHUV7KH'HWHUPLQDWLRQV8QLW
                 *URXS0DQDJHUIRUWKHWHDPRIVSHFLDOLVWVKDGWROGWKH
                 WHDPFRRUGLQDWRUWRVWRSGHYHORSLQJWHPSODWHTXHVWLRQV
                 QRWWRVWRSLVVXLQJDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUV
                 7KHPLVFRPPXQLFDWLRQZDVFRUUHFWHGRQ
                 )HEUXDU\
 )HEUXDU\   7KH'LUHFWRU(2UHTXHVWHGWKDWWKH$FWLQJ'LUHFWRU                                       (0DLO
            5XOLQJVDQG$JUHHPHQWVGHYHORSDOHWWHUWRFOHDUO\
                 LQIRUPDSSOLFDQWVZKDWZDVJRLQJWRKDSSHQLIWKH\GLG
                 QRWUHVSRQGWRWKHDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUV
                 DQGJLYLQJWKHPPRUHWLPHIRUWKHLUUHVSRQVHV




                                                                                                           3DJH

                                                         JA-174                                  ([KLELW)3DJH
       Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 46 of 55
 USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 178 of 228


                                         Inappropriate Criteria Were Used to
                                     Identify Tax-Exempt Applications for Review




     'DWH         (YHQW                                                        $GGLWLRQDO'HWDLOV             6RXUFH

 )HEUXDU\    7KH'LUHFWRU(2VWRSSHGDQ\PRUHDGGLWLRQDO                                                (0DLO
             LQIRUPDWLRQUHTXHVWOHWWHUVIURPEHLQJLVVXHGRQ
                  DGYRFDF\FDVHVXQWLOQHZJXLGDQFHZDVSURYLGHGWRWKH
                  'HWHUPLQDWLRQV8QLW,QDGGLWLRQWKH$FWLQJ'LUHFWRU
                  5XOLQJVDQG$JUHHPHQWVGLVFXVVHGZLWKWKH
                  'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUDERXWKDYLQJ
                  VSHFLDOLVWVSULQWRXWZHEVLWHLQIRUPDWLRQDQGDVNLQJWKH
                  RUJDQL]DWLRQVWRYHULI\WKHLQIRUPDWLRQLQVWHDGRIDVNLQJ
                  IRUDSSOLFDQWVWRSULQWRXWWKHZHEVLWHLQIRUPDWLRQ
)HEUXDU\±0DUFK 1XPHURXVQHZVDUWLFOHVEHJDQWREHSXEOLVKHGZLWK                                         'RFXPHQWDWLRQ
           FRPSODLQWVIURP7HD3DUW\RUJDQL]DWLRQVDERXWWKH,56¶V
                XQIDLUWUHDWPHQW&RQJUHVVDOVREHJDQWRVKRZLQWHUHVW
                LQWKH,56¶VWUHDWPHQWRI7HD3DUW\RUJDQL]DWLRQV
  0DUFK     $QHZSHUVRQEHFDPH$FWLQJ*URXS0DQDJHURIWKH                                           ,QWHUYLHZ
                  WHDPRIVSHFLDOLVWV
 0DUFK   $GUDIWOLVWRIWHPSODWHTXHVWLRQVZDVSUHSDUHGE\WKH      4XHVWLRQVLQFOXGHGDVNLQJ      (0DLO
                  WHDPRIVSHFLDOLVWVDQGIRUZDUGHGWRWKH*XLGDQFH8QLW     IRUGRQRULQIRUPDWLRQ
 0DUFK   7KH$FWLQJ0DQDJHU7HFKQLFDO8QLWHVWDEOLVKHG                                            (0DLO
                  SURFHGXUHVIRUUHYLHZLQJWKHILUVWIDYRUDEOH
                  GHWHUPLQDWLRQOHWWHUGUDIWHGE\WKH'HWHUPLQDWLRQV8QLW
 0DUFK                                                                                              (0DLO
                                               
 0DUFK   7KH'HSXW\&RPPLVVLRQHUIRU6HUYLFHVDQG                                                   (0DLO
                  (QIRUFHPHQWUHTXHVWHGWKDWLIDWD[SD\HUFDOOHGDERXW
                  KDYLQJWRSURYLGHGRQRULQIRUPDWLRQWKH'HWHUPLQDWLRQV
                  8QLWZRXOGDOORZWKHPWRQRWVHQGWKHGRQRUQDPHVEXW
                  ZRXOGLQIRUPWKHPWKDWWKH,56PD\QHHGLWODWHU
 0DUFK   7KH$FWLQJ'LUHFWRU5XOLQJVDQG$JUHHPHQWVVHQWWR                                       (0DLO
                  WKH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUIRUFRPPHQW
                  DGUDIWOHWWHURQJLYLQJDSSOLFDQWVDGGLWLRQDOWLPHWR
                  UHVSRQGWRWKHDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHUV
                  7KH'HWHUPLQDWLRQV8QLW3URJUDP0DQDJHUUDLVHGD
                  FRQFHUQRIJLYLQJRUJDQL]DWLRQVWKDWZHUHQRWFRPSOLDQW
                  ZLWKVWDQGDUGUHVSRQVHWLPHOLQHVVSHFLDOWUHDWPHQW
0DUFK   7KH'HWHUPLQDWLRQV8QLWUHFHLYHGJXLGDQFHRQKRZWR                                       ,QWHUYLHZ
                  KDQGOHGLIIHUHQWVFHQDULRVEDVHGXSRQWKHVWDWXVRIWKHLU                                 DQG(0DLO
                  FDVHV7KRVH,5& F  RUJDQL]DWLRQVWKDWKDG
                  QRWUHVSRQGHGWRDQDGGLWLRQDOLQIRUPDWLRQUHTXHVWOHWWHU
                  ZHUHLVVXHGDQRWKHUOHWWHUJLYLQJWKHPDQDGGLWLRQDO
                  GD\VWRUHVSRQG7KRVHOHWWHUVZHUHWREHLVVXHGE\
                  0DUFK7KLVDGGLWLRQDOWLPHOHWWHUZDVD
                  RQHWLPHRFFXUUHQFH

                                                                                                             3DJH

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       Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 47 of 55
 USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 179 of 228


                                         Inappropriate Criteria Were Used to
                                     Identify Tax-Exempt Applications for Review




     'DWH         (YHQW                                                         $GGLWLRQDO'HWDLOV             6RXUFH

0DUFK 7KH6HQLRU7HFKQLFDO$GYLVRUWRWKH$FWLQJ                                                  ,QWHUYLHZ
DQG0DUFK &RPPLVVLRQHU7D[([HPSWDQG*RYHUQPHQW(QWLWLHV
            'LYLVLRQDQGWKH'HSXW\&RPPLVVLRQHUIRU6HUYLFHVDQG
                 (QIRUFHPHQWGLVFXVVHGFRQFHUQVZLWKWKHPHGLD
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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 48 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 180 of 228


                                      Inappropriate Criteria Were Used to
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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 49 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 181 of 228


                                        Inappropriate Criteria Were Used to
                                    Identify Tax-Exempt Applications for Review




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 50 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 182 of 228


                           Inappropriate Criteria Were Used to
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        Management’s Response to the Draft Report




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 51 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 183 of 228


                                 Inappropriate Criteria Were Used to
                             Identify Tax-Exempt Applications for Review




              organization is described in section 501(c)(4). To be recognized as exempt under
              section 501(c)(4), an organization must be engaged primarily in the promotion of
              social welfare. This requires a review of all activities a classification of activities into
                                                                      .



              those that promote social welfare and those that do not, and a balancing of both
              classes of activities. Note that the promotion of social welfare does not include
              political cam paig n Intervention. And in cases where there is the potential of political
              campaign intervention, the application process becomes even more difficult. EO
              must first determine whether any activities described in the application constitute
              political campaign intervention and must also determine whether the applicant is
              primarily engaged in social welfare activity in light of any political campaign
              intervention and any other non-exempt activity. There are no bright line tests for
              what constitutes political campaign intervention (in particular. the line between such
              activity and education) or whether an organization is primarily engaged in social
              welfare activities.

              The second reason that centralization was warranted in this case is that the
              applications EO began to receive In 2010 were in many cases vague as to the
              activities the applicants planned to co nduct. Many applications included what
              appeared to be incomplete or inconsistent information. For example, a num ber of
              applications indicated that the organization did not plan to conduct political campaign
              activity, but elsewhere described activities that appeared in fact to be such activity.
              It was also clear that many organizations did not understand what activities would
              constitute political campaign intervention under the tax law. For these reasons, it
              was necessary in many cases for us to gather additional information. And we
              believe it was Important that we be consistent in how we developed these cases.

              While centralization was warranted, the manner in which we initially designated
              cases for centralization was inappropriate. We should centralize like cases by a
              review of the facts contained in the application and not just by name. While it is
              necessary to consider a variety of information in the screening process (including
              flags for current emerging issues) we recognize that selection based on organization
              name was not appropriate for these cases As the report discusses, we have a new
                                                              .



              approval process by which we designate a class of cases for centralization.
              Decisions with respect to the centralized collection of cases must be made at a
              much higher level of the organization. We believe this will prevent a recurrence of
              what happened in this case    .




              The report also describes mistakes that were made in the process by which these
              applications were worked. The IRS recognizes that there were delays and, in some
              instances, information requests that were overbroad. As the report notes, we took
              steps to modify the original approach. First, we reviewed all cases to determine the
              appropriate scope of review for each case. We also established a process by which
              each assigned revenue agent works in coordination with a specific technical expert.
              With respect to information requests, in some cases the Internal Revenue Manual
              prescribed deadlines for applicants to respond were too short, and we requested
              donor names unnecessarily. In these instances, we informed organizations that they
              had more time and that we would work with them if they could provide the



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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 52 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 184 of 228


                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review




              information we requested in an alternative manner. In cases in which the donor
              names were not used in making the determination, the donor information was
              expunged from the file.

              It is important to understand that centralization of these cases did not dictate how
              the case ultimately was or will be resolved. As the report illustrates EO's selection
                                                                                   ,



              of an organization for further development does not mean that EO will deny the
              application, but means that EO needs to resolve questions arising from the
              application before we can grant tax-exemption. Moreover, the majority of cases
              selected for full development were not selected based on the organizations' names.
              Finally, all cases, whether selected by name or not, were worked in the same
              fashion.


              The results to date support our approach. Of the nearly 300 section 501(c)(4)
              advocacy cases, to date we have approved more than 120 (nearly 30 have
              withdrawn their requests). Note that the report appears to view approvals as
              evidence that EO should not have looked closely at those applications. That is not
              the case. Many of these organizations did not supply enough information in their
              initial applications to merit approval so that further development was necessary. In
              many cases, this further development and back-and-forth discussion with the
              taxpayer allowed EO to conclude that the legal requirements were satisfied and
              allowed the applicant to better understand its responsibilities and the law.

              EO is dedicated to reviewing applications for tax-exempt status in an impartial
              manner. Centralization of like cases furthers quality and consistency. The mistakes
              outlined in the report resulted from the lack of a set process for working the increase
              in advocacy cases and insufficient sensitivity to the implications of some of the
              decisions made. We believe the front line career employees that made the decisions
              acted out of a desire for efficiency and not out of any political or partisan viewpoint
              And as the report discusses, these issues have been resolved.

              Our response to your recommendations is found in the attachment If you have
              any questions about this response, please contact Lois G. Lerner, Director,
              Exempt Organizations, at 202-283-8848.




              Attachment




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 53 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 185 of 228


                                 Inappropriate Criteria Were Used to
                             Identify Tax-Exempt Applications for Review




              Attac hment

              Recommendation 1 : Ensure that the memorandum requiring the Director,
              Rulings and Agreements, to approve all original entries and changes to criteria
              included on the BOLO listing prior to Implementation be formalized in the
              appropriate Internal Revenue Manual.


              Corrective Action: We will ensure that the procedures set forth in the
              memorandum requiring the Director, Rulings and Agreements, to approve in
              advance all original entries and changes to the BOLO are made part of the
              Internal Revenue Manual   .




              Implementation Date: September 30, 2013

              Responsible Official: Director, Exempt Organizations



              Recommendation 2: Develop procedures to better document the reason(s)
              applications are chosen for review by the team of specialists (e.g., evidence of
              specific political campaign intervention in the application file or specific reasons
              the EO function may have for choosing to review the application further based on
              past experience).

              Corrective Action: We will review our screening procedures to determine
              whether. and to what extent, additional documentation can be implemented
              without having an adverse impact on the timeliness of our case processing.

              Implementation Date: September 30, 2013

              Responsible Official: Director. Exempt Organizations



              (Note: We consolidate here the text of Recommendations 3, 5, 6 and 9, and we
              provide a single, consolidated response to these recommendations followi
                                                                                     ng the
              text of Recommendation 9, below.)

              Recommendation 3: Develop training or workshops to be held before each
              election cycle including, but not limited to, the proper ways to identify applications
              that require review of political campaign intervention activities
                                                                              .




              Recommendation 5: Develop guidance for specialists on how to process
              requests for tax-exempt status involving potentially significant political campaign
              intervention. This guidance should also be posted to the Internet to provide
              transparency to organizations on the application process.




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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 54 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 186 of 228


                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review




              Recommendation 6: Develop training or workshops to be held before each
              election cycle including, but not limited to: a) what constitutes political campaign
              intervention versus general advocacy (including case examples) and b) the ability
              to refer for follow-up those organizations that may conduct activities in a future
              year which may cause them to lose their tax-exempt status.

              Recommendation 9: The Director, EO, should develop training or workshops to
              be held before each election cycle including, but not limited to, how to word
              questions in additional information request letters and what additional information
              should be requested.

              Corrective Action: We will develop training on the topics described in the
              recommendations 3, 5, 6, and 9. Because election cycles are continuous, we will
              develop a schedule that ensures staff have the training as needed to handle
              potential political intervention matters.

              Implementation Date: January 3 1 , 2014

              Responsible Official: Director, Exempt Organizations



              Recommendation 4: Develop a process for the Determinations Unit to formally
              request assistance from the Technical Unit and the Guidance Unit. The process
              should include actions to initiate, track, and monitor requests for assistance to
              ensure that requests are responded to timely.

              Corrective Action: We will develop a formal process for Determinations to
              request assistance and to monitor such requests.

              Implementation Date: June 30, 2013

              Responsible Official: Director, Exempt Organizations



              Recommendation 7: Provide oversight to ensure that potential political cases,
              some of which have been In process for three years, are approved or denied
              expeditiously.

              Corrective Action: While this is an ongoing project, we are closely overseeing
              the remaining open cases to ensure that we reach determinations as
              expeditiously as possible.

              Implementation Date: April 30, 2013

                ponsible Official: Director, Exempt Organizations
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      Case 1:13-cv-00734-RBW Document 14-6 Filed 07/22/13 Page 55 of 55
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 187 of 228


                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review




              Recommendation 8: Recommend to IRS Chief Counsel and the Department of
              the Treasury that guidance on how to measure the "primary activity" of I.R.C. §
              501 (c)(4) social welfare organizations be Included for consideration in the
              Department of the Treasury Priority Guidance Plan.

              Corrective Action: We will share this recommendation with the IRS Chief
              Counsel and Treasury Office of Tax Policy.

              Implementation Date: May 3, 2013

              Responsible Official: Acting Commissioner. Tax Exempt and Government
              Entities




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       Case 1:13-cv-00734-RBW Document 14-7 Filed 07/22/13 Page 1 of 2
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 188 of 228




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       Case 1:13-cv-00734-RBW Document 14-7 Filed 07/22/13 Page 2 of 2
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015 Page 189 of 228


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                                                          JA-186
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 1 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 190 of 228




                             Exhibit H:

      Letter from Members of Congress to
              Commissioner Werfel




                                   JA-187
              Case 1:13-cv-00734-RBW
DAAA�LL E. ISSA, CALIFORNIA             Document 14-8 Filed 07/22/13 Page 2 of 10
                                   ONE HUNDRED THIRTEENTH CONGRESS                                                    ELIJAH E. CUMMINGS, MARYLAND
        USCA Case #14-5316
      CHAIRMAN               Document   #1587305           Filed: 12/07/2015 Page 191 of 228                            RANKING MINORITY MEMBER




                                            C!Congress of tbe Wniteb �tates
JOHN L. MICA, FLORIDA                                                                                                 CAROLYN B. MALONEY, NEW YORK
MICHAEL A. TURNER, OHIO                                                                                               ELEANOR HOLMES NORTON,
JOHN J. DUNCAN, JR., TENNESSEE                                                                                            DISTRICT OF COLUMBIA
PATRICK T, McHENRY, NORTH CAROLINA                                                                                    JOHN F. TIERNEY, MASSACHUSETTS
JIM JORDAN, OHIO
                                                          J!,Jouse of ll\epresentatibes
                                                                                                                      WM. LACY CLAY, MISSOURI
JASON CHAFFETZ, UTAH                                                                                                  STEPHEN F. LYNCH, MASSACHUSETTS
TIM WALBERG, MICHIGAN                                                                                                 JIM COOPER, TENNESSEE
JAMES LANKFORD, OKLAHOMA                                                                                              GERALD E. CONNOLLY, VIRGINIA
JUSTIN AMASH, MICHIGAN
                                            COMM ITTEE ON OVERSIGHT AND GOVERNMENT REFORM                             JACKIE SPEIER, CALIFORNIA
PAUL A. GOSAR. ARIZONA                                                                                                MATTHEW A. CARTWRIGHT, PENNSYLVANIA

                                                        2 1 57 RAYBURN HOUSE OFFICE BUILDING
PATRICK MEEHAN, PENNSYLVANIA                                                                                          MARK POCAN, WISCONSIN
SCOTT DESJARLAIS, TENNESSEE                                                                                           L. TAMMY DUCKWORTH, ILLINOIS
TREY GOWDY, SOUTH CAROLINA                                                                                            ROBIN L. KELLY, ILLINOIS
BLAKE FARENTHOLD, TEXAS
DOC HASTINGS, WASHINGTON
                                                             WASHINGTON, DC 20515-6143                                DANNY K. DAVIS, ILLINOIS
                                                                                                                      PETER WELCH, VERMONT

                                                                     MAJOOITY (202) 225-0074
CYNTHIA M. LUMMI$, WYOMING                                                                                            TONY CARDENAS, CALIFORNIA


                                                                                                                                                     � EXICO
ROB WOODALL, GEORGIA                                                                                                  STEVEN A. HORSFORD, NEVADA
                                                                     FACSIMIU: (202) 225-3974
THOMAS MASSIE, KENTUCKY                                                                                               MICHELLE LUJAN GRISHAM, NEW
                                                                     MtNorurv   12021 225-0051
DOUG COLLINS, GEORGIA
MARK MEADOWS, NORTH CAROLINA                                         hHp://overslght.house.gov
KEARY L. BENTIVOLIO, MICHIGAN


                                                                    July 1 7, 20 1 3
RON DeSANTIS, FLORIDA




LAWRENCE J. BRADY
      STAFF DIRECTOR




             The Honorable Daniel Werfel
             Principal Deputy Commissioner
             Internal Revenue Service
             1 1 1 1 Constitution A venue NW
             Washington, DC 20224


             Dear Mr. W erfel:


                          The Committee on Oversight and Government Reform and Committee on Ways and
            Means are continuing to investigate the Internal Revenue Service's (IRS) inappropriate treatment
            of certain applicants for tax-exempt status. As a part of this ongoing investigation, the
            Committees have learned that the IRS Chief Counsel's office in Washington, D.C. has been
            closely involved in some of the applications. Its involvement and demands for information about
            political activity during the 20 1 0 election cycle appears to have caused systematic delays in the
            processing of Tea Party applications. To better understand the IRS Chief Counsel 's office role in
            this o:atter, we write to prioritize our outstanding document request as well as to request
            additional documents.


                          During recent interviews of IRS employees, including Carter Hull, a tax law specialist
            and self-described 5 0 1 (c)(4) expert with 48 years of experience at the IRS, the Committees were
            informed that Tea Party applications under his review were, in an unusual tum of events, referred
            to the Chief Counsel 's office for further review at the direction of Lois Lerner, the head of the
            Exempt Organizations division. The IRS Chief Counsel is one oftwo politically appointed
            officials in the agency. 1


                          In April 20 1 0, Mr. Hull was instructed to .scrutinize certain Tea Party applications by one
                                                     2
            of his supervisors in Washington.          According to Mr. Hull, these applications were used as "test"
            cases and assigned to him because ofhis expertise and because IRS leadership in Washington
            was "trying to find out how [the IRS] should approach these organizations, and how [the IRS]
                                  3
            should handle them." In the course of working on these applications, Mr. Hull requested
            additional information from the taxpayers through what is termed a development letter. Once he


            I 26 U. S . C.    § 7803.
           2 Transcribed Interview      of Carter Hull, Internal Revenue Serv.1 in Wash., D.C. at 23 (June 14, 2 0 1 3). [hereinafter
           Hull]
           3 !d.   at 24-29.




                                                                       JA-188
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 3 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 192 of 228
     The Honorable Daniel Werfel
     July 1 7, 20 1 3
     Page 2


     received responses, based on his decades of experience, he determined he had enough facts to
                                                                         4
     make recommendations whether to approve or deny the applications:


                Q:       [B]ased on those responses, were you able to have enough facts to make
                        a determination as to whether they had engaged in a permissible amount
                        of political activity?

                A:      I t was m y opinion that, yes, I did have enough facts.


                Q:      So based on your 48 years of experience and your expertise in
                        5 0 1 (c)(3)s and 5 0 l (c)(4)s you felt that those responses they sent to you
                        had a sufficient amount of facts for you to evaluate whether they
                        engaged in a permissible amount of political activity?


                A:      Correct. 5

              However, Mr. Hull's recommendations were not carried out. Instead, according to
  Michael Seto, the head of Mr. Hull's unit in Washington, Ms. Lerner, gave an atypical
  instruction that the Tea Party applications undergo special scrutiny that included an uncommon
  multi-layer review that involved a top advisor to Lerner as well as the Chief Counsel 's office.
  During an interview, Mr. Seto told the Committees' staff:


                [Ms. Lerner] sent me email saying that when these cases need to go through
                multi-tier review and they will eventually have to go [through her staff] and the
                chief counsel 's office. 6

              Indeed, according to Mr. Hull, sometime in the winter of20 1 0-201 1 , the senior advisor to
  Lois Lerner told him the IRS Chief Counsel 's office would need to review these applications.
 Mr. Hull also indicated this was the first time he sent an application to Ms. Lerner's senior
 advisor. Hull testified about how this was unusual and a break from ordinary procedure:


               Q:       Have you ever sent a case to [the senior advisor to Ms. Lerner] before?

               A;       Not to m y knowledge.


               Q:       This is the only case you remember?


               A:       Uh-huh.


               Q:       Correct?


               A:       This i s the only case I remember sending directly to [the senior advisor




 4   !d. at 33-38.
 5   ld. at 97-98.
 6 Transcribed Interview of Michael Seto, Internal Revenue Serv., in Wash., D.C. at 34 (July I I , 2 0 1 3).




                                                        JA-189
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 4 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 193 of 228
  The Honorable Daniel Werfel
  July 1 7, 20 1 3
  Page 3


                         to Ms. Lerner]. 7

                                                      ***



                  Q:     Did (the senior advisor to Ms. Lerner] indicate to you whether she
                         agreed with your recommendations?


                  A:     She did not say whether she agreed or not. She said it should go to
                         Chief Counsel.


                  Q:     The IRS Chief Counsel?

                                                  8
                  A:     The IRS ChiefCounsel.

               After substantial delay, finally, in August 2 0 1 1 , the Chief Counsel 's office held a meeting
  with Mr. Hull, Ms. Lerner's senior advisor, and other Washington officials to discuss these test
               9
  applications. During the intervening months, these applications l ingered. Moreover, months
  after Mr. Hull presented his recommendations to his superiors, the Chief Counsel ' s office
  instructed Mr. Hull that they needed updated information to evaluate the applications. Since the
  applications were up-to-date months earlier, when Mr. Hull made his recommendations, Mr. Hull
  found this request from the Chief Counsel 's office surprising. The Chief Counsel 's office also
  discussed the possibility of a template letter to develop all the Tea Party applications, including
 those being held in Cincinnati. Mr. Hull explained that all the applications were different and
 that a template was impractical.


                  Q:     D i d [the I R S Chief Counsel 's office] give you any feedback o n these
                         [test] cases?

                  A:     Yes, they did.


                  Q:     What did they say?

                  A:     I needed more information. 1 needed more current information.


                  Q:    What do you mean, more current information?


                  A:    They had it for a while and the information wasn't as current as it should
                                                                    10
                        be. They wanted more current information.

                                                      ***



                  Q:    And what does that mean practically for you?



 7 1lull at 44.
 8 !d.   at 45.
 9!d. at 47-49; IRS 1 3 4 1 .
 10
      ld. at 50-5 1 .




                                                      JA-190
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 5 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 194 of 228
  The Honorable Daniel Werfel
  July 1 7, 20 1 3
  Page 4


                A:    That means that probably I should send out another development letter.


                Q:    A second development letter?


                A:    A second development letter. I think also at that time there was a
                      discussion of having a template made up so that all the cases could be
                      worked in the same manner. And my reviewer and I both said a
                      template makes absolutely no difference because these organizations, all
                      of them are different. A template would not work.


               Q:     You and [your reviewer, an IRS tax law specialist] agreed that a
                      template wouldn't help?


               A:     But [an IRS tax law specialist] said h e would prepare it, along with [an
                      IRS Chief Counsel employee] and whoever else was from Chief
                                            11
                      Counsel. I never saw it.

                                                    ***



               Q:     When you say all of these cases, are you referring to Tea Party cases?


               A:     How the Tea Party cases should be worked. And I assume that would be
                      the ones in Cincinnati too, since we would provide guidance when we
                                                                           12
                      were able to come up with how we were going to act.

                                                   ***



               Q:     Just one follow-up question to that. Did you have any reaction to when
                      they told you they needed current information?

               A:     I sort o f - - I was taken aback.


               Q:     Why were you taken aback?


               A:     Because I hadn't had the case for a while. I couldn't ask if I didn't have
                              13
                      the case.

            It appears the IRS never resolved the test applications. Indeed, Mr. Hull told Committee
 staff:


               Q:     Sir, as you sit here today, do you know the status of those [test] cases?

               A:     Only from hearsay, sir.


 II
    fd. at 50-5 1 .
 12 /d.
        at 5 1 -52.
 11
    ld. at 55-56.




                                                    JA-191
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 6 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 195 of 228
  The Honorabl e Daniel Werfel
  July 1 7, 20 1 3
  Page 5


                  Q:     What d o you know?


                  A:



                  Q:     Still open as far as today?


                  A:     A s far as I know. [ do not know for certain.


                  Q:     So for 3 years since they filed application?

                  A:     Yes, sir.


                  Q:
                                                                      14
                  A:


             Mr. Hull 's supervisor, Ronald Shoemaker, provided insight on the type o f additional
  information sought by the Chief Counsel 's office-namely, infonnation about the applicants'
  political activities leading up to the 20 1 0 election. While Mr. Shoemaker indicated he did not
  think the request for election information was unreasonable, the fact that applications had still
  not been resolved raises important questions about the Chief Counsel 's office interest in the
  applicants' 20 1 0 election activity. In an interview with the Committees' staff, Mr. Shoemaker
  testified:


             A:



             Q:

            A:         Counsel was not very forthcoming o n what their opinion was. But we
                       discussed it to some extent and they indicated that they wanted more
                       development of possible political activity or political intervention right
                       before the election period; that that had not occurred and that that's what
                       was missing.


            Q:         S o they wanted more infonnation about the activities          --
            A:         Of                    right before the election period. In other words,
                                             15
                       immediately before.

                                                      ***




 1 4 ld. at 58.

 1 5 Transcribed Interview of Ronald Shoemaker, Internal Revenue Serv., in Wash., D.C. at I 05 (June 2 1 , 20 1 3 ).




                                                        JA-192
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 7 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 196 of 228
  The Honorable Daniel Werfel
  July 1 7, 20 1 3
  Page 6


              Q:            Sir, as you sit here today, do you know the status of the test cases that
                           were sent up since April 2 0 1 0?


              A:           The [test] cases we're talking about?


              Q:           Correct.


              A:




              Q:           Okay.


              A:


              Q:           Still pending as of today. As far as you know.


             A:            As far is [sic] I know.


              Q:           Over 3 years since the application was filed.


             A:            Absolutely.


             Q:            Is that an atypical time period?

                                                              16
             A:            That's a very long time period.


             The lengthy and unusual review o f the test applications i n Washington created a
 bottleneck and caused the delay of other Tea Party applications in Cincinnati. Indeed, multiple
 IRS employees in Cincinnati have told the Committee they were waiting on guidance from
 Washington on how to move the applications forward. In an interview with the Committees'
 staff, Elizabeth Hofacre, the coordinator of the Tea Party applications in Cincinnati, testified:


             Q:            When you sent these letters out, the letters that Carter Hull approved, and
                           you would get responses from the taxpayers, all of those responses you
                           would then forward on to Carter Hull?


             A:            That is correct.


             Q:            Is that unusual?




 16 Jd. al l 0 8- 1 09 .




                                                         JA-193
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 8 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 197 of 228
  The Honorable Daniel Werfel
  July 1 7, 20 1 3
  Page 7


                  A:         Very unusual. I have never known of an agent to do that in the past or to
                             this time.


                  Q:         Even for other Emerging Issues?


                  A:         I am not aware o f any.


                  Q:         Do you why he wanted those responses?


                  A:       N o . I would have t o speculate.


                  Q:         So these cases are still assigned to you though, right?


                  A:       They were sitting o n m y number and I was essentially a front person,
                           because I had no autonom ' or no authority to act on them without Carter
                                                        .f
                           Hull's influence or input. 1


                  Mr. Hull testified that he could not provide advice to Ms. Hofacre because his hands were
 tied by his superiors in Washington. Therefore, none of these applications were approved or
 denied during the time he worked with Ms. Hofacre on the cases. 18 Hull testified:


                  Q:       Was it your role with the additional material to evaluate the case and
                           determine whether it could be exempt or not?


                  A:       That was what I was supposed t o d o but I couldn't d o that because I had
                           no idea which way we were going. I had to get my own cases done to be
                           able to tell [Cincinnati] which direction the Service was taking and to be
                           able to give guidance that was correct and proper as opposed to guessing.


                  Q:       And you say you have no idea which direction we were going. Who is the
                           "we" in that sentence?


                  A:       The way the Service was going.


                  Q:       The Internal Revenue Service?


              A:           Whether they were going to deny o r exempt these organizations. 1 9


                  Moreover, i n an interview with the Committees' staff, the head of the Cincinnati office,
 Cindy Thomas, testified that she continuously asked senior Washington officials when guidance
 was coming, but it was to no avail. Ms. Thomas told the Committee:



 17 Transcribed Interview of Elizabeth Hofacre, Internal Revenue Serv., in Wash.,   D.C. at 37 (May 3 1 , 20 1 3 ).
 1 8 Hull at      1 08 .
 1 9 H u l l at   104-105.




                                                          JA-194
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 9 of 10
USCA Case #14-5316   Document #1587305     Filed: 12/07/2015  Page 198 of 228
  The Honorable Daniel Werfel
  July 1 7, 20 1 3
  Page 8


           Q:        So the cases that [Cincinnati employee] was working from October 20 1 0
                     through September 201 1 were still in kind of a holding pattern awaiting
                     guidance from Washington? Is that right?


           A:        That's correct.


           Q:        And were there additional applications that were coming in at this time?


           A:        To my knowledge, yes.


           Q:        And those were also still i n a holding pattern?


           A:        That's correct.


           Q:        Pending guidance from Washington?

                                       20
           A:        That's correct.


           To better understand the IRS Chief Counsel 's office involvement with the Tea Party
  applications, we request the following documents that the Committees have already req uested be
  given priority.


      I.   All documents and communications between or among employees of the Internal
           Revenue Service Chief Counsel 's office, employees of the Department of the Treasury
           General Counsel 's office, or employees of the Executive Office of the President between
           February I , 20 I 0, and the present referring or relating to tax-exempt applications.


  In addition, we request the following documents by noon on July 29, 20 1 3 .


      1.   All documents and communications between or among employees of the Internal
           Revenue Service, employees of the Department of the Treasury, or employees of the
           Executive Office of the President between February 1 , 20 1 0, and the present referring or
           relating to the 20 1 0 election.


     2.    All documents and communications between or among employees of the Internal
           Revenue Service, employees of the Department of the Treasury, or employees of the
           Executive Office of the President between February 1 , 20 1 0, and the present referring or
           relating to the 20 1 0 Supreme Court decision, Citizens United v. Federal Election
           Commission.


     3.    All documents and communications between or among employees of the Internal
           Revenue Service, employees of the Department of the Treasury, or outside parties




 20 Transcribed Interview of Lucinda Thomas,   lntemal Revenue Serv., in Wash., D.C. at 1 36- 1 3 8 (June 2 8 , 20 1 3 ).




                                                      JA-195
      Case 1:13-cv-00734-RBW Document 14-8 Filed 07/22/13 Page 10 of 10
USCA Case #14-5316    Document #1587305     Filed: 12/07/2015  Page 199 of 228
  The Honorable Daniel Werfel
  July 1 7, 20 1 3
  Page 9


           between February 1 , 201 0, and the present referring or relating to the tax-exempt status of
           Tea Party groups.


           When producing documents to the Committee on Oversight and Government Reform,
  please deliver production sets to the Majority Staff in Room 2 1 57 of the Rayburn House Office
  Building and the Minority Staff in room 2471 of the Rayburn House Office Building. The
  Committee prefers, if possible, to receive all documents in electronic format. To the extent that
  the production contains tax returns or return information pursuant to IRC §6 1 03(f)( l ), please
  provide the Committee on Ways and Means both redacted and unredacted responses. For
  purposes of delivery to the Committee on Ways and Means, please deliver two sets of redacted
  responses, one for the Majority and the other for the Minority, and one set ofunredacted
  responses to Matt Hittle in 1 1 36 Longworth. As you know, Mr. Hittle has been authorized to
  handle IRC §6 1 03(f)( l ) material for purposes ofthis investigation.


           If you have any questions about this request, please contact David Brewer or Kristin
  Nelson of the Committee on Oversight and Government Reform staff at (202) 225-5074 and
  Mark Epley or Chris Armstrong with the Committee on Ways and Means staff at (202) 225-
  5522. Thank you for your attention to this matter.

                                               Sincerely,




                                                                Dave Camp
 Chairman                                                       Chairman
 Committee on Oversight and Government Reform                   Committee on Ways and Means




       rman
 Subcommittee on Economic Growth,                               Committee on Ways and Means
 Job Creation and Regulatory Affairs                            Subcommittee on Oversight


 cc:    The Honorable Elijah E. Cummings, Ranking Minority Member


        The Honorable Sander M. Levin, Ranking Minority Member


        The Honorable Matthew A. Cartwright, Ranking Minority Member
        Subcommittee on Economic Growth, Job Creation and Regulatory Affairs


       The Honorable John Lewis, Ranking Minority Member
        Subcommittee on Oversight




                                                JA-196
       Case 1:13-cv-00734-RBW Document 102 Filed 10/23/14 Page 1 of 2
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 200 of 228



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 __________________________________________
                                            )
 TRUE THE VOTE, INC.,                       )
                                            )
             Plaintiff,                     )
                                            )
       v.                                   )  Civil Action No. 13-734 (RBW)
                                            )
 INTERNAL REVENUE SERVICE, et al.,          )
                                           )
             Defendants.                    )
 __________________________________________)

                                             ORDER

           For the reasons set forth in the Memorandum Opinion issued contemporaneously with

 this Order, it is hereby

           ORDERED that the Defendants’ Motion to Dismiss Counts I, II, IV[,] and V is

 GRANTED. It is further

           ORDERED that the Individual Management Defendants’ Motion to Dismiss is

 GRANTED. It is further

           ORDERED that the Motion to Dismiss of Cincinnati Defendants Susan Maloney, Ronald

 Bell, Janine L. Estes, and Faye Ng is GRANTED. It is further

           ORDERED that the Plaintiff’s Motion to Stay Agency Action is DENIED AS MOOT.

 It is further

           ORDERED that the plaintiff’s request for an oral hearing is DENIED AS MOOT. It is

 further

           ORDERED that this case is CLOSED.




                                                 1
                                             JA-197
       Case 1:13-cv-00734-RBW Document 102 Filed 10/23/14 Page 2 of 2
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 201 of 228



 SO ORDERED this 23rd day of October, 2014.


                                                REGGIE B. WALTON
                                                United States District Judge




                                          2
                                       JA-198
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 1 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 202 of 228



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 __________________________________________
                                            )
 TRUE THE VOTE, INC.,                       )
                                            )
             Plaintiff,                     )
                                            )
       v.                                   )  Civil Action No. 13-734 (RBW)
                                            )
 INTERNAL REVENUE SERVICE, et al.,          )
                                           )
             Defendants.                    )
 __________________________________________)

                                        MEMORANDUM OPINION

          The plaintiff, True the Vote, Inc., filed this civil action against the Internal Revenue

 Service (“IRS”), the United States of America, and several IRS officials in both their official and

 individual capacities,1 alleging violations of the First Amendment, the Internal Revenue Code,

 26 U.S.C. § 6103 (2012), the Administrative Procedure Act, 5 U.S.C. § 706 (2012), and seeking

 declaratory and injunctive relief, as well as monetary damages. See First Amended Complaint

 (“Am. Compl.”) ¶¶ 13, 139-214. Currently before the Court are the Defendants’ Motion to

 Dismiss Counts I, II, IV[,] and V (“Defs.’ Mot.”) of the Complaint; the Individual Management

 Defendants’ Motion to Dismiss [Count III of the Complaint] (“Mgmt. Mot.”); the Motion to

 Dismiss [Count III of the Complaint] of Cincinnati Defendants Susan Maloney, Ronald Bell,

 Janine L. Estes, and Faye Ng (“Cincinnati Mot.”); and the Plaintiff’s Motion to Stay Agency




 1
   The individual defendants are: David Fish, Steven Grodnitzky, Lois Lerner, Steven Miller, Holly Paz, Michael
 Seto, Douglas Shulman, Cindy Thomas, William Wilkins, Susan Maloney, Ronald Bell, Janine L. Estes, and Faye
 Ng. For purposes of resolving the several motions to dismiss, these individual defendants fall into two categories:
 the Individual Management defendants (Steven Grodnitzky, Lois Lerner, Steven Miller, Holly Paz, Michael Seto,
 Douglas Shulman, Cindy Thomas, and William Wilkins) and the Cincinnati defendants (Susan Maloney, Ronald
 Bell, Janine L. Estes, and Faye Ng).



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                                                      JA-199
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 2 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 203 of 228



 Action (“Pl.’s Mot.”).2 For the following reasons, the Court concludes that it must grant all of

 the defendants’ motions to dismiss and deny the plaintiff’s motion to stay agency action.3

                                               I. BACKGROUND

          The plaintiff asserts that it “is a not-for-profit Texas corporation organized and operated

 exclusively or primarily for a charitable purpose.” Am. Compl. ¶ 2. On July 15, 2010, the

 plaintiff filed an application with the Internal Revenue Service (“IRS”) for tax-exempt status

 pursuant to the Internal Revenue Code, 26 U.S.C. §§ 501(c)(3), 509(a)(1), 170(b)(1)(a)(vi). Id.

 ¶¶ 3-4; see also id. ¶ 53. After “receiv[ing] no further contact from the IRS [d]efendants during

 [the] calendar year 2010,” id. ¶ 54, the plaintiff asked Texas Senator John Cornyn to “inquire[]

 of the IRS as to the status of [the plaintiff]’s application for tax-exempt status,” id. ¶ 55. On

 February 5, 2011, the plaintiff received a “letter sent from the Cincinnati, Ohio IRS office”

 requesting “additional information from [the plaintiff] to complete the IRS’[s] consideration of

 [the plaintiff]’s [a]pplication.” Id. ¶ 56.


 2
   In addition to the submissions already identified, the Court considered the following filings submitted by the
 parties in rendering its decision: (1) True the Vote’s Opposition to the Government’s Motion to Dismiss Counts I, II,
 IV, and V (“Opp’n to Defs.’ Mot.”); (2) the Reply in Support of Motion to Dismiss Counts I, II, IV[,] and V (“Defs.’
 Reply”); (3) the Supplement to [the] Motion to Dismiss Counts I, II, IV[,] and V (“Defs.’ Supplement”); (4) the
 Plaintiff’s Notice of Supplemental Authority [Regarding Counts I, II, IV, and V] (“Pl.’s Supp’l Authority I”); (5)
 the Federal Defendants’ Response to [the] Plaintiff’s Notice of Supplemental Authority [Regarding Counts I, II, IV,
 and V] (“Defs.’ Resp. to Pl.’s Supp’l Authority I”); (6) the Memorandum in Support of [the] Individual
 Management Defendants’ Motion to Dismiss (“Mgmt. Mem.”); (7) the Memorandum of Points and Authorities in
 Support of the Cincinnati Defendants’ Motion to Dismiss (“Cincinnati Mem.”); (8) True the Vote’s Opposition to
 [the] Individual Defendants’ Motion to Dismiss (“Opp’n to Mgmt. and Cincinnati Mots.”); (9) the Reply Brief in
 Support of Individual Management Defendants’ Motion to Dismiss (“Mgmt. Reply”); (10) the Reply in Support of
 the Cincinnati Defendants’ Motion to Dismiss (“Cincinnati Reply”); (11) the Individual Defendants’ Joint Notice of
 Supplemental Authority (“Joint Supp’l Authority”); (12) the Plaintiff’s Notice of Supplemental Authority
 [Regarding Count III] (“Pl.’s Supp’l Authority II”); (13) the Federal Defendants’ Response to [the] Plaintiff[’s]
 Notice of Supplemental Authority [Regarding Count III] (“Defs.’ Resp. to Pl.’s Supp’l Authority II”); (14) the
 Opposition to [the] Plaintiff’s Motion to Stay Agency Action (“Opp’n to Pl.’s Mot.”); (15) the Plaintiff’s Reply to
 [the] Federal Defendants’ Opposition to Motion to Stay Agency Action (“Pl.’s Reply”); (16) the Plaintiff’s Notice of
 Supplemental Authority (“Pl.’s Supp’l Authority III”); and (17) the Individual Defendants’ Joint Response to [the]
 Plaintiff’s Notice of Supplemental Authority (“Mgmt. and Cincinnati Resps. to Pl.’s Supp’l Authority III”).
 3
   The Court’s opinion should not be interpreted as an assessment of the propriety of the alleged conduct by the
 defendants, as resolution of the motions does not require an assessment of the merits of the plaintiff’s claims.


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       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 3 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 204 of 228



 On March 7 and March 8, 2011, that information was “furnished to the IRS.” Id. ¶ 57. Then, on

 October 12, 2011, the plaintiff “contacted the IRS” to follow up on its application for tax-exempt

 status. Id. ¶ 60. The plaintiff was allegedly told that “the Washington, [DC] office had assumed

 primary approval responsibility” for the plaintiff’s application. Id. ¶ 60. On November 8, 2011,

 the plaintiff “submitted to the IRS additional information” about itself, as well as “legal

 precedent . . . that provided the IRS [d]efendants the legal basis” for approving the plaintiff’s

 application. Id. ¶ 61.

         The following year, on February 8, 2012, the plaintiff received another letter “from the

 Cincinnati, Ohio IRS office” stating that “the IRS needed even more information” from the

 plaintiff to complete its consideration of the plaintiff’s tax-exempt application. Id. ¶ 63. That

 additional information was provided to the IRS on March 20, 2012. Id. ¶ 64. After providing

 that information, the plaintiff received a third letter on October 9, 2012, from “the Cincinnati,

 Ohio IRS office,” “request[ing] still more information.” Id. ¶ 66. The plaintiff complied with

 that information request on November 30, 2012. Id. ¶ 67.

         Based on its correspondence with the IRS, the plaintiff alleges that due to its “mission of

 promoting election integrity and its perceived association with ‘Tea Party’ organizations, the IRS

 [d]efendants systematically targeted [the plaintiff’s] application for unwarranted delay and

 heightened review and scrutiny,” thereby subjecting the plaintiff “to numerous unnecessary,

 burdensome, and unlawful requests for information about its operations, activities, leadership,

 volunteers, associations, and affiliations.” Id. ¶ 5. As support for its position, the plaintiff cites a

 May 10, 2013 “meeting of the Exempt Organizations Committee of the Tax Section of the

 American Bar Association,” where one of the individual defendants “admitted . . . that the IRS

 had selected applications for tax-exempt status for further review and scrutiny ‘simply because



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                                                JA-201
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 4 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 205 of 228



 the applications’ ‘used names like Tea Party . . .’” Id. ¶ 77 (citing reference). During that

 meeting, the plaintiff contends that the IRS admitted it “sent some letters out that were far too

 broad, asking questions of these organizations that were[ not] really necessary . . . .” Id. ¶ 78

 (internal quotations and citations omitted). As further support of the plaintiff’s allegation

 concerning the IRS’s selective targeting, the plaintiff cites “a report entitled ‘Inappropriate

 Criteria Were Used to Identify Tax-Exempt Applications for Review’ (the ‘[Report]’)” that was

 issued “[o]n or around May 14, 2013,” by “the Treasury Inspector General for Tax

 Administration.” Id.¶ 80. The plaintiff summarizes the Treasury Inspector General for Tax

 Administration’s conclusion as follows:

        The IRS used inappropriate criteria that identified for review Tea Party and other
        organizations applying for tax-exempt status based upon their names or policy
        positions instead of indications of potential political campaign intervention.
        Ineffective management: 1) allowed inappropriate criteria to be developed and
        stay in place for more than [eighteen] months, 2) resulted in substantial delays in
        processing certain applications, and 3) allowed unnecessary information requests
        to be issued.

 Id. ¶ 81 (quoting the Report); see generally id. ¶¶ 82-118 (describing certain IRS actions).

        Thus, according to the plaintiff, the IRS defendants engaged in an “unlawful scheme”

 whereby the plaintiff was “forced to repeatedly furnish the IRS with information, materials, and

 documents that were not necessary to determine whether [the plaintiff] was entitled to tax-

 exempt status.” Id. ¶ 6. The plaintiff alleges that the “IRS [d]efendants knowingly developed,

 implemented, and applied the IRS [t]argeting [s]cheme in violation of the United States

 Constitution, the Internal Revenue Code governing tax-exempt organizations, procedures

 historically followed by the IRS, and Treasury Regulations.” Id. ¶ 124; see also id. ¶ 135. In

 the eyes of the plaintiff, the “mistreatment and mishandling of [the plaintiff]’s application for

 tax-exempt status and the refusal of the IRS [d]efendants to issue a determination letter



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                                               JA-202
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 5 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 206 of 228



 recognizing [the plaintiff]’s tax-exempt status . . . has caused the organization substantial

 damages and financial hardship,” id. ¶ 134, and “has substantially and materially interfered with

 its ability to engage in free speech, free association, and activities in furtherance of its charitable

 purpose,” id. ¶ 137.

         The plaintiff filed this action on May 21, 2013, ECF No. 1, and amended its complaint on

 July 22, 2013, Am. Compl. at 48. Count one seeks declaratory relief that the plaintiff is entitled

 to enjoy tax-exempt status as a charitable organization described in 26 U.S.C. § 501(c)(3) (2012).

 See Am. Compl. ¶¶ 140-41. Count two also seeks a declaratory judgment that the “IRS

 [t]argeting [s]cheme” violated the plaintiff’s First Amendment rights, and injunctive relief to

 prevent additional violations. See id. ¶¶ 150-52, 158. Count three seeks monetary damages

 against certain defendants in their individual capacities for their alleged participation in the “IRS

 [t]argeting [s]cheme.” See id. ¶¶ 164-65. Count four claims violations of 26 U.S.C. § 6103,

 which relates to unauthorized disclosures and inspections of any tax return or tax return

 information. See id. And count five asserts violations of the Administrative Procedure Act for

 the alleged “IRS [t]argeting [s]cheme.” Id. ¶¶ 189-206.

         After the plaintiff instituted this action, “an internal IRS memorandum released by the

 IRS” found that “applications for tax-exempt status continued to be subjected to the . . . IRS

 [t]argeting [s]cheme until June 20, 2013, when it was allegedly suspended.” Id. ¶ 136 (citing

 Daniel Werfel, Charting a Path Forward at the IRS: Initial Assessment and Plan of Action,

 Appendix (“App.”) C (June 24, 2013), www.irs.gov/PUP/newsroom/Initial%20Assessment%

 20and%20Plan%20of%20Action.pdf (“IRS Action Plan”)). Since the defendants filed their

 pending motions to dismiss, the IRS has “grant[ed] the [p]laintiff’s application for tax-exempt




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                                                JA-203
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 6 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 207 of 228



 status . . . and was in the process of issuing a favorable determination letter.”4 Defs.’

 Supplement at 1. The plaintiff opposes all pending motions to dismiss.

                                         II. STANDARDS OF REVIEW

          A. Rule 12(b)(1) Motion to Dismiss

          Rule 12(b)(1) allows a party to move to dismiss “for lack of subject-matter jurisdiction.”

 Fed. R. Civ. P. 12(b)(1). When a defendant moves to dismiss under Rule 12(b)(1), “the

 plaintiff[] bear[s] the burden of proving by a preponderance of the evidence that the Court has

 subject[-]matter jurisdiction.” Biton v. Palestinian Interim Self-Gov’t Auth., 310 F. Supp. 2d

 172, 176 (D.D.C. 2004); see also Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). A

 court considering a Rule 12(b)(1) motion must “assume the truth of all material factual

 allegations in the complaint and ‘construe the complaint liberally, granting [a] plaintiff the

 benefit of all inferences that can be derived from the facts alleged.’” Am. Nat’l Ins. Co. v. FDIC,

 642 F.3d 1137, 1139 (D.C. Cir. 2011) (quoting Thomas v. Principi, 394 F.3d 970, 972 (D.C. Cir.

 2005)). But a “court must give [a] plaintiff’s factual allegations closer scrutiny when resolving a

 Rule 12(b)(1) motion than would be required for a Rule 12(b)(6) motion for failure to state a

 claim.” Byrum v. Winter, 783 F. Supp. 2d 117, 122 (D.D.C. 2011) (citing Macharia v. United

 States, 334 F.3d 61, 64, 69 (D.C. Cir. 2003)). And “[a]lthough ‘the District Court may in

 appropriate cases dispose of a motion to dismiss for lack of subject[-]matter jurisdiction under

 Fed. R. Civ. P. 12(b)(1) on the complaint standing alone,’ ‘where necessary, the court may

 consider the complaint supplemented by undisputed facts evidenced in the record, or the

 4
    The plaintiff has provided the Court with a “true and correct copy of the [d]etermination [l]etter[, which] is a self-
 authenticating document . . . .” Opp’n to Defs.’ Mot. at 1 n.1; see also id., Exhibit (“Ex.”) A (September 26, 2013
 Determination Letter Granting the Plaintiff’s Application for Tax-Exempt Status (“Determination Letter”)). And in
 light of the parties’ representations, the Court takes judicial notice that the plaintiff’s application for tax-exempt
 status has been approved by the IRS. Fed. R. Evid. 201(b)(2) (“The court may judicially notice a fact that is not
 subject to reasonable dispute because it . . . can be accurately and readily determined from sources whose accuracy
 cannot reasonably be questioned.”).


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                                                        JA-204
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 7 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 208 of 228



 complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.’”

 Coal. for Underground Expansion v. Mineta, 333 F.3d 193, 198 (D.C. Cir. 2003) (quoting

 Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992)). Finally, in determining

 whether it has jurisdiction, the Court “may consider materials outside of the pleadings.” Jerome

 Stevens Pharm., Inc. v. FDA, 402 F.3d 1249, 1253 (D.C. Cir. 2005).

        B. Rule 12(b)(6) Motion to Dismiss

        A Rule 12(b)(6) motion tests whether the complaint “state[s] a claim upon which relief

 can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss [under Rule

 12(b)(6)], a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

 relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

 Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In considering a Rule 12(b)(6) motion, the

 Court affords the plaintiff the “benefit of all inferences that can be derived from the facts

 alleged.” Am. Nat’l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (internal quotations

 and citation omitted). But raising a “sheer possibility that a defendant has acted unlawfully” fails

 to satisfy the facial plausibility requirement. Iqbal, 556 U.S. at 678. Rather, a claim is facially

 plausible “when the plaintiff pleads factual content that allows the [C]ourt to draw [a] reasonable

 inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S.

 at 556). While the Court must “assume [the] veracity” of any “well-pleaded factual allegations”

 in the complaint, conclusory allegations “are not entitled to the assumption of truth.” Id. at 679.

 “In determining whether a complaint states a claim, the [C]ourt may consider the facts alleged in

 the complaint, documents attached thereto or incorporated therein, and matters of which it may

 take judicial notice.” Abhe & Svoboda, Inc. v. Chao, 508 F.3d 1052, 1059 (D.C. Cir. 2007)

 (internal quotations omitted). And among the documents “subject to judicial notice on a motion



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                                               JA-205
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 8 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 209 of 228



 to dismiss” are “public records,” Kaempe v. Myers, 367 F.3d 958, 965 (D.C. Cir. 2004), which

 includes records from other court proceedings, Covad Commc’ns Co. v. Bell Atl. Corp., 407

 F.3d 1220, 1222 (D.C. Cir. 2005).

                                          III. ANALYSIS

        A. Counts One, Two, and Five of the Plaintiff’s Complaint

        The defendants contend that the Court does not have subject-matter jurisdiction over

 counts one, two, and five of the plaintiff’s complaint because the IRS ultimately approved the

 plaintiff’s application for tax-exempt status, and thus counts one, two, and five—all of which

 seek “to correct [the] alleged targeting [of the IRS] and delay during its application process” for

 tax-exempt status—are now moot as there is no longer any case or controversy for the Court to

 resolve. Defs.’ Reply at 1; see also Defs.’ Mot. at 2-4. The plaintiff, on the other hand, insists

 that there are “ongoing, live controversies” because “[t]his case is about declaring the

 illegitimacy of the IRS [t]argeting [s]cheme in all its forms [and] enjoining its ongoing

 implementation.” Opp’n to Defs.’ Mot. at 9 (emphasis in original). And the plaintiff argues that

 without this “additional relief, the IRS can continue to employ its [t]argeting [s]cheme.” Id.

        As the outset, the Court notes that the plaintiff does not contest that count one of its

 complaint is moot. See id. (“Counts [two] and [five] present, actual ongoing, live controversies”

 (emphasis added)). Thus, the Court finds that the plaintiff has conceded the motion to dismiss

 count one for lack of subject-matter jurisdiction. See Lewis v. District of Columbia, No. 10-

 5275, 2011 WL 321711, at *1 (D.C. Cir. Feb. 2, 2011) (per curiam) (“‘It is well understood in

 this Circuit that when a plaintiff files an opposition to a dispositive motion and addresses only

 certain arguments raised by the defendant, a court may treat those arguments that the plaintiff

 failed to address as conceded.’” (quoting Hopkins v. Women’s Div., Gen. Bd. of Global



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                                               JA-206
       Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 9 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 210 of 228



 Ministries, 284 F. Supp. 2d 15, 25 (D.D.C. 2003), aff’d, 98 F. App’x 8 (D.C. Cir. 2004))); Local

 Civ. R. 7(b).

         Unless an actual, ongoing controversy exists in this case, this Court is without power to

 decide it. See Clarke v. United States, 915 F.2d 699, 700-01 (D.C. Cir. 1990). Even where a

 case once posed “a live controversy when filed, the [mootness] doctrine requires” the Court “to

 refrain from deciding it if ‘events have so transpired that the decision will neither presently affect

 the parties’ rights nor have a more-than-speculative chance of affecting them in the future.’” Id.

 (quoting Transwestern Pipeline Co. v. FERC, 897 F.2d 570, 575 (D.C. Cir. 1990)). Here, after

 the plaintiff initiated this case, its application to the IRS for tax-exempt status was approved by

 the IRS. See Opp’n to Defs.’ Mot., Ex. A (Determination Letter) at 1.5 The allegedly

 unconstitutional governmental conduct, which delayed the processing of the plaintiff’s tax-

 exempt application and brought about this litigation, is no longer impacting the plaintiff. See

 NorCal Tea Party Patriots v. IRS, No.1:13-cv-341, 2014 WL 3547369, at *9 n.11 (S.D. Ohio

 July 17, 2014) (“The claim for declaratory and injunctive relief cannot be brought by other

 Plaintiff Groups who have either had their applications for tax-exempt status ruled upon or have

 withdrawn their applications.”). Counts two and five, therefore, are moot.

         Notwithstanding the IRS’s favorable resolution of the plaintiff’s tax-exempt application,

 the plaintiff wants to forge ahead with these counts of its complaint. The plaintiff attempts to

 salvage these counts by invoking the “voluntary cessation” exception to the mootness doctrine.6

 See Opp’n to Defs.’ Mot. at 11-15. As the District of Columbia Circuit has explained:



 5
  This critical fact renders Z St., Inc. v. Koskinen, _ F. Supp. 2d _, 12-cv-0401(KBJ), 2014 WL 2195492 (D.D.C.
 May 27, 2014), inapplicable to the Court’s analysis.
 6
  By invoking an exception to the mootness doctrine, the plaintiff implicitly seems to concede that these claims are
 moot.


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                                                      JA-207
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 10 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 211 of 228



          The rationale supporting the defendant’s voluntary cessation as an exception to
          mootness is that, while the defendant’s unilateral cessation of the challenged
          conduct may grant the plaintiff relief, the defendant is free to return to its old
          ways—thereby subjecting the plaintiff to the same harm but, at the same time,
          avoiding judicial review. Accordingly, a case can be mooted by virtue of the
          defendant’s cessation of its allegedly illegal conduct only if (1) there is no
          reasonable expectation that the conduct will recur and (2) interim relief or events
          have completely and irrevocably eradicated the effects of the alleged violation.

 Qassim v. Bush, 466 F.3d 1073, 1075 (D.C. Cir. 2006) (internal alterations, quotations, and

 citations omitted). “The defendant carries the burden of demonstrating ‘that there is no

 reasonable expectation that the wrong will be repeated,’ and ‘the burden is a heavy one.’” Am.

 Bar Ass’n v. FTC, 636 F.3d 641, 648 (D.C. Cir. 2011) (internal alteration omitted) (quoting

 United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953)). But “‘where the defendant is a

 government actor—and not a private litigant—there is less concern about the recurrence of

 objectionable behavior.’” D.C. Prof’l Taxicab Drivers Ass’n v. District of Columbia, 880 F.

 Supp. 2d 67, 75 (D.D.C. 2012) (quoting Citizens for Responsibility & Ethics in Wash. v. SEC,

 858 F. Supp. 2d 51, 61 (D.D.C. 2012) (citing Circuit cases)).

          The “voluntary cessation” exception does not rescue counts two and five of the plaintiff’s

 complaint from dismissal on the ground of mootness. According to the plaintiff, the IRS

 publicly “suspended” its “targeting scheme” on June 20, 2013.7 Am. Compl. ¶ 136 (emphasis

 added); see also Initiative & Referendum Inst. v. U.S. Postal Serv., 685 F.3d 1066, 1074 (D.C.

 Cir. 2012), cert. denied, _ U.S. _, 133 S. Ct. 1802 (2013) (“It is implausible that the [defendant]

 would have gone through the cumbersome process of amending its regulation . . . only to


 7
   Although the complaint states that the IRS “allegedly suspended” the “targeting scheme,” Am. Compl. ¶ 136, the
 Court takes judicial notice that the IRS has in fact suspended the alleged scheme and taken remedial steps to address
 the alleged conduct, see IRS Action Plan at 7, 14, App. C; IRS Charts a Path Forward [W]ith Immediate Actions,
 http://www.irs.gov/uac/Newsroom/IRS-Charts-a-Path-Forward-with-Immediate-Actions (last visited Oct. 23, 2014)
 (“IRS Path Forward”), as it has publicly stated so on its website, see, e.g., Seifert v. Winter, 555 F. Supp. 2d 3, 11
 n.5 (D.D.C. 2008) (Walton, J.) (citing cases that allow the taking of judicial notice of information published on
 government websites).


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                                                       JA-208
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 11 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 212 of 228



 [unconstitutionally] re-amend the regulation after this case is resolved”); Coal. of Airline Pilots

 Ass’ns v. FAA, 370 F.3d 1184, 1191 (D.C. Cir. 2004) (mooting case where government

 provided “unequivocal assurances” that application of challenged regulation was “effectively

 dead”); Citizens for Responsibility, 858 F. Supp. 2d at 62-63 (finding that a submission by the

 plaintiff reflecting defendant’s abandonment of challenged policy was enough to provide the

 Court with “comfort that the [defendant] [wa]s taking seriously [the] [p]laintiff’s concerns with

 the prior policy and [wa]s undertaking efforts to ensure” its “discontinu[ation]”); Mont. Shooting

 Sports Ass’ns v. Norton, 355 F. Supp. 2d 19, 21 n.1, 23 (D.D.C. 2004) (mooting case where

 government “rescinded” its challenged action), aff’d, No. 04-5434, 2005 WL 2810686 (D.C. Cir.

 June 14, 2005); Jean v. Dep’t of Labor, No. 89-cv-0611-OG, 1990 WL 515163, at *4 (D.D.C.

 Jan. 9, 1990) (rendering case moot by defendants’ actions and assurances of good faith as to

 future behavior). And subsequent to that suspension, the plaintiff’s application for tax-exempt

 status was granted. Opp’n to Defs.’ Mot., Ex. A (Determination Letter) (approving plaintiff’s

 application on September 26, 2013). Now that the plaintiff has received tax-exempt status,

 which has “completely and irrevocably eradicated the effects of the alleged violation[s]” by the

 defendants, Qassim, 466 F.3d at 1075, there is no reasonable expectation that the defendants will

 “return to [their allegedly] old ways,” i.e., utilizing an allegedly unlawful “targeting scheme” on

 certain organizations seeking tax-exempt status during the tax-exempt application process, and

 “subjecting the plaintiff to the same harm” again, id. Therefore, the defendants’ grant of tax-

 exempt status to the plaintiff, and the defendants’ suspension of the alleged IRS targeting scheme

 during the tax-exempt application process, including remedial steps to address the alleged

 conduct, coupled with the reduced “concern about the recurrence of objectionable behavior” by




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                                               JA-209
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 12 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 213 of 228



 government actors, D.C. Prof’l Taxicab Drivers, 880 F. Supp. 2d at 75, convinces the Court that

 the “voluntary cessation” exception is not applicable here.8

             Endeavoring to prolong the life of counts two and five of the complaint, the plaintiff

 hypothetically suggests that the IRS could audit the plaintiff at a later point in time and “be

 singled out [again] for reasons unrelated to the provisions of the Internal Revenue Code.” Opp’n

 to Defs.’ Mot. at 13. But not only is this prospect of future harm speculative, see Munsell v.

 Dep’t of Agric., 509 F.3d 572, 581 (D.C. Cir. 2007) (“[E]ven if [the plaintiff] could establish that

 agency officials violated his First Amendment rights . . . [the plaintiff could not] demonstrate[] a

 real and immediate threat that [the plaintiff] would be subject to the same conduct in the

 future.”); Don’t Tear it Down, Inc., v. Gen. Servs. Admin., 401 F. Supp. 1194 1199 (D.D.C.

 1975) (mooting case where challenged governmental conduct “[s]o far as the Court [wa]s aware .

 . . ha[d] not been duplicated in any other instance,” and “that it will be duplicated must be

 deemed speculative”), it is also a harm that is different than the one identified in the complaint,

 which is entirely focused on an alleged IRS “targeting scheme” during the plaintiff’s tax-exempt

 application process,9 Qassim, 466 F.3d at 1075 (“voluntary cessation . . . exception” applicable

 where plaintiff would be “subject[ed] . . . to the same harm” (emphasis added)). As such, counts

 two and five no longer warrant the Court’s attention and further use of its resources.10 Newdow


 8
      The cases cited by the plaintiff invoking the “voluntary cessation” exception are thus inapposite.
 9
   This rationale applies equally to the plaintiff’s argument in its motion to stay agency action that the IRS may
 potentially disclose the plaintiff’s confidential information at some point in the future pursuant to 26 U.S.C. § 6104.
 See Opp’n to Defs.’ Mot. at 10-11.
 10
    The plaintiff urges the Court to allow it to maintain these counts because “there are indications that the IRS
 [t]argeting [s]cheme has not ceased, that it has spread beyond the application process, and that it is likely to
 continue.” Opp’n to Defs.’ Mot. at 13. This plea is rejected for several reasons. First, this projected harm is
 contrary to what the plaintiff has alleged in its complaint, which is that the IRS targeting scheme is no longer
 ongoing. Am. Compl. ¶ 136 (alleging that IRS targeting scheme was “suspended” on June 20, 2013 (emphasis
 added)). Second, the Court will not allow the plaintiff to amend the already-amended complaint through an
 opposition brief and recast its claims concerning the IRS’s alleged targeting scheme that stalled the approval of its
                                                                                                           (continued . . .)

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                                                          JA-210
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 13 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 214 of 228



 v. Roberts, 603 F.3d 1002, 1008 (D.C. Cir. 2010) (holding that while the constitutionality of

 certain governmental conduct “may be an important question to [the] plaintiffs, . . . it is not a live

 controversy that can avail itself of the judicial powers of the federal courts[, and the question] is

 therefore moot”). Accordingly, counts two and five are dismissed for want of subject-matter

 jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).11

          B. Count Three of the Plaintiff’s Complaint

          The plaintiff seeks “money damages,” also commonly known as a Bivens remedy,12

 against the individual IRS defendants in their individual capacities for their alleged constitutional


 (. . . continued)
 tax-exempt application, e.g., id. ¶ 73 (identifying IRS targeting scheme as limited to a “written and unwritten policy
 for identifying and subjecting certain applicants for tax-exempt status to additional and heightened review and
 scrutiny” (emphasis added)), as a broader challenge to a potentially unlawful ongoing scheme or policy at the IRS in
 carrying out its responsibilities other than reviewing tax-exempt applications. Indeed, “it is a well-established
 principle of law in this Circuit that [the plaintiff] may not amend [its] complaint by making new allegations in [the]
 opposition brief.” Budik v. Ashley, _ F. Supp. 2d _, _, No. 12-cv-1949(RBW), 2014 WL 1423293, at *8 (D.D.C.
 Apr. 14, 2014) (Walton, J.) (citing Larson v. Northrop Corp., 21 F.3d 1164, 1173-74 (D.C. Cir. 1994)). And third,
 even assuming that the defendants continue to implement the IRS targeting scheme against other organizations like
 the plaintiff in its review of their applications for tax-exempt status—which is contradicted by the plaintiff’s
 complaint, Am. Compl. ¶ 136—the plaintiff filed its complaint on the basis of alleged harm to itself during its
 application process for tax-exempt status and not on the behalf of others that may have been similarly situated to the
 plaintiff, i.e., other organizations subjected to the same alleged conduct during their application processes for tax-
 exempt status, see Qassim, 466 F.3d at 1076 (explaining that constitutional challenge to a government policy can
 proceed if seeking “relief for individuals similarly situated”).
 11
    The plaintiff’s reliance on City of Hous. v. Dep’t of Hous. & Urban Dev., 24 F.3d 1421, 1428 (D.C. Cir. 1994), is
 misplaced; and in fact, the Court’s conclusion is consistent with the case. The District of Columbia Circuit
 enumerated three possible outcomes when a plaintiff’s claim for declaratory relief regarding agency action taken
 against the plaintiff pursuant to an unlawful policy is moot: (1) the plaintiff can invoke the “capable of repetition,
 yet evading review” or “voluntary cessation” exceptions to continue the litigation and challenge the policy; (2) the
 plaintiff “lacks standing to attack future applications of that policy” and “the [C]ourt is unable to award relief”; or
 (3) the plaintiff “has standing to challenge the future implementation of that policy” and “declaratory relief may be
 granted if the claim is ripe for review.” Id. at 1429-30. Here, the Court has already determined that the “voluntary
 cessation” exception is inapplicable. And the plaintiff has not properly pleaded imminent future harm in the
 complaint, as the pleaded future harm is not only different than the one spelled out in the complaint, but the
 defendants have also suspended the disputed policy, such that the Court could not find standing to challenge future
 applications of the policy. See Lujan, 504 U.S. at 560-61 (explaining that there must be an injury-in-fact that is
 “concrete and particularized” and “actual or imminent, not conjectural or hypothetical,” to maintain standing in a
 suit).
 12
    In Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971), the Supreme Court
 held that a plaintiff could recover monetary damages against federal officials who violated the constitutional rights
 of the plaintiff while acting under the color of federal law.



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                                                       JA-211
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 14 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 215 of 228



 violations alleged in count three of the complaint. Am. Compl. ¶ 164; see also Opp’n to Mgmt.

 and Cincinnati Mots. at 24-42. In response, the individual IRS defendants generally argue that

 count three should be dismissed because: (1) the Court does not have personal jurisdiction over

 several defendants; (2) even if the Court has personal jurisdiction over all defendants, no Bivens

 claim can be asserted against the individual IRS defendants; and (3) to the extent any Bivens

 claim is allowed, the IRS defendants are entitled to qualified immunity. See, e.g., Mgmt. Mem.

 at 1-2, 6-8; Cincinnati Mem. at 1-2. As explained below, because precedent does not permit the

 Court to create a Bivens remedy for the plaintiff against the individual IRS defendants, the Court

 need not address the personal jurisdiction and qualified immunity issues.

        In Kim v. United States, 632 F.3d 713 (D.C. Cir. 2011), the Circuit dealt with aggrieved

 taxpayers who alleged IRS wrongdoing, including unconstitutional conduct by individual IRS

 employees, and sought Bivens relief as a result of the alleged harm. Id. at 714-15. The Circuit

 affirmed the district court’s dismissal of the “Bivens claims against the [d]efendants in their

 official capacities” pursuant to Fed. R. Civ. P. 12(b)(1), noting that it is “well established that

 Bivens remedies do not exist against officials sued in their official capacities.” Id. at 715. The

 Circuit also affirmed the district court’s dismissal of the “Bivens claims against the [d]efendants

 in their individual capacities” pursuant to Fed. R. Civ. P. 12(b)(6) because “no Bivens remedy

 was available in light of the comprehensive remedial scheme set forth by the Internal Revenue

 Code.” Id. at 717.

        The plaintiff here attempts to distinguish Kim by characterizing it as “materially

 different” and suggesting that Kim’s holdings are limited to cases involving “Bivens claims

 [against IRS employees] under [the] Due Process Clause.” Opp’n to Mgmt. and Cincinnati

 Mots. at 40. But that suggestion relies on a strained reading of Kim. In affirming the rejection



                                                   14
                                                JA-212
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 15 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 216 of 228



 of the Bivens claims against IRS officials in both their official and individual capacities, the

 Circuit’s language did not limit the scope of its ruling. See Kim, 632 F.3d at 715, 717. And in

 any event, the plaintiff has not distinguished—through the cases it cites or otherwise—any

 legally cognizable distinction between Due Process Clause claims and First Amendment Claims

 such that a Bivens remedy is appropriate in the former context, but not the latter context.13

         The plaintiff attempts to blunt the force of Kim by complaining that the Circuit in Kim

 “omit[ted] an entire[] inquiry into whether Congress ha[d] not inadvertently omitted damages

 remedies for certain claimants, and ha[d] not plainly expressed an intention that the courts

 preserve Bivens remedies.” Opp’n to Mgmt. and Cincinnati Mots. at 41 (certain internal

 alterations and quotations omitted). Accordingly, the plaintiff urges the Court to engage in this

 inquiry. See id. at 42-44. The alleged omission by the plaintiff, however, is belied by a closer

 reading of the district court opinion as well as the Circuit’s opinion.

         The district court in Kim undertook the very analysis that the plaintiff asks the Court to

 conduct. In declining to extend a Bivens remedy to the plaintiffs against the IRS employees in

 their individual capacities for alleged constitutional violations, the district court recognized that

 the “existence of a comprehensive remedial scheme” was a “special factor” that counseled

 against its extension. Kim v. United States, 618 F. Supp. 2d 31, 38 (D.D.C. 2009), aff’d in part,

 rev’d in part and remanded, 632 F.3d 713 (D.C. Cir. 2011). “That is, when ‘Congress has put in

 place a comprehensive system to administer public rights, has not inadvertently omitted damages

 remedies for certain claimants, and has not plainly expressed an intention that the courts preserve

 Bivens remedies,’ courts ‘must withhold their power to fashion damages remedies’ pursuant to

 Bivens.” Id. (quoting Spagnola v. Mathis, 859 F.2d 223, 228 (D.C. Cir. 1988) (per curiam) (en

 13
   “The trend in other Circuits also has been to not recognize Bivens actions against IRS agents.” NorCal, 2014 WL
 3547369, at *8 (citing Circuit cases, “follow[ing] the majority position,” and dismissing Bivens actions).


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                                                    JA-213
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 16 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 217 of 228



 banc)). On appeal, the Circuit “agree[d] with the district court’s reasoning” that “no Bivens

 remedy was available in light of the comprehensive remedial scheme set forth by the Internal

 Revenue Code.” Kim, 632 F.3d at 718; see also NorCal, 2014 WL 3547369, at *5-8; Church By

 Mail, Inc. v. United States, No. 87-cv-0754-LFO, 1988 WL 8271, at *3 (D.D.C. Jan. 22, 1988)

 (explaining that declaratory relief for applicants seeking tax-exempt status under 26 U.S.C. §

 7428 renders Bivens remedy improper for aggrieved applicants). In light of the Circuit’s

 unequivocal endorsement of the district court’s Bivens analysis, the Court cannot take a different

 approach.

        Moreover, a former member of this Court was confronted with a nearly identical case to

 the one before the Court and refrained from fashioning a Bivens remedy as well. In Church By

 Mail, the plaintiff, a non-profit church seeking tax-exempt status, filed suit against the

 defendants, the IRS and various individual IRS agents, for the denial of its tax-exempt status

 application. 1988 WL 8271, at *1. The plaintiff claimed, inter alia, that the defendants violated

 the Constitution, including the First Amendment, by “favoring traditional churches over more

 unusual ones,” id., “demonstrat[ing] dislike and intolerance of [the] plaintiff’s religion,” id. at *2

 (internal quotations omitted), and “engag[ing] in invidious discrimination against [the] plaintiff

 by singling it out for investigation and attack,” id. According to the plaintiff, in denying its tax-

 exempt application, the defendants “exceeded the bounds of the authority given to [the]

 defendants under existing law.” Id.

        In dismissing the plaintiff’s claims seeking Bivens damages for the constitutional

 violations alleged against the defendants, the Court in Church By Mail reasoned that “a court-

 created remedy” was unnecessary where “Congress has created a specific remedy for challenges

 to rulings on tax exemption.” Id. at *3. Specifically, the Court recognized “that no Bivens-type



                                                  16
                                               JA-214
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 17 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 218 of 228



 damages remedy against the individual IRS agents should be created by the Court . . . because

 Congress has created a specific, meaningful declaratory judgment remedy under 26 U.S.C. [§]

 7428 for cases . . . in which an application for tax[-]exempt status has been denied.” Id. Had it

 created a Bivens remedy, the Court opined that it could have “‘wre[acked] havoc . . . [on] the

 federal tax system.’” Id. (quoting Baddour, Inc. v. United States, 802 F.2d 801, 807 (5th Cir.

 1986)). The Court reasoned that “[i]t would make the collection of taxes chaotic if a taxpayer

 could bypass the remedies provided by Congress simply by bringing a damage action against

 [IRS] employees.” Id. (internal quotations and alterations omitted). This Court agrees with

 Judge Oberdorfer’s assessment, and therefore dismisses count three of the complaint with

 prejudice for the failure to state a proper claim for relief under Federal Rule of Civil Procedure

 12(b)(6).14

          C. Count Four of the Plaintiff’s Complaint

          In count four of the complaint, the plaintiff seeks relief from the defendants for their

 alleged violations of 26 U.S.C. § 6103 because “[p]ursuant to the IRS [t]argeting [s]cheme, the

 IRS [d]efendants knowingly requested information from [the plaintiff] in furtherance of the

 IRS’[s] discriminatory and unconstitutional” conduct. Am. Compl. ¶ 175. So according to the

 plaintiff, “the IRS [d]efendants knowingly inspected information provided to the IRS . . . [which

 was] unnecessary.” Id. ¶ 179 (internal quotations and citations omitted). Because the

 information provided by the plaintiff was unnecessary, the plaintiff claims that the defendants’

 14
     The plaintiff asserts that because the IRS pays for the individual defendants’ legal representation in a Bivens
 action, it follows that permitting the plaintiff to proceed on a Bivens claim against the individual defendants is
 appropriate. See Opp’n to Mgmt. and Cincinnati Mots. at 26. The Court fails to see how this is remotely relevant,
 let alone a basis to rule contrary to this Circuit’s precedent. Moreover, the plaintiff argues that the declaratory relief
 provided by 26 U.S.C. § 7428 is not an adequate alternative remedy for constitutional injuries. Opp’n to Mgmt. and
 Cincinnati Mots. at 30-37. But the plaintiff’s dissatisfaction with the remedies available to it is not a legally
 sufficient reason for the Court to create a Bivens remedy. See Spagnola, 859 F.2d at 227 (“[I]t is the
 comprehensiveness of the statutory scheme involved, not the ‘adequacy’ of specific remedies extended thereunder,
 that counsels judicial abstention.”).


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                                                        JA-215
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 18 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 219 of 228



 inspection of that information was not “per se for tax administration purposes.” Id. ¶ 178

 (internal quotations omitted). Consequently, the plaintiff argues that the defendants are liable

 under 26 U.S.C. § 7431, which provides damages for violations of 26 U.S.C. § 6103. Am.

 Compl. ¶¶ 170, 207; see also Opp’n to Defs.’ Mot. at 28-42. The defendants contend that the

 underlying basis for the plaintiff’s fourth count is the “nature of the [IRS’s] requests for

 information,” which is not actionable under 26 U.S.C. § 6103, as this provision only prohibits

 “the improper inspection and disclosure” of the information which the plaintiff provided. Defs.’

 Mot. at 10-11.

         26 U.S.C. § 6103 protects the confidentiality of taxpayers’ tax “[r]eturns and [tax] return

 information.” Id. § 6103(a). Tax “return information” is broadly defined to include:

         [A] taxpayer’s identity, the nature, source, or amount of his income, payments,
         receipts, deductions, exemptions, credits, assets, liabilities, net worth, tax liability,
         tax withheld, deficiencies, overassessments, or tax payments, whether the
         taxpayer’s return was, is being, or will be examined or subject to other
         investigation or processing, or any other data, received by, recorded by, prepared
         by, furnished to, or collected by the Secretary with respect to a return or with
         respect to the determination of the existence, or possible existence, of liability (or
         the amount thereof) of any person under this title for any tax, penalty, interest,
         fine, forfeiture, or other imposition, or offense[.]

 Id. § 6103(b)(2)(A); see also id. § 6103(b)(2)(B)-(D). Section 6103 contains numerous

 exceptions to the general prohibition against disclosure or inspection of tax returns and tax return

 information, including that:

         Returns and return information shall, without written request, be open to
         inspection[15] by or disclosure to officers and employees of the Department of the
         Treasury whose official duties require such inspection or disclosure for tax
         administration purposes.

 Id. § 6103(h)(1). And “[t]he term tax administration”

 15
   “The terms ‘inspected’ and ‘inspection’ mean any examination of a return or return information.” 26 U.S.C. §
 6103(b)(7).



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                                                    JA-216
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 19 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 220 of 228




          (A) means—
          (i) the administration, management, conduct, direction, and supervision of the
          execution and application of the internal revenue laws or related statutes (or
          equivalent laws and statutes of a State) and tax conventions to which the United
          States is a party, and
          (ii) the development and formulation of Federal tax policy relating to existing or
          proposed internal revenue laws, related statutes, and tax conventions, and
          (B) includes assessment, collection, enforcement, litigation, publication, and
          statistical gathering functions under such laws, statutes, or conventions.

 Id. § 6103 (b)(4). In short, Section 6103 addresses “improper disclosure of tax return

 information.” Mann v. United States, 204 F.3d 1012, 1020 (10th Cir. 2000); see also Venen v.

 United States, 38 F.3d 100, 105 (3d Cir. 1994) (“The history of [S]ection 6103 indicates that

 Congress enacted the provision to regulate a discrete sphere of IRS activity—information

 handling.”).

          Section 6103 does not provide a means for the plaintiff to avoid dismissal of count four

 of its complaint. As just noted, Section 6103 concerns the disclosure or inspection, i.e., the

 “handling,” of tax return information. Venen, 38 F.3d at 105. To the extent the plaintiff takes

 issue with the defendants’ inspection of its tax return information, those allegations are

 insufficiently pleaded in its amended complaint. See Iqbal, 556 U.S. at 679 (conclusory

 allegations “are not entitled to the assumption of truth”). The insufficiency of the plaintiff’s

 allegations is highlighted by the plaintiff’s admission that “[t]he number of unauthorized

 inspections of [the plaintiff]’s return information and the identity of those who made the

 inspections cannot be completely and accurately ascertained at this time . . . .”16 Am. Compl. ¶

 182.

 16
    As the Court will explain, any alleged inspections of the plaintiff’s tax return information by the defendants
 cannot support a claim for a violation of 26 U.S.C. § 6103, as the predicate for these allegedly unauthorized
 inspections is the defendants’ requests for information that were allegedly “wholly unnecessary” to its application to
 obtain tax-exempt status. Opp’n to Defs.’ Mot. at 35.



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                                                       JA-217
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 20 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 221 of 228



          The plaintiff’s real bone of contention is that the defendants allegedly demanded

 “information [that] was not necessary for determining [the plaintiff]’s [tax-]exempt status,” and

 then inspected it. Opp’n to Defs.’ Mot. at 31-32. Although the plaintiff is upset about the

 defendants’ inspection of its tax return information, it is actually the defendants’ alleged

 unconstitutional conduct in acquiring that information that forms the basis of count four of the

 complaint. But, unfortunately for the plaintiff, Section 6103 is silent as to how tax return

 information can be acquired. Even assuming that the defendants improperly acquired the

 plaintiff’s tax return information, that does not compel a finding that such information was

 improperly inspected. In the Court’s view, there is a clear dichotomy between the means by

 which tax return information is acquired and the disclosure or inspection of that information

 thereafter. The plaintiff, however, attempts to have the Court disregard this dichotomy,17 which

 conflicts with cases which have found that the propriety of certain conduct separate and apart

 from the actual handling of tax return information is irrelevant and cannot be the predicate of a

 Section 6103 violation. Cf. Mann, 204 F.3d at 1020 (“Sections 6103 and 7431 address improper

 disclosure of tax return information and not improper collection activity. We therefore agree

 with the district court that the validity of the means by which the return information was

 disclosed is irrelevant to whether the disclosure of the information violated § 6103. We further

 agree with the district court and the majority of courts which have considered the issue that there

 is nothing in § 6103 which requires that the underlying means of disclosure be valid before [a

 disclosure exception] applies.” (emphasis added)); Wilkerson v. United States, 67 F.3d 112, 117

 (5th Cir. 1995) (holding that disclosures of tax return information “were not wrongful”
 17
    Again, the plaintiff attempts to amend its complaint through its opposition brief by contending that its “[S]ection
 7431 claim is premised on the improper handling of its information.” Opp’n to Defs.’ Mot. at 32 n.9. The plaintiff
 identifies nothing in its amended complaint that supports this position. Nor could it, as this is contrary to the
 allegations in its complaint. See Am. Compl. ¶¶ 174-80.



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                                                       JA-218
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 21 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 222 of 228



 notwithstanding “improper levying procedures”); Venen, 38 F.3d at 106 (“Section 6103 and its

 attendant damages provision, [S]ection 7431, were meant to regulate only one sphere of

 activity—information handling—and were not intended to interfere with collection actions.

 Thus, the propriety of the underlying collection action, in this instance the validity of the levy, is

 irrelevant to whether disclosure is authorized under [S]ection 6103 and the basis for liability

 under [S]ection 7431.” (internal citations, quotations, and ellipses omitted)); Huff v. United

 States, 10 F.3d 1440, 1447 (9th Cir. 1993) (finding no liability under Section 6103 “despite the

 possible procedural lapses involving the actual levy”).

          Further supporting the Court’s maintenance of the dichotomy between the IRS’s

 acquisition of tax return information for assessing tax-exempt status and the IRS’s inspection of

 that information thereafter,18 is the availability of judicial review and a separate and distinct

 remedy for an applicant aggrieved during the tax-exempt application process. Cf. Wilkerson, 67

 F.3d at 116 (“Congress enacted separate and distinct provisions concerning collection activities

 and information handling.”); Venen, 38 F.3d at 105 (“In a claim such as the present one based on

 an improper levy, the concern is not improper information handling but rather improper

 collection activity. Collection activity is a separate sphere of IRS activity governed by a separate

 body of law.”). Under 26 U.S.C. § 7428, an applicant requesting tax-exempt status under 26

 U.S.C. § 501(c)(3) may seek a declaratory judgment that it indeed qualifies for tax-exempt status

 if either the application has been denied by the IRS or the IRS has failed to act on the application

 18
    The plaintiff asserts that the defendants have violated 26 U.S.C. § 6103 because the defendants did not “per se”
 inspect the plaintiff’s tax return information for “tax administration purposes.” Opp’n to Defs.’ Mot. at 33; see
 also id. at 37; Am. Compl. ¶¶ 177-78. At first blush, this argument has appeal. The plaintiff appears to argue that
 the request and inspection of information allegedly unnecessary to determine an applicant’s tax-exempt status is not
 the result of “tax administration.” See Opp’n to Defs.’ Mot. at 39-42. However, there does not appear to be a
 genuine dispute that “tax administration” encompasses the review of return information submitted in conjunction
 with a tax-exempt application. Again, the basis for the plaintiff’s alleged violation of 26 U.S.C. § 6103 is not the
 inspection of tax return information; rather, it is the defendants’ request for allegedly unnecessary information
 during the tax-exempt application process.


                                                          21
                                                      JA-219
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 22 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 223 of 228



 in 270 days. 26 U.S.C. §§ 7428(a)-(b). If the application is denied, the applicant may file suit

 within ninety days of the mailing of the rejection letter. Id. § 7428(b)(3). Alternatively, if the

 IRS fails to act on the application within 270 days, the applicant is “deemed to have exhausted its

 administrative remedies,” provided that it, “in a timely manner, [took] all reasonable steps to

 secure . . . [a] determination” of its tax-exempt status. Id. § 7428(b)(2). In either case, the

 applicant may file suit in the United States Tax Court, the United States Court of Federal Claims,

 or the United States District Court for the District of Columbia. Id. §§ 7428(a), (b)(2). In light

 of the remedies made available under 26 U.S.C. § 7428 for controversies arising out of the tax-

 exempt application process,19 which would encompass plaintiff’s allegations against the

 defendants, cf. Church By Mail, 1988 WL 8271, at *3 (holding that “plaintiff clearly has an

 adequate remedy under 26 U.S.C. [§] 7428” for constitutional violations during the tax-exempt

 application process), it must remain separate and distinct from the remedies available under 26

 U.S.C. § 7431 for unauthorized inspections of tax return information that occur after the

 application process has either stalled or concluded. Accordingly, count four of the complaint

 fails to state a claim for relief and will be dismissed with prejudice pursuant to Fed. R. Civ. P.

 12(b)(6).20


 19
    Other avenues of relief may be better candidates than 26 U.S.C. § 7431. For example, the plaintiff acknowledges
 that the defendants’ conduct could potentially be governed by 26 U.S.C. § 7605(b), which generally ensures that
 “[n]o taxpayer shall be subjected to unnecessary examination or investigations . . . .” Opp’n to Defs.’ Mot. at 37
 n.14. And in NorCal, the Court identified 26 U.S.C. § 7433 as potentially providing adequate relief to aggrieved
 applicants for tax-exempt status, as it “creates a damages remedy for the wrongful collection of federal tax.” 2014
 WL 3547369, at *6. The Court declines to weigh in, however, on the merits of any potential argument under these
 statutory provisions.
 20
    In light of the Court’s interpretation of the authority cited in this Memorandum Opinion, the Court must
 respectfully disagree with that portion of the NorCal opinion, which permitted the plaintiffs to take discovery “to
 establish with evidence that IRS officials inspected or disclosed the [plaintiffs]’ return information for improper
 purposes,” 2014 WL 3547369, at *13, even though the plaintiffs’ complaint there apparently muddied the
 dichotomy identified by the Court in this opinion, and thus did not sufficiently plead allegations concerning a
 violation of 26 U.S.C. § 6103. See 2014 WL 3547369, at *13 (citing “PageID 1046” of the plaintiffs’ complaint);
 Second Amended Class Action Complaint ¶ 247, NorCal, No.1:13-cv-341 (S.D. Ohio Jan. 23, 2014), ECF No. 71
                                                                                                           (continued . . .)

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                                                         JA-220
      Case 1:13-cv-00734-RBW Document 103 Filed 10/23/14 Page 23 of 23
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 224 of 228



                                               IV. CONCLUSION

           For the foregoing reasons, the Court grants the defendants’ motions to dismiss as to all

 five counts of the plaintiff’s complaint and denies the plaintiff’s motion to stay agency action.21

 SO ORDERED this 23rd day of October, 2014.


                                                                          REGGIE B. WALTON
                                                                          United States District Judge




 (. . . continued)
 (“Defendants inspected [p]laintiffs’ information and shared it amongst themselves even though they knew it was
 unnecessary for making a decision on [p]laintiffs’ tax-exempt status, and even though they knew it had been sought
 based on [p]laintiffs’ political viewpoint. Accordingly, the inspection, review, and disclosure was objectively
 unnecessary, and subjectively not undertaken, ‘for tax administration purposes’ under 26 U.S.C. § [6103(h)].”).
 Here, the Court will not allow the plaintiff to take discovery where it has not sufficiently pleaded a violation of 26
 U.S.C. § 6103. See Am. Compl. ¶ 182 (asserting the need for discovery only because the “number of unauthorized
 inspections” and “the identity of those who made the inspections cannot be completely and accurately ascertained at
 this time.”).

         Further, because the Order accompanying this opinion closes this case, the plaintiff’s motion for a stay of
 agency action is moot.
 21
      An Order consistent with this Memorandum Opinion will be issued contemporaneously.


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                                                       JA-221
       Case 1:13-cv-00734-RBW Document 104 Filed 12/18/14 Page 1 of 3
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 225 of 228



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 TRUE THE VOTE, INC.,

                                              Plaintiff,
    v.                                                     Civ. No. 13-cv-00734-RBW

 INTERNAL REVENUE SERVICE, et al.,

                                           Defendants.


                             PLAINTIFF’S NOTICE OF APPEAL

         Notice is hereby given this 18th day of December 2014, that the Plaintiff, True the Vote,

 Inc., appeals to the United States Court of Appeals for the District of Columbia from the Order

 of this Court entered on October 23, 2014 (Docket No. 102), and the Memorandum Opinion

 entered on October 23, 2014 (Docket No. 103).


 Dated: December 18, 2014

 Respectfully submitted,

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                                             JA-222
       Case 1:13-cv-00734-RBW Document 104 Filed 12/18/14 Page 2 of 3
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 226 of 228


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                                       JA-223
       Case 1:13-cv-00734-RBW Document 104 Filed 12/18/14 Page 3 of 3
USCA Case #14-5316    Document #1587305    Filed: 12/07/2015  Page 227 of 228



                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 18, 2014, I caused the foregoing to be filed with the

 United States District Court for the District of Columbia via the Court’s CM/ECF system,

 which will serve all registered users.




 Dated: December 18, 2014                              /s/ Noel H. Johnson
                                                    Noel H. Johnson
                                                    njohnson@actrightlegal.org
                                                    Counsel for Plaintiff




                                            JA-224
USCA Case #14-5316      Document #1587305           Filed: 12/07/2015   Page 228 of 228



                              Certificate of Service

       I hereby certify that I electronically filed the foregoing Joint Appendix with

 the Clerk of the Court for the United States Court of Appeals for the District of

 Columbia Circuit by using the appellate CM/ECF system on December 7, 2015. I

 further certify that all participants in the case are registered CM/ECF users and that

 service will be accomplished by the appellate CM/ECF system.




 Dated: December 7, 2015                         /s/ Noel H. Johnson
                                               Counsel for Appellant
